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=@DIBNP@?DONJAAD>D<G><K<>DOT<N<I::8<=8A =<N@?AJM KMJADO@?P><ODJI<GDINODOPODJIRDOCDON

KMDI>DK<GKG<>@JA=PNDI@NN<I?<?HDIDNOM<ODQ@C@<?LP<MO@MNDI'GGDIJDN"@4MT3IDQ@MNDOTDNJI@

JAOC@I<ODJI_NG<MB@NOAJM KMJADO@?P><ODJI<GDINODOPODJIOC<O><INP@<I?=@NP@?<I?><IIJO<NN@MO

NJQ@M@DBIDHHPIDOT1@@#)*.+#07' 3:0+7'34+5:0%$1PKK?

!"!<G "@4MT3IDQ@MNDOTJAA@MNJIGDI@<I?CT=MD?>JPMN@N"@4MT3IDQ@MNDOT

KMJQD?@N@?P><ODJI<GN@MQD>@NOCMJPBCJPOOC@3IDO@?1O<O@NRDOC*J><G!<HKPN@NDI<=JPO

OR@IOT ADQ@ 1O<O@N<>MJNNH@MD><"@4MTJK@M<O@NORJ GJ><G><HKPN@N<I?JAAD>@NDI

,@R(@MN@T<O,JMOC MPINRD>F <I?.<M<HPN''<GNJ.<B@N JAOC@ 1OP?@IO

&<I?=JJF"@4MT3IDQ@MNDOTJK@M<O@N<I?H<DIO<DINDONC@<?LP<MO@MN<O

#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDN




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
         '' COOKNRRR?@QMT@?P<=JPO><HKPN GJ><ODJINI@R E@MN@TIJMOC =MPINRD>FCOHG


         COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT;@?P?NOP?@IO C<I?=JJFK?A
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               "@A@I?<IO( ! # )(#""\?O<G@H] DN=@DIB

NP@?<N::8<=8A =<N@?I<ODJIRD?@K<M@IO>JHK<ITJA"@4MT3IDQ@MNDOTRDOCQD><MDJPNGD<=DGDOT

?O<G@HDN<KP=GD>GTOM<?@? AJM KMJADO-MB<IDU<ODJI KJNO N@>JI?<MT"@G<R<M@ DI>JMKJM<O@?

@?P><ODJI<G>JMKJM<ODJI?O<G@HR<NAJMH@MGTFIJRI<N"@4MT#?P><ODJI%MJPKPIODG+<T 

?O<G@HDNGD>@IN@?OJJK@M<O@OJB@OC@MRDOCDONNDNO@M!JMKJM<ODJI "@4MT3IDQ@MNDOT 

'I>?O<G@HH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NNDI'GGDIJDN<O5+JIMJ@1OM@@O 1PDO@

 !CD><BJ 'GGDIJDN

                "@A@I?<IO      &&)('## #!"!"(\)@GG@M] 

DN=@DIBNP@?DIDONJAAD>D<G><K<>DOT<N::8<=8A =<N@?<I?I<ODJIRD?@AJM KMJADOBM<?P<O@G@Q@G

     PNDI@NN1>CJJGJA"@4MT3IDQ@MNDOT)@GG@MJAA@MNDI K@MNJI JIGDI@ <I?CT=MD?AJMH<OJA

<><?@HD>>JPMN@NRDOCGJ><G><HKPN@NI<ODJIRD?@)@GG@MDNGD>@IN@?OJJK@M<O@RDOC"@4MT

3IDQ@MNDOTDI,@R(@MN@T=TOC@,@R(@MN@T-AAD>@JAOC@1@>M@O<MTJA&DBC@M#?P><ODJI

2M@IOJI ,( '' COOKNRRR?@QMT@?P<=JPO<>>M@?DO<ODJICOHG PI?@M\KKMJQ<GN=T1O<O@]

)@GG@MJK@M<O@NORJ GJ><G><HKPN@N<I?JAAD>@NDI,@R(@MN@T<O,JMOC MPINRD>F<I?

.<M<HPN)@GG@MH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN C@<?LP<MO@MN <?HDIDNOM<ODQ@JAAD>@N 

<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG




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
        GGM@A@M@I>@NC@M@DIOJ\?O<G@H]DI>GP?@OC@<>ONJADONKM@?@>@NNJM "@4MT#?P><ODJI
          %MJPK''<GNJ COOKNRRRDIND?@CDBC@M@?>JHLPD>FO<F@N?@QMT M@=M<I?
          <?O<G@H BGJ=<G @?P><ODJI
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
        ''COOKNRRR<?O<G@H>JH
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
        1@@ COOKNRRR?@QMT@?P<=JPO><HKPN GJ><ODJINI@R E@MN@TIJMOC =MPINRD>FCOHG
          
          ''<GNJJAAD>D<G)@GG@M!<O<GJBKP=GDNC@?<O
          COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT;@?P?)@GG@M;!<O<GJBK?A
          


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                 "@A@I?<IO#&#(&)'('#*&-)"*&'(-DN=@DIBNP@?

<N<I::8<=8A =<N@?I<ODJIRD?@<?HDIDNOM<ODQ@BJQ@MIDIB=J?TJA"@4MT3IDQ@MNDOT<I?DON

)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DIN<I<?HDIDNOM<ODQ@JAAD>@<O"@4MT

3IDQ@MNDOT_NKMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDN

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                 "@A@I?<IO##&'(&&'&*'OC@\0@BDNOM<M] DN::8<=8A

=<N@?I<ODJIRD?@@IODOT=@DIBNP@?DIDONJAAD>D<G><K<>DOT<N-AAD>@JA0@BDNOM<M1@MQD>@N<O

"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<G

KG<>@JA=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG 

                 "@A@I?<IO*&-)"*&'(-#" "##'(#&\ JJFNOJM@] DN

=@DIBNP@?<N<"4E-=@9 =<N@?OCDM?K<MOTQ@I?JM<O$DII!JPMO $<MHDIB?<G@ ,@R7JMF

 OC<ODN>JIOM<>O@?=T"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOOJ

KMJQD?@ KMDIO <I?NCDKH<I?<OJMT<I?JMM@LPDM@?>JPMN@2@SO=JJFN<I?1>CJJGNPKKGD@N

KPM>C<N@?JIGDI@=TNOP?@IONJA"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA

+<I<B@H@IO <I?OC@M@AJM@H<DIO<DIN<I<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDN

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                 "@A@I?<IO!'&(# #!+DN<I::8<=8A =<N@?H<G@DI?DQD?P<G

=@DIBNP@?DICDNJAAD>D<G><K<>DOT<NOC@I .M@ND?@IO<I?!CD@A#S@>PODQ@-AAD>@MJA"@4MT

3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO<I?H<DIO<DINDONKMDI>DK<GKG<>@JA

=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

                "@A@I?<IO'"(")#'$7DN<I::8<=8A =<N@?H<G@DI?DQD?P<G=@DIB

NP@?DICDNJAAD>D<G><K<>DOT<N.MJQJNO<I?!CD@A><?@HD>-AAD>@MJA"@4MT3IDQ@MNDOT<I?DON




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      Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 9 of 286 PageID #:9
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)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DIN<I<??M@NN<I?KMDI>DK<GKG<>@JA

=PNDI@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

             "@A@I?<IO "#&# & DN<I::8<=8A =<N@?A@H<G@DI?DQD?P<G

=@DIBNP@?DIC@MJAAD>D<G><K<>DOT<N,<ODJI<G"@<IJA)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO 

"@4MT3IDQ@MNDOT <I?NC@<IJAAD>@<OOC@KMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NNJA"@4MT

3IDQ@MNDOT<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

             "@A@I?<IO#"("&'(DN<$4<<AG:D0<80 =<N@?!<P><ND<IH<G@

DI?DQD?P<G=@DIBNP@?DICDNJAAD>D<G><K<>DOD@N<NNNDNO<IO"@<IJA><?@HD>#S>@GG@I>@ 

,JMOC@<NO%MJPK<I?1OP?@IO!J?@JA!JI?P>O?HDIDNOM<OJMAJM.@IINTGQ<ID<NOP?@IONJA

"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DIN<I<??M@NN

<I?KMDI>DK<GKG<>@JA=PNDI@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

             "@A@I?<IO#!"DN<$4<<AG:D0<80 =<N@?A@H<G@DI?DQD?P<G=@DIB

NP@?DIC@MJAAD>D<G><K<>DOT<N-K@M<ODJIN1PKKJMO!JJM?DI<OJM '' JA"@4MT3IDQ@MNDOT<I?DON

)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONRCD>CH<DIO<DINDONKMDI>DK<GKG<>@

JA=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

             "@A@I?<IO&'("&"-DN<I::8<=8A=<N@?A@H<G@DI?DQD?P<G=@DIB

NP@?DIC@MJAAD>D<G><K<>DOT<N1OP?@IO1PKKJMO?QDNJM<O"@4MT3IDQ@MNDOT<I?DON)@GG@M

%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<??M@NN<O

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              "@A@I?<IO#&#&#"DN<:=@830 =<N@?!<P><ND<IH<G@DI?DQD?P<G

=@DIBNP@?DICDNJAAD>D<G><K<>DOT<N<IJI O@IPM@??EPI>O4DNDODIB.MJA@NNJM<I?!JPMN@

'INOMP>OJMAJMOC@+<M>CN@NNDJI+'1 >G<NN<O"@4MT3IDQ@MNDOT<I?DON)@GG@M




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%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NN

<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

              "@A@I?<IO!"! DN<I::8<=8A=<N@?A@H<G@DI?DQD?P<G=@DIB

NP@?DIC@MJAAD>D<G><K<>DOT<N1OP?@IO1PKKJMO?QDNJM''JA"@4MT3IDQ@MNDOT<I?DON)@GG@M

%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NN

<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

              "@A@I?<IO "'#+(.DN<"4E-=@9=<N@?!<P><ND<IH<G@

DI?DQD?P<G=@DIBNP@?DICDNJAAD>D<G><K<>DOT<N1OP?@IO!JI?P>OKK@<G0@QD@R@MJA"@4MT

3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA

=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

              "@A@I?<IO! "* $7DN<!8<<4A=B0=<N@?!<P><ND<IH<G@

DI?DQD?P<G=@DIBNP@?DICDNJAAD>D<G><K<>DOT<N?EPI>O4DNDODIB.MJA@NNJM<I?!JPMN@'INOMP>OJM

AJM+<I<B@MD<G$DI<I>@\$',] >G<NN?PMDIBOC@1@KO@H=@MN@NNDJI<O"@4MT

3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA

=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

              "@A@I?<IO!!#$7DN<0:85=@<80 =<N@?H<G@DI?DQD?P<G=@DIB

NP@?DICDNJAAD>D<G><K<>DOT<NNNDNO<IO"@<IJA><?@HD>@S>@GG@I>@<O"@4MT3IDQ@MNDOT<I?

DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<I?

<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

             "@A@I?<IO$) #&DN<0:85=@<80 =<N@?H<G@DI?DQD?P<G=@DIBNP@?DI

CDNJAAD>D<G><K<>DOT<N.MJA@NNJM<O"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA

+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NN<O#"D@CG0J<? 

,<K@MQDGG@ 'GGDIJDNG




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             "@A@I?<IO&''&-"( DN<I#78= =<N@?A@H<G@DI?DQD?P<G=@DIBNP@?DI

C@MJAAD>D<G><K<>DOT<N1OP?@IO1PKKJMO><?@HD>?QDN@M<O"@4MT3IDQ@MNDOT<I?DON)@GG@M

%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NN

<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

             "@A@I?<IO# -"&)''           $7DN<$4<<AG:D0<80 =<N@?A@H<G@

DI?DQD?P<G=@DIBNP@?DIC@MJAAD>D<G><K<>DOT<N1OP?@IO!J?@JA!JI?P>OC@<MDIB.<I@GDNO<O

"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<G

KG<>@JA=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

             "@A@I?<IO*"N'#).$7DN<"4E-=@9 =<N@?ND<IH<G@

DI?DQD?P<G=@DIBNP@?DICDNJAAD>D<G><K<>DOT<N,JMOC@<NO1OP?@IO!J?@JA!JI?P>OC@<MDIB

.<I@GDNO<O"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDON

KMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

             "@A@I?<IO+'!(.!DN<I::8<=8A =<N@?A@H<G@DI?DQD?P<G=@DIB

NP@?DIC@MJAAD>D<G><K<>DOT<N,JMOC@<NO1OP?@IO!J?@JA!JI?P>OC@<MDIB.<I@GDNO<O"@4MT

3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA

=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG 

              "@A@I?<IO+"-" -\"M$DIG<T ]JM\.MJA@NNJM$DIG<T]JM

\?@A@I?<IO"M$DIG<T] DN<"4E-=@9 =<N@?=G<>FA@H<G@DI?DQD?P<G=@DIBNP@?DIC@MJAAD>D<G

><K<>DOT<N.MJA@NNJM<I?!JPMN@'INOMP>OJM?PMDIBOC@BM<?P<O@G@Q@G>G<NN><GG@? PNDI@NN

.G<IIDIB1@HDI<M\+%+2] (PGT PBPNON@NNDJI<O"@4MT3IDQ@MNDOT<I?DON

)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<I?

<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG




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              "@A@I?<IO)-"("#<F<\.@O@M]JM\"<QD?] DN<!0@G:0<3

=<N@?ND<IGDBCO NFDII@?H<G@DI?DQD?P<G=@DIBNP@?DICDNJAAD>D<G><K<>DOT<N"@4MT

3IDQ@MNDOT%M<?P<O@1OP?@IO?PMDIBOC@ PNDI@NN.G<IIDIB1@HDI<M>G<NN\+%+2] (PGT

 PBPNON@NNDJI<O"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO 

RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 

'GGDIJDNG

              "@A@I?<IO'"!) &"DN<0:85=@<80 =<N@?!<P><ND<IH<G@DI?DQD?P<G

=@DIBNP@?DICDNJAAD>D<G><K<>DOT<N"@4MT3IDQ@MNDOT%M<?P<O@1OP?@IO  PNDI@NN.G<IIDIB

1@HDI<M\+%+2] (PGT PBPNON@NNDJI<O"@4MT3IDQ@MNDOT<I?DON)@GG@M

%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@JA=PNDI@NN<I?<??M@NN

<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG 

              "@A@I?<IO&#"!#)"!<F<\0JIF@] DN<0:85=@<80

=<N@?=G<>FA@H<G@DI?DQD?P<G=@DIBNP@?DIC@MJAAD>D<G><K<>DOT<N"@4MT3IDQ@MNDOT%M<?P<O@

1OP?@IO  PNDI@NN.G<IIDIB1@HDI<M>G<NN\+%+2] (PGT PBPNON@NNDJI 

"@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO RCD>CH<DIO<DINDONKMDI>DK<GKG<>@

JA=PNDI@NN<I?<??M@NN<O#"D@CG0J<? ,<K@MQDGG@ 'GGDIJDNG

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                    
              2CDN31"DNOMD>O!JPMOC<NJMDBDI<GEPMDN?D>ODJIKPMNP<IOOJ31!W

=@><PN@OCDN!JHKG<DIOKG@<?NH<IT><PN@NJA<>ODJIPI?@M$@?@M<G*<R

             2CDN31"DNOMD>O!JPMOC<N"DQ@MNDOT(PMDN?D>ODJIKPMNP<IOOJ31!J?@Wa

=@><PN@'GGDIJDNDNOC@KMDI>DK<GKG<>@JA=PNDI@NNAJM"@A@I?<ION?O<G@H#?P><ODJI%MJPK 

"@4MT3IDQ@MNDOT <I?)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO2C@DI?DQD?P<GJAAD>D<GN<I?




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?@A@I?<IONJA"@4MT3IDQ@MNDOTM@ND?@DI?DAA@M@IO1O<O@NJAOC@!JPIOMTNP>C<N'GGDIJDN 

!<GDAJMID< ,@R7JMF .@IINTGQ<ID< $GJMD?< <I?+DII@NJO<

                2CDN"DNOMD>O!JPMO@S@M>DN@NNPKKG@H@IO<GEPMDN?D>ODJIJQ@M.G<DIODAA_N1O<O@*<R

>G<DHNKPMNP<IOOJ31!W<I?31!Wa

                4@IP@DNMDBCODIOC@"DNOMD>OJA'GGDIJDN=@><PN@RC@I<?EP?D><ODIB<HJODJIOJ

?DNHDNNAJMDHKMJK@MQ@IP@DIOC@><N@JA')#4*7' 3:0+7 ,J  5*

 <O #"+D>C+<M  AJM@S<HKG@ OC@!JPMONO<O@?OC<O\"@4MTDNIJO<

M@ND?@IOJA+D>CDB<I]<GOCJPBC"@4MT<KK@<MNOJH<DIO<DIGJ><G><HKPN@NDI+D>CDB<IEPNOGDF@

DO?J@NDI,@R(@MN@T!JPMONC<Q@OM<INA@MM@?H<ITA@?@M<G><N@N<B<DINO"@4MTAMJHJOC@M

"DNOMD>ONOJ'GGDIJDN"DNOMD>O!JIQ@MN@GT DIOC@><N@JA1..:7&5#.'/.1$#.&6%0%,J

!4 5*,"'GG$@=  OCDN'GGDIJDN"DNOMD>O!JPMONO<O@?OC<O\

?O<G@HGDQ@NC@M@]<I?NJQ@IP@R<NMDBCODIOCDN!JPMO

                4@IP@DNKMJK@MDIOCDN!JPMOCJPN@KPMNP<IOOJ31!W=  RDOCDIOC@

"P.<B@!JPIOTQD>DI<B@JAOCDN3IDO@?1O<O@N"DNOMD>O!JPMOAJM"DNOMD>OJA'GGDIJDN #<NO@MI

"DQDNDJI!JPMOCJPN@=@><PN@JAOC@AJGGJRDIB

    D    "@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO>JI?P>O

           =PNDI@NN<I?H<DIO<DINOC@DMI<ODJI<GC@<?LP<MO@MN <?HDIDNOM<ODQ@G@<?@MNCDKJAAD>@N <I?

           GJ><G><HKPN@N<I?JAAD>@N<O,<K@MQDGG@ 'GGDIJDN RCD>CA<GGNRDOCDIOC@ @MB@I!JPIOTJA

           OC@B@JBM<KCD><GQD>DI<B@JAOCDN!JPMO2CDNAJMPHDN>JIQ@ID@IO=@><PN@OC@?@A@I?<IO

           @IODOD@N?O<G@H "@4MT )@GG@M 0@BDNOM<M GDQ@C@M@"@A@I?<ION <MOCJGJH@R  JN@ 

           <I?%JG?=@MB <M@<GNJ1@IDJMG@Q@G<?HDIDNOM<ODQ@JAAD>D<GNJA"@4MT<I?)@GG@MRCJ

           H<DIO<DIOC@DMKCTND><GJAAD>@NC@M@DI'GGDIJDN




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    DD  2C@<GG@B@?QDJG<ODJINJA.G<DIODAA_N$@?@M<G<I?1O<O@*<RMDBCONJ>>PMM@?JIOC@DIO@MI@O 

         2@G@KCJI@ RCDG@.G<DIODAADN<M@ND?@IOJA,@R(@MN@T<I?GJ><GNOP?@IO<OOC@"@4MT_N

         GJ><G><HKPNJA,JMOC MPINRD>F ,@R(@MN@T2C@@Q@IONBDQDIBMDN@OJ.G<DIODAA_N>G<DHN

         <GG@B@?C@M@DIJ>>PMM@?DI,@R(@MN@T''#SCD=DO" 

         $JM<GGOC@N@M@<NJIN <GOCJPBC.G<DIODAADIDOD<O@?OCDN<>ODJIDIOC@31"DNOMD>O!JPMOAJM

    "DNOMD>O,@R(@MN@T2M@IOJI ?J>F@O@?><N@IPH=@M >Q  0+ "# .G<DIODAA

    RDOC?M@ROC@<>ODJI8+5*16523',6&+%'OJ>JHH@I>@DOC@M@DIOCDN!JPMO RDOCJPO$@?0!DQ

    .MJ>KMJ>@NNN@MQD>@ RDOCJPO<?EP?D><ODJIJAOC@>JHKG<DIO RDOCJPO<ITNP=NO<IODQ@HJODJIN

    <?EP?D><O@? <I?RDOCJPO?@A@I?<ION@IO@MDIB<IT<KK@<M<I>@JIOC@?J>F@O

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                      () &#)""()&#('#!$ "(
                 
                  .G<DIODAA+D>C<@G-*DQDIBNOJI@\*DQDIBNOJI@]JM\.G<DIODAA] DN<H<OMD>PG<O@?

APGG ODH@%M<?P<O@1OP?@IO<O?@A@I?<IO)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOJA?@A@I?<IO

"@4MT3IDQ@MNDOTNDI>@,JQ@H=@M

                      TG@OO@M?<O@?->OJ=@M  "@4MT3IDQ@MNDOTBM<IO@?.G<DIODAA<?HDNNDJI

DIOJDON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOOJKPMNP@OC@+<NO@MJA PNDI@NN?HDIDNOM<ODJI

\+ ] <><?@HD>?@BM@@KMJBM<H

                   .G<DIODAADN>PMM@IOGT<><I?D?<O@AJM+<NO@MJA PNDI@NN?HDIDNOM<ODJI\+ ] 

?@BM@@<O)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOJA"@4MT3IDQ@MNDOTC<QDIB>JHKG@O@?

?D?<>OD>>JPMN@RJMFDIOCM@@ >JI>@IOM<ODJIN I<H@GT%@I@M<G+<I<B@H@IO &@<GOC1@MQD>@N

+<I<B@H@IO <I?+<I<B@H@IO'IAJMH<ODJI1TNO@HN

                   .G<DIODAA<KKGD@?OJBM<?P<O@DI(<IP<MTN@NNDJIAJMCDN+ ?@BM@@DIOC@

OCM@@>JI>@IOM<ODJIN4''B@I@M<GGT#SCD=DON           




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               .G<DIODAADNDIBJJ?<><?@HD>NO<I?DIBRDOCCDBC>PHPG<ODQ@%M<?@.JDIOQ@M<B@

\%.] >PMM@IOGT<OJI<N><G@RDOCHJNO\]ADI<GBM<?@N<O?@A@I?<IO)@GG@M%M<?P<O@

1>CJJGJA+<I<B@H@IO "@4MT3IDQ@MNDOT

               2C@DNNP@NKM@N@IO@?DIOCDNG<RNPDOKM@Q@IO.G<DIODAAAMJHBM<?P<ODIB @NK@>D<GGT

OC@?DNKPO@M@B<M?DIBOC@+2&>G<NN-OC@MRDN@ .G<DIODAAC<N>JHKG@O@?<GG>JPMN@RJMF

AJMCDN+ ?@BM@@

              -I(<IP<MT  .G<DIODAA@<MI@?<%M<?P<O@!@MODAD><O@DI#IOM@KM@I@PMNCDK

AMJH?@A@I?<ION)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO<I?"@4MT3IDQ@MNDOT

               -I->OJ=@M  .G<DIODAA@<MI@?<IJOC@M%M<?P<O@!@MODAD><O@DI&@<GOC

1@MQD>@N+<I<B@H@IOAMJH?@A@I?<ION)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO<I?"@4MT

3IDQ@MNDOT2CDN>@MODAD><O@R<NM@LP@NO@?OCDNT@<M

               O)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO "@4MT3IDQ@MNDOT @<>C1@H@NO@MDN

?DQD?@?DIOJORJ<>>@G@M<O@?@DBCO R@@FN@NNDJIN

               #<>CN@NNDJIJA<N@H@NO@MDN=DGG@?N@K<M<O@GT

               1DI>@.G<DIODAA_NH<OMD>PG<ODJIDI,JQ@H=@M<O)@GG@M%M<?P<O@1>CJJGJA

+<I<B@H@IO "@4MT3IDQ@MNDOT .G<DIODAAC<NN@<HG@NNGT@IMJGG@?<I?>JHKG@O@?<=JPOOR@IOT 

NDS BM<?P<O@ G@Q@G>G<NN@N<OOC@3IDQ@MNDOT

                2C@<GG@B@??DN>M@K<I>D@N <GG@B@??DN>MDHDI<ODJIN <I?>G<NNM@BDNOM<ODJI

H<GKM<>OD>@N=TOC@3IDQ@MNDOTNPMMJPI?DIBOC@>G<NN@N<ODNNP@DIOCDN!JHKG<DIO?M<NOD><GGT

M@?P>@?.G<DIODAA_N%.OJRC@M@<N.G<DIODAAR<N<GHJNO>PHPG<ODQ@%.AO@MOC@




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      ''.<B@JAOC@)@GG@M!<O<GJB 
COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT;@?P?)@GG@M;!<O<GJBK?ANO<ODIBOC<O\)@GG@M?@GDQ@MN
>JPMN@NDI<N@NNDJIAJMH<O RDOCORJ@DBCO R@@FN@NNDJINJAA@M@?@<>CN@H@NO@M]

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DNNP@N<M@<??M@NN@?DI.G<DIODAA_NA<QJM .G<DIODAA_N%.>JPG?=@M@NOJM@?OJDONKM@QDJPNCDBC@M

%.JAJI<N><G@

                  "@4MT3IDQ@MNDOTDN<KM@HD@M3IDQ@MNDOTRDOCJPONOMJIB<I?CDBC<>>M@?DO<ODJIN

GOCJPBC"@4MT>G<DHNDODN<>>M@?DO@? OC@3IDQ@MNDOT_N+ KMJBM<HDN<=B<>>M@?DO@?=TOC@

CDBC@M<>>M@?DO<ODJI=J<M?AJMHJNO PNDI@NN1>CJJGN><GG@?OC@NNJ>D<ODJIOJ?Q<I>@

!JGG@BD<O@1>CJJGNJA PNDI@NN\!1 ] <I?NJ"@4MT<I?)@GG@M<M@IJOJIOC@!1 _N

KP=GDNC@?GDNOJA<>>M@?DO@? PNDI@NN1>CJJGN

                  .G<DIODAA=@GD@Q@NCDNCDBC%.HDBCOM<OC@M<?QJ><O@AJMCDHDINO@<?JAOC@

PIKJKPG<MI<H@JA"@4MT3IDQ@MNDOT<GNJ=@><PN@JAOC@DHK<>OJAM@>@IOI<ODJI<GAM<P?G<RNPDO

><N@NJMA<GN@<?Q@MODNDIB><N@N'&'3#.3#&'1//+44+107' 3:&6%#5+1031620%'5

#.!@IOM<G"DNOMD>OJA!<GDAJMID< !<N@,J >Q ><>?  1@@<GNJ%13/+%-'5

#.7&5#.'/.1$#.&6%#5+100% @O<G!<N@,J !& !DM!O!JJF!OT 

                  N<K<MOJA.G<DIODAA_N+ ?@BM@@M@LPDM@H@ION DI+<TN@NNDJI .G<DIODAA

@IMJGG@?<I?>JHKG@O@?OC@BM<?P<O@ G@Q@GJIGDI@>G<NN><GG@?$DI<I>D<G>>JPIODIB +<I<B@MD<G

3N@<I?I<GTNDN\!!2] <O)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOJA"@4MT

3IDQ@MNDOTIJI O@IPM@??EPI>O.MJA@NNJM +N+<GDI?<+<MNC R<NOC@>JPMN@DINOMP>OJM

                  .G<DIODAAR<NPINP>>@NNAPGDIOC@+<TN@NNDJI!!2>G<NN<GNJ=@><PN@

D "@A@I?<IO"@4MT3IDQ@MNDOT-IGDI@ JJFNOJM@N@IO.G<DIODAAOC@RMJIBH<I?<OJMT2@SO=JJF




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         '' COOKNRRR<<>N=@?P<>>M@?DO<ODJI<>>M@?DO@? N>CJJGN
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      2CDNDN@S@HKGDAD@?=TOC@A<>OOC<O@Q@IRC@I.M@ND?@IO2MPHKM@>@IOGTIJHDI<O@?<
AJMH@M"@4MT3IDQ@MNDOTJAAD>D<GOJOC@31"@K<MOH@IOJA#?P><ODJI $M<P? $M<P?R<N
<OO<>C@?OJOC<OAJMH@M"@4MT"@<I KP=GD>JKDIDJILP@NODJI@?OC@>M@?D=DGDOTJAOC@JAAD>D<G
1@@ COOKNRRRKJGDOD>J>JHNOJMTEPGD<I N>CHJF@ EM OMPHK @?P><ODJI ?@K<MOH@IO
>JGG@B@ @IAJM>@H@IO 

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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 17 of 286 PageID #:17
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<OOC@ODH@4''@H<DGOCM@<?#SCD=DO DD OC@!JPMN@DINOMP>OJM?D?IJOO@<>COC@>JPMN@

H<O@MD<GJMKMJQD?@<ITG@>OPM@<I?DDD .G<DIODAABJOND>F<NR@GG<NJOC@MH<OO@MN

               .G<DIODAANP=HDOO@?BM<?@<KK@<G<OOC@ODH@OJOC@3IDQ@MNDOT<B<DINOOC@+<T

N@NNDJI_N!!2>G<NN2C@BM<?@<KK@<GR<NKMJ>@NN@?<O"@4MT3IDQ@MNDOT=T

<><?@HD>NK@>D<GDNO +N)@GGT"<T <>ODIB<N!JJM?DI<OJM OJA<>DGDO<O@OC@<KK@<GOJOC@

<?HDIDNOM<ODQ@JAAD>@NJAOC@"@<IN <I?PGODH<O@GTOJOC@I .MJQJNO 4D>@.M@ND?@IO ><?@HD>

AA<DMN"JII<+*JMM<DI@ .C" 

               -I(PGT  =T@H<DGG@OO@M "M"JII<0@F<P<??M@NN@?OC@BM<?@<KK@<G

RDOCJPO<??M@NNDIBOC@?DN>M@K<I>TM@B<M?DIBOC@2@SO=JJF

               2C@3IDQ@MNDOT?D?IJOKMJQD?@.G<DIODAARDOC<BM<?@<KK@<GC@<MDIBM@B<M?DIBOC@

!!2+<M>C>G<NN

               'I+<M>CN@NNDJI .G<DIODAAM@K@<O@?OC@!!2JIGDI@>G<NN<I?

NP>>@@?@?RDOC<ADI<G\ ]BM<?@2C@!JPMN@'INOMP>OJMR<N<O@IPM@?NNJ>D<O@.MJA@NNJM "M

MG@I@%JJ?H<I

               MJPI?+<M>C "@A@I?<IO-IGDI@ JJFNOJM@N@IO.G<DIODAAOC@>JMM@>O

2@SO=JJF<N<>JPMO@NTM@KG<>@H@IORDOCJPO>JNO<GOCJPBCOC@KM@QDJPN?<H<B@OJ.G<DIODAA_N

<><?@HD>BM<?@DI!!2+<TN@NNDJIR<NIJO>PM@?4''@H<DGOCM@<?#SCD=DO 

                .G<DIODAAADG@?<ODH@GTBM<?@<KK@<G !<N@,J RDOCOC@3IDQ@MNDOTAJM<

NOM<DBCO\]BM<?@AJMOC@+<M>CN@NNDJI_N!!2>G<NN=@><PN@JAKMJ>@NNDIB?@G<TNJA

"?DN<=DGDOT>>JHHJ?<ODJIN<I?JOC@M<><?@HD>A<>OJMN

                2J?<O@ OC@3IDQ@MNDOTC<NDBIJM@?.G<DIODAA_NBM<?@<KK@<G><N@IJ

<B<DINOOC@+<M>CN@NNDJI_N!!2>G<NNRDOCJPO<??M@NNDIBOC@DNNP@NM<DN@?OC@M@DI




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 18 of 286 PageID #:18
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                 'I+<M>CN@NNDJI <NK<MOJA.G<DIODAA_N+ ?@BM@@M@LPDM@H@ION .G<DIODAA

@IMJGG@?<I?>JHKG@O@?OC@JIGDI@BM<?P<O@G@Q@G>G<NN><GG@?+<I<B@MD<GKKGD><ODJINJA

'IAJMH<ODJI2@>CIJGJBT\+'1 ] @<MIDIBADI<GBM<?@\ ]2C@!JPMN@'INOMP>OJMR<N<IJI

O@IPM@?QDNDODIB<?EPI>O.MJA@NNJM?@A@I?<IO(<>J=0%JM?JI

                 %@OODIBOJOC@@I?JAOC<O+'1>G<NN .G<DIODAA@I>JPIO@M@?H@?D><G

>JHKGD><ODJINN<M@NPGO .G<DIODAA>JPG?IJO>JHKG@O@OC@G<NOM@LPDM@H@IOJAOC@+'1

>G<NN RCD>CR<N<I<P?DJM@>JM?@?.JR@M.JDIOKM@N@IO<ODJIJAOC@>JPMN@KMJE@>ORJMOC

KJDION

                    T@H<DGN?<O@?KMDG  +<I?+<T  + .G<DIODAA

DIAJMH@??@A@I?<IO%JM?JI<=JPOCDNH@?D><G>JI?DODJIKM@Q@IODIBCDHAMJH>JHKG@ODIB

JPONO<I?DIBM@LPDM@H@IONJAOC@+'1>G<NN

                   T@H<DG?<O@?KMDG  .+ .G<DIODAAADG@?<ODH@GTBM<?@<KK@<G

<B<DINO+'1OJ?@A@I?<IO%JM?JI"@A@I?<IO%JM?JIDBIJM@?OC@BM<?@<KK@<G

                MJPI?->OJ=@M  .G<DIODAANP=HDOO@?<AJMH<GBM<?@<KK@<G<B<DINOOC@

+'1BM<?@OJ"@4MT3IDQ@MNDOT?HDIDNOM<ODJIRDOC!<N@,J2C<OBM<?@<KK@<G

R<N<NNDBI@?OJOC@3IDQ@MNDOT_N M@IO5<M? .C" <I?4DMBDG+@IN<C "<MO@T .C"

                "M+@IN<C "<MO@T?D?IJO<?EP?D><O@.G<DIODAA_NBM<?@<KK@<G<=JPOOC@+'1

>G<NN"M+@IN<C "<MO@T>G<DH@?OC<OOC@3IDQ@MNDOTN<TNC@NCJPG?\NDHKGT>GJN@DO]<I?DA

.G<DIODAANP@N \OC@3IDQ@MNDOTC<N*<RT@MN ]C@<??@?.G<DIODAAM@NKJI?@?OC<OEPNO=@><PN@OC@

3IDQ@MNDOTC<N*<RT@MN?J@NIJOH@<I<BM<?@<KK@<GNCJPG?=@DBIJM@?

                2J?<O@ OC@3IDQ@MNDOTC<N?DNM@B<M?@?<I?DBIJM@?.G<DIODAA_NBM<?@<KK@<G><N@

,JM@B<M?DIBOC@+'1 +<M>CN@NNDJI>G<NN




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               "PMDIBOC@(PGTN@NNDJI .G<DIODAANP>>@NNAPGGT>JHKG@O@?OC@3IDQ@MNDOT_N

BM<?P<O@G@Q@G>G<NN><GG@?+<I<B@MD<G"@>DNDJI +<FDIB\+%+2] .G<DIODAA@<MI@?<ADI<G

NOM<DBCO\]BM<?@2C@>JPMN@DINOMP>OJMR<N+<MT5@GNC .C"

                   T@H<DG?<O@?2P@N?<TPBPNO <O.+ "M5@GNC<?QDN@?.G<DIODAA

OJN@@F>>JHHJ?<ODJINPI?@MOC@H@MD><INRDOC"DN<=DGDOD@N>O\"] AMJHOC@

3IDQ@MNDOT_N?@NDBI<O@?"-AAD>@M

                   TAJGGJR PK@H<DG?<O@?$MD?<TPBPNO <O.+ OC@I $<>PGOT!C<DM

AJM,JMOC@<NO%MJPK .MJA@NNJM(JCI)<QJPM<N JA"@4MT3IDQ@MNDOT<BM@@?RDOC"M5@GNCOC<O

.G<DIODAANCJPG?N@@F"<>>JHHJ?<ODJINAMJHOC@3IDQ@MNDOT_N"-AAD>@M''<OO<>C@?

@H<DG#SCD=DO 

                "@4MT3IDQ@MNDOT>JI>PMNRDOCOC@NO<O@H@IOJA.MJA@NNJM)<QJPM<NPMBDIB

.G<DIODAAOJM@<>CJPOOJOC@3IDQ@MNDOT_N?@NDBI<O@?"-AAD>@M IJO<ITJI@@GN@ AJM"

<>>JHHJ?<ODJIN=@><PN@DODN?J>PH@IO@?<I?KP=GDNC@?DI=JOCOC@3IDQ@MNDOT_NJRI!<O<GJBN

<I?1OP?@IO&<I?=JJFNOC<O1OP?@ION><IM@<>COC@3IDQ@MNDOT_N?@NDBI<O@?"-AAD>@M

?DM@>OGTOJKMJ>@NN"<>>JHHJ?<ODJIN''.<B@JAOC@"@4MT )@GG@M!<O<GJB<O

COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT;@?P?)@GG@M;!<O<GJBK?AKMJQD?DIB<NAJGGJRN AJM

@S<HKG@''<GNJ.<B@JAOC@3IDQ@MNDOT_N1OP?@IO&<I?=JJF 4''<GNJ

COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT@?P?NOP?@IO C<I?=JJFK?A

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                 T@H<DGNOJOC@3IDQ@MNDOT_N?@NDBI<O@?"-AAD>@MDIPBPNO .G<DIODAA

>JHKG@O@?OC@I@>@NN<MTK<K@MRJMF<I?<KKGD@?AJM"<>>JHHJ?<ODJIN

                   T@H<DG?<O@?PBPNO <O.+<OO<>C@?#SCD=DO OC@

3IDQ@MNDOT_N?@NDBI<O@?">>JHHJ?<ODJIN-AAD>@M +N?MD@II@$<MH=T 2<TGJM IJODAD@?

.G<DIODAAOC<O.G<DIODAAC<N=@@IBM<IO@?JIGDI@NOP?@IO"<>>JHHJ?<ODJIN



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                   T@H<DG?<O@?1PI?<T +<M>C + .G<DIODAAIJODAD@?"M

MG@I@%JJ?H<I<=JPOCDNS"<>>JHHJ?<ODJIIJOD>@RDOCJPO>JKTDIB<ITOCDM?K@MNJI

'I<M@KGT@H<DGOC<O?<T "M%JJ?H<I<KKGD@?OC@S"@SO@INDJINOJ.G<DIODAA_N

<NNDBIH@IONDIOC@!!2+<M>CN@NNDJI>G<NN<I?NC@>JKD@?C@MA<>PGOT>C<DMK@MNJI

"M(JCI+<>!<OC@MDI@

               .G<DIODAA_NH@?D><G>JI?DODJIRJMN@I@??PMDIB5@@FJAOC@!!2+<M>C

N@NNDJI>G<NN<I?NJ.G<DIODAAMDNF@?DI>PMMDIBG<O@K@I<GOD@N

                   T@H<DG?<O@?2CPMN?<T KMDG +OJ"M%JJ?H<I#SCD=DO! 

.G<DIODAANO<O@?OCDNOJ"M%JJ?H<I

                       \Z'KM@A@MOJRJMF?DM@>OGTRDOCTJPM<OC@MOC<I"JAAD>@DIO@MQ@IODJIN'
                       R<IO@?OJBDQ@TJP<!JPMO@NTKCJI@><GG&JR@Q@M <NK<MOJAK<DI
                       H<I<B@H@IOH@?D><G<?QD>@ '<HPI<=G@OJ><GGZ]
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               5DOCOC@KMDJMPBPNO <?QD>@JA"M5@GNC<I?.MJA@NNJM)<QJPM<NDI

HDI?OJN@@F"<>>JHHJ?<ODJIN .G<DIODAAM@<>C@?JPOOJ+N?MD@II@$<MH=T 2<TGJM RCJ

OC@IAJGGJR@?PKRDOC"M%JJ?H<I=TKCJI@><GGN<I?@H<DGNOJ=JOC.G<DIODAA<I?"M

%JJ?H<IOJ?@O@MHDI@I@>@NN<MT<>>JHHJ?<ODJINAJM.G<DIODAA_NH@?D><G>JI?DODJINDI>@

.G<DIODAA<GM@<?TC<NOC@S">>JHHJ?<ODJI''@H<DG<OO<>C@?#SCD=DO?<O@?KMDG

  .+NO<ODIBOC@AJGGJRDIB

                            \&D+D>C<@G Z'RDGG=@JPOJAOC@JAAD>@JI$MD?<T<I?+JI?<T1CJPG?
                            TJPRDNCOJNK@<FOJH@G@OH@FIJRRC<OODH@'><IM@<>CTJPJI
                            2P@N?<TJM<ITJOC@M?<TI@SOR@@F5DNCDIBTJPR@GGZ]
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                   T@H<DG?<O@?(PI@ <O.+#SCD=DO "@A@I?<IO(JI<OC<I

BM@NO<DI>GP?@?#SCD=DO<NK<MOJA@QD?@I>@RDOCDI<?DN>DKGDI<MTC@<MDIBK<>F<B@UDKADG@

N@@FDIBOJDHKJN@?DN>DKGDI<MT<>ODJI<B<DINO.G<DIODAAJIBMJPI?NOC<O"@A@I?<IOBM@NO<ADI?NDO




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\DIODHD?<ODIB]OC<O.G<DIODAA?DM@>OGTM@<>C@?JPOOJOC@"-AAD>@MAJM"<>>JHHJ?<ODJIN

DIOC@!!2>G<NNDINO@<?JAM@<>CDIBOC@>JPMN@DINOMP>OJM"M%JJ?H<I AJM"

<>>JHHJ?<ODJIN+@<IRCDG@ "M%JJ?H<IDNIJOOC@3IDQ@MNDOT_N"-AAD>@M JOC.MJA@NNJM

)<QJPM<N<I?OC@3IDQ@MNDOTDON@GAPMB@?.G<DIODAAOJ?DM@>OGTM@<>COC@"JAAD>@MOJKMJ>@NN

"<>>JHHJ?<ODJIN#SCD=DO             

                    T@H<DG?<O@?KMDG <O.+ OC@3IDQ@MNDOT_N"-AAD>@M?@>D?@?

OC<OOC@MDBCOK<OCDNOJHJ?DAT=T@SO@I?DIB.G<DIODAA_NKMDJM"<>>JHHJ?<ODJIN2C@"

JAAD>@MN@IOOCDN@H<DGOJ.G<DIODAA<I?>JKD@?"M%JJ?H<I

                             &D+D>C<@G 
                             'CJK@OCDN@H<DGADI?NTJPR@GGZ5@><IRJMFRDOCTJPOJHJ?DATTJPM
                             <>>JHHJ?<ODJINDATJPRDNCOJ?JNJ'C<Q@<GNJM@<>C@?JPOOJ"M
                             %JJ?H<IOJ?DN>PNNTJPM>JI>@MIN'GJJFAJMR<M?OJNK@<FDIBRDOCTJP
                             OJHJMMJR
                             &<Q@<BM@<O?<T 
                             ?MD@II@
                             ?MD@II@$<MH=T2<TGJMV>>JHHJ?<ODJIN!JJM?DI<OJMZ

                 2C@"-AAD>@MN@IOOC@I@>@NN<MT"<>>JHHJ?<ODJINAJMHNOJ.G<DIODAA

<I?.G<DIODAA_N.CTND>D<IOJ>JHKG@O@OC@H<NK<MOJAOC@M@LPDM@?"<>>JHHJ?<ODJINKMJ>@NN

.G<DIODAA>JHKG@O@?OC@AJMHN<I?<POCJMDU@?+N2<TGJMOJ>JIO<>O.G<DIODAA_N1K@>D<GDNO

.CTND>D<I<O.@II+@?D>DI@AJMH@?D><G?J>PH@ION<I?>@MODAD><ODJIN

         
                    T@H<DG?<O@?KMDG <O.+ +N$<MH=T 2<TGJMJ=O<DI@?

.G<DIODAA_N>JHKG@O@?K<MONJAOC@"AJMHNAMJH.G<DIODAA<I?NC@DIAJMH@?.G<DIODAA<=JPO

KMJ>@NNDIBJOC@MI@>@NN<MTH@?D><GQ@MDAD><ODJIN?DM@>OGTAMJH.G<DIODAA_N"J>OJMN+N$<MH=T

2<TGJMNO<O@?OC@AJGGJRDIB

                             &D+D>C<@G 
                             7@N 'C<Q@M@LP@NO@?<??DODJI<G?J>PH@IO<ODJIAMJH"M MJ?_NJAAD>@
                             <I?'<GNJG@AO<QJD>@H<DGAJMCDHJMNJH@JI@JICDNNO<AAOJ>JIO<>OH@
                             M@B<M?DIBOC@DIAJMH<ODJIOC<OR@I@@?DIJM?@MOJHJQ@AJMR<M?RDOCTJPM



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                            M@LP@NOZ'RDGGIJODATTJPRC@I'M@>@DQ@OC@?J>PH@IONJM<M@OPMIKCJI@
                            ><GGAMJHTJPM?J>OJM'RJMF+JI?<T $MD?<T KG@<N@G@OH@FIJRDATJP
                            I@@?<??DODJI<G<NNDNO<I>@
                            &<Q@<BM@<O?<T 
                            ?MD@II@
                            ?MD@II@$<MH=T2<TGJMV>>JHHJ?<ODJIN!JJM?DI<OJM

                 T@H<DG?<O@?KMDG  +#SCD=DO" +N$<MH=T 2<TGJM

<KKMJQ@?HJ?DAD><ODJINOJOC@KMDJMPBPNO"<>>JHHJ?<ODJING@OO@M<I?NC@N@IO

\PK?<O@?">>JHHJ?<ODJIN,JODAD><ODJI*@OO@M]2C@HJ?DAD@?"<>>JHHJ?<ODJIN

G@OO@MNO<O@NOC@AJGGJRDIBDI<OO<>C@?@H<DG#SCD=DO"

                            
                            "@<M+D>C<@G
                            "@4MTC<NM@>@DQ@?TJPMM@LP@NOAJM<>>JHHJ?<ODJIN PI?@MOC@
                            H@MD><INRDOC"DN<=DGDOD@N>O<I??@O@MHDI@?OC<OOC@AJGGJRDIB
                            <>>JHHJ?<ODJIN ><I=@H<?@AJMTJPMJIGDI@>JPMN@N
                            X F;8<CB4A=<0::B4ABA?C8HH4A4F0;A
                            NOP?@IORDOCOCDN<>>JHHJ?<ODJIRDGGB@O6OC@IPH=@MJAHDIPO@N
                            OJO<F@OC@@S<H<NOC@IJI <>>JHHJ?<O@?NOP?@IOKJKPG<ODJI2CDN
                            @SO@INDJIDN<HPGODKGD@MJAHDIPO@N<I??J@NIJO<GGJRAJM<??DODJI<G
                            <OO@HKONJM?<TN2C@NOP?@IODNNODGGM@LPDM@?OJADIDNCOC@@S<H=TOC@
                            G<O@NO+2OC@G<NO?<TJAOC@@S<H'ODNOC@NOP?@IONM@NKJIND=DGDOT
                            OJN<Q@K@MDJ?D><GGTNJOC<OOC@@S<HDI<ODJINRDGGIJOODH@JPO $JM
                            @S<HKG@ DAOC@IJI <>>JHHJ?<O@?KJKPG<ODJIJAOC@>G<NNB@ONORJCJPMN
                            OJO<F@<LPDU<I?OC@<>>JHHJ?<O@?NOP?@IO_NG@OO@MNO<O@N6 OC@IOC@T
                            RDGGM@>@DQ@CJPMN
                            
                            J  F=<8<38D83C0:0AA86<;4<BA DAI@@?@? IJOOJ@S>@@?R@@F
                            ?@<?GDI@IJOOCM@<?@??DN>PNNDJIN 2CDN<>>JHHJ?<ODJIKMJQD?@N6
                            OC@<HJPIOJAODH@JI<NNDBIH@IONIJOOCM@<?@??DN>PNNDJIN<I?IJOOJ
                            @S>@@?OC@G<NO?<TJAOC@>JPMN@2CDN?J@NIJO>JQ@MOCJN@<NNDBIH@IONDI
                            <BMJPKN@OODIBRCD>CHPNONODGG=@>JHKG@O@?JIODH@ <>>JM?DIBOJOC@
                            ?<O@NDIOC@NTGG<=PN7JPH<TM@LP@NODIAJMH<ODJIAMJHTJPMKMJA@NNJM
                            >JI>@MIDIB5@@F<NNDBIH@IONNO<MODIB+JI?<TR@@F
                             $JM@S<HKG@DA<I<NNDBIH@IOR<N?P@JI1PI?<TOC@IOC@NOP?@IORDOC
                            OCDN@SO@INDJIRJPG?C<Q@OJOPMIDIOC@<NNDBIH@IOOC@AJGGJRDIB1PI?<T
                            =TKH+12Z
                            .G@<N@G@OPNFIJRDATJPC<Q@<ITLP@NODJINJM>JI>@MIN
                            
                              @NO5DNC@N 
                            ?MD@II@2<TGJM
                            >>JHHJ?<ODJIN!JJM?DI<OJM



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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 23 of 286 PageID #:23
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                  
                5DOCOC@KMDJMPBPNO M@>JHH@I?<ODJIJA.MJA@NNJM(JCI)<QJPM<NDI

HDI?#SCD=DO        <I?CDN@SO@INDJIJAJK@I<MHNOJ.G<DIODAAOJM@<>CJPOOJCDHDA.G<DIODAA@Q@M

I@@?N<NNDNO<I>@ =T@H<DG?<O@?KMDG  .+ <OO<>C@?<N\#SCD=DO" ].G<DIODAA

M@<>C@?JPOOJ.MJA@NNJM)<QJPM<NAJMBPD?<I>@M@B<M?DIBOC@!!2>G<NN<I?OC@PK?<O@?

"<>>JHHJ?<ODJING@OO@MM@B<M?DIBCJROJ<??M@NN"M%JJ?H<I<=JPOOC@G<O@K@I<GOD@N

RCDG@OC@"JAAD>@MR<NKMJ>@NNDIBOC@"<>>JHHJ?<ODJI@SO@INDJIN

                  T@H<DG?<O@?KMDG  +<OO<>C@?#SCD=DO! .MJA@NNJM

)<QJPM<NM@KGD@?OJ.G<DIODAAOC<OC@DNIJGJIB@MA<>PGOT>C<DMK@MNJI<I?NJC@DNM@A@MMDIB

.G<DIODAAOJ<IJOC@M3IDQ@MNDOT?HDIDNOM<OJMD@"M CPKDI?@M1M<I OJBPD?@.G<DIODAA

               .MJA@NNJM)<QJPM<N<?QDN@?OC<OOC@!!2BM<?@><I=@>C<IB@?

M@OMJ<>ODQ@GT@Q@IDAOC@>G<NNN@NNDJI@I?N1J .G<DIODAANCJPG?IJORJMMTOJJHP>C<=JPOB@OODIB

OC@K@I<GOD@N<GG@QD<O@?MDBCO<R<T2C@JOC@M<?HDIDNOM<OJMNNP>C<N"M CPKDI?@M1M<I<GNJ

<AADMH@?M@OMJ<>ODQ@BM<?@>C<IB@DIOC@@H<DGOCM@<?#SCD=DO! 

               0@OMJ<>ODQ@BM<?@>C<IB@NDN>JINDNO@IORDOCOC@3IDQ@MNDOT_NKP=GDNC@?KJGD>TDI

OC@)@GG@M!<O<GJB.<B@ 

               "M CPKDI?@M1M<IM@A@MM@?.G<DIODAAOJ"@4MT_NNNDNO<IO"@<IJA><?@HD>

#S>@GG@I>@ "M(JCI+<>!<OC@MDI@ RCJDN<GNJOC@$<>PGOT+<I<B@MJA"M%JJ?H<I''

#SCD=DO!<O.<B@

               "M(JCI+<>!<OC@MDI@OJJFJQ@MOC@H<OO@M<I??DM@>O@?.G<DIODAAOJADG@<BM<?@

<KK@<G<=JPOOC@!!2+<M>CN@NNDJI>G<NN=@AJM@C@><I<??M@NN.G<DIODAA_N>JI>@MIN

                   T@H<DG?<O@?KMDG  +<OO<>C@?#SCD=DO! .<B@ "M

+<>!<OC@MDI@RMJO@OCDN

                            +D>C<@G



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                       .G@<N@NP=HDO<GGJATJP9ND>:JPONO<I?DIBRJMF=TOC@ODH@"M%JJ?H<I
                       NK@>DAD@?'IJM?@MAJMH@OJ<??M@NNTJPM>JI>@MIN KG@<N@RJMFRDOCTJPM
                       NPKKJMO<?QDNJMOJNP=HDO<BM<?@<KK@<G<GJIBRDOC<IT?J>PH@IO<ODJI
                       TJPC<Q@OJNPKKJMOTJPM>JI>@MIN'RDGGM@QD@R@Q@MTOCDIBDIOC@>JIO@SO
                       JAOC@>JPMN@M@LPDM@H@ION<I?TJPM"<>>JHHJ?<ODJI<I??@O@MHDI@
                       RC<ODA<IT<?EPNOH@ION><I=@H<?@
                       2C<IFTJPQ@MTHP>C
                       "M(JCI
                       (JCI+<>!<OC@MDI@ .C".+.!.*.1.&0NNDNO<IO"@<IJA><?@HD>
                       #S>@GG@I>@ MDUJI<<I?,@Q<?<
                       
                -I+<T  .G<DIODAAADG@?<AJMH<G@G@>OMJID>%M<?@KK@<GOJ"@4MT

3IDQ@MNDOTM@B<M?DIB"M%JJ?H<I_N!!2+<M>CN@NNDJI>G<NN2C@!<N@,PH=@M

AJMOC<OBM<?@<KK@<GDN<O"@4MT3IDQ@MNDOT2C@3IDQ@MNDOT?DNM@B<M?@?OC@BM<?@

<KK@<G

                   T@H<DG?<O@?+<T  .+ .G<DIODAADIAJMH@?"M+<>!<OC@MDI@OC<O

C@C<NADG@?OC@BM<?@<KK@<G'INPKKJMOJAOC@BM<?@<KK@<G .G<DIODAA<OO<>C@?=JOCCDNADMNO"

IJOD>@<I?OC@HJ?DAD@?"<>>JHHJ?<ODJINIJO@AMJHOC@"-AAD>@M#SCD=DON<I?

" .G<DIODAA<?QJ><O@?OC<OOC@G<O@K@I<GOD@NNCJPG?=@R<DQ@?=@><PN@KMJ>@NNDIBODH@JAOC@

"<>>JHHJ?<ODJINNCJPG?IJOC<Q@<=@<MDIBPKJI.G<DIODAA_NRJMF

                .G<DIODAA<MBP@?RDOCDIOC@!!2BM<?@<KK@<GOC<OOC@KMJ>@NNDIBODH@JA

OC@"HJ?DAD@?<>>JHHJ?<ODJINCJPG?IJO<OOM<>OG<O@K@I<GOD@N<B<DINOCDN!!2N>JM@N

AMJH5@@FN <NNDBIH@ION=@><PN@DODNIJO.G<DIODAA_NA<PGOOC<OOC@"-AAD>@MR<N<R<T

?PMDIBNJH@?<TN.GPN ?J>PH@IOKMJ>@NNDIBRDOC"J>OJMN<I?G<MB@&JNKDO<GNNP>C<N.@II

+@?D>DI@O<F@NNJH@ODH@.G<DIODAA<MBP@?OC<OC@?D?CDNK<MOOJIJODAT"M%JJ?H<I<I?OC@

3IDQ@MNDOT<=JPOCDNC@<GOC<I?C@<Q<DG@?CDHN@GAAJM"HJ?DAD@?<>>JHHJ?<ODJI@SO@INDJIN

OJ=@KMJ>@NN@?=T+N$<MH=T 2<TGJM

                2J?<O@ IJ=J?TDIOC@3IDQ@MNDOTC<N<??M@NN@?.G<DIODAA_NBM<?@<KK@<G><N@IJ

M@B<M?DIBOC@!!2+<M>CN@NNDJI>G<NN



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               1DI>@+<T RC@I.G<DIODAAADG@?OC@BM<?@<KK@<G<=JPO!!2+<M>C

N@NNDJI>G<NNRDOCOC@3IDQ@MNDOT .G<DIODAAC<NIJOM@>@DQ@?IJODAD><ODJIAMJH"M

+<>!<OC@MDI@<I?OC@3IDQ@MNDOT<=JPOOC@JPO>JH@JAOC<OBM<?@KK@<G!<N@,PH=@M

?@NKDO@"M+<>!<OC@MDI@_N@H<DG#SCD=DO! PMBDIB.G<DIODAAOJADG@OC<OBM<?@

<KK@<GAJMCDHOJM@QD@RDO

                 T@H<DGN?<O@?(PI@ <O.+.+>JIO<DI@?RDOCDIOC@(PI@

NOP?@IO>JI?P>OC@<MDIBK<>F@O#SCD=DON  ' "@A@I?<IOBM@NO<IJODAD@?.G<DIODAA

<=JPOQDJG<ODJIJAOC@3IDQ@MNDOT_N1OP?@IO!J?@JA!JI?P>ODIO@M<GD<=@><PN@.G<DIODAANJPBCO

<I?KMJ>@NN@?"<>>JHHJ?<ODJINAMJHOC@3IDQ@MNDOT_N"JAAD>@M

              "@A@I?<IOBM@NO<<OO<>C@?<8DK$DG@OJOC<O>JI?P>OC@<MDIBK<>F@O<N@QD?@I>@

<B<DINO.G<DIODAADI>GP?DIB.G<DIODAA_NKM@QDJPN"<>>JHHJ?<ODJI>JMM@NKJI?@I>@?PMDIBOC@

KMJ>@NNDIBJA"<>>JHHJ?<ODJINRDOCOC@3IDQ@MNDOT_N"-AAD>@M

              2C@<OO<>C@?#SCD=DON 'C@M@RDOC<M@OC@@S<>O@SCD=DON"@A@I?<IOBM@NO<

DI>GP?@?RDOCDIOC@?DN>DKGDI<MTC@<MDIBK<>F@O8DK$DG@OC<OR<N<KK@I?@?OJ?@A@I?<IO

BM@NO<_N(PI@ @H<DG#SCD=DO >C<MBDIB.G<DIODAAAJMQDJG<ODIBOC@"@4MT1OP?@IO

!J?@JA!JI?P>O<GNJ=@><PN@.G<DIODAAM@LP@NO@? KMJK@MGTKMJ>@NN@? <I?J=O<DI@?"

<>>JHHJ?<ODJINAMJHOC@3IDQ@MNDOT_N"JAAD>@M

              5DOCDIOC@(PI@>JI?P>OUDKADG@K<>F@O#SCD=DON  ' "@A@I?<IO

BM@NO<>C<MB@?.G<DIODAAAJMNOP?@IO>J?@JA>JI?P>OQDJG<ODJIJIBMJPI?NOC<O.G<DIODAAM@<>C@?

JPO=@TJI?CDN+<M>C!!2>JPMN@DINOMP>OJMOJOC@3IDQ@MNDOT_N?@NDBI<O@?"

>>JHHJ?<ODJIN-AAD>@MOJ\B@OCDNR<T]=TN@@FDIB"<>>JHHJ?<ODJINAMJHOC@"

-AAD>@M IJOOC@>JPMN@DINOMP>OJM#SCD=DO K "@A@I?<IOBM@NO<<OO<>C@?#SCD=DON

%OJOC@C@<MDIBK<>F@OUDKADG@




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 26 of 286 PageID #:26
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               .G<DIODAA?@ID@?<ITHDN>JI?P>OJICDNK<MOJIBMJPI?NOC<OEPNO<N.MJA@NNJM

)<QJPM<NNO<O@?DI#SCD=DO <I?DI>JINJI<I>@RDOCOC@3IDQ@MNDOT_NJRI"

<>>JHHJ?<ODJINKJGD>D@NDIOC@KP=GDNC@?><O<GJBN DOR<N.G<DIODAA_NM@NKJIND=DGDOTOJN@@F"

<>>JHHJ?<ODJINOCMJPBCOC@3IDQ@MNDOT_N?@NDBI<O@?"-AAD>@M IJOOCMJPBCOC@>JPMN@

DINOMP>OJMNNP>C<N"M%JJ?H<I=@><PN@PIGDF@?@NDBI<O@?OM<DI@?"-AAD>@MN >JPMN@

DINOMP>OJMN<M@IJOOM<DI@?OJC<I?G@<I?KMJ>@NNM@LP@NONAJM"<>>JHHJ?<ODJIN.G<DIODAA

?@ID@?<ITHDN>JI?P>OAJMM@<>CDIBJPOOJOC@3IDQ@MNDOT_N?@NDBI<O@?">>JHHJ?<ODJIN

-AAD>@M

               5DOCDIOC@(PI@>JI?P>OK<>F@O<GNJ#SCD=DON  ' "@A@I?<IO

BM@NO<>C<MB@?<I?N<I>ODJI@?.G<DIODAAAJMNOP?@IO>J?@JA>JI?P>OQDJG<ODJIJIBMJPI?NOC<ODO

R<N=<?\DI>D?@IOJA>C<M<>O@MM@A@M@I>@]AJM.G<DIODAAOJM@<>CJPOOJ"@4MT.MJA@NNJM(JCI

)<QJPM<NAJMBPD?<I>@#S K 'INPKKJMOJAOCDN<GG@B<ODJIJA=<?>C<M<>O@MM@A@M@I>@ 

?@A@I?<IOBM@NO<<OO<>C@?#SCD=DO"<N@QD?@I>@''<GNJ#SCD=DO!AJMAPGG?@O<DGN<=JPO

OCDN

               5DOCDI@H<DGN#SCD=DO    .G<DIODAA<GNJ?@ID@?<ITHDN>JI?P>OJMDIODHD?<ODJI

AJMH@M@GTM@<>CDIBJPOOJ.MJA@NNJM)<QJPM<NAJM<?HDIDNOM<ODQ@BPD?<I>@=@><PN@@H<DG#SCD=DO

 NCJRN.MJA@NNJM)<QJPM<NI@Q@MOJJFDNNP@RDOC.G<DIODAAM@<>CDIBJPOOJCDH''<GNJ

<OO<>C@?@H<DG#SCD=DON AJMCDNOJMD><G=<>FBMJPI?@QD?@I>@DI<NOJRCT.G<DIODAA

M@<>C@?.MJA@NNJM)<QJPM<NDIK<MOD>PG<MDI

               5DOCJPO<IT@QD?@IOD<GM@>JM?JA<GG@B@?(PI@ KCJI@><GGRDOCDIOC@(PI@

>JI?P>OC@<MDIBK<>F@O@H<DGN#SCD=DON  ' "@A@I?<IOBM@NO<<GNJ>C<MB@?<I?

N<I>ODJI@?.G<DIODAAAJM=@DIB\MP?@]DI<O@G@KCJI@><GG.G<DIODAAKG<>@?OCMJPBC"@4MT

3IDQ@MNDOT!@IOM<GKCJI@JI(PI@ OJ?@A@I?<ION"@=)JAAH<I<I?)MDNODI@)@<MI@T




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M@B<M?DIB?@G<T@?KMJ>@NNDIBJA.G<DIODAA_NO@SO=JJF>M@?DO=<G<I>@M@API?.G<DIODAA?@ID@N=@DIB

MP?@OJ<IT=J?T<I?.G<DIODAA?@ID@?N<TDIB?@A@I?<IO"@=)JAAH<IR<N\NOPKD?]?JDIB<

\NOPKD?]EJ=

               5DOCDIOC@(PI@>JI?P>OC@<MDIBK<>F@O@H<DGN#SCD=DON  ' 

"@A@I?<IOBM@NO<>C<MB@?<I?NPHHJI@?.G<DIODAAAJM?DN>DKGDI<MT<>ODJIAJMQDJG<ODIBMOD>G@

'''JAOC@1OP?@IO!JI?P>O!J?@JIBMJPI?NOC<O.G<DIODAAOCM@<O@I@?OJNP@)@GG@MJM.G<DIODAA

<NN@MO@?CDNMDBCO\OJNP@)@GG@M]?PMDIBCDN(PI@ O@G@KCJI@>JIQ@MN<ODJIRDOC?@A@I?<IO

)@<MI@T

              .G<DIODAA?@ID@?<IT>JI?P>OQDJG<ODJIDIC@M@IODIOC<O=@><PN@<\OCM@<OOJNP@]

OC@3IDQ@MNDOTDI!JPMOJM<NN@MODIBOC@MDBCOOJK@ODODJIDNIJO<>ODJI<=G@OCM@<OJAKCTND><G

QDJG@I>@JMHDN>JI?P>O-IGT\OMP@OCM@<ON]JAKCTND><GQDJG@I>@<M@<>ODJI<=G@JMKPIDNC<=G@

4''#S K .G<DIODAA<?HDON<NN@MODIBCDNMDBCOOJNP@)@GG@MAJMCDNHJI@T2C<ODNIJO

HDN>JI?P>O

          GNJRDOCDIOC@(PI@>JI?P>OC@<MDIBK<>F@O@H<DGN#SCD=DON  ' 

"@A@I?<IOBM@NO<N@DU@? NPHHJI@? <I?>C<MB@?.G<DIODAAAJMQDJG<ODIBMOD>G@'''JAOC@

NOP?@IO>J?@JA>JI?P>OJIBMJPI?NOC<O.G<DIODAAN@IONJ ><GG@?\DIODHD?<ODJI@H<DGN]OJCDN

+<M>CN@NNDJI!!2>G<NN>JPMN@DINOMP>OJM"MMG@I@%JJ?H<I =@><PN@.G<DIODAA

>JKD@?HPGODKG@"@<IN <.MJA@NNJM <I?HJM@@NK@>D<GGT=@><PN@.G<DIODAA>JKD@?OC@3IDQ@MNDOT

.MJQJNO"@A@I?<IO1C<IO<IP JN@ JIOC<O@H<DGKMDG #SCD=DO'"@A@I?<IO JN@?D?

IJOK@MNJI<GGTDI?D><O@<ITKMJ=G@HRDOC.G<DIODAA>JKTDIBCDHJIOC<O@H<DG

          "@A@I?<IOBM@NO<DI>GP?@?OC@<AJM@H@IODJI@?\DIODHD?<ODJI@H<DG]<NK<MOJA

OC@8DKADG@<OO<>C@?OJOC@(PI@>JI?P>OC@<MDIBK<>F@O@H<DG#SCD=DO 




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 28 of 286 PageID #:28
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          .G<DIODAA?@ID@?<ITHDN>JI?P>OJADIODHD?<ODJI=@><PN@OC@>JIO@IOJAOC<O@H<DG

#SCD=DO' DNKPM@GT<=JPO<?@O@>O@?BGDO>CJM<H=DBPDOTRDOCDI<HPGODKG@>CJD>@LP@NODJIDI

OC@!!2>G<NN<NNDBIH@IO

          .G<DIODAA?@ID@?<ITHDN>JI?P>OJADIODHD?<ODJI=@><PN@OC<O@H<DG#SCD=DO' 

?J@NIJONCJR<IT<>ODJI<=G@DIODHD?<ODJIJAKCTND><GQDJG@I>@<O<GGJIDONA<>@'ODNKPM@GT

<><?@HD>>JIO@IO

           .G<DIODAA?@ID@?<IT<>ODJI<=G@\DIODHD?<ODJI]DIOC<O@H<DG#SCD=DO' <GNJ

=@><PN@.G<DIODAA=@GD@Q@NC@C<?<MDBCOOJQJD>@CDN<><?@HD>>JI>@MINOJ3IDQ@MNDOT

?HDIDNOM<OJMNDI<POCJMDOTOJ?@<GRDOCOC@K@MAPI>OJMT<><?@HD>NTNO@HN<I?<H=DBPJPN

<><?@HD>LP@NODJINOC<OJIGT?DNOM<>O<I?>JHKMJHDN@LP<GDOTJA@?P><ODJI

           .G<DIODAA>JKD@?<?HDIDNOM<OJMNJIOC<O@H<DG#SCD=DO' =@><PN@OC@3IDQ@MNDOT_N

<?HDIDNOM<ODJI<GR<TNN@@FNOP?@IOA@@?=<>F <NDI#SCD=DO! AJM@S<HKG@.G<DIODAAAJPI?OC@

K@MAPI>OJMT<><?@HD>DNNP@DIOC@+<M>C!!2>G<NN<N<IJKKJMOPIDOTOJBDQ@<HJM@

>JIO@SOP<GA@@?=<>FOJOC@3IDQ@MNDOT_N<?HDIDNOM<ODJI<=JPODNNP@NJM<><?@HD>>JI>@MIN

NOP?@IONNP>C<N.G<DIODAA<M@A<>DIB<O"@4MT

           .G<DIODAA>JKD@?OC@3IDQ@MNDOT.MJQJNO "@A@I?<IO JN@ JIOC<O@H<DG#SCD=DO

' =@><PN@OC@3IDQ@MNDOT_N.M@ND?@IO"@A@I?<IO <MOCJGJH@R C<N@SKM@NNGTNO<O@?DICDN

JK@IDIBH@NN<B@NKP=GDNC@?RDOCDIOC@)@GG@M><?@HD>!<O<GJBOC<O<GGOC@3IDQ@MNDOT_NA<>PGOT

<I?<?HDIDNOM<ODQ@NO<AA@SDNOOJNPKKJMO1OP?@ION<I?NJNOP?@IONNCJPG?IJOC@NDO<O@OJM@<>CJPO

OJOC@H

           "@A@I?<IOBM@NO<<OO<>C@?<N@>JI?@H<DGRDOCDIOC@(PI@>JI?P>OK<>F@O

#SCD=DON  ' M@B<M?DIB.G<DIODAAM@KJMODIB<O@>CID><GBGDO>COJOC@3IDQ@MNDOT_N'2C@GK

?@NFRC@IOC@+<M>C!!2>JPMN@KJMO<GKM@Q@IO@?.G<DIODAAAMJHNP=HDOODIBCDN




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N>CJJGRJMF4''@H<DGOCM@<?#SCD=DO!AJM?@O<DGN 2C@>JIO@IOJAOC<O@H<DGNCJRNOC<O

.G<DIODAAM@<>C@?JPOOJ'2&@GK"@NF<I?<?HDIDNOM<ODQ@"@<I"M+<>!<OC@MDI@M@B<M?DIBRC<O

OJ?J<I?OC@TM@ JK@I@?OC@KJMO<GAJM.G<DIODAAOJNP=HDOCDNRJMF2C@M@R<NIJ<>ODJI<=G@

DIODHD?<ODJIJAKCTND><GQDJG@I>@DIOC<O@H<DG=@><PN@.G<DIODAAC<N?POTOJM@KJMOO@>CID><G

BGDO>C@N<I?K@MAPI>OJMT@?P><ODJI<GNTNO@HN<AA@>ODIBCDN<><?@HD>RJMF

           5DOCDIOC@(PI@>JI?P>OK<>F@O#SCD=DON  ' "@A@I?<IOBM@NO<

<GNJN@DU@? >C<MB@? <I?N<I>ODJI@?.G<DIODAAAJMQDJG<ODIBMOD>G@'''JAOC@"@4MTNOP?@IO>J?@

JA>JI?P>OJIBMJPI?NOC<O.G<DIODAA>JKD@?OC@31"@K<MOH@IOJA#?P><ODJI_N-AAD>@JA!DQDG

0DBCON\-!0] OJ<GG@B@M<>D<G?DN>MDHDI<ODJI4''#SCD=DO KK  OC<OC<KK@I@??PMDIB

.G<DIODAA_N,JQ@H=@MN@NNDJI PNDI@NN#>JIJHD>NBM<?P<O@>JPMN@4''@H<DG#SCD=DO

AJM<>OP<GAPGGQ@MNDJIJAOC<O@H<DG?@O<DGNAJMOC@?<O@ 

          .G<DIODAA?@ID@?<ITHDN>JI?P>OJA<>ODJI<=G@KCTND><GDIODHD?<ODJIDIOC<O@H<DG

#SCD=DO>DO@?RDOCDIOC@>JI?P>OC@<MDIBK<>F@O#SCD=DO KK  =@><PN@.G<DIODAAC<N

M@NKJIND=DGDOTOJM@KJMO<KK@<M<I>@NJAM<>D<G?DN>MDHDI<ODJIOJ<A@?@M<G@IAJM>@H@IO<B@I>TNP>C

<NOC@-!0<I?JMOJ>JHKG<DIOJ3IDQ@MNDOT<?HDIDNOM<OJMN<=JPOM<>D<G?DN>MDHDI<ODJI<I?

CJNODG@@?P><ODJI<G@IQDMJIH@IO

          5DOCDIOC@(PI@>JI?P>OC@<MDIBUDKADG@K<>F@O#SCD=DON ' 

"@A@I?<IOBM@NO<<GNJNPHHJI@? >C<MB@? <I?N<I>ODJI@?.G<DIODAAAJMQDJG<ODIBMOD>G@'''JA

OC@"@4MTNOP?@IO>J?@JA>JI?P>OJIBMJPI?NOC<O.G<DIODAAC<NK<NO=<?>C<M<>O@MDI>D?@IOJA

ADGDIBBM<?@<KK@<GNJMN@@FDIB'I>JHKG@O@BM<?@N4''#SCD=DO K 

          .G<DIODAA?@ID@?<ITHDN>JI?P>OJIBMJPI?NJAADGDIBBM<?@<KK@<GNRDOCOC@

3IDQ@MNDOT=@><PN@OC@3IDQ@MNDOT_NJRI>JIOM<>OP<GKP=GDNC@?!<O<GJBKMJQD?@N%M<?@KK@<GN




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<I?'I>JHKG@O@%M<?@ <NM@LPDM@?=TOC@#?P><ODJIH@I?H@ION>OJA 

COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT;@?P?)@GG@M;!<O<GJBK?A <O.<B@N

          .G<DIODAAADGDIBBM<?@<KK@<GNRDOCOC@3IDQ@MNDOTDNIJOHDN>JI?P>O=@><PN@4''

#SCD=DO!<O.<B@ AJM@S<HKG@ "@4MT_NJRINNDNO<IO"@<I "M(JCI+<>!<OC@MDI@ ?DM@>O@?

.G<DIODAADI<IKMDG @H<DGOJ\ADG@<BM<?@<KK@<G]M@B<M?DIBOC@!!2+<M>C

N@NNDJI_N>G<NN=@AJM@C@>JPG?M@QD@R.G<DIODAA_N>JI>@MIN''<GNJ#SCD=DOAJM@H<DG?<O@?

(PG  .+RC@M@"@4MT_NO@IPM@?NNJ>D<O@.MJA@NNJM)<OCMDI@&@INJI +<>F .C"

O@GGN.G<DIODAA+05'3#.+#OJADG@<IJAAD>D<GBM<?@<KK@<G<=JPOOC@+2&!G<NN

          .G<DIODAA<Q@MNOC<ODODNIJOHDN>JI?P>OJMHDN=@C<QDJMOJADG@BM<?@<KK@<GN

RC@M@<N3IDQ@MNDOT<?HDIDNOM<OJMN<I?>JPMN@DINOMP>OJMNOC@HN@GQ@N@Q@IDINOMP>O@?.G<DIODAAOJ

\ADG@BM<?@<KK@<G]

           "@A@I?<IOBM@NO<<GNJ<>>PN@?<I?N<I>ODJI@?.G<DIODAAAJM>JI?P>OQDJG<ODJI=T

<OO<>CDIBOJOC@(PI@>JI?P>OK<>F@O<JI@T@<MJG?PBPNO <GG@B<ODJI#SCD=DO 

K >G<DHDIBOC<O.G<DIODAAR<N\MP?@]RC@IC@\M@APN@?OJQ@MDATCDND?@IODOT]?PMDIB<GDQ@>C<O

JIOC@3IDQ@MNDOT_NR@=NDO@<I?.G<DIODAAR<N\PI<=G@OJ@I?<GDQ@>C<ON@NNDJIR@GG]JIOC@

3IDQ@MNDOT_NR@=NDO@RDOC?@A@I?<IO+@B<I+DC@GD>CRC@I.G<DIODAAM@LP@NO@?DIAJMH<ODJI<=JPO

RCJDN)@GG@M_NI@R\+<DI"@<I]JM,<ODJI<G"@<I <I?!@IO@M"@<IAJM.CDG<?@GKCD<!<HKPN

           .G<DIODAA?@ID@?<ITHDN>JI?P>O?PMDIBOC<OGDQ@>C<ORCDG@KJDIODIBJPODI@H<DG

#SCD=DO OJ"@A@I?<IOBM@NO<OC<ODADI?@@?.G<DIODAAM@APN@?OJ\Q@MDATCDND?@IODOT]JIOC<O

GDQ@>C<O OC@I>M@?D=DGDOTJAOC<O>G<DHDNLP@NODJI<=G@M@B<M?DIBCJROC@N<H@"@A@I?<IO

+DC@GD>COCDIFNDOR<N<>OP<GGT.G<DIODAARCJ?D?OC<OGDQ@>C<OOJ=@BDIRDOC

           2C@3IDQ@MNDOT?D?IJO>JI?P>OOC@(PI@ ?DN>DKGDI<MTC@<MDIBDI K@MNJI

''#SCD=DO KK ?@N>MD=DIBOC@AJMH<O<I?AJMPHJAOC@C@<MDIB.G<DIODAAJ=E@>O@?OJ<




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QDMOP<GC@<MDIBJIKMJ>@?PM<GBMJPI?NOC<ODODNIJO<2312'3AJMPHAJM?P@KMJ>@NNC@<MDIBDAOC@

3IDQ@MNDOT><IIJO>JI?P>OOC@C@<MDIBDI K@MNJIJIJI@JADONGJ><G><HKPN@NM@B<M?G@NNJAOC@

K<I@GH@H=@MN=@DIB?M<RIAMJHJOC@M><HKPN@NDI?DAA@M@IO1O<O@NI<ODJIRD?@#SCD=DO        

.G<DIODAAM@LP@NO@?OC<OOC@(PI@ >JI?P>OC@<MDIBNCJPG?=@>JI?P>O@?DI K@MNJIJIJI@

JAOC@3IDQ@MNDOT_NGJ><G><HKPNJAAD>@NDI,@R(@MN@TJM.@IINTGQ<ID<4''#.41B@I@M<GGT@H<DG

#SCD=DON# $ <I?#S 

           .G<DIODAAK<MOD>DK<O@?DIOC@(PI@ ?DN>DKGDI<MTC@<MDIBRDOCJPO<I

OOJMI@T <?QDN@M JMRDOI@NN

           ,JI@JAOC@3IDQ@MNDOT_NRDOI@NN@N<OO@I?@?OC@(PI@ >J?@JA>JI?P>O

C@<MDIB

          2C@3IDQ@MNDOTM@>JM?@?OC@(PI@ >JI?P>OC@<MDIB.G<DIODAARDGG

NP=KJ@I<DONJJI 

          "PMDIBOC@(PI@ ?DN>DKGDI<MTC@<MDIB OC@.<I@GH@H=@MN?@A@I?<ION

0PNN@GG 1>CHDOU <I?"_1JPU< @SKM@NN@?OC@DM>JIAPNDJI<=JPO@S<>OGTRC<ODN.G<DIODAA_N

>JI?P>OQDJG<ODJI

          "PMDIBOC<O(PI@ ?DN>DKGDI<MTC@<MDIB "@A@I?<IO"_1JPU<?@H<I?@?

@QD?@I>@JAOC@(PI@ O@G@KCJI@>JIQ@MN<ODJIRC@M@.G<DIODAA<GG@B@?GTN<D?"@A@I?<IO

"@=)JAAH<IR<N?JDIB<NOPKD?EJ=NJOC<OOC@K<I@G><IC@<MDOAJMOC@HN@GQ@N<I?H<F@<

EP?BH@IO&JR@Q@M "@A@I?<IOBM@NO<<?QDN@?OC@.<I@GDNONOC<OOC@M@R<NIJM@>JM?@?

O@G@KCJI@><GG@QD?@I>@7@O C@KMJ>@@?@?RDOCOC@C@<MDIB<=N@IO<IT@QD?@I>@<I?<=N@IO

"@A@I?<IO)JAAH<I<OO@I?DIBOC@C@<MDIBOJ=@>MJNN @S<HDI@?AJM>M@?D=DGDOT<NN@NNH@IOJA

OC@DMNO<O@H@ION




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 32 of 286 PageID #:32
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          "PMDIBOC@(PI@ >JI?P>OC@<MDIB ?@A@I?<IO"_1JPU<?@H<I?@?OC<OOC@

<GG@B@?DIODHD?<ODJI@H<DGNAMJH.G<DIODAANCJPG?=@KG<>@?JIOC@N>M@@IAJMH@H=@MNJAOC@

.<I@GOJ?@O@MHDI@AJMOC@HN@GQ@NRC@OC@M.G<DIODAA<>OP<GGTQDJG<O@?OC@"@4MT3IDQ@MNDOT

1OP?@IO!JI?P>O!J?@JMIJO

          "PMDIBOC@(PI@ ?DN>DKGDI<MTC@<MDIB .G<DIODAA?@ID@?PINP=NO<IOD<O@?

<GG@B<ODJINOC<OC@N<D??@A@I?<IO)JAAH<IR<NNOPKD?JMNC@R<N?JDIB<NOPKD?EJ=Q@MDATDIB

NOP?@IODIAJMH<ODJIOC<ORJPG?NODGG=@Q@MDAD@?<ITR<T=TOC@1OP?@IO1PKKJMO?QDN@MNRC@I

NC@OM<INA@MNOC@O@G@KCJI@><GGOJOC@NOP?@IONPKKJMO<?QDN@MNJI"@4MT!@IOM<G

           .G<DIODAA>G<MDAD@?OC<OC@R<N>JI>@MI@?RDOCOC@R<NO@JAODH@DIC@M@IODIOC<O

O@G@KCJI@KMJ>@?PM@<I?C@OCDIFNJIGTOC@1OP?@IO1PKKJMO?QDN@MNOC@HN@GQ@NNCJPG?Q@MDAT

CDNDIAJMH<ODJINDI>@OC@KCJI@><GGRJPG?=@OM<INA@MM@?OJOC@H<ITR<T

           "PMDIBOC@(PI@ ?DN>DKGDI<MTC@<MDIB .G<DIODAA<NN@MO@?OC<ODOR<N

PIG<RAPGAJMOC@3IDQ@MNDOTOJN@DU@<I?NPHHJICDHOJ<?DN>DKGDI<MTC@<MDIBAJMM@<>CDIBJPOOJ

OC@3IDQ@MNDOT_N"-AAD>@M+N?MD@II@$<MH=T2<TGJM OJN@@F"<>>JHHJ?<ODJIN

<I?KMJ>@NNDIB

           "PMDIBOC@(PI@ NOP?@IO>JI?P>OC@<MDIB .G<DIODAA<MBP@?OC<O>JINDNO@IO

RDOCOC@3IDQ@MNDOT_NJRI!<O<GJBN<I?1OP?@IO&<I?=JJFN 3IDQ@MNDOT?HDIDNOM<OJMNNP>C<N

.MJA@NNJM)<QJPM<NKMJK@MGT<?QDN@?.G<DIODAAOJN@@F"<>>JHHJ?<ODJINAMJHOC@"

-AAD>@M <I?IJOAMJH>JPMN@DINOMP>OJMNNP>C<N"M%JJ?H<I

                 T@H<DG?<O@?(PI@  .+#SCD=DO# "@A@I?<IOBM@NO<IJODAD@?

.G<DIODAAOC<OOC@3IDQ@MNDOTC<NDHKJN@?<?DN>DKGDI<MTN<I>ODJI\R<MIDIB<I?M@KMDH<I?]<B<DINO

.G<DIODAAKPMNP<IOOJMOD>G@'4 1<I>ODJIN < DIQDJG<ODJIJAMOD>G@'''JAOC@"@4MTNOP?@IO

>J?@JA>JI?P>ODIGDBCOJAOC@<GG@B<ODJINDIOC@C@<MDIBK<>F<B@#S 




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 33 of 286 PageID #:33
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           2C@(PI@N<I>ODJIR<MIDIBG@OO@MDN>JIO<DI@?RDOCDI#SCD=DO#.G<DIODAA

R<NBDQ@IN@Q@I ?<TNOJ<KK@<G

          "@A@I?<IOBM@NO<?DM@>O@?.G<DIODAAOJN@I?CDN<KK@<G<B<DINOOC@>J?@JA

>JI?P>OQDJG<ODJIOJOC@N<H@"@A@I?<IOBM@NO<&

          .<B@JAOC@ "@4MT1OP?@IO&<I?=JJF_N>J?@JA>JI?P>O

KMJ>@?PM@NKMJQD?@NDI.<B@OC<O\ZKK@<GNHPNO=@KMJ>@NN@?=T<IDI?DQD?P<GRDOC<=

>@8=@8<D=:D4;4<BDIDIDOD<G?@O@MHDI<ODJIJMC@<MDIBZ@HKC<NDN<??@? ''#SCD=DO

                T@H<DG?<O@?(PI@ <O.+ .G<DIODAA<MBP@?OC<O?@A@I?<IO

BM@NO<K<MOD>DK<O@?DIOC@(PI@ C@<MDIBOC@M@AJM@ C@NCJPG?IJO=@M@>@DQDIBJM

C<I?GDIB.G<DIODAA_NKK@<G#SCD=DO "@A@I?<IOBM@NO<?D?IJOM@>PN@CDHN@GAAMJH

M@>@DQDIB.G<DIODAA_N<KK@<G

                T@H<DG?<O@?(PI@ <O.+ .G<DIODAANP=HDOO@?CDN<KK@<GOJ

?@A@I?<IOBM@NO<#SCD=DO 

                T@H<DG?<O@?(PGT <O+ "@A@I?<IOBM@NO<<?QDN@?.G<DIODAAOC<O

C@C<NAJMR<M?@?OC@<KK@<GOJOC@<KK@<GM@QD@R@MRDOCJPO?DN>GJNDIBOC@I<H@JAOC@<KK@<G

M@QD@R@M

           2C@I<H@JAOC@NOP?@IO>JI?P>O=J<M?<KK@<GM@QD@R@MDN<GNJPI?DN>GJN@?DIOC@

 "@4MT1OP?@IO&<I?=JJF

                 T@H<DG?<O@?(PGT <O.+ ?@A@I?<IOG<I1CDFJRDOUIJODAD@?

.G<DIODAA<=JPOOC@JPO>JH@JACDN<KK@<G#SCD=DO 5DOCJPO<IT@SKG<I<ODJI "@A@I?<IO

1CDFJRDOUPKC@G?OC@(PI@?DN>DKGDI<MTN<I>ODJINJA\R<MIDIB<I?M@KMDH<I?]




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         Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 34 of 286 PageID #:34
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             .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<O"@A@I?<IOBM@NO<K@MNJI<GGTN@G@>O@?

"@A@I?<IO1CDFJRDOUOJM@QD@R.G<DIODAA_N(PI@NOP?@IO>JI?P>O>J?@QDJG<ODJI<KK@<G

=@><PN@OC@NOP?@IOC<I?=JJF?J@NIJO<POCJMDU@"@A@I?<IO1CDFJRDOUOJ=@<KK@<GM@QD@R@M

             $JGGJRDIBOC@(PI@>JI?P>OKMJ>@@?DIBN <MJPI?(PGT  .G<DIODAAN@IO

@H<DGN<I?@G@>OMJID>?J>PH@IONOJOC@3IDQ@MNDOT_N0@BDNOM<MOCMJPBC1OP?@IO1PKKJMO?QDN@M 

+N1<T@I<1<?@FDI.G<DIODAA?@>G<M@?OC<OC@?J@NIJOR<IOOJC<Q@<ITOCDIBOJ?JRDOC

"@4MT_N.@IINTGQ<ID<!<HKPN<I?C@?J@NIJOR<IO.@IINTGQ<ID<><HKPNJAAD>D<GNOJC<I?G@

<ITJACDNADG@N.G<DIODAAI@Q@M<POCJMDU@?<IT=J?TOJ?@NDBI<O@CDN><HKPNGJ><ODJI<N

.CDG<?@GKCD< .@IINTGQ<ID<><HKPN

             'I(PGT .G<DIODAA>C<IB@?CDN><HKPNGJ><ODJIAMJHJIGDI@NOP?@IOOJ,JMOC

     MPINRD>F ,@R(@MN@T GJ><ODJIRDOCOC@<NNDNO<I>@JA+N1<?@FDI#SCD=DO" 

            'I,JQ@H=@MN@NNDJI .G<DIODAA@IMJGG@?DIOC@JIGDI@BM<?P<O@G@Q@G>G<NN

KKGD@?+<I<B@MD<G1O<ODNOD>N\+2& ] <O"@4MT3IDQ@MNDOT2C@>JPMN@DINOMP>OJMR<N<

NNJ>D<O@.MJA@NNJM )<OCMDI@&@INJI +<>F .C"

             !JINDNO@IORDOCOC@KMJQDNDJINAJM'I>JHKG@O@%M<?@NDI.<B@N JAOC@

)@GG@M!<O<GJB 4''@SOM<>O@?K@MODI@IOK<MOJAOC@)@GG@M!<O<GJB<OO<>C@?C@M@RDOC<N

#SCD=DO       .G<DIODAA<I?"M&@INJI +<>F<BM@@?<I?KMJ>@NN@?'I>JHKG@O@BM<?@AJMOC@

+2&!G<NN#SCD=DO ?P@OJ.G<DIODAA_NDGGI@NN#SCD=DON  

             MJPI?(<IP<MT  >JINDNO@IORDOCOC@3IDQ@MNDOT_N!<O<GJBKMJQDNDJINDI

#SCD=DO" .G<DIODAA>JIO<>O@?"M&@INJI +<>FOJ@SO@I?OC@'I>JHKG@O@BM<?@RC@IOC@

'I>JHKG@O@BM<?@R<N<=JPOOJOPMIOJ?@A<PGOA<DGDIBBM<?@#SCD=DO 


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       )@GG@M!<O<GJB 
COOKNRRR?@QMT@?P>JIO@IO?<H?QPRRR;?@QMT;@?P?)@GG@M;!<O<GJBK?A
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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 35 of 286 PageID #:35
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           -I(<IP<MT "M&@INJI +<>FG@AO<QJD>@H<DGJI.G<DIODAA_NKCJI@

#SCD=DO <I?NC@NO<O@?<OOC@@I?JAC@MQJD>@H<DG#SCD=DO! OJ.G<DIODAAOC<ONC@

>JPG??J<I$ BM<?@JQ@M MPG@G<O@MJI<AO@MOC@'I>JHKG@O@BM<?@>C<IB@NOJ?@A<PGOA<DGBM<?@

#SCD=DO! DA.G<DIODAADNPI<=G@OJNP=HDO<GGOC@M@H<DIDIB>JPMN@RJMF=@AJM@OC@'I>JHKG@O@

BM<?@=@>JH@N<?@A<PGOA<DGBM<?@

           -IJM<MJPI?(PGT  OC@N<H@"@A@I?<IOBM@NO<RCJKM@QDJPNGT

NPHHJI@?<I?N<I>ODJI@?.G<DIODAADI(PI@JIBMJPI?NOC<O.G<DIODAA_NADGDIBJABM<?@

<KK@<GNRDOCOC@3IDQ@MNDOTDN\=<?>C<M<>O@MDI>D?@IO]#SCD=DO >JINKDM@?RDOC"M&@INJI

+<>F<N@QD?@I>@?DI(PGT @H<DG#SCD=DO OJNOJK"M&@INJI +<>FAMJH

>C<IBDIBOC@?@A<PGO$ BM<?@RDOCOC@$ JQ@MMPG@NC@KM@QDJPNGTKMJQD?@?<OOC@@I?JAC@M

(<IP<MT QJD>@H<DGOJ.G<DIODAA#S! 

                MJPI?(PGT  ?@A@I?<IOBM@NO<?DM@>O@?"M&@INJI +<>FOJO@GG

.G<DIODAAOJADG@OC@+2&BM<?@<KK@<GNK@>DAD><GGTOJCDH IJOOJ<IT=J?T@GN@#SCD=DO

 DINO@<?JAADGDIBOC@BM<?@<KK@<G@G@>OMJID><GGTOJOC@3IDQ@MNDOTAJMKMJ>@NNDIB=T<I

><?@HD>1K@>D<GDNO <NDOR<N?JI@=T+N)@GGT"<TDI 4623# <I?"M+<>!<OC@MDI@DI

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                .G<DIODAAM@HDI?@??@A@I?<IOBM@NO<<=JPOCDNKM@EP?D>@<B<DINOADGDIBBM<?@

<KK@<GN#SCD=DO G<NO(PI@RC@M@OC@N<H@?@A@I?<IOBM@NO<HDN>C<M<>O@MDU@?

.G<DIODAA_NADGDIBJABM<?@<KK@<GN<N=<?\K<NO>C<M<>O@MDI>D?@IOM@A@M@I>@]7@O DI(PGT 

OC@N<H@?@A@I?<IOBM@NO<R<IO@?.G<DIODAAOJADG@CDNBM<?@<KK@<GM@B<M?DIBOC@+2&

>G<NNOJCDH

                      T@H<DGN .G<DIODAA<NF@??@A@I?<IOBM@NO<OJM@>PN@CDHN@GA<NOC@?@>DNDJI

H<F@MJA.G<DIODAA_N+2&BM<?@<KK@<GBM@NO<?D?IJOM@>PN@




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                -I->OJ=@M  "@A@I?<IOBM@NO<?@>GDI@?OJM@>PN@CDHN@GA<I?C@

KMJ>@@?@?OJ?@IT.G<DIODAA_N+2&BM<?@<KK@<G>DODIBKM@O@SOP<G@S>PN@N#S 

RDOCJPOM@A@MMDIBOC@BM<?@<KK@<GOJ<I<><?@HD>NK@>D<GDNO<I?OJOC@3IDQ@MNDOT_N.MJQJNO<I?

!CD@A><?@HD>-AAD>@MAJMADI<G?@>DNDJIH<FDIB

                "@A@I?<IOBM@NO<DNIJOOC@ADI<G<M=DO@MJABM<?@<KK@<GN<OOC@3IDQ@MNDOT

           ><?@HD>AA<DMN.MJQJNOJA<3IDQ@MNDOTNP>C<N?@A@I?<IO1C<IO<IP JN@DNOC@

ADI<G<M=DO@MJABM<?@<KK@<GNDIOC@3IDQ@MNDOT <NDOR<NKM@QDJPNGT?JI@DI+<M>C=T

.MJQJNO"M"JII<0@F<P 4623# RC@I.G<DIODAA<KK@<G@?OC@!!2BM<?@#SCD=DO 

           NK<MOJA+ ?@BM@@<><?@HD>M@LPDM@H@ION .G<DIODAA@IMJGG@?DIOC@

3IDQ@MNDOT_NBM<?P<O@G@Q@G>G<NN><GG@?+<I<B@MD<G$DI<I>@\$',] 1@KO@H=@M

N@NNDJI 

           $',>G<NNR<N<I@DBCO R@@F<>>@G@M<O@?JIGDI@>G<NN><G@I?<M@?OJMPI

=@OR@@I1@KO@H=@M [->OJ=@M 

           "@A@I?<IO+DG<I&<Q@G .C"\"M&<Q@G ]JM\"@A@I?<IO&<Q@G] R<NOC@

!JPMN@'INOMP>OJMAJM$',

                  T@H<DG?<O@?1@KO@H=@M  .+ .G<DIODAAN@IOCDN"

<>>JHHJ?<ODJINIJO@#SCD=DO" OJ"@A@I?<IO&<Q@GOJ<KKGTOC@S"@SO@INDJIN

OJR<M?NOC@R@@FGT<NNDBIH@IONAJM$',>JPMN@RJMF"@A@I?<IO&<Q@G<KKGD@?OC@S

"@SO@INDJIN#SCD=DO 

                2C@3IDQ@MNDOT<I??@A@I?<IO&<Q@GPN@?<OCDM?K<MOT@?P><ODJI<GNJAOR<M@

NTNO@HAJMOC@$',>G<NNKMJQD?@?=TOC@2@SO=JJF_NKP=GDNC@M><GG@?!@IB<B@.P=GDNCDIB

                !@IB<B@1JAOR<M@R<NDI>JMKJM<O@?<I?NTI>CMJIDU@?DIOJOC@$',>JPMN@

K<B@NOC<ODNKJR@M@?=T!<IQ<N'INOMP>OPM@\!<IQ<N] 




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                2J>JHKG@O@$',R@@FGTCJH@RJMF<I?LPDUU@N NOP?@IONGJBDIOJ"@4MT_N

>JPMN@KJMO<G><IQ<NDIO@MA<>@<I?OC@I"@4MT_N><IQ<NKMJQD?@N<O<=GDIFOJ!@IB<B@AJM

NOP?@IOOJ>JHKG@O@OC@DM&JH@RJMF<I?/PDUU@N

                .G<DIODAA@I>JPIO@M@?IPH@MJPNO@>CID><GBGDO>C@NRDOCOC@NTI>CMJIDU<ODJI

=@OR@@I"@4MT!<IQ<N<I?!@IB<B@NTNO@HNDI$',>G<NN

                .G<DIODAA>JIO<>O@?"@A@I?<IO&<Q@GM@B<M?DIBOC@O@>CID><GBGDO>C@N=@OR@@IOC@

!<IQ<N<I?!@IB<B@NTNO@HN"@A@I?<IO&<Q@G>G<DH@?C@?J@NIJOFIJRCJROJ?JDO<I?C@

M@A@MM@?.G<DIODAAOJ"@4MT'2C@GK?@NF RCJDIOPMIM@A@MM@?.G<DIODAAOJ!@IB<B@#SCD=DO# 

            T@H<DG?<O@?$MD (<I <O.+#SCD=DO "@4MT3IDQ@MNDOT

DIAJMH@?NOP?@IONOC<O$@?@M<G1OP?@IO$DI<I>D<GD?KMJ>@NNDIBDN?@G<T@?<NM@NPGOJAI@R

H@MB@MJMJRI@MNCDK<I?I@R>JIOM<>ODIBRDOCOC@31"@K<MOH@IOJA#?P><ODJI

           "@4MT3IDQ@MNDOT?J@NIJOKMJQD?@JI ><HKPNJMJAA ><HKPNCJPNDIBJM

?JMHDOJMD@NAJMNOP?@ION1OP?@IONC<Q@OJADI?OC@DMJRICJPNDIB

           .G<DIODAADN<M@>DKD@IOJAA@?@M<GNOP?@IOADI<I>D<G<D?AJMCDN>JNOJA<OO@I?<I>@<O

"@4MT3IDQ@MNDOT RCD>CDI>GP?@NOPDODJI A@@N MJJH<I?=J<M?AJMCDNJRIJAA ><HKPNCJPNDIB

K<TH@IO

           .G<DIODAA@I>JPIO@M@?IJI "H@?D><G@SO@IP<ODIB>DM>PHNO<I>@N?PMDIBOC@

$',>G<NN

                  T@H<DG?<O@? 1@KO@H=@M  .+#SCD=DO! JI@JA"@4MT

3IDQ@MNDOT_N$DI<I>D<GD?<I?1OP?@IO1PKKJMO!@IOM<G+<I<B@MN +M"<ID@G+>+<CJI RCJDN

A<HDGD<MRDOCOC@ADI<I>D<G<D?KMJ>@NNDIB?@G<TN @I>JPM<B@?.G<DIODAAOC<OOC@TRJPG?@INPM@

.G<DIODAA=@>JH@NNP>>@NNAPGDIOC@$',>G<NN?@NKDO@OC@ADI<I>D<G<D?KMJ>@NNDIB?@G<TN

                             \ZR@M@TJP<=G@OJM@<>CJPOOJTJPMKMJA@NNJM<GM@<?TJMRJMFRDOCJI@
                             JAJPM1OP?@IO1PKKJMO?QDNJMN<=JPOTJPM>PMM@IO>G<NN'AIJO KG@<N@



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                                ><GG1OP?@IO!@IOM<G<O  <I?R@RJPG?=@C<KKTOJRJMFRDOC
                                TJPJI<KG<IOJ=@NP>>@NNAPGDIOC@>G<NN]
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                      T@H<DG?<O@?->OJ=@M  .+#SCD=DO" KK  .G<DIODAA

M@LP@NO@?AJM@SO@INDJINAMJH"@A@I?<IO&<Q@GJIBMJPI?NJAIJI "@SO@IP<ODIB

>DM>PHNO<I>@NNP>C<NGJNNJACJPNDIB<NNJ>D<O@?RDOCOC@ADI<I>D<G<D??@G<TNOJ<GGJR.G<DIODAA

OJNP=HDOCDNJPONO<I?DIB&JH@RJMF<I?/PDUU@NAMJH5@@FN JAOC@$',>G<NN

"@A@I?<IO&<Q@GDBIJM@?OC<O@H<DG

                      T@H<DG?<O@?->OJ=@M  +#SCD=DO" KK  .G<DIODAA

M@DO@M<O@?CDNM@LP@NOOJ?@A@I?<IO&<Q@GAJM@SO@INDJIOJNP=HDOJPONO<I?DIB>JPMN@RJMFDI$',

JIBMJPI?NJA@SO@IP<ODIB>DM>PHNO<I>@N.G<DIODAA<GNJM@LP@NO@?AJM'I>JHKG@O@BM<?@

                .G<DIODAA>JKD@?CDN?@NDBI<O@?1OP?@IO1PKKJMO?QDN@MDIOC@K@MNJIJA

?@A@I?<IOMDNN< MT<IO <I?+M"<ID@G+>+<CJI

                "@A@I?<IOMDNN< MT<IODNNK@>DAD><GGTI<H@?RDOCDIOC@KMDJM(PI@ 

?DN>DKGDI<MTR<MIDIBG@OO@M(#SCD=DO# K <NK<MOJAOC@>C<II@GJA>JHHPID><ODJIOJ<>O<N

.G<DIODAA_N<?QJ><O@<I?OJC@GK@N><G<O@>JI>@MINOJOC@<KKMJKMD<O@<?HDIDNOM<OJM1ODGG .G<DIODAA

M@>@DQ@?IJM@NKJIN@AMJH"@A@I?<IO&<Q@GJM<ITJAOC@"@4MTJAAD>D<GN

                .G<DIODAA>JIO<>O@?"@4MT!@IOM<GNOP?@IONPKKJMO>@IO@M<I?DILPDM@?<=JPOOC@

RC@M@<=JPONJA?@A@I?<IOMDNN< MT<IO2C@1OP?@IO1PKKJMO>@IO@MDI?D><O@?OC<OOC@TRDGG

N@I?+N MT<IO<H@NN<B@OJB@O=<>FOJ.G<DIODAA1ODGG .G<DIODAA?D?IJOC@<MAMJH+N MT<IO

           .G<DIODAAM@LP@NO@?OJNK@<FOJ<$<>PGOT+<I<B@MRDOCNPK@MQDNJMT<POCJMDOTJQ@M

"M&<Q@G?DAA@M@IO1OP?@IO1PKKJMO?QDN@MM@>@DQ@?.G<DIODAA_N>JI>@MIN<=JPO"@A@I?<IO

&<Q@G<I?>M@<O@?OC@!<N@,J<O"@4MTAJM<$<>PGOT+<I<B@MOJ<??M@NNDO

           MJPI?->OJ=@M  .G<DIODAAAJGGJR@?PKRDOCOC@!<N@,J

"@4MT3IDQ@MNDOT_N1OP?@IO>@IOM<GDIAJMH@?.G<DIODAAOC<OOC@$<>PGOT+<I<B@MC<NDINOMP>O@?



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"M&<Q@GOJB@O=<>FOJ.G<DIODAA<I?"M&<Q@GC<NM@NKJI?@?JIOC@><N@OC<OC@RJPG?B@O=<>F

OJ.G<DIODAAOC<ON<H@?<T&JR@Q@M "M&<Q@G?D?IJOB@O=<>FOJ.G<DIODAAJI@DOC@M->OJ=@M

JMOC@I@SO?<TJA->OJ=@M

           MJPI?->OJ=@M  .G<DIODAA>JIO<>O@?"@4MT!@IOM<GNOP?@IONPKKJMO

<?QDNDIB>@IO@MDI,JMOC MPINRD>F ,@R(@MN@T OJ<OO@HKOOJM@<>C<,@R(@MN@TGJ><G><HKPN

!JHKG<DIO?HDIDNOM<OJM.G<DIODAAR<NM@A@MM@?OJ'GGDIJDN"@4MT!@IOM<G

                     T@H<DG?<O@?->OJ=@M <O.+#SCD=DO% .G<DIODAAM@LP@NO@?

'I>JHKG@O@BM<?@AJMOC@$',>G<NNAMJH"@A@I?<IO&<Q@G5DOCJPO<IT@SKG<I<ODJI 

"@A@I?<IO&<Q@G?@>GDI@?OJBDQ@.G<DIODAA'I>JHKG@O@BM<?@ &.G<DIODAA@G@>OMJID><GGTNDBI@?

CDNK<MOJAOC@'I>JHKG@O@BM<?@M@LP@NOOCMJPBCOC@"J>P1DBI@G@>OMJID>NTNO@H=TOC@

0@BDNOM<M

                     T@H<DGN<MJPI?->OJ=@M #SCD=DO& .G<DIODAA<NN@MO@?OC<OC@RJPG?

ADG@<?DN>MDHDI<ODJI>JHKG<DIO<B<DINO"M&<Q@GOJOC@31"@K<MOH@IOJA#?P><ODJI_N-AAD>@

JA!DQDG0DBCON\-!0] =@><PN@C@A@GOC@R<N?DNK<M<O@GTOM@<O@?JM?DN>MDHDI<O@?RC@I

"@A@I?<IO&<Q@G?@>GDI@?.G<DIODAA_N'I>JHKG@O@M@LP@NORDOCJPO<IT=<NDN.G<DIODAA>JKD@?OC@

-!0JIOC<O@H<DG

                      T@H<DG?<O@?->OJ=@M <O<H#SCD=DO' .G<DIODAA?@>MD@? 

>JI?@HI@? <I?<NN@MO@?CDNMDBCOOJ=MDIB<\I@BGDB@I>@JA?POT]<I?\A<DGPM@OJOM<DI]><PN@NJA

<>ODJI<B<DINO"@A@I?<IO&<Q@G

                      T@H<DG?<O@?->OJ=@M <O+#SCD=DO" KK  .G<DIODAA

>JIODIP@?OJGJJFAJMOC@RC@M@<=JPONJA+N MT<IOOJ<>O<N.G<DIODAA_N>JJM?DI<OJM




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                .G<DIODAA>JIO<>O@?JI@JAOC@GJIB ODH@M@NKJINDQ@1OP?@IO1PKKJMO?QDN@MNDI

OC@K@MNJIJA+N2@IIDGG@&PN=<I?N RCJH.G<DIODAAFI@RAMJHKM@QDJPNT@<MNJA=@DIB<

1OP?@IO<O)@GG@M

                +N&PN=<I?NKMJHKOGTM@NKJI?@?OJ.G<DIODAA<I?@SKG<DI@?OC<O?@A@I?<IO

     MT<IO><GG@?.G<DIODAAJIOC@KCJI@&&JR@Q@M NC@>JPG?IJOB@O<CJG?JA.G<DIODAA.G<DIODAA

M@KGD@?OJ+N&PN=<I?NOJBDQ@CDN>JMM@>OKCJI@IPH=@MOJ?@A@I?<IO MT<IOOJ>JIO<>OCDH&

.G<DIODAAM@>@DQ@?IJKCJI@><GGNJMHDNN@?KCJI@><GGAMJH+N MT<IO

                "@A@I?<IO MT<IOA<DG@?OJPN@@H<DGOJM@<>C.G<DIODAADAKCJI@R<NIJORJMFDIB

JPO>JIND?@MDIBOC@A<>OOC<ONC@R<N>JKD@?JI.G<DIODAA_N@H<DGN

             5DOC(PI@ (PGT>JI?P>ON<I>ODJIR<MIDIBG@OO@M_NKMJN>MD=@?\>C<II@GJA

>JHHPID><ODJI]DIHDI?%(#SCD=DO# <I?OC@A<>OOC<O.G<DIODAAR<NIJGJIB@M<.@IINTGQ<ID<

><HKPNNOP?@IO OC@I@SONO@KR<NAJM.G<DIODAAOJM@<>CJPOOJ<"@<I

             .G<DIODAAFI@RAMJH@SK@MD@I>@<O)@GG@MOC<OJIGDI@NOP?@ION<M@?@NDBI<O@?OJOC@

,<ODJI<G"@<I_NJAAD>@=@><PN@OC@KM@QDJPN,<ODJI<G"@<IAJM)@GG@M -N><M%POD@MM@U .C"

?DM@>OGT<NNDNO@?.G<DIODAADIOC@K<NO 4''#SCD=DON <I?#SCD=DO  

                   T@H<DG?<O@?$MD ->O <O.+#SCD=DO" KK  .G<DIODAA

RMJO@OJOC@,<ODJI<G"@<IAJM)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IONOP?@ION ?@A@I?<IO

*@IJM@%JG?=@MB (".G<DIODAA>JKD@?NJH@JAOC@,<ODJI<G"@<I_NNP=JM?DI<O@M@BDJI<G"@<IN

JIOC@@H<DG=@><PN@.G<DIODAAPN@?B@I@MD>@H<DG>JINOMP>ODJINJOC<OOC@T><I>C<II@GOC@@H<DG

OJOC@,<ODJI<G"@<I


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 && ,-,/.$ ,, 41-&$(.$!!7- (1#)-)&0 *,)& '-!),#$',/.$ ,, 4+/$%&3-)&0 *,)& '-
!),&$(.$!!(# .)&&$(.$!!.#.# -#)/&! &!, .))(..#$'(3.$' $'$&,&31# (&$(.$!!#(" 
#$-'*/-.))(&$( -./ (.$(/&3#$- (),)'*&$(.'$($-.,.),$- && ,(.$)(& ( (), 
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           .G<DIODAA?D?IJO>JKT<IT.MJQJNONDIOC<O@H<DG#SCD=DO"PIGDF@OC@KM@QDJPN

#SCD=DO'OC<OR<NPN@?<B<DINO.G<DIODAA?PMDIBOC@(PI@>JI?P>OC@<MDIB

                      T@H<DG?<O@?->OJ=@M  + "@<I*@IJM@%JG?=@MBKMJHKOGT

M@NKJI?@?OJ.G<DIODAA<NAJGGJRN

                             &D +D>C<@G[OC<IFTJPAJMM@<>CDIBJPOOJPN'PI?@MNO<I?TJPM>JI>@MI
                             <I?'RDGG?JHT=@NOOJC@GKTJP%DQ@IOC<ODO_N1<OPM?<T 'I@@?<>JPKG@
                             JA?<TNOJRJMFOCMJPBCM@<?OCMJPBCOC@?J>PH@ION RJMFOCMJPBCDNNP@N
                             RDOCOC@DINOMP>OJM<I?@Q<GP<O@OC@=@NO>JPMN@JA<>ODJI'_HCJK@APGOC<O
                             R@RDGGC<Q@<M@NJGPODJI=T+JI?<T2CDNNGDBCO?@G<TRJI_ODHK<>OOC@
                             <ITKJO@IOD<G@SO@INDJIN
                             *@OH@FIJRDATJPC<Q@<ITLP@NODJINDIOC@H@<IODH@Z
                             
                    "@A@I?<IO%JG?=@MB?D?IJOO<F@<ITDNNP@OC<OJI@JAC@M)@GG@M1OP?@IONC<N

>JIO<>O@?JMM@<>C@?JPOOJC@M<=JPO<KMJ=G@H

                       T@H<DG?<O@?->OJ=@M <O+ .G<DIODAANPKKG@H@IO@?OC@M@>JM?

AJM"@<I%JG?=@MB#SCD=DO" KK  

                       T@H<DGN>JKD@?OJOC@"@<IN?<O@?->OJ=@M <O+<I?->OJ=@M

  .+ "M&<Q@GM@NKJI?@?#SCD=DO" KK  >G<DHDIBOC<OC@C<N@SO@I?@?

5@@FN $',JPONO<I?DIB!@IB<B@CJH@RJMF<I?LPDUU@NAJM.G<DIODAA5@@FN 

>JPMN@RJMFR<N<GM@<?T>JHKG@O@?<I?NP=HDOO@?JIODH@<I?NJOC<O<NK@>OM@LPDM@?IJ

@SO@INDJIN

                       T@H<DG?<O@?->OJ=@M  .+ .G<DIODAADNNP@?IDI@ M@=POO<GN

#S" KK  <B<DINOOC@PINP=NO<IOD<O@?NO<O@H@IONJA"@A@I?<IO&<Q@G

                 AO@M<N@MD@NJA@H<DGDIO@M<>ODJINRDOC.G<DIODAADI#SCD=DO# "@A@I?<IOBM@NO<

ADS@?OC@K@MAPI>OJMTO@>CID><GKMJ=G@HN=@OR@@IOC@!@IB<B@<I?!<IQ<NNTNO@HN<AA@>ODIB

@MMJI@JPNJMPIM@KJMO@?N>JM@NDI.G<DIODAA_NBM<?@=JJFAJM$',>G<NN




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           .G<DIODAA?M@ROC@<OO@IODJIJA"@A@I?<IONBM@NO<<I?%JG?=@MBOJOC@A<>OOC<O

"@A@I?<IO&<Q@GC<NA<DG@?OJCJIJMCDNJRINO<O@H@IOOJ.G<DIODAAOC<OC@C<N@SO@I?@?5@@F

&JH@RJMF<I?/PDUAJM$',&#SCD=DO#

          .G<DIODAAJIGTM@>@DQ@?@SO@INDJINAJM5@@FNHJ?PG@_NJPONO<I?DIB

>JPMN@RJMFAJM$',JIGT@SO@INDJIN#SCD=DO# AJMOC@@SO@IP<ODIB>DM>PHNO<I>@N.G<DIODAA

>JHKG@O@?OC@HRDOCAPGGN>JM@NOC@M@=TH<FDIB.G<DIODAA_NADI<GBM<?@\!]2C@M@NODGGM@H<DIN

5@@FN HJ?PG@_NJPONO<I?DIBLPDUU@N<I?CJH@RJMF''#SCD=DO!AJMADI<G!<IQ<N

%M<?@=JJFM@>JM?JAN>JM@NRDOC>JPMN@NTGG<=PN

          MJPI?->OJ=@M  .G<DIODAAIJOD>@?OC<O?@A@I?<IO&<Q@GC<NKJNO@?CDN

ADI<GBM<?@AJMOC@$',>G<NN<I?M@>JM?@?=TOC@3IDQ@MNDOT_N0@BDNOM<M<N\$'*]RC@M@<N

.G<DIODAA_NBM<?@R<NIJO<A<DGDIBBM<?@<OOC@ODH@"@A@I?<IOBM@NO<OJJFJQ@MOC@H<OO@MAMJH

"@A@I?<IO&<Q@GOJRJMFJIOC@?DN>M@K<I>D@N"@A@I?<IOBM@NO<G<O@MNP=HDOO@?<>C<IB@JA

BM<?@AJM.G<DIODAAOJ>C<IB@OC@$<DGBM<?@OJ\!]

          5DOCJPO@SKG<I<ODJI =T@H<DG?<O@?->OJ=@M  .+ ?@A@I?<IO

BM@NO<IJODAD@?.G<DIODAA<=JPOI@RNOP?@IO>JI?P>O>J?@QDJG<ODJI>C<MB@N>G<DHDIBOC<O

.G<DIODAAC<NQDJG<O@?MOD>G@'''JAOC@NOP?@IO>JI?P>O>J?@3KJIAPMOC@MDILPDMT ?@A@I?<IO

BM@NO<@SKG<DI@?OC<ODODNM@G<O@?OJ.G<DIODAA_N>JMM@NKJI?@I>@RDOC?@A@I?<IO&<Q@G<I?

M@<>CDIBJPOOJ3IDQ@MNDOT<?HDIDNOM<OJMNNP>C<N?@A@I?<IO%JG?=@MBD@@H<DGNRDOCDI#SCD=DO

" 

          .G<DIODAA<NN@MO@?OJ"@A@I?<IOBM@NO<OC<OIJK<MOJACDN>JMM@NKJI?@I>@RDOC

?@A@I?<ION%JG?=@MB<I?&<Q@G>JINODOPO@NHDN>JI?P>O

           "@A@I?<IOBM@NO<N>C@?PG@?<NOP?@IO>J?@JA>JI?P>O?DN>DKGDI<MTC@<MDIBJI

,JQ@H=@M #SCD=DO$ 




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            T@H<DG?<O@?->OJ=@M  .+#SCD=DO$ K .G<DIODAA<NF@?

?@A@I?<IOBM@NO<OJM@>PN@CDHN@GA=@><PN@JACDN=D<N@NAMJHKM@QDJPN(PI@?DN>DKGDI<MT

KMJ>@@?DIBN<I?<NNDBIOC@I@R,JQ@H=@M?DN>DKGDI<MTKMJ>@@?DIBNOJOC@,@R(@MN@T

NOP?@IO>JI?P>O>J?@<?HDIDNOM<OJMN

           "@A@I?<IOBM@NO<DNJIGT<POCJMDU@?=TOC@&<I?=JJF<N?@NDBI<O@?>J?@

<?HDIDNOM<OJMAJM.@IINTGQ<ID<1OP?@ION IJO,@R(@MN@TNOP?@ION JMJIGDI@NOP?@ION''.<B@N

 JAOC@1OP?@IO&<I?=JJF!J?@JA!JI?P>OGDNODIB\+JPNO<A<CH@?]<NOC@!J?@

?HDIDNOM<OJMAJM,@R(@MN@T

           "@4MT1OP?@IO&<I?=JJF .<B@ <GNJ?@>G<M@NOC<OJIGDI@NOP?@ION<M@<NNDBI@?

OJ'GGDIJDN1OP?@IO!J?@?HDIDNOM<OJMN"@A@I?<IOBM@NO<DNIJOGDNO@?<N>J?@<?HDIDNOM<OJMAJM

'GGDIJDN&@DNGDNO@?<N>J?@<?HDIDNOM<OJMAJM.@IINTGQ<ID<<GJI@''.<B@JAOC@1OP?@IO

&<I?=JJF

           "@A@I?<IOBM@NO<?@>GDI@?OJM@>PN@CDHN@GAAMJHOC@,JQ@H=@M 

?DN>DKGDI<MTKMJ>@@?DIBN ?@NKDO@KMJ>@?PM<GJ=E@>ODJINJIOC@M@>JM?

          "@4MT1OP?@IO&<I?=JJF?@NDBI<O@N1OP?@IO!J?@?HDIDNOM<OJMN=T1O<O@N IJO

=TM@BDJI

          "PMDIBOC@,JQ@H=@MNOP?@IO>JI?P>OKMJ>@@?DIBN .G<DIODAAM<DN@?

KMJ>@?PM<GJ=E@>ODJINJIOC@M@>JM?4''#SCD=DO OC<O"@A@I?<IOBM@NO<NCJPG?M@>PN@

CDHN@GAAMJHOC@KMJ>@@?DIBN=@><PN@C@DNIJOOC@?@NDBI<O@?!J?@JA!JI?P>O?HDIDNOM<OJM

AJM-IGDI@1OP?@ION<I?,@R(@MN@T><HKPNNOP?@IONNP>C<N.G<DIODAA*DQDIBNOJI@

          "@A@I?<IOBM@NO<DN?@NDBI<O@?<N.@IINTGQ<ID<1OP?@IO!J?@?HDIDNOM<OJM IJO

,@R(@MN@T




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 44 of 286 PageID #:44
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          .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<OHJODQ<O@?=T=<? A<DOC M@O<GD<OJMT

<IDHPN <I?M<>D<GC<OM@?<B<DINO.G<DIODAA BM@NO<?@>GDI@?OJM@>PN@CDHN@GAOC@M@=T AJM>DIB

CDHN@GAOJC<I?G@OC@KMJ>@@?DIBN<B<DINOOC@<POCJMDOTJAOC@>JIOM<>OP<GKMJQDNDJINDIOC@

!J?@&<I?=JJF

          .G<DIODAA<NF@?"@A@I?<IOBM@NO<OJM@>PN@OC@IJMOC@<NOBMJPKC@<MDIB.<I@GDNON

D@"@A@I?<ION0PNN@GG "_1JPU< <I?1>CHDOU <I?@HK<I@G<I@RJI@=@><PN@JAOC@T<M@OC@

N<H@K<I@GDNON?@>DNDJIH<F@MNAMJHKMDJM(PI@>JI?P>OC@<MDIB=@>JHDIBOC@,JQ@H=@M

>JI?P>OC@<MDIBK<I@GDNONOJJ4''#SCD=DO OJ<QJD?OC@MDNFJANTNO@HD>=D<N<I?

KM@EP?D>@NO@HHDIBAMJHA<HDGD<MDOTRDOCG<NO(PI@_N>JI?P>OC@<MDIBKMJ>@@?DIBN><PNDIB

OC@,JQ@H=@MC@<MDIBOJ=@PIA<DMRDOCK<MOD<GDOTBM@NO<?D?IJOM@>PN@OC@.<I@GDNON

@DOC@M

           MJPI?,JQ@H=@M  .G<DIODAAN@IO<+@HJM<I?PHOJOC@.<I@GDNONOC<O

<??M@NNDIBOC@<GG@B<ODJIN#SCD=DO    

           -I,JQ@H=@M  OC@,JQ@H=@M>JI?P>OC@<MDIBJ>>PMM@?=T

O@G@KCJI@ DIO@MI@O JM5@=#S'OR<NIJO<IDI K@MNJIC@<MDIB'OR<N<QDMOP<GC@<MDIB.G<DIODAA

<OO@I?@?RDOCJPO<IOOJMI@TJM<I?QDN@M

           "PMDIBOC@,JQ@H=@M >JI?P>OC@<MDIB .G<DIODAAJ=E@>O@?OJOC@<=N@I>@

JAOC@>JHKG<DI<IONJMRDOI@NN@ND@"@A@I?<ION&<Q@G )JC<M< <I?+JAD?D =@><PN@.G<DIODAA

C<N>M@?D=DGDOTLP@NODJIN<=JPOOC@DMNO<O@H@IONJA<>>PN<ODJIBM@NO<?@>GDI@?OJNPNO<DIOC@

J=E@>ODJI<I?C@KMJ>@@?@?RDOCOC@,JQ@H=@MC@<MDIB

           "PMDIBOC@,JQ@H=@M C@<MDIB "@A@I?<IOBM@NO<HDN>C<M<>O@MDU@?

.G<DIODAA_NRMDOO@I@H<DG<NN@MODJINOJ?@A@I?<IO&<Q@GM@KJMODIBM<>D<G<I??DN<=DGDOT




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?DN>MDHDI<ODJIOJOC@-!0<N\DIODHD?<ODIB<I?OCM@<O@IDIB]PI?@MMOD>G@'''JAOC@NOP?@IO

>JI?P>O>J?@

           "PMDIBOC@,JQ@H=@M C@<MDIB OC@C@<MDIBK<I@GDNON?@A@I?<ION0PNN@GG 

"_1JPU< <I?1>CHDOU DBIJM@?.G<DIODAA_N?DN>MDHDI<ODJI>G<DHNRC@IOC@.<I@GDNONA<DG@?OJ

M@A@M.G<DIODAAOJADG@<?DN>MDHDI<ODJI>JHKG<DIORDOCDIOC@3IDQ@MNDOT_N<IOD ?DN>MDHDI<ODJIJAAD>@

JM@I>JPM<B@.G<DIODAAOJADG@<?DN>MDHDI<ODJI>JHKG<DIO@GN@RC@M@NP>C<NOC@-!0OJ@IAJM>@

OC@<IOD ?DN>MDHDI<ODJIKJGD>TJAOC@3IDQ@MNDOT<I?!DQDG0DBCON>O

          2C@C@<MDIB.<I@GDNONA<DG@?OJ<>O<B<DINO.G<DIODAA_N?DN>MDHDI<ODJI<GG@B<ODJIN

OC@M@=T>JI?JIDIB @I>JPM<BDIB <I?AJH@IODIBM<>D<G<I??DN<=DGDOT?DN>MDHDI<ODJIDIOC@

3IDQ@MNDOT<I?M@O<GD<ODIB<B<DINO.G<DIODAARDOC<?Q@MN@?DN>DKGDI<MTN<I>ODJIN

          -I,JQ@H=@M  .G<DIODAAM@>@DQ@?<?Q@MN@?DN>DKGDI<MTN<I>ODJINJA

KMJ=<ODJI NPNK@INDJI <I?GDHDO@?JM?@M>JIO<DI@?DIOC@<OO<>C@?#SCD=DO!AMJH"@A@I?<IO

BM@NO<

          .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MOC<O<GGADI?DIBN<M@KM@O@SOP<G@S>PN@NOJ

M@O<GD<O@<B<DINO.G<DIODAAJMOJ><PN@.G<DIODAAAMJHNPDIBOC@3IDQ@MNDOT<I?"@A@I?<IONAJM

<NN@MODIBCDNMDBCOOJ>JHKG<DI<B<DINO"DN>MDHDI<ODJIOJ<A@?@M<G<IOD ?DN>MDHDI<ODJI<B@I>T

NP>C<NOC@-!0

          .G<DIODAA?@ID@NOC@,JQ@H=@M>JI?P>OADI?DIBDI#SCD=DO!OC<OC@A<GNDAD@?

DIAJMH<ODJI?PMDIBOC@,JQ@H=@M>JI?P>OC@<MDIBDON@GAM@B<M?DIB+2&<NOC@

M@H<DIDIB>G<NN=@><PN@OC@,JQ@H=@M>JI?P>OC@<MDIBR<N<QDMOP<GC@<MDIBQD<KCJI@<I?

5@=#SRDOCDIO@MHDOO@IOO@>CID><GNDBI<GAGP>OP<ODJINJIOC@GDI@N<I?=<>FBMJPI?IJDN@1J 

@DOC@M.G<DIODAA?D?IJOC@<M JMC@%.'#3.:?D?IJOC@<MNJH@LP@NODJIN<=JPOCDNM@H<DIDIB

>G<NN@N M@B<M?DIB+2& AJM@S<HKG@ JIOC@JOC@M@I?JACDNGDI@




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          .G<DIODAAC<NJ=E@>O@?OJPNDIBQDMOP<GO@>CIJGJBTAJMPHAJMNP>C?P@KMJ>@NN

C@<MDIBN.G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<OOCDNADI?DIBNCJRNOC<O"@A@I?<IOBM@NO<

R<NM@G@IOG@NNGTGJJFDIBAJM<ITOCDIB<O<GGC@><IPN@<N<KM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINO

.G<DIODAA

           .G<DIODAA?@ID@?OC@,JQ@H=@M>JI?P>OADI?DIBDI#SCD=DO!OC<OC@A<GNDAD@?

DIAJMH<ODJI?PMDIBOC@,JQ@H=@M>JI?P>OC@<MDIBM@B<M?DIB+2&<N<M@H<DIDIB>G<NN

AJMCDHOJBM<?P<O@=@><PN@DI.G<DIODAA_N@H<DG +@HJM<I?PH#SCD=DO        <?<T=@AJM@OC<O

,JQ@H=@MC@<MDIB .G<DIODAA<GM@<?TB<Q@OC@K<I@GCDNBM<?P<ODJI?@BM@@<P?DOM@KJMON

#S NCJRDIB+2&JIDO<N<M@H<DIDIB>G<NN

           "PMDIBOC@,JQ@H=@M C@<MDIB OC@.<I@GDNONNOJKK@?.G<DIODAAAMJHBJDIB

OCMJPBCOC@?J>PH@ION<I?KM@N@IODIB<GGCDN?@A@IN@JM<GGT

           2C@.<I@GDNONNO<O@?OC<OOC@TC<Q@M@QD@R@?<GGOC@?J>PH@ION.G<DIODAAN@IOOC@H

<I?NJOC@M@DNIJI@@?AJM.G<DIODAAOJBJOCMJPBCOC@H<B<DI.G<DIODAAR<NOC@M@AJM@>JIAPN@?

RC@I<NF@?<=JPOCDNM@H<DIDIB>G<NN@NOJBM<?P<O@RC@M@<NOC@.<I@GDNON<GM@<?TC<?#SCD=DO

NCJRDIBOC@?DNKPO@?M@H<DIDIB>G<NN

           2C@.<I@GDNON>G<DH@?OC<OOC@T<GM@<?TM@QD@R@?@Q@MTOCDIB<I?.G<DIODAAI@@?

IJOBJOCMJPBCOC@H<B<DI OC@M@R<NIJI@@?OJ<NF.G<DIODAA<LP@NODJI<=JPOCDNM@H<DIDIB

>G<NN@NOC<OR<N<GM@<?T<INR@M@?RDOC#SCD=DO1J .G<DIODAAR<N>JIAPN@? OMD>F@? <I?

OM<KK@?=TOC@K<I@GDNON?PMDIBOC@C@<MDIBOC@M@=T H<FDIBOC@,JQ@H=@MC@<MDIBPIA<DM

RDOC=<? A<DOCAMJHOC@K<I@GDNONOJJ

           2C@M@NODGGM@H<DINPIN@OOG@?G@B<GDNNP@N<=JPO+2&>G<NN RCD>C.G<DIODAA

=MDIBN=@AJM@OCDN!JPMORDOCDIOCDN!JHKG<DIO




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          .G<DIODAA?@ID@NOC@,JQ@H=@M >JI?P>OADI?DIBDI#SCD=DO!OC<OC@

A<GNDAD@?DIAJMH<ODJIDICDN@H<DGOJ"@4MT'2C@GK?@NF

          "PMDIBOC@,JQ@H=@MC@<MDIB <AO@M.G<DIODAAKM@N@IO@?CDN?@A@IN@RDOC>G@<M

<I?>JIQDI>DIB@QD?@I>@ OC@K<I@GDNON>JPG?IJOLP@NODJI.G<DIODAA_NM@=POO<G<B<DINOOC<O

<GG@B<ODJI<O<GGBDQ@IOC@@S>PGK<OJMT@QD?@IOD<G@H<DGNDI#SCD=DO#.G<DIODAAKM@N@IO@?

          "@A@I?<IO&<Q@GNO<O@?DICDN@H<DGNOJ.G<DIODAAOC<OC@C<N\@SO@I?@?<GG

<NNDBIH@ION]DI$',>G<NN<I?C@APMOC@M?DM@>O@?.G<DIODAAOJO@GG"@4MT!<IQ<N'2&@GK?@NF

OJO@GG!@IB<B@\OJHDMMJMOC@@SO@INDJIN]

          'IOC@,JQ@H=@MN<I>ODJINIJOD>@ ?@A@I?<IOBM@NO<OMPI><O@?.G<DIODAA_N

@H<DGNJPOJA>JIO@SO<I?>DO@?DODIOC@N<I>ODJIIJOD>@#S! <N<ADI?DIBJAHDN>JI?P>O

          .G<DIODAA<Q@MNOC<OOC@3IDQ@MNDOT?@ID@?CDH<A<DMC@<MDIB=@><PN@PILP@NODJI@?

@H<DGN?PMDIBOC@C@<MDIBR@M@G<O@MPN@?DINPMKMDN@<B<DINOCDHDIOC@N<I>ODJIIJOD>@JA

ADI?DIBN

           .G<DIODAA?@ID@NOC@,JQ@H=@M >JI?P>OADI?DIBDI#SCD=DO!>G<DHDIB

OC<OC@?D?IJOAJGGJRKMJK@M>JHHPID><ODJI>C<II@GNRC@I<??M@NNDIB>JI>@MIN<=JPO$',

>G<NNRDOC"@A@I?<IO%JG?=@MB=@><PN@?@A@I?<IO%JG?=@MBI@Q@MN<D?.G<DIODAAC<NQDJG<O@?OC@

NOP?@IO>JI?P>O>J?@=TM@<>CDIBJPOOJC@M'I?@@? OC@@QD?@IOD<G@H<DG->OJ=@M <O

+ NPKM< AMJH?@A@I?<IO%JG?=@MBOJ.G<DIODAANCJRNOC<O?@A@I?<IO%JG?=@MBM<OC@M

OJJFDNNP@RDOCOC@A<>OOC<O.G<DIODAA?@G<T@?M@<>CDIBJPOOJC@M

           .G<DIODAAC<NIJRNP@??@A@I?<IO%JG?=@MB=@><PN@NC@DNOC@JQ@M<GG)@GG@M

,<ODJI<G"@<IJAOC@)@GG@M<I?NC@?D?IJOCDIBOJNOJK?@A@I?<IOBM@NO<AMJHO<FDIB<?Q@MN@

<>ODJI<B<DINO.G<DIODAAAJMM@<>CDIBJPOOJ?@A@I?<IO%JG?=@MB'ADOR<NHDN>JI?P>OAJM<




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NOP?@IOOJM@<>CJPOOJOC@DM?@<I OC@I?@A@I?<IO%JG?=@MBNCJPG?C<Q@N<D?NJDIC@M->OJ=@M

 @H<DG

            .G<DIODAAC<NIJRNP@??@A@I?<IO%JG?=@MB=@><PN@IJH<OMD>PG<O@?NOP?@IO

NCJPG?=@NPNK@I?@?AJMM@<>CDIBJPOOJOC@DM?@<I

            .G<DIODAAC<NIJRNP@??@A@I?<IO%JG?=@MB=@><PN@?@A@I?<IO%JG?=@MBFI@R

OC<O?@A@I?<IOBM@NO<R<NBJDIBOJO<F@<?Q@MN@?DN>DKGDI<MT<>ODJI<B<DINO.G<DIODAAAJM

M@<>CDIBJPOOJC@MM@B<M?DIB$',7@O "@A@I?<IO%JG?=@MB?D?IJONOJKBM@NO<?@NKDO@OC@

A<>OOC<O?@A@I?<IO%JG?=@MBR@G>JH@?KG<DIODAAM@<>CDIBJPOOJC@M

            "PMDIBOC@,JQ@H=@M C@<MDIB .G<DIODAA<??M@NN@?OC@<GG@B<ODJIOC<OC@

?D?IJOAJGGJRKMJK@M>C<II@GNJA>JHHPID><ODJI=TM@A@MMDIBOJ<OO<>C@?#SCD=DO" RCD>C

?@HJINOM<O@NOC<O.G<DIODAAAJGGJR@?KMJK@M>C<II@GNJA>JHHPID><ODJINJPOGDI@?DI#SCD=DO#

&JR@Q@M OC@<>OJMNRDOCDIOC<ON<H@>C<II@GJA>JHHPID><ODJI NP>C<N?@A@I?<IOMDNN<

    MT<IO A<DG@?OJK@MAJMHOC@DM?POTOJ>JII@>O.G<DIODAAOJOC@<KKMJKMD<O@>JHKG<DIO

<?HDIDNOM<OJM<OOC@ODH@

           "PMDIBOC@,JQ@H=@M C@<MDIB IJI@JAOC@.<I@GDNONM<DN@?<ITLP@NODJIN

<=JPO\>C<II@GJA>JHHPID><ODJI]<O<GG<AO@M.G<DIODAAKM@N@IO@?CDN?@A@IN@RDOC>G@<M<I?

>JIQDI>DIB@QD?@I>@

           .G<DIODAA<KK@<G@?OC@,JQ@H=@M?DN>DKGDI<MTN<I>ODJINOJ?@A@I?<IO

1CDFJRDOU5DOCJPO<IT@SKG<I<ODJI ?@A@I?<IO1CDFJRDOU?@ID@?.G<DIODAA_N<KK@<G

           'I+<T (PI@N@NNDJI .G<DIODAAM@OPMI@?OJOC@3IDQ@MNDOT<I?>JHKG@O@?OC@

JIGDI@BM<?P<O@>G<NN>JPMN@><GG@?DIIJQ<ODJIDIO@>CIJGJBT\+'1] RDOC"M.@O@M

,@RH<I.G<DIODAA@<MI@?<ADI<GBM<?@NOM<DBCO\]DIOC@+'1>G<NN




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           'I(PGT PBPNON@NNDJI .G<DIODAA@IMJGG@?<I?>JHKG@O@?OC@>G<NN

><GG@? PNDI@NN.G<IIDIB1@HDI<M+%+2 >G<NN<OOC@3IDQ@MNDOTRDOC"@A@I?<IO"M

5@I?T$DIG<T2C@ADI<GBM<?@KJNO@?DN\ ]2CDN+%+2>G<NN?D?IJO<>>JHHJ?<O@

.G<DIODAA_N"@SO@INDJIN=@><PN@5@@FN HJ?PG@NJAOC@>G<NN<NNDBIH@IONM@LPDM@?

BMJPKRJMF

           2C@+%+2>G<NNR<NNDHPG<ODJI>G<NNOC<OPN@N<NJAOR<M@><GG@?

!.1'+!.12-,#

            2C@3IDQ@MNDOT<I?OC@0@BDNOM<MA<DG@?OJ?DN>GJN@RDOCDIOC@<><?@HD>><O<GJBN

<I?RDOCDIOC@ODOG@JAOC@>G<NNOC<O+%+2DN<NDHPG<ODJI>G<NN IJO<OTKD><G>G<NNRC@M@

NOP?@ION>JPG?RMDO@<=PNDI@NNKG<I

            2C@+%+2>G<NNM@LPDM@?<GGNOP?@IONOJRJMFDIBMJPKN1J .G<DIODAA_N

"<>>JHHJ?<ODJINR<NIJOPN@?OJ@SO@I?<GG<NNDBIH@ION=TJI@R@@F.G<DIODAAR<NK<MOJA

OC@\!C@NO@MBMJPK]JANOP?@IONDIOC@+%+2>G<NN

            .G<DIODAA@IMJGG@?DIOC@BM<?P<O@JIGDI@>G<NN><GG@?+<I<BDIB-MB<IDU<ODJI<G

!C<IB@\&0+] AJMOC@>PMM@IO1@KO@H=@M ->OJ=@MN@NNDJI<NK<MOJA<><?@HD>

M@LPDM@H@IONAJMCDNN@>JI? ?@BM@@OM<>FDI+<NO@MJA.P=GD>?HDIDNOM<ODJI\+.] ?@BM@@

+JNO>G<NN@NOC<O<M@<GM@<?T>JHKG@O@?PI?@MOC@+ OM<>F<GNJ>JPIOOJR<M?NOC@+.

OM<>F

            2CDN1@KO@H=@M OC@3IDQ@MNDOT<?HDIDNOM<ODQ@GT?MJKK@?.G<DIODAA_N&0+

>G<NN<I?KG<>@?.G<DIODAAJIDIO@MDHNPNK@INDJI N>C@?PG@?<I?KMJQD?@?>JIODIP<I>@DA

NOP?@IO?DN>DKGDI<MTKMJ>@@?DIBN>JI?P>OJIBMJPI?NOC<O.G<DIODAA+05'3#.+#N@IO<>JPMO ADG@?

>@<N@ <I??@NDNOIJOD>@OJ?@A@I?<IOBM@NO<<I?>JKD@?OC@3IDQ@MNDOT_NDI CJPN@%@I@M<G*@B<G

!JPIN@G4D>@.M@ND?@IOJIOC@@H<DGIJODATDIB?@A@I?<IOBM@NO<4''B@I@M<GGT#SCD=DO 2C@




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3IDQ@MNDOT<GNJ>G<DHNOC<O.G<DIODAAN@IO@H<DGNOJ?@A@I?<IO$DIG<TRC@M@.G<DIODAAO<GFN<=JPO

KMJO@NON&2C@3IDQ@MNDOT<GNJ>G<DHNOC<O.G<DIODAA_N@H<DGNOJ?@A@I?<IO$DIG<T<M@OCM@<O@IDIB

OJOC@@SO@IOOC<O.G<DIODAA><PODJI@?<B<DINOH<NNNCJJODIBN=TM@A@MMDIB<!JII@>OD>PO

H<NNNCJJODIBJQ@MK@M>@KODJINJAM<>D<G?DN>MDHDI<ODJI&

           .G<DIODAA<Q@MNOC<OOC@N@1@KO@H=@M<GG@B<ODJIN<M@AMDQJGJPN<I?H<GD>DJPN

          .G<DIODAAC<N>JHKG@O@?<GGCDN+ ?@BM@@>G<NN@N2C@M@NODGGM@H<DING@B<G

?DNKPO@N<=JPOOC@+2&>G<NNNJOC<O.G<DIODAA><IBM<?P<O@AJMCDN+ ?@BM@@

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                      !&"'+(' ('(LM
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                 !82704:# 8D8<6AB=<4D454<30<BA4*@G4::4@3B0:4;
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           .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

           2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

>JGJMJAG<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

           'I .G<DIODAAR<N<?QDN@?=TOC@3IDQ@MNDOT_N$<>PGOTH@H=@MN @NK@>D<GGT

"M+<MT5@GNC<I?.MJA@NNJM)<QJPM<N#SCD=DO OJN@@F"<>>JHHJ?<ODJINDA

.G<DIODAA_NH@?D><G>JI?DODJINK@MNDNO

           2C@3IDQ@MNDOT_NKP=GDNC@?>JIOM<>OP<G!<O<GJBN<I?1OP?@IO&<I?=JJFPMB@N

@GDBD=G@NOP?@IONOJJ=O<DI"<>>JHHJ?<ODJIN=T>JIO<>ODIBOC@3IDQ@MNDOT_N?@NDBI<O@?

"-AAD>@MOJNO<MO"<>>JHHJ?<ODJI<KKGD><ODJIKMJ>@NNDIB''.<B@JA"@4MT

1OP?@IO&<I?=JJF''<GNJ)@GG@M!<O<GJB




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                !JPMN@DINOMP>OJMN<M@IJOOM<DI@?OJC<I?G@<I?KMJ>@NNH@?D><GDIAJMH<ODJIAJM

"<>>JHHJ?<ODJIN

                      JOC"@4MT3IDQ@MNDOT<I?OC@"NO<OPO@?J@NIJON<TNOP?@IONRDOC?DN<=DGDOT

NCJPG?>JIO<>OOC@DM>JPMN@DINOMP>OJMNAJMOC@.MJA@NNJMNOC@HN@GQ@NOJKMJ>@NN"

<>>JHHJ?<ODJINAJMOC@H

                'IPBPNO .G<DIODAAJ=O<DI@?"<>>JHHJ?<ODJINAMJH"@4MT3IDQ@MNDOT

<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO<I?DOR<NKMJ>@NN@?<I?BM<IO@?=T+N

?MD@II@$<MH=T 2<TGJMRCJDNJI@JAOC@?@NDBI<O@?"-AAD>@MN<O"@A@I?<ION"@4MT

3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO

                'IKMDG .G<DIODAAJ=O<DI@?"<>>JHHJ?<ODJINHJ?DAD><ODJINAMJHOC@

3IDQ@MNDOT_N"JAAD>@M<I?DOR<NAPGGTKMJ>@NN@?RDOCH@?D><GNDBI<OPM@N<I?Q@MDAD><ODJIN

<I?BM<IO@?=T+N?MD@II@2<TGJM[<?@NDBI<O@?"-AAD>@M<O"@4MT3IDQ@MNDOT

                'I(PI@ "@A@I?<IOBM@NO<NP=E@>O@?.G<DIODAAOJ<?Q@MN@?DN>DKGDI<MT

KMJ>@@?DIBN>G<DHDIBOC<O.G<DIODAAM@<>C@?=@TJI?CDN+<M>C!!2>JPMN@DINOMP>OJM

OJOC@"-AAD>@MOJJ=O<DIOC@KMDG"<>>JHHJ?<ODJIN

           'I(PI@ "@A@I?<IOBM@NO<NPHHJI@? N<I>ODJI@? <I?NP=E@>O@?.G<DIODAA

OJ<?Q@MN@?DN>DKGDI<MT<>ODJI+05'3#.+#JIBMJPI?NOC<O.G<DIODAAC<NK<NODI>D?@IONJA>C<M<>O@M

M@A@M@I>@JAM@<>CDIBJPOOJ3IDQ@MNDOT?HDIDNOM<OJMN\OJB@OCDNR<T]RCD>CDI>GP?@N.G<DIODAA

M@<>CDIBJPOOJOC@3IDQ@MNDOT_N"JAAD>@MAJM"<>>JHHJ?<ODJIKMJ>@NNDIB#SCD=DO 

K<B@ 

           .G<DIODAA<Q@MNOC<ODODNIJO\.G<DIODAA_NR<T ]=POM<OC@M DODN\OC@*<R_NR<T]AJM

CPHHOJM@<>CJPOOJOC@"JAAD>@MOJKMJ>@NN"<>>JHHJ?<ODJIN=@><PN@OC@A@?@M<G




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"NO<OPO@<I?OC@3IDQ@MNDOTM@LPDM@?.G<DIODAAOJM@<>COC@"JAAD>@MAJM"

<>>JHHJ?<ODJI

           N@QD?@I>@<B<DINO.G<DIODAA ?@A@I?<IOBM@NO<<OO<>C@?OJOC@(PI@

>JI?P>OC@<MDIBK<>F@OUDKADG@#SCD=DO K #SCD=DON  ! " %RC@M@\"]DN

NK@>DAD><GGTH@IODJI@?DI.G<DIODAA_N@H<DGNOC<OR@M@N@IOJMM@>@DQ@?AMJHOC@3IDQ@MNDOT_N

"-AAD>@M

           "@A@I?<IOBM@NO<NK@>DAD><GGTDI>GP?@?DIOC@8DK$DG@<OO<>C@?OJOC@(PI@

>JI?P>OC@<MDIBK<>F@O.G<DIODAA_NK@MODI@IO@H<DG>JMM@NKJI?@I>@NM@<>CDIBJPOOJ3IDQ@MNDOT_N

"-AAD>@MAJM"<>>JHHJ?<ODJIN

           .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<O"@A@I?<IOBM@NO<R<NHJODQ<O@?RDOC

<>OP<GH<GD>@<I?<IDHJNDOTOJDIO@IODJI<GGTM@O<GD<O@<I??DN>MDHDI<O@<B<DINO.G<DIODAAAJM

M@<>CDIBJPOOJOC@?@NDBI<O@?"-AAD>@MOJKMJ>@NN">>JHHJ?<ODJIN=@><PN@

.G<DIODAA_N(PI@ @H<DGNDNNP@?M@=POO<GNOJ"@A@I?<IOBM@NO<OC<O.G<DIODAAC<N<MDBCOOJ

M@<>CJPOOJOC@3IDQ@MNDOT_N"JAAD>@MOJJ=O<DI"<>>JHHJ?<ODJINRDOCJPO=@DIB

NP=E@>O@?OJ<?Q@MN<MD<G?DN>DKGDI<MTKMJ>@@?DIBN#SCD=DO       7@O "@A@I?<IOBM@NO<A<DG@?OJ

<H@I?OC@(PI@C@<MDIBK<>F@OOJ@GDHDI<O@<GGM@A@M@I>@NOJ"KMJ>@NNDIB

                .G<DIODAA<Q@MNOC<ODOR<NIJO<HDNO<F@JI?@A@I?<IOBM@NO<_NK<MO=@><PN@

BM@NO<DBIJM@?.G<DIODAA_N><PODJI<MTM@=POO<GNRDOCDI#SCD=DO PMBDIBCDHOJ<H@I?OC@(PI@

>JI?P>OK<>F@O=T@GDHDI<ODIB<GG"M@A@M@I>@N

                "@A@I?<IOBM@NO<?D?IJO<H@I?OC@(PI@>JI?P>OC@<MDIBK<>F@OIJOD>@N

<I?DON<OO<>CH@IONOJ@GDHDI<O@">JMM@NKJI?@I>@H<OO@MNOC@M@DI"@A@I?<IOBM@NO<

KMJ>@@?@?OJDHKJN@<?Q@MN@?DN>DKGDI<MTN<I>ODJINR<MIDIB<B<DINO.G<DIODAAOJO<MIDNC.G<DIODAA_N

M@>JM?<B<DINOCDNGD=@MOTDIO@M@NONDICDN>G@<IM@>JM?N




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                2JOC@@SO@IOOC<O.G<DIODAAAJMH<GGT<KK@<G@?OC@(PI@?DN>DKGDI<MTN<I>ODJIN

OJ?@A@I?<IO1CDFJRDOU#SCD=DO RC@M@DI.G<DIODAAM@DO@M<O@?OC<OC@><IIJO=@NP=E@>O@?OJ

?DN>DKGDI<MT<>ODJIAJMKMJK@MGTM@<>CDIBJPOOJOC@3IDQ@MNDOT_N"JAAD>@MOJKMJ>@NN"

<>>JHHJ?<ODJIN ?@A@I?<IO1CDFJRDOU<I?OC@3IDQ@MNDOT<GNJ>JI?JI@?OCDNDIO@IODJI<G

?DN>MDHDI<ODJI<I?M@O<GD<ODJIPI?@MOC@"NO<OPO@<I?1@>ODJI

                "@A@I?<IONDI?DQD?P<GGT<I?JM>JGG@>ODQ@GT <I?JMDIO@IODJI<GGTM@O<GD<O@?<B<DINO

.G<DIODAA=TNPHHJIDIB.G<DIODAAAJM(PI@?DN>DKGDI<MTC@<MDIB=@><PN@.G<DIODAAM@<>C@?JPO

=@TJI?CDN+<M>CN@NNDJI!!2>JPMN@DINOMP>OJM"M%JJ?H<I OJOC@3IDQ@MNDOT_N

"JAAD>@MAJM"<>>JHHJ?<ODJINKMJ>@NNDIB

                N<?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAAC<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C><IIJO=@APGGT

>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?

K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMOOJQ<><O@<I?@SKPIB@OC@(PI@?DN>DKGDI<MT

M@>JM?@IODM@GT <NR@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?M@<NJI<=G@

>JNONJAOCDNG<RNPDO DI>GP?DIBM@<NJI<=G@OOJMI@TN_A@@N

           N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAA+D>C<@G-*DQDIBNOJI@C<N=@@I><PN@?<I?RDGG>JIODIP@DI?@ADIDO@GT

DIOJOC@APOPM@OJ=@><PN@?N@Q@M@H@IO<G<IBPDNC <ISD@OT NOM@NN <I?@HJODJI<G<I?JM

KNT>CJGJBD><G?DNOM@NN <GGRDOC<NNJ>D<O@?KCTND><GNTHKOJHN

           5&#0#$-0# =@><PN@JAOC@<GG@B@?DIO@IODJI<G?DN>MDHDI<ODJI<I?H<GD>DJPN

DIO@IOC@M@DI KPMNP<IOOJ1@>ODJIJAOC@0@C<=DGDO<ODJI>OJA?<H<B@N .G<DIODAA

+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT <I?

)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGTAJM>JHK@IN<OJMT 




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@S@HKG<MT <I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?

>JNONOJ?@O@M

           5&#0#$-0# >JINDNO@IORDOC?<H<B@N>G<PN@PI?@MOC@"NO<OPO@ .G<DIODAA

?@H<I?NKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJQ<><O@<I?@SKPIB@OC@

<?Q@MN@(PI@?DN>DKGDI<MTM@>JM?<I?N<I>ODJINAMJH.G<DIODAA_NADG@N<OOC@3IDQ@MNDOT

RDOCJPOH<FDIBM@A@M@I>@NOJDO<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?

@LPDO<=G@<I?@IEJDI?@A@I?<IONAMJHAPMOC@MM@O<GD<ODJIN<B<DINO.G<DIODAAM@B<M?DIBCDN"

<>>JHHJ?<ODJIN

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                             !&"'+(' ('(LM
                                '42B8=< =5B74&47018:8B0B8=<2B=5  
                                                      
                             !82704:# 8D8<6AB=<4D4*@G4::4@3B0:4;
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           .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

           2C@>JI?P>OJA?@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

>JGJMJAG<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

                O<GGODH@N?PMDIBOC@1@KO@H=@MN@NNDJI$',>G<NN "@A@I?<IO&<Q@G

R<N<R<M@OC<O.G<DIODAADN<IH@MD><IRDOC<"DN<=DGDOT#SCD=DON" 

                N<H<OMD>PG<O@?BM<?P<O@NOP?@IO@IMJGG@?DIOC@3IDQ@MNDOT_N$',>G<NN 

.G<DIODAAC<?<MDBCOPI?@MOC@3IDQ@MNDOT_N>JIOM<>OP<GKP=GDNC@?&<I?=JJF<I?!<O<GJBN

#SCD=DO       OJM@LP@NOAJM'I>JHKG@O@BM<?@OJ<GGJRCDHNJH@ODH@OJ>JHKG@O@JPONO<I?DIB

>JPMN@RJMF?P@OJ@SO@IP<ODIB>DM>PHNO<I>@NOC<O<M@IJO"?DN<=DGDOTM@G<O@?<O<GG NP>C<N




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GJNNJACJPNDIB<I?JOC@MIJI "H@?D><GDNNP@N OJ<GGJR.G<DIODAAOJ>JHKG@O@JPONO<I?DIB

&JH@RJMF<I?/PDUU@NAJMOC@$',>G<NN

                      T@H<DG?<O@?->OJ=@M <O+ .G<DIODAANP=HDOO@?<ODH@GT

M@LP@NORDOC?J>PH@IO<ODJIJA@SO@IP<ODIB>DM>PHNO<I>@NDINPKKJMOJACDNM@LP@NOAJM

'I>JHKG@O@BM<?@AJM$',>G<NNOJ?@A@I?<IO&<Q@G<I?OC@3IDQ@MNDOT0@BDNOM<M=@AJM@$',

>G<NN@I?@?#SCD=DON%" 

                5DOCJPO<IT@SKG<I<ODJIDI<I@H<DG?<O@?JI->OJ=@M <O.+ 

"@A@I?<IO&<Q@GM@APN@?OJBM<IO.G<DIODAA_NM@LP@NOAJM'I>JHKG@O@BM<?@>DODIB<M=DOM<MTM@<NJIN

OC<O.G<DIODAADN\IJOLP<GDAD@?]AJMOC@'I>JHKG@O@BM<?@#SCD=DO% IJORDOCNO<I?DIBOC@A<>O

OC<O"NOP?@ION<M@@LP<GGTLP<GDAD@?OJN@@F'I>JHKG@O@BM<?@N

                2JOC@@SO@IOOC<O"@A@I?<IONHDBCO>G<DHOC<O.G<DIODAAR<NIJOLP<GDAD@?OJ

M@>@DQ@'I>JHKG@O@BM<?@=@><PN@JA.G<DIODAA_NN>JM@NDI$', RC@M@<N<K<NNDIBN>JM@DN

I@>@NN<MTOJM@>@DQ@DI>JHKG@O@BM<?@AJMM@H<DIDIB>JPMN@RJMF OCDNNCJPG?=@>JINOMP@?<N<

KM@O@SOP<G@S>PN@OJ?DN>MDHDI<O@PI?@M"=@><PN@.G<DIODAA_NADI<GN>JM@DI$',DN<

K<NNDIBN>JM@BM<?@\!]4''<GNJ#SCD=DO! 

           2JOC@@SO@IOOC<O"@A@I?<IO&<Q@GHDBCO>G<DHOC<OC@?@ID@?.G<DIODAA_N

DI>JHKG@O@BM<?@M@LP@NOJIBMJPI?NOC<OC@<GM@<?T<KKGD@?.G<DIODAA_N">>JHHJ?<ODJI

@SO@INDJINOJOC@R@@FGT<NNDBIH@ION<I?NJC@DNIJOM@LPDM@?OJBJ=@TJI?OCJN@"

<>>JHHJ?<ODJI@SO@INDJIN .G<DIODAA<Q@MNOC<ODN<KM@O@SOP<G@S>PN@OJ?DN>MDHDI<O@PI?@MOC@

"=@><PN@.G<DIODAA>G<MDAD@?OC<OC@DNIJON@@FDIB<??DODJI<G"@SO@INDJIN<O<GG<I?CDN

"NO<OPNNCJPG?IJO=@PN@?OJ?DN>MDHDI<O@CDNM@LP@NOAJM@SO@INDJIJMDI>JHKG@O@BM<?@GDF@

@Q@MTJOC@MNOP?@IOHDBCOB@O@SO@INDJINJAODH@4''@H<DG?<O@?->OJ=@M <O+

<OKJDIO,J D@#S% K<B@ .G<DIODAA>G<MDAD@?OC<OCDNGJNNJACJPNDIBDNIJO"H<OO@M




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&DNH@?D><G>JI?DODJIDNIJO",JO<GG@SO@IP<ODIB>DM>PHNO<I>@NJMH@?D><GDNNP@N<M@

?DN<=DGDOTRDOCDIOC@H@<IDIBJA"NO<OPO@

           2C@3IDQ@MNDOT_N>JIOM<>OP<G ><?@HD>!<O<GJBH<F@NOC@AJGGJRDIB

KMJQDNDJIAJMDI>JHKG@O@BM<?@NAJM#..NOP?@IONRDOCM@B<M?G@NNJA"<>>JHHJ?<ODJIJMIJ

"<>>JHHJ?<ODJIN AJM@S<HKG@#SCD=DO             

                      Z'I>JHKG@O@N ?@NDBI<OJMNJA' <M@BM<IO@?DI@S>@KODJI<GNDOP<ODJINJIGT 
                      NP>C<NRC@IDGGI@NNJMRJMF M@G<O@?OM<Q@GDN?J>PH@IO@?<I?RC@I
                      NP=NO<IOD<G>JPMN@M@LPDM@H@IONC<Q@<GM@<?T=@@I>JHKG@O@?1OP?@ION
                      HPNONP=HDO<0@LP@NOAJM!JPMN@'I>JHKG@O@AJMH<I?J=O<DI<KKMJQ<G
                      AMJHOC@KMJA@NNJM<I?OC@<KKMJKMD<O@<><?@HD><?HDIDNOM<OJMKMDJMOJOC@
                      BM<?@MJNO@M?@<?GDI@DIJM?@MAJM<IDI>JHKG@O@OJ=@BM<IO@?Z
                      
'' .<B@JA)@GG@M!<O<GJBCOOKNRRR?@QMT@?P?)@GG@M;!<O<GJBK?A
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         (PNO<N<ITNOP?@IO><IB@O'I>JHKG@O@BM<?@=<N@?PKJIIJI ?DN<=DGDOTM@G<O@?

@SO@IP<ODIB>DM>PHNO<I>@NNP>CRJMF[OM<Q@GJMH@?D><GDNNP@N NOP?@IONRDOC?DN<=DGDOTNCJPG?

@LP<GGT=@<=G@OJB@O'I>JHKG@O@BM<?@NAJMIJI ?DN<=DGDOTM@G<O@?@SO@IP<ODIB>DM>PHNO<I>@N

           .G<DIODAA<NN@MO@?OC<OC@DNIJON@@FDIB"@SO@INDJINJM'I>JHKG@O@BM<?@

=<N@?JI" =POM<OC@M .G<DIODAADNN@@FDIB@SO@INDJINJMDI>JHKG@O@BM<?@=<N@?JIIJMH<G

@SO@IP<ODIB>DM>PHNO<I>@N@Q@MTJOC@MNOP?@IO><IN@@F

           .G<DIODAA@HKC<NDU@?OC<OEPNO=@><PN@C@C<N"<>>JHHJ?<ODJI@SO@INDJIN

?J@NIJOH@<IC@><IIJON@@FJOC@M@SO@INDJINJM'I>JHKG@O@BM<?@=<N@?PKJI@SO@IP<ODIB

>DM>PHNO<I>@NOC<O><IC<KK@IOJ@Q@MTJOC@MNOP?@IONP>C<NGJNNJACJPNDIBJMJOC@MIJI "

H@?D><GDNNP@N

                .G<DIODAA<Q@MNOC<OEPNO<N<ITNOP?@IO><IN@@FDI>JHKG@O@BM<?@AJMRJMFOM<Q@G 

NOP?@IONRDOC"<>>JHHJ?<ODJIIJOD>@NGDF@CDH><I<GNJN@@FDI>JHKG@O@BM<?@AJMRJMF

OM<Q@GJMJOC@M@SO@IP<ODIB>DM>PHNO<I>@NNP>C<NGJNNJACJPNDIBJMH@?D><GDNNP@N




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                "@A@I?<IO&<Q@GPN@?.G<DIODAA_N?DN<=DGDOT<B<DINOCDHRC@I?@A@I?<IO&<Q@G

NO<O@?OC<OC@DNIJOM@LPDM@?OJBJ=@TJI?.G<DIODAA_N"<>>JHHJ?<ODJI@SO@INDJINOJBDQ@

.G<DIODAA<ITJOC@M@SO@INDJI<I?DI>JHKG@O@BM<?@<ITJOC@MNOP?@IO><IB@O

                .G<DIODAA<Q@MNOC<O<N<KM@O@SOP<G@S>PN@OJ?DN>MDHDI<O@<B<DINOCDN?DN<=DGDOT DI

?@ITDIBOC@'I>JHKG@O@BM<?@<I?@SO@INDJIN "@A@I?<IO&<Q@G>G<DH@?OC<O.G<DIODAA_N5@@FN

JPONO<I?DIBR@@FGT&JH@RJMF<I?/PDUU@NDI$',>G<NNDNGJIBJQ@M?P@AJMCDHOJ@SO@I?

OC@H<I?JM<NNDBI'I>JHKG@O@BM<?@2C@>G<NNR<NIJOT@OJQ@M&@I>@ IJOCDIBR<NGJIB

JQ@M?P@

                'I<NHP>C<N.G<DIODAAM@LP@NO@?AJMIJI "@SO@INDJIN<I?'I>JHKG@O@BM<?@

RCDG@$',>G<NNR<NNODGGJIBJDIB .G<DIODAA_NM@LP@NOR<NIJOGJIBJQ@M?P@<I?OC@5@@FN

JPONO<I?DIB>JPMN@RJMFR<NIJOJQ@M?P@

                #Q@I<AO@M<>G<NNDNJQ@M OC@3IDQ@MNDOT>JPG?NODGGM@>@DQ@<I?BM<?@JPONO<I?DIB

>JPMN@RJMF4''@S<HKG@#SCD=DO  

           .G<DIODAA<Q@MNOC<ODOR<N<KM@O@SOP<G@S>PN@RC@I"@A@I?<IO&<Q@G?@>GDI@?OJ

BM<IO.G<DIODAAM@LP@NOAJM@SO@INDJIN<I?JM'I>JHKG@O@BM<?@JIBMJPI?NOC<OC@I@Q@MFI@R

.G<DIODAAR<N?@<GDIBRDOC@SO@IP<ODIB>DM>PHNO<I>@NPIODGI@<MOC@@I?JA$',>G<NN2CDNDN

IJOOMP@=@><PN@.G<DIODAA><GG@?"@A@I?<IO&<Q@G<I?G@AOCDH<QJD>@ H@NN<B@"@A@I?<IO&<Q@G

I@Q@MM@OPMI@?.G<DIODAA_NKCJI@><GGPIGDF@JOC@M)@GG@M.MJA@NNJMN?J+JM@JQ@M =T@H<DG?<O@? 

1@KO@H=@M  .+#SCD=DO! JI@JA"@4MT3IDQ@MNDOT_N1OP?@IO!@IOM<G

+<I<B@MN +M"<ID@G+>+<CJI NO<O@?OC<O@Q@IDA.G<DIODAAR<NPI<=G@OJM@<>CJPOOJCDN

.MJA@NNJM<GM@<?T OC@3IDQ@MNDOTRJPG?=@C<KKTOJRJMFRDOC.G<DIODAAJI<KG<IOJ=@

NP>>@NNAPGDIOC@$',>G<NN




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 58 of 286 PageID #:58
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           .G<DIODAA<Q@MNOC<O"@A@I?<ION?DN>MDHDI<O@?CDHPI?@MOC@"NO<OPO@=TPNDIB

CDNKM@@SDNODIB"<>>JHHJ?<ODJI@SO@INDJI#S" <NBMJPI?NOJ?@ITCDHJOC@MIJI "

@SO@INDJIN<I?DI>JHKG@O@BM<?@?@NKDO@?J>PH@IO@?@SO@IP<ODIB>DM>PHNO<I>@N=@><PN@EPNO<N

IJI "NOP?@ION><IB@OIJI "@SO@INDJIN<I?DI>JHKG@O@BM<?@NOJ>JHKG@O@OC@DM

>JPMN@RJMF=<N@?JI@SO@IP<ODIB>DM>PHNO<I>@N NOP?@IONRDOC?DN<=DGDOTNCJPG?<GNJ=@<=G@OJ

B@OIJI "@SO@INDJINJMDI>JHKG@O@BM<?@NRDOC?J>PH@IO@?@SO@IP<ODIB>DM>PHNO<I>@NOJ

>JHKG@O@OC@DM>JPMN@RJMF

           2C@M@>JM?NCJRNOC<O?@A@I?<IO&<Q@GBM<IO@?@SO@INDJINOJOC@@IODM@H@H=@MN

JA$',>G<NNRDOCJPO"<>>JHHJ?<ODJINJMJOC@MRDN@@Q@IOCJPBCOCJN@NDHDG<MGT

NDOP<O@?NOP?@IONI@Q@MM@LP@NO@?AJM@SO@INDJIN''#SCD=DO#AJM!<IQ<N<IIJPI>@H@ION

AMJH"@A@I?<IO&<Q@G?<O@?->OJ=@M <I?->OJ=@M 

           .G<DIODAA<Q@MNOC<O"@A@I?<IO&<Q@GR<NHJODQ<O@?=T=<? A<DOC DGG RDGG <I?

<>OP<GH<GD>@<B<DINO.G<DIODAARC@IC@?@ID@?@SO@INDJINOJ.G<DIODAA<I?BM<IO@?JOC@MNDHDG<MGT

NDOP<O@?NOP?@ION@SO@INDJINAJMRCD>COCJN@NDHDG<MGT NDOP<O@?NOP?@IONI@Q@MM@LP@NO@?

           N<?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAA+D>C<@G-*DQDIBNOJI@C<NNPAA@M@?<I?>JIODIP@NOJNPAA@MDMM@K<M<=G@DIEPMT

<I?CPHDGD<ODJI<=JPOCDN?DN<=DGDOTRCD>C><IIJO=@APGGT>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT

?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@AAMJHOCDN

!JPMOOJ@IEJDI?@A@I?<IONOJM@ JK@IOC@M@H<DIDIB5@@FN &JH@RJMF<I?/PDUU@NAJM$',

>G<NNDI=JOC!<IQ<N<I?!@IB<B@NTNO@HNAJM.G<DIODAAOJ>JHKG@O@OC@HRDOCDI 5@@FN

JAOC@!JPMO_N-M?@M<I?>C<IB@.G<DIODAA_NADI<GBM<?@AJM$',>G<NN<NR@GG<N?<H<B@NDI

<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?M@<NJI<=G@>JNONJA=MDIBDIBOCDNG<RNPDO




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                5&#0#$-0# DI<>>JM?<I>@OJOC@?<H<B@N>G<PN@NJA1@>ODJIJAOC@

0@C<=DGDO<ODJI>O .G<DIODAA?@H<I?N@S@HKG<MT >JHK@IN<OJMT <I?KPIDODQ@?<H<B@NDI@S>@NN

JAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@A<I?

<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?

NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

                5&#0#$-0# KPMNP<IOOJOC@?<H<B@N>G<PN@JAOC@"1O<OPO@ .G<DIODAA

+D>C<@G-*DQDIBNOJI@?@H<I?NKM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@A<B<DINO"@A@I?<ION

    ?O<G@H "@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOEJDIOGT N@Q@M<GGT

<I?JMN@Q@M<GGT AJM?@>G<M<OJMT KM@GDHDI<MT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJ-M?@MOC@

3IDQ@MNDOTOJPIGJ>FOC@M@H<DIDIBR@@FGT+J?PG@N JPONO<I?DIB&JH@RJMF<I?/PDUU@NDI

=JOC!<IQ<N<I?!@IB<B@AJM.G<DIODAAOJ?JOC@HRDOCDI,JQ@H=@M "@>@H=@M >C<IB@

.G<DIODAA_N$',BM<?@<I?NPKKGT<>JKTJA.G<DIODAA_N<><?@HD>OM<IN>MDKOM@AG@>ODIBOC@

>C<IB@JABM<?@OJOC@!JPMO

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     !82704:# 8D8<6AB=<4D!8:0<0D4:4*@G)<8D4@A8BG4::4@@03C0B4'27==:=5
                        !0<064;4<B3B0:4;3C20B8=<@=C><2
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                .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

                2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

>JGJMJA*<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON




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                "@A@I?<ION"@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO <I?

?O<G@H#?P><ODJI%MJPK'I> ?@NDBI@?OC@JIGDI@$',>G<NNPNDIB"@4MT_N!<IQ<NJIGDI@

KJMO<G<I?OC@!@IB<B@O@SO=JJF.P=GDNC@M_NNJAOR<M@NTNO@HNTI>CMJIDU<ODJIAJMNOP?@IONOJ?J

R@@FGT&JH@RJMF<I?/PDUU@N

           "@A@I?<ION"@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO <I?

?O<G@H#?P><ODJI%MJPK'I> M@>MPDO@? @HKGJT@? <I?CDM@?"@A@I?<IO&<Q@G<N>JPMN@

DINOMP>OJMOJO@<>COC@$',>G<NNDI1@KO@H=@MN@NNDJI

          .G<DIODAAK<D?OPDODJI<I?A@@NOJ=@O<PBCOOC@>JPMN@H<O@MD<GDI$',AMJHOC@

@SK@MODN@JA<OM<DI@?2@<>C@M

          "@A@I?<IO&<Q@GA<DG@?OJK@MAJMHK<D?O@<>CDIBN@MQD>@NOJ.G<DIODAA=@><PN@

OCMJPBCJPOOC@<>>@G@M<O@?@DBCOR@@FGTHJ?PG@NJAOC@>G<NN IJOJI>@?D?"@A@I?<IO&<Q@G

KM@K<M@<I?KJNO<.JR@M.JDIOM@>JM?@?G@>OPM@JM!'$9M@>JM?@?>JIA@M@I>@OJ@SKG<DIJM

O@<>COC@>JI>@KONJAOC@$',>JPMN@H<O@MD<GOJNOP?@IONPIGDF@JOC@M@LP<GGT@HKGJT@?

>JPMN@DINOMP>OJMN<OOC@3IDQ@MNDOT?JDIOC@DMJIGDI@>G<NN@N

          2JOC@@SO@IOOC<O?@A@I?<IONH<T<MBP@OC<O"@A@I?<IO&<Q@GK<MOD>DK<O@?DI

R@@FGT?DN>PNNDJI<>ODQDOD@NJAOC@>G<NN H@M@?DN>PNNDJIKJNODIBN?JIJO>JINODOPO@\OPDODJI]

          .G<DIODAA<Q@MNOC<OR@@FGTRMDOO@I?DN>PNNDJIKJNODIBNNDHDG<MOJ$<>@=JJF

KJNODIBN <=JPOOC@$',>JPMN@H<O@MD<GRDOC<H<O@PM>G<NNH<O@N><IIJOM@KG<>@M@I?DODJIJA

K<D?\OPDODJI]AMJHOC@@SK@MODN@JAOC@>JPMN@DINOMP>OJMCDHN@GA

           "@A@I?<IONA<DG@?OJ>J?DAT<I??@NDBI<O@OC@$',>G<NNRDOCDIOC@DM>JPMN@

M@BDNOM<ODJINTNO@HNOC<O$',>G<NNDN<I\DI?@K@I?@IONOP?T]>G<NN

           "@A@I?<IO&<Q@GA<DG@?OJK@MAJMHCDNK<D?OPDODJI?POD@N=@><PN@C@I@Q@M

M@NKJI?@?OJ.G<DIODAA_NM@LP@NOAJM<>OP<G<><?@HD>A@@?=<>F<NOJRCT.G<DIODAA_N<INR@MOJ<




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 61 of 286 PageID #:61
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LP@NODJIJIOC@5@@F&JH@RJMFR<N@MMJI@JPNOC@M@=T A<DGDIBOJK@MAJMHCDNK<D?O@<>CDIB

?POT<OOC@?@OMDH@IOJA.G<DIODAA_NK<D?OPDODJIHJI@T''.G<DIODAA_N@H<DG?<O@?->O  

+#SCD=DO&<OK<B@ M@LP@NODIBOJA@@?=<>F

                        Z5@@F&JH@RJMFDN>JHKG@O@?<I?NP=HDOO@?<AO@MOCM@@>JIN@>PODQ@
                        NG@@KG@NNIDBCONJARJMFDIBJIDO-I@LP@NODJIR<NBM<?@?RMJIB=TOC@
                        NTNO@H'C<?NJH@JI@M@QD@RDO<I?OC@T<GNJOCDIFOC@NTNO@HBM<?@?DO
                        RMJIB<GOCJPBCDODN>JMM@>O.G@<N@O<F@<GJJF<OOC<OLP@NODJIDI5@@F
                        &JH@RJMF<I?KMJQD?@H@<><?@HD>A@@?=<>FZ
                        
'ODNOC@?POTJAOC@>JPMN@DINOMP>OJMOJKMJQD?@<><?@HD>A@@?=<>F<I?<NN@NNH@IOAJMNOP?@ION

OJG@<MIAMJH<><?@HD>HDNO<F@NK@MO<DIDIBOJOC@$',>G<NNAJMDHKMJQ@H@IO

                 TDBIJMDIB<I?A<DGDIBOJ<??M@NN.G<DIODAA_N<><?@HD>LP@NODJIDIOC@->OJ=@M

@H<DG "@A@I?<IO&<Q@G?D?IJOK@MAJMHCDNK<D?O@<>CDIB?POTOJ.G<DIODAA*DQDIBNOJI@

           .G<DIODAA<Q@MNOC<OOC@3IDQ@MNDOTA<DG@?OJOM<DI"@A@I?<IO&<Q@G<=JPOH<FDIB

@SO@INDJINDI!@IB<B@DI>JIEPI>ODJIRDOC!<IQ<NRC@IOC@3IDQ@MNDOTCDM@?<I?M@>MPDO@?

?@A@I?<IO&<Q@G<NOC@>JPMN@DINOMP>OJMAJM1@KO@H=@M$',>G<NN#SCD=DO# 

           "@A@I?<IO&<Q@G>G<DHNOC<OC@?J@NIJOFIJRCJROJK@MAJMH@SO@INDJINAJM

&JH@RJMF<I?/PDUU@NDIOC@!@IB<B@NTNO@H<I?OM<INKJMON>JM@NAMJH!@IB<B@OJ!<IQ<N

BM<?@=JJF"@A@I?<IO&<Q@G<GNJ>G<DHNC@JIGTRJMFNAJM"@4MT_N><IQ<N<I?NJC@?DM@>O@?

.G<DIODAAOJM<OC@M>JIO<>O!@IB<B@<I?"@4MT'2C@GK?@NF

          "@A@I?<IO&<Q@GFI@RJMC@NCJPG?C<Q@=@@IOM<DI@?<=JPOOC@N@NTNO@HNOC<O

<M@PN@?OJO@<>COC@$',!G<NN

                T?DM@>O<I?KMJSDH<O@><PN@JAOC@I@BGDB@IOA<DGPM@JA"@A@I?<IO&<Q@GOJ

K@MAJMHCDNK<D?O@<>CDIB?POTOJ<>OP<GGTO@<>COC@>JPMN@H<O@MD<G<I?OJ@SKG<DIOC@ADI<I>D<G

OC@JMT>JI>@KONDIOC@$',!G<NN .G<DIODAAC<?OJNK@I?HJM@ODH@JIOC@>JPMN@H<O@MD<G




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RDOCJPO<ITKMJK@MK@?<BJBD>BPD?<I>@ RCD>CI@B<ODQ@GT <AA@>O@?.G<DIODAA_N<><?@HD>

K@MAJMH<I>@

                JOC"@4MT'2C@GK?@NF<I?!@IB<B@NPKKJMO>@IO@MNO<O@?DI@H<DGN<I?

O@G@KCJI@OJ.G<DIODAAOC<ODODNOC@M@NKJIND=DGDOTJA"@A@I?<IO&<Q@G<NOC@!JPMN@DINOMP>OJMOJ

>JIO<>OOC@HOJ?J>C<IB@NJI!<IQ<N<I?!@IB<B@4''#SCD=DON#<I?$ 

          5C@I"@A@I?<IOBM@NO<G<O@MOJJFJQ@MOC@NDOP<ODJIOJNJGQ@OC@KMJ=G@H<I?C@

RJMF@?RDOC!<IQ<NOJOM<INKJMO5@@FNN>JM@NAMJH!@IB<B@DIOJ!<IQ<NBM<?@=JJF

#SCD=DO# C@>JHHPID><O@??DM@>OGTRDOC!@IB<B@RDOCJPOO@GGDIB.G<DIODAAOJ>JIO<>O

!@IB<B@AJM<ITOCDIB

          NOC@>JPMN@DINOMP>OJMAJM$', "@A@I?<IO&<Q@GNCJPG?C<Q@=@@IOM<DI@?

=TOC@3IDQ@MNDOTJMC@4*16.&*#7'-0180CJROJRJMFRDOC=JOC!@IB<B@<I?!<IQ<N<I?

>JHHPID><O@?DM@>OGTRDOC!@IB<B@DINO@<?JAO@GGDIBNOP?@IO.G<DIODAA+D>C<@G*DQDIBNOJI@OJ

K@MAJMHOC<O?POT

                 T?DM@>O<I?KMJSDH<O@><PN@JAOC@I@BGDB@IOA<DGPM@JA"@A@I?<IO&<Q@GOJ

?DM@>OGT>JIO<>O!@IB<B@1PKKJMO<I?"@4MT_N'2&@GK"@NF<OOC@ODH@OJ<??M@NN<KK<M@IO

O@>CID><GBGDO>C@N=@OR@@IOC@ORJNTNO@HNAJM$',>G<NN OCDNM@NPGO@?DI.G<DIODAAN@I?DIB

HJM@@H<DGN<I?NOMDIBNJA@H<DGNOJADI?NJGPODJINAMJHJOC@M3IDQ@MNDOT<?HDIDNOM<OJMN RCD>C

DIOPMIM@NPGO@?DIOC@3IDQ@MNDOTNPHHJIDIB<I?N@DUDIB.G<DIODAAAJM?DN>DKGDI<MTC@<MDIB

#SCD=DON$ " +! <I?RCD>CC<NDIOPMIR<NO@?.G<DIODAA_NODH@<I??DNOM<>O@?CDN

<><?@HD>AJ>PN

           5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO EJDIOGT 

N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA




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HDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@

M@GD@AJM?@MOJQ<><O@<I?@SKPIB@OC@,JQ@H=@M?DN>DKGDI<MTM@>JM?<I?N<I>ODJINRDOCJPO

H<FDIBM@A@M@I>@NOJDO<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I?

?DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?

@LPDO<=G@

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      !82704:# 8D8<6AB=<4D$0C:=70@0!029!=5838!8:0<0D4:4*@G)<8D4@A8BG
            4::4@@03C0B4'27==:=5!0<064;4<B3B0:4;3C20B8=<@=C><2
                                                   
            .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

              2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

>JGJMJA*<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

              "@A@I?<IO(<H@N <MOCJGJH@R "@4MT3IDQ@MNDOT_NOC@I .M@ND?@IO NO<O@?

DICDNJK@IDIB5@G>JH@+@NN<B@JAOC@KP=GDNC@?>JIOM<>OP<G)@GG@M%M<?P<O@1>CJJGJA

+<I<B@H@IO><?@HD>!<O<GJBOC<OOC@3IDQ@MNDOT_NNO<AA<I?A<>PGOTRDGG<>ODI%JJ?$<DOC

<I?$<DM"@<GDIBOJNPKKJMONOP?@IONOJ=@NP>>@NNAPGNOP?@ION<O"@4MTRC@IC@NO<O@?OCDN

                             "@<M1OP?@IO 5@G>JH@OJOC@"@4MT3IDQ@MNDOTA<HDGT <I?
                             >JIBM<OPG<ODJINJIO<FDIBOCDNDHKJMO<IONO@KOJR<M?M@<GDUDIBTJPM
                             @?P><ODJI<GBJ<GN)IJROC<OJPMO<G@IO@?A<>PGOT<I?>JHHDOO@?NOP?@IO
                             NPKKJMONO<AARDGG=@OC@M@AJMTJP@Q@MTNO@KJAOC@R<T'ODNJPMBJ<GOJ
                             C@GKTJP=@>JH@<NP>>@NNAPGNOP?@IO <I?PGODH<O@GT <NP>>@NNAPG
                             BM<?P<O@JA"@4MT3IDQ@MNDOTZ
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          1@@ COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT;@?P?31;!<O<GJBK?A<O.<B@

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          'I <AO@M<OO@HKONOJM@NJGQ@O@>CID><G<I?<><?@HD>DNNP@N?DM@>OGTRDOC

"@A@I?<IO&<Q@GA<DG@? .G<DIODAA>JIO<>O@?"@4MT1OP?@IO1PKKJMO>@IO@MAJMA<>PGOT

H<I<B@H@IOOJ<??M@NNOC@DNNP@N

          5C@M@PKJI OC@3IDQ@MNDOT>M@<O@?OC@!<N@,JAJM.G<DIODAA<O"@4MT

          ,JORDOCNO<I?DIBOC@3IDQ@MNDOT.M@ND?@IO_N><O<GJB@?H@NN<B@ 4623#H@H=@MN

JAOC@3IDQ@MNDOT_N$<>PGOT+<I<B@H@IO"@A@I?<ION+JAD?D<I?)JC<M< A<DG@?OJM@<>CNOP?@IO

.G<DIODAA+D>C<@G*DQDIBNOJI@DIOC@NKDMDOJABJJ? A<DOC<I?A<DM ?@<GDIBOJ<N>@MO<DIOC@N>JK@JA

OCDIBN OJ<NN@NN.G<DIODAA_NKMJ=G@HNRDOCOC@$',>G<NN <I?OJKMJQD?@NJGPODJINJM

?DM@>ODJIN

          2C@M@>JM?RDOCDIOC@,JQ@H=@MNOP?@IO>JI?P>OC@<MDIBK<>F@O#SCD=DON

 + <O#SCD=DO%NPBB@NONOC<O?@A@I?<ION+JAD?D<I?)JC<M<>JINKDM@?RDOC?@A@I?<IO

&<Q@GOJDIEPM@.G<DIODAA=TAJMR<M?DIB.G<DIODAA_NDNNP@<I?@H<DGNOJ"@A@I?<IOBM@NO< DINO@<?

JAM@<>CDIBJPOOJNOP?@IO.G<DIODAA+D>C<@G*DQDIBNOJI@OJ<NN@NNOC@KMJ=G@H<I?JAA@M<IT

M@NJGPODJIN

          'IOC@NKDMDOJAOC@3IDQ@MNDOT.M@ND?@IO_NH@NN<B@ 4623#JOC@M"@4MT3IDQ@MNDOT

>JPMN@DINOMP>OJMN <?HDIDNOM<ODQ@A<>PGOTH@H=@MN <I?"@<INDIOC@K<NO<>O@?DIBJJ?A<DOCOJ

<??M@NN.G<DIODAA_N>JI>@MIN<=JPO<>G<NNJMKJDIO@?.G<DIODAADIOC@MDBCO?DM@>ODJIPI?@M

3IDQ@MNDOTKJGD>D@N

           5C@I.G<DIODAAI@@?@?@SO@INDJIN=<>FDI(PGT+%+2>G<NNAMJH"M

5@GNC AJM@S<HKG@ "M5@GNC>JII@>O@?.G<DIODAAOJC@M$<>PGOT+<I<B@M .MJA@NNJM(JCI

)<QJPM<N.MJA@NNJM)<QJPM<NOC@IM@<>C@?JPOOJ.G<DIODAA<OOC@ODH@<I?<?QDN@?.G<DIODAAOJ

<KKGTAJM"<>>JHHJ?<ODJINDACDNH@?D><G>JI?DODJINK@MNDNO''#SCD=DO         




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            1DHDG<MGT RC@I.G<DIODAA@I>JPIO@M@?NJH@<><?@HD>KMJ=G@HNRDOC"M

%JJ?H<I?PMDIBOC@!!2+<M>CN@NNDJI "M%JJ?H<I>JII@>O@?.G<DIODAAOJC@M

A<>PGOT>C<DMK@MNJI "M+<>!<OC@MDI@ RCJOC@IC<I?G@?OC@O@>CID><GBGDO>C@N<OOC@ODH@<I?

<NF@?.G<DIODAAOJADG@<BM<?@<KK@<G<OOC@ODH@AJMCDHOJM@QD@R.G<DIODAA_NJOC@M>JI>@MIN''

#SCD=DO! .<B@ 

            !JIQ@MN@GT DI,JQ@H=@M "@A@I?<IO&<Q@G<I?NNDNO<IOA<>PGOT

H<I<B@H@IO?@<IN?@A@I?<ION)JC<M<<I?+JAD?D I@Q@MM@<>C@?JPODIBJJ?[A<DOCOJ.G<DIODAA

OJN@@OC@N>JK@JAOCDIBN<I??@<GRDOCOC@H<OO@M'INO@<? OC@TDBIJM@?.G<DIODAA<I?AJMR<M?@?

.G<DIODAA_N@H<DGNOJ>JINKDM@RDOC"@A@I?<IOBM@NO<OJO<F@<?Q@MN@<>ODJI

<B<DINO.G<DIODAAH@M@GTAJMQJD>DIBCDN>JI>@MIN

                  T?DM@>O<I?KMJSDH<O@><PN@JAOC@I@BGDB@IOA<DGPM@JA"@A@I?<ION+JAD?D<I?

)JC<M<OJM@NKJI?OJ.G<DIODAA_N@H<DGN<I?>JI>@MIN<=JPO"M&<Q@G<OOC@ODH@ OCDNM@NPGO@?DI

.G<DIODAAN@I?DIBHJM@@H<DGN<I?NOMDIBNJA@H<DGNOJADI?NJGPODJINAMJHJOC@M<?HDIDNOM<OJMN

DI>GP?DIB.G<DIODAA>JIO<>ODIB?@A@I?<IO)@GG@M_N,<ODJI<G"@<I*@IJM@%JG?=@MB AJM@S<HKG@

''<GNJ#S%<OKJDIO,J 

            N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOOC@I@BGDB@IOA<DGPM@JA"@A@I?<ION+JAD?D

<I?)JC<M<OJM@NKJI?OJ.G<DIODAA_N@H<DGN<I?>JI>@MIN<=JPO"M&<Q@G<OOC@ODH@ OCDN><PN@?

.G<DIODAAOJGJJFAJMCDNJRI>JHKG<DIO<?HDIDNOM<OJM?@A@I?<IO)@GG@M_N,<ODJI<G"@<I *@IJM@

%JG?=@MB RCD>CC<NG@?OJ<?Q@MN@?DN>DKGDI<MTN<I>ODJINJI=<N@G@NNBMJPI?NOC<O.G<DIODAA

>JIO<>O@?<CDBC@M<?HDIDNOM<OJMRDOCJPOAJGGJRDIBKMJK@M>JHHPID><ODJI>C<II@GN#SCD=DO

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           N<APMOC@M?DM@>O<I?KMJSDH<O@><PN@ OCDN><PN@?OC@3IDQ@MNDOTOJ=@

NPHHJIDIB<I?N@DUDIB.G<DIODAAAJM<?Q@MN@,JQ@H=@M?DN>DKGDI<MTC@<MDIB#SCD=DON$ 




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"#SCD=DON + RCD>CC<NDIOPMIR<NO@?.G<DIODAA_NODH@ NODBH<ODU@?.G<DIODAA_NM@>JM? 

<I??DNOM<>O@?CDN<><?@HD>AJ>PN<GGOJCDN?@OMDH@IO

          5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<ION<B<DINO?O<G@H "@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO 

<I?"@A@I?<IO&<Q@G EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@N

DI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?

K@MH<I@IODIEPI>ODQ@M@GD@AOJQ<><O@<I?@SKPIB@OC@,JQ@H=@M?DN>DKGDI<MTKMJ>@@?DIBN

N<I>ODJI<I?<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDI

OCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                          !82704:# 8D8<6AB=<4D4*@G)<8D4@A8BG
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                                                  
          .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

          2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

>JGJMJA*<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

          .G<DIODAADN<31!DODU@I

           .G<DIODAADN<=G<>FH<G@DI?DQD?P<GRDOCJMDBDINAMJHOC@0@KP=GD>JA%C<I< 

5@NOAMD><.G<DIODAANK@<FNRDOC<IAMD><I<>>@IO




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 67 of 286 PageID #:67
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           .G<DIODAAM@LP@NO@?AJM@SO@INDJINAMJH"@A@I?<IO&<Q@GOJNP=HDOCDNJPONO<I?DIB

>JPMN@RJMFAJM5@@FN HJ?PG@NJA$',>G<NN?PMDIB1@KO@H=@MN@NNDJI?P@OJ

?J>PH@IO@?@SO@IP<ODIB>DM>PHNO<I>@N

           "@A@I?<IO&<Q@G?@>GDI@?OJBM<IO.G<DIODAA_NM@LP@NOAJM@SO@INDJINAO@M

<?HDIDNOM<ODQ@DIO@MQ@IODJIN OC@3IDQ@MNDOTPGODH<O@GT<GGJR@?@SO@INDJI<I?JK@I@?OC@GJ>F@?

HJ?PG@NAJMJIGT5@@FNHJ?PG@_N<NNDBIH@IONAJM.G<DIODAAOJ>JHKG@O@CDN&JH@RJMF

<I?/PDUU@NAJMOCJN@HJ?PG@N''#SCD=DO# 

           'I<B@I@M<G<IIJPI>@H@IOOJOC@@IODM@>G<NN ?@A@I?<IO&<Q@G<IIJPI>@?OC<OC@

C<N@SO@I?@?<GGOC@<NNDBIH@IONAJMOC@@IODM@>G<NNOJ>JHKG@O@=T@I?JAOC@>G<NNJI->OJ=@M

 ''#SCD=DO#AJM!<IQ<N<IIJPI>@H@IONAMJH"@A@I?<IO&<Q@G?<O@?->OJ=@M 

<I?->OJ=@M 1J ?@A@I?<IO&<Q@GBM<IO@?@SO@INDJINOJJOC@MNDHDG<MGT NDOP<O@?

NOP?@IONRCJI@Q@MM@LP@NO@?AJMOC@@SO@INDJI<I?RCJI@Q@MKMJ?P>@?<IT?J>PH@IO<ODJIJA

@SO@IP<ODIB>DM>PHNO<I>@NPIGDF@.G<DIODAA*DQDIBNOJI@?D?

           .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<OHJODQ<O@?=TKM@EP?D>@<I?=<? A<DOC

<B<DINOOC@A<>OOC<O.G<DIODAAC<N"<>>JHHJ?<ODJIN "@A@I?<IO&<Q@G?@ID@?.G<DIODAA_NIJI

["M@LP@NONAJM@SO@INDJIN<I?C@M<OC@MBM<IO@?@SO@INDJINOJJOC@M<=G@NOP?@ION[NOP?@ION

DIOC@T$',>G<NNRCJ?D?IJO@Q@II@@?@SO@INDJIN<I?NOP?@IONRCJI@Q@MM@LP@NO@?AJM

OCJN@@SO@INDJIN<O<GG

          .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<OHJODQ<O@?=TKM@EP?D>@<I?NO@M@JOTK@N

<B<DINO.G<DIODAA_NM<>@<N<=G<>FH<IRDOCDI?DB@IJPN<>>@IOAMJH5@NOAMD>< ?@A@I?<IO

&<Q@GOM@<O@?.G<DIODAA?DAA@M@IOGT ?@ID@?.G<DIODAA@SO@INDJIN <I?C@BM<IO@?PINJGD>DO@?

@SO@INDJINOJJOC@MNDHDG<MGT NDOP<O@?NOP?@IO>G<NNH<O@NJA$',>G<NN




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          1K@>DAD><GGT JI->OJ=@M   "@A@I?<IO&<Q@G<IIJPI>@?OC<OC@C<N

BDQ@I@SO@INDJINOJJOC@MNDHDG<MGT NDOP<O@?NOP?@IONDIOC@$',!G<NNOJ>JHKG@O@<GG

<NNDBIH@ION#SCD=DO# .<B@N <GOCJPBCOC@NOP?@IONJAOC@>G<NNI@Q@MM@LP@NO@?AJMOC@

@SO@INDJIN<I?OC@TI@Q@MKMJQD?@?<IT?J>PH@IO<ODJIJA@SO@IP<ODIB>DM>PHNO<I>@NAJMOC@

@SO@INDJINPIGDF@.G<DIODAA*DQDIBNOJI@RCJM@LP@NO@?AJM@SO@INDJIN=<N@?JI?J>PH@IO@?

@SO@IP<ODIB>DM>PHNO<I>@N

          N<?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAAC<NNPAA@M@?<I?>JIODIP@NOJNPAA@MBM<Q@H@IO<G<IBPDNC CPHDGD<ODJIOJCDN

I<ODJI<GJMDBDI<I?M<>@<I??DN<=DGDOT <I?GJNNJACDN@IEJTH@IOJAGDA@

          N<APMOC@M?DM@>O<I?KMJSDH<O@><PN@ .G<DIODAAC<NJOC@MRDN@NPAA@M@?DICDN

A@@GDIBN<I?K@<>@JAHDI?RDOCDMM@K<M<=G@DIEPMTRCD>C><IIJO=@APGGT>JHK@IN<O@?=T<I

<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?K@MH<I@IO

DIEPI>ODQ@M@GD@AAMJHOCDN!JPMOOJ@IEJDI?@A@I?<IONOJM@ JK@IOC@M@H<DIDIB5@@FN 

HJ?PG@&JH@RJMF<I?/PDUU@NAJM$',>G<NNDI=JOC!<IQ<N<I?!@IB<B@NTNO@HNAJM

.G<DIODAAOJ>JHKG@O@OC@HRDOCDI 5@@FNJAOC@!JPMO_N-M?@M<I?>C<IB@.G<DIODAA_NADI<G

BM<?@AJM1@KO@H=@MN@NNDJIJAOC@$',>G<NN

            5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION<B<DINO?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO EJDIOGT 

N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA

HDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@OJ

@IEJDIOC@3IDQ@MNDOTOJPIGJ>FOC@>JPMN@HJ?PG@N<I?@SO@I?5@@FN &JH@RJMF<I?

/PDUU@NDI=JOC><IQ<N<I?!@IB<B@KJMO<GNAJM.G<DIODAAOJNP=HDOOC@JPONO<I?DIBRJMF<I?

>C<IB@OC@$',BM<?@<I?<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I?




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 69 of 286 PageID #:69
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?DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?

@LPDO<=G@

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    !82704:# 8D8<6AB=<4D!8:0<0D4:4*@G)<8D4@A8BG4::4@@03C0B4'27==:=5
                       !0<064;4<B3B0:4;3C20B8=<@=C><2
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           .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

           2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@>JINODOPO@N>JI?P>OPI?@M

>JGJMJA*<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

           'I1@KO@H=@M "@A@I?<IO&<Q@GM@>@DQ@?.G<DIODAA_N"<>>JHHJ?<ODJIN

IJOD>@<I?<KKGD@?OC@6@SO@INDJINOJ<GGJA.G<DIODAA_N5@@FGT&JH@RJMF<I?/PDUU@NDI

=JOC"@4MT!<IQ<N>JPMN@KJMO<G<I?!@IB<B@.P=GDNC@M_NNJAOR<M@#SCD=DON" NTNO@HN

OC<O$',>G<NNPN@?

           *<O@MDI->OJ=@M OC@N<H@"@A@I?<IO&<Q@G>G<DH@?OC<OC@?J@NIJOFIJR

CJROJ?J@SO@INDJINAJMOC@&JH@RJMF<I?/PDUU@NDI!@IB<B@4''#SCD=DO# 

           %DQ@IOC<O"@A@I?<IO&<Q@GR<N<=G@OJK@MAJMHOC@@SO@INDJINDI1@KO@H=@M

DI=JOC!<IQ<N<I?!@IB<B@ OC@N<H@"@A@I?<IO&<Q@GFI@RJMNCJPG?C<Q@FIJRICJR

OJK@MAJMHOC@@SO@INDJINDI=JOC!@IB<B@<I?!<IQ<NDI->OJ=@M<NR@GG

          'I<NHP>C<N"@A@I?<IO&<Q@GR<N<=G@OJ?JOC@@SO@INDJINDI1@KO@H=@MDI

=JOC!<IQ<N<I?!@IB<B@ OC@N<H@"@A@I?<IO&<Q@GA<GN@GT DIO@IODJI<GGT <I?RDGGAPGGT




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HDNM@KM@N@IO@?OJ.G<DIODAAOC<OC@?J@NIJOFIJRCJROJ?JOC@@SO@INDJINDI=JOC!@IB<B@<I?

!<IQ<NDI->OJ=@M#SCD=DO# 

            "@A@I?<IO&<Q@G<GNJKJNO@?<$<DG$ ADI<GBM<?@OJOC@3IDQ@MNDOT0@BDNOM<MAJM

.G<DIODAA<MJPI?->OJ=@M <GOCJPBC.G<DIODAA_NADI<GBM<?@<OOC@ODH@DICDNBM<?@=JJF

R<NIJO<$<DGBM<?@<O<GG

            ,JORDOCNO<I?DIBOC@A<>OOC<O"@A@I?<IOBM@NO<<>O@?PI?@MOC@<PNKD>@NJA

?@A@I?<IO%JG?=@MBOJ>C<IB@OC@$<DGBM<?@OJ\!]<AO@M<??M@NNDIBOC@KG@OCJM<JAK@MAPI>OJMT

O@>CID><GBGDO>C@N "@A@I?<IO&<Q@G><IIJO=@@SJI@M<O@?AJMA<GN@HDNM@KM@N@IO<ODJI=T

H<GD>DJPNGTKJNODIB<=<?$ BM<?@OJOC@0@BDNOM<MOC<OR<NIJO>JINDNO@IORDOCOC@<>OP<GN>JM@N

DIOC@BM<?@=JJF<OOC@ODH@JAKJNODIBOC@BM<?@

                  T?DM@>O<I?KMJSDH<O@><PN@JAOC@<GG@B@?I@BGDB@IOHDNM@KM@N@IO<ODJIJA

"@A@I?<IO&<Q@G OCDNM@NPGO@?DI.G<DIODAAN@I?DIBHJM@@H<DGN<I?NOMDIBNJA@H<DGNN@@FDIB

NJGPODJINAMJH3IDQ@MNDOT?HDIDNOM<OJMN R<NODIB.G<DIODAA_NODH@ <I??DNOM<>ODIBCDN<><?@HD>

AJ>PN

            N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJAOC@PIG<RAPG=@C<QDJMJA"@A@I?<IO

&<Q@G OC@3IDQ@MNDOTM<OC@MNPHHJI@?<I?N@DU@?.G<DIODAAAJM?DN>DKGDI<MT<>ODJI#SCD=DON$

" + RCD>CC<NDIOPMIR<NO@?.G<DIODAA_NODH@ DIAGD>O@?GJNNJA@IEJTH@IOJAGDA@ 

NODBH<ODU@?.G<DIODAA_NM@>JM? <I??DNOM<>O@?.G<DIODAA_N<><?@HD>AJ>PN

                5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO <I?"@A@I?<IO

&<Q@GEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIO

DI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IO




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DIEPI>ODQ@M@GD@A<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@ION

DIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                   !82704:# 8D8<6AB=<4D4*@G)<8D4@A8BG4::4@3B0:4;
         

                .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

                2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@>JINODOPO@N>JI?P>OPI?@M

!JGJMJA*<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

                .G<DIODAA<Q@MNOC<OOC@DI<>ODJI<I?3'2'#5'&+0#%5+10JA"@A@I?<ION<B<DINO

.G<DIODAA_N?DN>MDHDI<ODJI>JHKG<DIONAGD@NDIOC@A<>@JAOC@<IOD ?DN>MDHDI<ODJI>G<PN@JAOC@2DOG@

4'!DQDG0DBCON>OJA

                "@4MT3IDQ@MNDOTK<MOD>DK<O@NDIOC@A@?@M<GNOP?@IOADI<I>D<G<D?KMJBM<HN RCD>C

<GNJM@LPDM@NOC@3IDQ@MNDOTOJ>JHKGTRDOCOC@!DQDG0DBCON>OJA<B<DINOM<>D<G

"DN>MDHDI<ODJI

           2C@3IDQ@MNDOTC<NKP=GDNC@?<IOD ?DN>MDHDI<ODJIKJGD>TDIDON!<O<GJBN<I?

&<I?=JJFN

           'I<I@H<DG?<O@?->OJ=@M <O+OJ"@A@I?<IO&<Q@G .G<DIODAA

<NN@MO@?CDNMDBCON.G<DIODAA<GG@B@?M<>D<G?DN>MDHDI<ODJI<I?.G<DIODAA>JHKG<DI@?<I?>JKD@?




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OC@-!0JIDO4''#SCD=DO& N<A<>PGOTH@H=@MJAOC@3IDQ@MNDOT "@A@I?<IO&<Q@GA<DG@?

OJM@A@M.G<DIODAAOJOC@3IDQ@MNDOT_N<IOD ?DN>MDHDI<ODJIJAAD>@MAJMM@B<M?DIBKG<DIODAA_N

<GG@B<ODJINJA?DN>MDHDI<ODJI

           'I<,JQ@H=@M @H<DGAMJH"@A@I?<IOBM@NO<N@I?DIB<?DN>DKGDI<MT

!JI?P>OC@<MDIBK<>F@OOJ.G<DIODAA "@A@I?<IOBM@NO<<OO<>C@?.G<DIODAA_N->OJ=@M 

@H<DGOC<OR<N>JKD@?OJOC@-AAD>@JA!DQDG0DBCON-!0 RC@M@DI.G<DIODAA<GG@B@?<I?M@KJMO@?

M<>D<G?DN>MDHDI<ODJI

           "@A@I?<IOBM@NO<NPHHJI@?<I?N@DU@?.G<DIODAAAJM<,JQ@H=@M 

?DN>DKGDI<MTC@<MDIBJIBMJPI?NOC<O.G<DIODAAC<N>JHKG<DI@?<B<DINO?DN>MDHDI<ODJIOJOC@-!0

4''#SCD=DO$>JIO<DI@?RDOCOC@C@<MDIBK<>F<B@UDKADG@#SCD=DON + 

           'IOC@,JQ@H=@M >JI?P>OC@<MDIBK<>F@O "@A@I?<IOBM@NO<

>C<M<>O@MDU@?.G<DIODAA_N->OJ=@M @H<DG>JHKG<DIDIB<=JPOM<>D<G?DN>MDHDI<ODJIOJOC@

-!0<N\=PGGTDIB=@C<QDJM]AJMRCD>C.G<DIODAANCJPG?=@?DN>DKGDI@?4''>JI?P>OC@<MDIB

K<>F@O#SCD=DO .<B@RDOCDI@SCD=DON + 

                .G<DIODAA<Q@MNOC<OOC@-!0 ##-! <I?OC@!DQDG0DBCON>OJAM@LPDM@N<GG

3IDQ@MNDOD@N@NK@>D<GGT3IDQ@MNDOD@NOC<OK<MOD>DK<O@DI$@?@M<G1OP?@IO$DI<I>D<G<D?KMJBM<HN 

OJC<Q@<?@NDBI<O@?<IOD ?DN>MDHDI<ODJI-AAD>@M<OOC@3IDQ@MNDOTOJM@>@DQ@ DIQ@NODB<O@ <I?<>O

PKJI<GG@B<ODJINJA?DN>MDHDI<ODJIPI?@M!DQDG0DBCON>OJA

                'INO@<?JA"@A@I?<ION&<Q@G<I?BM@NO<M@A@MMDIB.G<DIODAA<I?.G<DIODAA_N->O 

@H<DG<GG@BDIBM<>D<G?DN>MDHDI<ODJIOJOC@3IDQ@MNDOT_N?@NDBI<O@?OM<DI@?<IOD

?DN>MDHDI<ODJI-AAD>@MAJM'IQ@NODB<ODJI<I?<>ODJI<B<DINO.G<DIODAA_N<GG@B<ODJINJA

?DN>MDHDI<ODJI "@A@I?<IO&<Q@G<I?"@A@I?<IOBM@NO<M<OC@MNPHHJI@?.G<DIODAAAJM




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,JQ@H=@M ?DN>DKGDI<MT<>ODJIC@<MDIB<I?JI,JQ@H=@M  "@A@I?<IOBM@NO<

DHKJN@?<?Q@MN@?DN>DKGDI<MTN<I>ODJIN<B<DINO.G<DIODAA#S! 

                .G<DIODAA<Q@MNOC<OOC@KMJK@MOCDIB?@A@I?<IONBM@NO<<I?&<Q@GFI@RJMNCJPG?

C<Q@FIJRIOJ?JRC@I<NOP?@IO<GG@B@NM<>D<G?DN>MDHDI<ODJIDNOJM@A@MOC@NOP?@IOOJOC@

3IDQ@MNDOT_N?@NDBI<O@?<IOD ?DN>MDHDI<ODJIJAAD>@M IJOM@A@MOC@NOP?@IOAJM?DN>DKGDI<MT<>ODJI

                "@A@I?<ION <GGJAOC@H DI?DQD?P<GGT<I?JM>JGG@>ODQ@GT DIO@IODJI<GGTM@O<GD<O@?

<B<DINO.G<DIODAA=TNPHHJIDIB.G<DIODAAAJM,JQ@H=@M ?DN>DKGDI<MTC@<MDIB<I?

N<I>ODJIDIBCDHRDOC<?Q@MN@?DN>DKGDI<MT<>ODJI=@><PN@.G<DIODAA>JHKG<DI@?<I?<NN@MO@?CDN

MDBCON<B<DINOM<>D<G?DN>MDHDI<ODJIOJOC@-!0DI.G<DIODAA_N@H<DGN

                1K@>DAD><GGT .G<DIODAA_N@H<DG#SCD=DO$ ?<O@?->OJ=@M <O+

RCD>CDN>JIO<DI@?RDOCDIOC@UDKADG@JAOC@,JQ@H=@MNOP?@IO>JI?P>OC@<MDIBK<>F@O

#SCD=DON + <GG@B@NM<>D<G<I??DN<=DGDOT?DN>MDHDI<ODJIOJOC@3IDQ@MNDOT<I?>JKD@NOC@

@SO@MI<GA@?@M<G<IOD ?DN>MDHDI<ODJI<B@I>T-!0 JIDO

           1K@>DAD><GGT .G<DIODAA_N@H<DG?<O@?->OJ=@M <O.+OJ?@A@I?<IO

%JG?=@MB#SCD=DO" KK  OC<OR<NDI>GP?@?RDOCDIOC@,JQ@H=@M>JI?P>OC@<MDIB

K<>F@O#SCD=DON + <GNJ<GG@B@NM<>D<G<I??DN<=DGDOT?DN>MDHDI<ODJI

           "PMDIBOC@,JQ@H=@M NOP?@IO>JI?P>OC@<MDIB "@A@I?<IOBM@NO<

>G<DH@?=@AJM@OC@.<I@GDNONOC<O.G<DIODAA<NN@MO@?CDNMDBCOOJ>JHKG<DI<=JPO?DN>MDHDI<ODJIOJ

OC@-!0<I?NJOC<ODN<B<DINOMOD>G@'''JAOC@"@4MT1OP?@IO!J?@JA!JI?P>O<NDIODHD?<ODJI

<I?OCM@<O@IDIB<I?=PGGTDIB

           .G<DIODAA<Q@MNOC<O>JHKG<DIDIBM@KJMO?DN>MDHDI<ODJIDNIJOKCTND><GOCM@<O 

DIODHD?<ODJI JM=PGGTDIB<O<GG




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           "PMDIBOC@,JQ@H=@M C@<MDIB "@A@I?<IOBM@NO<HDN>C<M<>O@MDU@?OC@

<AJM@H@IODJI@?RMDOO@I@H<DG<NN@MODJIN=T.G<DIODAAOJM@KJMOM<>D<G<I??DN<=DGDOT?DN>MDHDI<ODJI

OJOC@-!0\DIODHD?<ODIB<I?OCM@<O@IDIB]<B<DINOMOD>G@'''JAOC@NOP?@IO>JI?P>O>J?@

           2C@C@<MDIB.<I@GDNOND@?@A@I?<ION0PNN@GG "_1JPU< <I?1>CHDOU <GNJ

>JI?JI@? <D?@?<I?<=@OO@?DI?DN>MDHDI<ODJI =TQDMOP@JAOC@DMA<DGPM@OJ<>O<I?M@A@M.G<DIODAA

OJADG@<?DN>MDHDI<ODJI>JHKG<DIORDOCDIOC@3IDQ@MNDOTDON@GAJM@I>JPM<B@.G<DIODAAOJADG@<

?DN>MDHDI<ODJI>JHKG<DIO@GN@RC@M@NP>C<NOC@-!0

                2C@3IDQ@MNDOT OC@.<I@GDNON OC@"@A@I?<ION BM@NO< &<Q@G )JC<M< +JAD?D[

<GGOC@H FI@RJM4*16.&*#7'-0180OC<OOC@TC<Q@<?POTOJ?DN>JPM<B@?DN>MDHDI<ODJIDIOC@

3IDQ@MNDOT<I?OJ<>O<B<DINO?DN>MDHDI<ODJI7@O OC@N@?@A@I?<IONA<DG@?OJM@A@M.G<DIODAAOJOC@

3IDQ@MNDOT_N<IOD ?DN>MDHDI<ODJI-AAD>@MDA<IT JMOJ@I>JPM<B@.G<DIODAAOJM@KJMOOC@<GG@B@?

?DN>MDHDI<ODJIOJOC@-!0AJMDIQ@NODB<ODJI<I?M@H@?D@N

                .G<DIODAA<Q@MNOC<O"@A@I?<ION DI?DQD?P<GGT<I?JM>JGG@>ODQ@GT DIO@IODJI<GGT

M@O<GD<O@?<B<DINO.G<DIODAADIOC@DINODOPODJI DIQ@NODB<ODJI KMJN@>PODJI <I?<NN@NNH@IO<I?

DHKJNDODJIJA<?Q@MN@?DN>DKGDI<MTKMJ>@@?DIBNOC<O?DNOM<>O@?.G<DIODAA_N<><?@HD>AJ>PN 

?DNOM<>O@?CDNK@<>@JAHDI? <I??@ID@?.G<DIODAA_N@IEJTH@IOJAOC@MDBCON KMDQDG@B@N <I?

M@<NJI<=G@@SK@>O<ODJINJA<NOP?@IO@IMJGG@?<OOC@3IDQ@MNDOT =@><PN@JA.G<DIODAA_NM<>@<NR@GG

<NNPNKD>DJI<I?HDNOMPNOJA.G<DIODAA_NHJODQ<ODJIN=<N@?JIA<GN@NO@M@JOTK@N>JI>@MIDIB

.G<DIODAA_N>PGOPM<G<I?HJM<G=<>FBMJPI?

                5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION "@4MT3IDQ@MNDOT)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO?O<G@H#?P><ODJI

%MJPK'I>EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I

<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNON?@>G<M<OJMTM@GD@A KM@GDHDI<MT<I?




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K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMOOJNOMDF@ Q<><O@ M@Q@MN@ N@O<ND?@ <I?IPGGDATOC@

,JQ@H=@M <?Q@MN@?DN>DKGDI<MTN<I>ODJIN<I?M@>JM?N>JIO<DI@?RDOCDI#SCD=DO!<I

<R<M?JAM@<NJI<=G@<OOJMI@TNA@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?

NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                                       &(&'''"(#"
                                       !(#" ' (
                                                      
                      !82704:# 8D8<6AB=<4D454<30<BA=<0B70<6@4AB0
                     4*@G)<8D4@A8BG4::4@@03C0B4'27==:=5!0<064;4<B
                                    3B0:4;3C20B8=<@=C><2
                                                      
                .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

                2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

>JGJMJAG<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

           O<GGODH@NH@IODJI@?C@M@DI .G<DIODAAR<N<G<R<=D?DIB!DODU@IJAOC@3IDO@?

1O<O@N<I?OC@1O<O@JA,@R(@MN@T NOP?@IO<O"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJG

JA+<I<B@H@IORCJ@IEJT@?OC@M@NK@>O >JIAD?@I>@ <I?@NO@@HJACDNI@DBC=JMN <NR@GG<NJA

<GGJOC@MNDIOC@>JHHPIDOT <I?C<NI@Q@M=@@IBPDGOTJA<IT>MDH@ JAA@IN@ JMQDJG<ODJIJAOC@

G<RRCD>CRJPG?O@I?OJG@NN@IOC@M@NK@>O >JIAD?@I>@ <I?@NO@@HC@C<N@IEJT@? <I?OJRCD>C

C@R<N@IODOG@?

           "@A@I?<IOBM@NO<R@GGFIJRDIBOC@A<>ONN@OAJMOCDIOC@KM@>@?DIBK<M<BM<KC

>JI>@MIDIB.G<DIODAANM@KPO<ODJIDIOC@>JHHPIDOT<I?RDOCDIO@IOOJDIEPM@.G<DIODAA<I?=MDIB

CDHDIOJKP=GD>N><I?<G<I??DNBM<>@ FIJRDIBGT<I?H<GD>DJPNGT JMRDOCM@>FG@NN?DNM@B<M?AJM




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OC@OMPOC JMI@BGDB@IOGT<I?><M@G@NNGTKP=GDNC@?JM><PN@?OJ=@KP=GDNC@?OC@N><I?<GJPN 

?@A<H<OJMT <I?GD=@GJPNNO<O@H@IONJA<I?>JI>@MIDIB.G<DIODAA*DQDIBNOJI@

           1K@>DAD><GGT "@A@I?<IOBM@NO<NO<O@?DIOC@,JQ@H=@M>JI?P>OC@<MDIB

K<>F@OOC<O.G<DIODAAC<N\=PGGTDIB=@C<QDJM]AJM>JHKG<DIDIB<B<DINOM<>D<G<I??DN<=DGDOT

?DN>MDHDI<ODJIDI.G<DIODAA_N,JQ@H=@M @H<DG4''RDOCDI#SCD=DO= 

           2C@NO<O@H@ION>JIO<DI@?DIOC@RMDOO@I>JHHPID><ODJIND?@IODAD@?<I??@N>MD=@?

<=JQ@M@AG@>OPKJI.G<DIODAAN>JI?P>O<NR@GG<NCDN>C<M<>O@M<I?M@KPO<ODJIRC@M@<N?@A@I?<IO

BM@NO<?@N>MD=@?.G<DIODAA<N<>JGPH=DI@\=PGGT]RDOC<I\JIBJDIB=@C<QDJM]

           .G<DIODAAC<NIJJIBJDIB\=@C<QDJM ]=POM<OC@M .G<DIODAAH<?@@SKM@NNDJIN<I?

<NN@MODJINJACDNMDBCON#SCD=DO= .G<DIODAAC<NIJ>MDHDI<G>JIQD>ODJINAJM<IT=PGGTDIB

                #Q@IDA?@A@I?<ION<M@KMDQDG@B@?OJ?@A<H@<I?<NN<NNDI<O@.G<DIODAA_N>C<M<>O@M

=TQDMOP@JAOC@DM><K<>DOD@N<NN>CJJG<?HDIDNOM<OJMN AJMOC@KPMKJN@NJABJJ?KMJ>@?PM@<I?A<DM

C@<MDIB OCDN?@A<H<OJMTDIIP@I?JC<N><NO<I@B<ODQ@NC<?JRPKJIOC@,JQ@H=@M 

?DN>DKGDI<MTKMJ>@@?DIBN

                "@A@I?<IOBM@NO<FI@RJMNCJPG?C<Q@FIJRIOC<OOC@NO<O@H@ION>JIO<DI@?DI

OC@RMDOO@I>JHHPID><ODJIND?@IODAD@?<I??@N>MD=@?<=JQ@R@M@A<GN@RC@IH<?@ <I?

"@A@I?<IONKP=GDNC@?OC@H@DOC@MDIO@IODJI<GGT<I?H<GD>DJPNGTJMRDOCM@>FG@NN?DNM@B<M?AJM

OC@DMOMPOCJMA<GNDOT JMI@BGDB@IOGT <I?><M@G@NNGT

                2C@A<GN@<I??@A<H<OJMTNO<O@H@ION>JIO<DI@?DIOC@RMDOO@I>JHHPID><ODJIN

D?@IODAD@?<I??@N>MD=@?<=JQ@<KKGD@NOJ.G<DIODAAR@M@PI?@MNOJJ?=TOC@.<I@GDNON<I?

M@>DKD@IONJAOC@NO<O@H@IONOJC<Q@<?@A<H<OJMTH@<IDIB<I?R@M@PI?@MNOJJ?JMM@<NJI<=GT

PI?@MNOJJ?=TOC@M@>DKD@IONJAOC@NO<O@H@ION<NDIO@I?@?OJ=@<KKGD@?OJ.G<DIODAAOJ@SO@IOOC<O

DOKM@EP?D>@?.G<DIODAA=@AJM@OC@.<I@GDNON




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                2C@KP=GD><ODJIJAOC@A<GN@<I??@A<H<OJMTNO<O@H@ION>JIO<DI@?DIOC@RMDOO@I

>JHHPID><ODJIND?@IODAD@?<I??@N>MD=@?<=JQ@<I?JOC@MNDHDG<MA<GN@<I??@A<H<OJMT

NO<O@H@IONJARCD>C.G<DIODAADNIJOT@O<R<M@ H<TC<Q@=@@I <I?H<T>JIODIP@OJ=@

M@KP=GDNC@?<I?NJ.G<DIODAA?@H<I?NKM@NPH@? >JHK@IN<OJMT @>JIJHD><I?KPIDODQ@?<H<B@N

AJMOC@C<MHAGJRDIBAMJH<IT<I?<GGNP>CM@KP=GD><ODJINJAOC@A<GN@<I?>C<M<>O@M<NN<NNDI<ODJI

DI<??DODJIOJ?<H<B@NAJMOC@C<MHAGJRDIBAMJHOC@DMDIDOD<GKP=GD><ODJIN

                2JOC@@SO@IOOC<O"@A@I?<IONH<T<OO@HKOOJ<NN@MODIOC@DMJRI?@A@IN@OC@

KMDQDG@B@?>C<M<>O@MJAOC@J>><NDJIJIRCD>COC@A<GN@NO<O@H@ION<I?>C<M<>O@M<NN<NNDI<ODJI

R@M@KP=GDNC@? <ITNP>C>JI?DODJI<GJMEP?D>D<GKMDQDG@B@R<N<=PN@?=T"@A@I?<ION<I?OC@M@=T

R<DQ@?<I?AJMA@DO@?@NK@>D<GGT=@><PN@.G<DIODAA_N<NN@MODJIJAMDBCON<I?>JHKG<DIDIB<=JPO

M<>D<G?DN>MDHDI<ODJIOJOC@-!0

           2C@<AJM@H@IODJI@?A<GN@<I??@A<H<OJMTNO<O@H@IONOC<O.G<DIODAAC<N\=PGGTDIB

=@C<QDJM]R<NH<?@H<GD>DJPNGT DIO@IODJI<GGT M@>FG@NNGT <I?A<GN@GT =TRJM?N DIIP@I?J 

DIA@M@I>@<I?OC@H<II@MDIRCD>COC@TR@M@KM@N@IO@?C@G?.G<DIODAAJPOOJKP=GD>N>JMI<I?

MD?D>PG@<I?<OOMD=PO@?DHKMJK@M>JI?P>O DI>GP?DIB>JI?P>OJA<>MDHDI<GI<OPM@<N<=PGGTOJOC@

C@<MDIB.<I@G

           2C@<AJM@H@IODJI@??@A<H<OJMT>C<M<>O@M<NN<NNDI<ODJIR@M@DIIJH<II@M

KMDQDG@B@?IJM?D?OC@<AJM@H@IODJI@?>JINODOPO@A<DM>JHH@IOJIH<OO@MNJAKP=GD>>JI>@MI

           2C@<AJM@H@IODJI@?A<GN@<I??@A<H<OJMTNO<O@H@IONR@M@KP=GDNC@?RDOC

FIJRG@?B@OC<ON<D?NO<O@H@ION DIIP@I?J DIA@M@I>@<I?H<II@MDIRCD>COC@TR@M@KM@N@IO@?

R@M@A<GN@<I?JMRDOCM@>FG@NN?DNM@B<M?AJMRC@OC@MN<D?H<O@MD<GR<NA<GN@

           2C@RMDOO@I>JHHPID><ODJINR@M@KP=GDNC@?DI<I@BGDB@IOH<II@MRDOCJPO

<?@LP<O@GTDIQ@NODB<ODIBOC@PI?@MGTDIBA<>ON




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           2C@NO<O@H@ION<I?DHKGD><ODJINN@OAJMOC<=JQ@R@M@A<GN@ <I?"@A@I?<ION@DOC@M

FI@RJMNCJPG?C<Q@FIJRI<OOC@ODH@JAKP=GD><ODJIOC<OOC@TR@M@A<GN@

                2C@NO<O@H@ION<I?DHKGD><ODJINN@OAJMOC<=JQ@>JINODOPO@>C<M<>O@M<NN<NNDI<ODJI

KP=GD><ODJINRCD>C<M@<>ODJI<=G@K@MN@ <M@GD=@GNK@MN@ <I?R@M@KP=GDNC@?RDOC<>OP<GH<GD>@

                2C@<=JQ@NO<O@H@IONC<Q@N@Q@M@GTDIEPM@?<I?><PN@?NK@>D<GC<MHOJ.G<DIODAA

DIOC<OOC@TC<Q@O@I?@?OJ< =G<>F@ICDNM@KPO<ODJI= @SKJN@CDHOJC<OM@? >JIO@HKO 

MD?D>PG@<I?CPHDGD<ODJI> <N>MD=@OJCDH>C<M<>O@MDNOD>NDI>JHK<OD=G@RDOCOC@KMJK@M>JI?P>O

@SK@>O@?JA<G<R<=D?DIB<I?OMPNORJMOCT>DODU@I<I?? KM@EP?D>@?CDH=@AJM@H@H=@MNJAOC@

>JI?P>OC@<MDIBK<I@G

                N<?DM@>O<I?KMJSDH<O@M@NPGOJAOC@DIO@IODJI<G H<GD>DJPN M@>FG@NN I@BGDB@IO

<I?JM><M@G@NNNO<O@H@ION<I?>C<MB@N>JIO<DI@?DIOC@RMDOO@I>JHHPID><ODJIND?@IODAD@?<I?

?@N>MD=@?<=JQ@<I?OC@DMKP=GD><ODJIOJOCDM?K<MOD@N .G<DIODAANM@KPO<ODJI<I?@NO@@HDIOC@

3IDQ@MNDOT_N>JHHPIDOTC<N=@@I<?Q@MN@GT<AA@>O@?

                .G<DIODAAC<NNPNO<DI@?BM<Q@H@IO<G<IBPDNC CPHDGD<ODJI <I?GJNNJACDN

@IEJTH@IOJAGDA@=T><GGDIBCDH<=PGGTAJM<NN@MODIBCDNMDBCONOJ>JHKG<DI<=JPO?DN>MDHDI<ODJI

OJOC@-!0

                N<?DM@>O<I?KMJSDH<O@M@NPGO .G<DIODAAC<NJOC@MRDN@NPAA@M@?DICDNA@@GDIBN

<I?K@<>@JAHDI?OJCDNBM@<OADI<I>D<GGJNN<I??<H<B@

           2C@>JI?P>OJA"@A@I?<IONDIKP=GDNCDIBOC@<AJM@H@IODJI@?A<GN@<I??@A<H<OJMT

NO<O@H@IONR<NJPOM<B@JPN<I?"@A@I?<IOBM@NO<<>O@?DI=<?A<DOC<I?JMRDOCM@>FG@NN

?DNM@B<M?<I?DI?DAA@M@I>@OJOC@OMPOC<I?OJOC@DIO@M@NONJA.G<DIODAAAJMRCD>C.G<DIODAA>G<DHN

<I<??DODJI<GNPHAJMKPIDODQ@?<H<B@N




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 79 of 286 PageID #:79
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          N<M@NPGOJA"@A@I?<IONH<GD>DJPNKP=GD><ODJIJAOC@A<GN@<I??@A<H<OJMT

NO<O@H@ION>JHKG<DI@?JAC@M@DI .G<DIODAADN@IODOG@?OJM@>JQ@MAMJH"@A@I?<IONNP>CKM@NPH@? 

>JHK@IN<OJMT<I?@>JIJHD>?<H<B@NOC<ORDGG>JHK@IN<O@CDHAJMCDN<>OP<GADI<I>D<GGJNN 

DIEPMTOJCDNK@MNJI<G @?P><ODJI<G <I?=PNDI@NNM@KPO<ODJIH@IO<G<IBPDNC NPAA@MDIB<I?N@Q@M@

@HJODJI<G?DNOM@NN<I?DI<??DODJI KPIDODQ@?<H<B@NRCD>CRDGGKPIDNC"@A@I?<IONAJM

H<GD>DJPNGD=@GN <I?RDGG?@O@M"@A@I?<IONAMJHM@K@ODODJIJANDHDG<MGD=@GNDIOC@APOPM@

          2C@A<GN@GDBCODIRCD>C.G<DIODAAR<NKG<>@?RJPG?=@CDBCGTJAA@INDQ@OJ<

M@<NJI<=G@K@MNJIDIOC<ODO<HJPIO@?OJ<H<EJMHDNM@KM@N@IO<ODJIJA.G<DIODAAN>C<M<>O@M 

CDNOJMT <>ODQDOD@NJM=@GD@ANDI<H<II@MOC<O>JPG?M@<NJI<=GT=@@SK@>O@?OJ><PN@<M@<NJI<=G@

H<IOJO<F@N@MDJPNJAA@IN@ <I?DIOCDN><N@ OC@.<I@GDNONOJJFJAA@IN@

          "@A@I?<IOBM@NO<C<?FIJRG@?B@JAJM<>O@?DIM@>FG@NN?DNM@B<M?<NOJOC@

A<GNDOTJAOC@KP=GD>DU@?H<OO@M<I?OC@A<GN@GDBCODIRCD>C.G<DIODAARJPG?=@KG<>@?=@AJM@OC@

?DN>DKGDI<MT=J<M?<I?=@TJI?

          "@A@I?<IOBM@NO<DNOC@M@AJM@GD<=G@OJ.G<DIODAADI?<H<B@NAJMOC@OJMOJA

>C<M<>O@M<NN<NNDI<ODJI<I?JMGD=@GJPN?@A<H<ODJI=THDN>C<M<>O@MDUDIB.G<DIODAA<N<=PGGTAJM

<NN@MODIBCDNMDBCONOJM@KJMON?DN>MDHDI<ODJIOJOC@-!0

           5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@C@M@=T?@H<I?NEP?BH@IO

<B<DINO"@A@I?<ION EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT DI<I<HJPIODI@S>@NNJAHDGGDJI

@S>GPNDQ@JADIO@M@NO >JNON<KM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@JM?@MOJNOMDF@ Q<><O@<I?

@SKPIB@OC@,JQ@H=@M?DN>DKGDI<MTM@>JM?NOJKM@Q@IOAPMOC@M?@KMDQ<ODJIJA.G<DIODAAN

>JINODOPODJI<GMDBCON<I?OC@MDBCONJAJOC@M"@4MT3IDQ@MNDOTNOP?@ION<I<R<M?JAM@<NJI<=G@

<OOJMI@TNA@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@M

M@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 80 of 286 PageID #:80
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                                     )'#$&#''
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                !82704:# 8D8<6AB=<4D454<30<BA4*@G)<8D4@A8BG<2
           4::4@@03C0B4'27==:=5!0<064;4<B3B0:4;3C20B8=<@=C><2
                                                  
                                                  
           .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

           2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

!JGJMJA*<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

           2C@31"@K<MOH@IOJA#?P><ODJI_N-AAD>@JA!DQDG0DBCON\-!0] DN<A@?@M<G

<B@I>TOC<ODNM@NKJIND=G@AJM@IAJM>DIBADQ@A@?@M<G>DQDGMDBCONG<RNOC<OKMJCD=DO?DN>MDHDI<ODJI

=<N@?JIM<>@ >JGJM I<ODJI<GJMDBDI N@S ?DN<=DGDOT <I?<B@=TM@>DKD@IONJAA@?@M<GADI<I>D<G

<NNDNO<I>@

           'I<I->OJ=@M <O+@H<DGOJ?@A@I?<IO&<Q@G .G<DIODAA<NN@MO@?

CDNMDBCON .G<DIODAA<GG@B@?M<>D<G?DN>MDHDI<ODJI <I?.G<DIODAA>JHKG<DI@?<I?>JKD@?OC@-!0

JIDO4''#SCD=DO& 2CDN@H<DGR<NDI>GP?@?DIOC@C@<MDIBK<>F@OUDKADG@OC<O?@A@I?<IO

BM@NO<KM@N@IO@?<N@QD?@I>@<B<DINO.G<DIODAA

          .G<DIODAA<Q@MNOC<O=TNP=E@>ODIBCDHOJ?DN>DKGDI<MTKMJ>@@?DIBN<I?DHKJNDIB

<?Q@MN@?DN>DKGDI<MTN<I>ODJINPKJICDHAJM<NN@MODIBCDNMDBCON<I?AJM>JHKG<DIDIB<B<DINO

?DN>MDHDI<ODJIOJOC@-!0 OC@3IDQ@MNDOTC<N<=PN@?OC@NOP?@IO?DN>DKGDI<MTKMJ>@NN

            .G<DIODAA<Q@MNOC<O=TNP=E@>ODIBCDHOJ?DN>DKGDI<MTKMJ>@@?DIBNAJM>JHKG<DIDIB

<=JPOKJJMLP<GDOTJA@?P><ODJI<I?OC@K@MAPI>OJMT!@IB<B@<I?!<IQ<NNTNO@HNOC<OR@M@PN@?

OJO@<>C$',>G<NN OC@3IDQ@MNDOTC<N<=PN@?<I?HDNPN@?OC@NOP?@IO>JI?P>OKMJ>@NN




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 81 of 286 PageID #:81
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            2C@3IDQ@MNDOTC<NKP=GDNC@?<I<IOD ?DN>MDHDI<ODJIKJGD>TRDOCDIDON>JIOM<>OP<G

!<O<GJBN<I?&<I?=JJFN7@O RC@I.G<DIODAA>JHKG<DI@?<=JPOM<>D<G?DN>MDHDI<ODJI OC@

3IDQ@MNDOTDBIJM@?DO<I?OC@3IDQ@MNDOTM<OC@MNP=E@>O@?.G<DIODAAOJ?DN>DKGDI<MT<>ODJI

            .G<DIODAADNIJOJ=GDB<O@?OJPN@OC@3IDQ@MNDOT_NJRI<IOD ?DN>MDHDI<ODJIJAAD>@DA

<IT <NOC@AJMPHOJ>JHKG<DI<B<DINOM<>D<G?DN>MDHDI<ODJIPI?@MOC@!DQDG0DBCON>OJA

.G<DIODAA>CJN@<?DAA@M@IOAJMPH.G<DIODAA>CJN@OJPN@OC@-!0

            'I<,JQ@H=@M @H<DGAMJH"@A@I?<IOBM@NO<N@I?DIB<?DN>DKGDI<MT

!JI?P>OC@<MDIBK<>F@OOJ.G<DIODAA "@A@I?<IOBM@NO<<OO<>C@?.G<DIODAA_N->OJ=@M 

@H<DGOC<OR<N>JKD@?OJOC@-!0"@A@I?<IOBM@NO<NPHHJI@?.G<DIODAAAJM<,JQ@H=@M 

?DN>DKGDI<MT>JI?P>OC@<MDIBJIBMJPI?NOC<O.G<DIODAAC<N+05'3#.+#>JHKG<DI@?<B<DINO

M<>D<G?DN>MDHDI<ODJIOJOC@-!04''#SCD=DO$>JIO<DI@?RDOCOC@C@<MDIBK<>F<B@UDKADG@

#SCD=DON + 

             2C@!DQDG0DBCON>OJAM@LPDM@N<GG3IDQ@MNDOD@N@NK@>D<GGT3IDQ@MNDOD@NOC<O

K<MOD>DK<O@DI$@?@M<GOP?@IO$DI<I>D<G<D?KMJBM<HN OJC<Q@<?@NDBI<O@?<IOD ?DN>MDHDI<ODJI

JAAD>@M<OOC@3IDQ@MNDOTOJM@>@DQ@ DIQ@NODB<O@ <I?<>OPKJI<GG@B<ODJINJA?DN>MDHDI<ODJIPI?@M

!DQDG0DBCON>OJA"@A@I?<IOBM@NO<<I?OC@K<I@GDNONI@Q@MM@A@MM@?.G<DIODAAOJ<IT

<IOD ?DN>MDHDI<ODJIJAAD>@M

             "@A@I?<ION&<Q@G<I?BM@NO<M@A@MM@?.G<DIODAA_N->OJ=@M  +

@H<DG<GG@BDIBM<>D<G?DN>MDHDI<ODJIOJ,JQ@H=@M ?DN>DKGDI<MT<>ODJIC@<MDIBRDOCJPO

M@A@MMDIBOC@?DN>MDHDI<ODJI>JHKG<DIOOJ<?@NDBI<O@?<IOD ?DN>MDHDI<ODJIJAAD>@MRDOCDIOC@

3IDQ@MNDOTAJMDIQ@NODB<ODJI<I?<>ODJI<B<DINO<GG@B@??DN>MDHDI<OJMN

             .G<DIODAA<Q@MNOC<OOC@KMJK@MOCDIB"@A@I?<IONBM@NO<<I?&<Q@GFI@RJMNCJPG?

C<Q@FIJRIOJ?JRC@I<NOP?@IO<GG@B@NM<>D<G?DN>MDHDI<ODJIDNOJM@A@MOC@NOP?@IOOJOC@




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3IDQ@MNDOT_NJRI?@NDBI<O@?<IOD ?DN>MDHDI<ODJIJAAD>@M IJOM@A@MOC@NOP?@IOAJM<?Q@MN@

?DN>DKGDI<MT<>ODJI

             MOD>G@'''JA"@4MT3IDQ@MNDOT1OP?@IO!JI?P>O!J?@DN<B<DINO1OP?@IONRCJ

O<F@H<OO@MNDIOJOC@DMJRIC<I?NRDOCKCTND><GQDJG@I>@ IJO<B<DINONOP?@IONGDF@*DQDIBNOJI@

RCJN@@F<?HDIDNOM<ODQ@M@H@?D@N<B<DINO?DN>MDHDI<ODJI=NJGPO@GTIJK<MONJA.G<DIODAA_NT@<M

@H<DGNH<F@N<IT<>ODJI<=G@OCM@<ONJAKCTND><GQDJG@I>@DIQDJG<ODJIJAMOD>G@'''

             .G<DIODAA<Q@MNOC<O"@A@I?<ION <GGJAOC@H DI?DQD?P<GGT<I?JM>JGG@>ODQ@GT 

DIO@IODJI<GGT<=PN@?OC@?DN>DKGDI<MT>JI?P>OKMJ>@NN=TNPHHJIDIB<I?N@DUDIB<I?JM

N<I>ODJIDIB.G<DIODAAAJM<I<?Q@MN@,JQ@H=@M ?DN>DKGDI<MTC@<MDIB=@><PN@.G<DIODAA

>JHKG<DI@?<I?<NN@MO@?CDNMDBCON<B<DINOM<>D<G?DN>MDHDI<ODJIOJOC@-!0DI.G<DIODAA_N

,JQ@H=@M @H<DG

            .G<DIODAA=MDIBOCDN><PN@JA<>ODJIAJMOCDN!JPMOOJ@IEJDI"@4MT3IDQ@MNDOT<I?

DONJAAD>D<GNOJ>JH@PKRDOC<IDI CJPN@I@POM<G<IOD ?DN>MDHDI<ODJIJAAD>@MRCJ><IM@>@DQ@ 

DIQ@NODB<O@ <I?<>OPKJI<GG@B<ODJINJA?DN>MDHDI<ODJI

            5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION "@4MT3IDQ@MNDOT)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO?O<G@H#?P><ODJI

%MJPK'I>EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT @S@HKG<MT <I?KPIDODQ@

?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNON?@>G<M<OJMTM@GD@A 

KM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@AJM?@MOJNOMDF@ Q<><O@ <I?M@Q@MN@<I?@SKPIB@OC@

.G<DIODAA_N,JQ@H=@M?DN>DKGDI<MTM@>JM?<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?

JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T

?@@HEPNO<I?@LPDO<=G@

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                       )")" )"
                       (#&(#)'""("(#" "(&&"
                                                  
         !82704:# 8D8<6AB=<4D454<30<BA4*@G)<8D4@A8BG4::4@@03C0B4'27==:=5
                         !0<064;4<B3B0:4;3C20B8=<@=C><2
                                                  
           .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

            2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

!JGJMJA*<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCON

            N<BM<?P<O@NOP?@IO<O"@4MT3IDQ@MNDOT .G<DIODAA<Q@MNOC<OC@C<NAPI?<H@IO<G

MDBCOJMAPI?<H@IO<G>DQDGMDBCOOJCDN>JIODIP@?@?P><ODJIPI?@O@MM@?

             .G<DIODAA<Q@MNOC<OK<MOJAAPGADGGDIBCDNAPI?<H@IO<GMDBCOOJ>JIODIP@?@?P><ODJI

<O"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOR<NOJ>JHKG@O@+2&

>G<NN<NK<MOJAOC@+ ?@BM@@M@LPDM@H@ION

             'I"@>@H=@M .G<DIODAA>JIOM<>O@?RDOCCDN,JQ@H=@MN@NNDJI+2&

>JPMN@DINOMP>OJM "M&@INJI +<>F AJMDI>JHKG@O@BM<?@DI<>>JM?<I>@RDOCOC@>JIOM<>OP<G

KMJQDNDJINJAOC@3IDQ@MNDOT_N><?@HD>!<O<GJB#SCD=DO         ''<GNJ#SCD=DOAJM

OCM@<?@?N@LP@I>@JA@H<DGN .G<DIODAANPKKJMO@?CDNM@LP@NOAJMOC@DI>JHKG@O@BM<?@RDOC

?J>PH@ION"M&@INJI +<>FBM<IO@?OC@'I>JHKG@O@BM<?@' ?@NDBI<OJM<I?KMJ>@NN@?DO

OCMJPBCOC@?@A@I?<IO0@BDNOM<M

             5C@IOC@'I>JHKG@O@BM<?@R<N<=JPOOJ@SKDM@<I?OPMIOJA<DGBM<?@=T?@A<PGO 

.G<DIODAA>JIO<>O@?"M&@INJI +<>FJIODH@=T@H<DG?<O@?(<IP<MT <O.+<I?

@SKG<DI@?RDOC?J>PH@ION#S <I?KCJOJNDI@H<DG?<O@?(PI@ <O.+

#S OC<O.G<DIODAA_N>JI?DODJIC<NIJODHKMJQ@? <I?NJ.G<DIODAAM@LP@NONOC@'I>JHKG@O@



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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 84 of 286 PageID #:84
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BM<?@OJ=@@SO@I?@?<NKMJQD?@?DIOC@)@GG@M><?@HD>!<O<GJB<O.<B@KMJQD?DIBAJM

@SO@I?DIB'I>JHKG@O@N 

COOKNRRR?@QMT@?P>JIO@IO?<H?QPRRR;?@QMT;@?P?)@GG@M;!<O<GJBK?A

                             Z'I>JHKG@O@N ?@NDBI<OJMNJA' <M@BM<IO@?DI@S>@KODJI<GNDOP<ODJINJIGT 
                             NP>C<NRC@IDGGI@NNJMRJMF M@G<O@?OM<Q@GDN?J>PH@IO@?<I?RC@I
                             NP=NO<IOD<G>JPMN@M@LPDM@H@IONC<Q@<GM@<?T=@@I>JHKG@O@?1OP?@ION
                             HPNONP=HDO<0@LP@NOAJM!JPMN@'I>JHKG@O@AJMH<I?J=O<DI<KKMJQ<G
                             AMJHOC@KMJA@NNJM<I?OC@<KKMJKMD<O@<><?@HD><?HDIDNOM<OJMKMDJMOJOC@
                             BM<?@MJNO@M?@<?GDI@DIJM?@MAJM<IDI>JHKG@O@OJ=@BM<IO@?"@NDBI<OJMN
                             JA'<M@>JPIO@?DI<OO@HKO@?CJPMN=PO<M@IJO>JPIO@?DI<IT%.
                             >JHKPO<ODJIN'AM@H<DIDIB>JPMN@RJMFC<NIJO=@@I>JHKG@O@?=TOC@@I?
                             JAR@@FAJPMJAOC@I@SON@NNDJI '?@NDBI<OJMN<POJH<OD><GGT=@>JH@
                             BM<?@NJA$JM?@NDBI<OJMNJA3 C<:4AAE@8BB4<0>>@=D0:6@0<B8<60<
                             4FB4<A8=<70A144<=1B08<43AMJHOC@>CD@AGJ><ODJI
                             <?HDIDNOM<OJM<><?@HD><?QDNJMZ
                             
                                     @HKC<NDN<??@? 
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             .G<DIODAAODH@GTM@LP@NO@?"M&@INJI +<>FOJ@SO@I?OC@'I>JHKG@O@=@><PN@

.G<DIODAAR<NIJOAPGGTM@>JQ@M@?

                   T@ H<DG?<O@?(<IP<MT RDOCDI#SCD=DO "M&@INJI +<>F

M@NKJI?@?OJ.G<DIODAA<I?NC@<GNJG@AO<QJD>@H<DGOC<O@Q@IDAOC@'I>JHKG@O@BM<?@>C<IB@NOJ

A<DGBM<?@ NC@>JPG??J<I$ JQ@MMD?@AJM.G<DIODAAG<O@MJI&JR@Q@M OC@?@A<PGO$<DG BM<?@

RJPG?I@B<ODQ@GTDHK<>O.G<DIODAA_N%.DIOC@H@<IODH@.G<DIODAAH<TKMJ?P>@OC@QJD>@H<DG

JI!" 0-+AJMOC@!JPMOG<O@MDI<HJODJIAJM?@>G<M<OJMTM@GD@A 

            "M&@INJI +<>F?D?IJODHKJN@<IT?@<?GDI@PKJI.G<DIODAA<NOJOC@ODH@ AM<H@

NC@>JPG??JOC@$ JQ@MMD?@AJM.G<DIODAA1C@G@AODOJK@IAJM.G<DIODAAKPOODIBDIOJK@MNK@>ODQ@OC<O

.G<DIODAAI@@?NODH@OJM@>JQ@MCDNC@<GOC

            MJPI?(PGT RC@I.G<DIODAABJOR@GG .G<DIODAA>JIO<>O@?"M&@INJI +<>F

OJNP=HDOOC@M@H<DIDIB>JPMN@RJMFAJM+2&NJOC<ONC@>JPG??JOC@$ -Q@MMD?@NC@

DI?D><O@?#S 



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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 85 of 286 PageID #:85
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            2J.G<DIODAA_NNPMKMDN@ "M&@INJI +<>F>JKD@?"@A@I?<IOBM@NO<JIC@M(PGT

 M@KGT@H<DG#S <I?NC@?@HJINOM<O@?<>C<IB@JAHDI?<=JPOOC@$ JQ@MMD?@

NC@C<?KM@QDJPNGTDI?D><O@?DIC@MQJD>@H<DGOJ.G<DIODAA

            'IKM@QDJPN>JHHPID><ODJIN<=JPOOC@'I>JHKG@O@BM<?@ "M&@INJI +<>FI@Q@M

>JKD@??@A@I?<IOBM@NO<1J =T>JKTDIB?@A@I?<IOBM@NO<JIOC<O(PGT @H<DG

NP??@IGT DONPBB@NONOC<O<>JINKDM<>TJM?DN>PNNDJIOJJFKG<>@=@OR@@I"M&@INJI +<>F<I?

?@A@I?<IOBM@NO<

            5C@M@PKJI "M&@INJI[+<>F>C<IB@?C@MHDI?AMJHRC<ONC@KM@QDJPNGT

NO<O@?JIOC@JIC@MQJD>@H<DG<I?<NF@?.G<DIODAAOJM<OC@MADG@<BM<?@<KK@<GNK@>DAD><GGTOJ

"@A@I?<IOBM@NO< <I?IJOOJ<ITJAOC@H<ITNNDNO<IO"@<IN<O)@GG@M&

             NM@G@Q<IO=<>FBMJPI? DI(PI@ OC@N<H@?@A@I?<IOBM@NO<RCJ

KM@QDJPNGT>C<M<>O@MDU@?.G<DIODAA_NADGDIBJABM<?@<KK@<G<I?DI>JHKG@O@BM<?@<N\K<NODI>D?@IO

JA>C<M<>O@MM@A@M@I>@]<I?NP=E@>O@?.G<DIODAAOJ?DN>DKGDI<MT<>ODJIAJMOC<ORDOCDI#SCD=DO 

.<B@PI?@M\K<NODI>D?@IONJA>C<M<>O@MM@A@M@I>@]R<NIJR<NFDIB.G<DIODAAOJADG@<BM<?@

<KK@<GOJCDH

             .G<DIODAA<NF@?"@A@I?<IOBM@NO<OJM@>PN@CDHN@GAAMJHOC@+2&DNNP@N

<I?BM<?@<KK@<G=@><PN@JACDNNTNO@HD>=D<N<I?KM@EP?D>@<B<DINOBM<?@<KK@<GNBM@NO<

?@>GDI@?OJM@>PN@CDHN@GA

             "@A@I?<IOBM@NO<<NF@?.G<DIODAAOJBJJPOND?@JAKMJ>@?PM@<I?<KK@<GOC@

+2&BM<?@?DM@>OGTOJCDHDINO@<?JAOC@M@LPDM@?@G@>OMJID>ADGDIBJABM<?@<KK@<GN

OCMJPBCOC@><IQ<NNTNO@H.G<DIODAAADG@?<I@H<DGBM<?@<KK@<GJPOJAKMJ>@?PM@OJ"@A@I?<IO

BM@NO<<I?BM@NO<?@ADIDO@GT?@ID@?DO#SCD=DO #SCD=DO 




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             'I?@ITDIBOC@BM<?@<KK@<G ?@A@I?<IOBM@NO<>DO@?KM@O@SOP<G@S>PN@NOC<O<M@

HDNKG<>@?<B<DINOOC@A<>OOC<OOC@>JPMN@DINOMP>OJM"M&@INJI +<>F N<D?NC@RJPG??J<I$

JQ@MMD?@AJM.G<DIODAAG<O@MJI

             "@A@I?<IOBM@NO<DNIJOI<H@?<N.G<DIODAA_N,@R(@MN@T!JHKG<DIO

?HDIDNOM<OJMDIOC@1OP?@IO&<I?=JJF<O.<B@N AJMCDHOJ<?EP?D><O@.G<DIODAA_NBM<?@

<KK@<G1J BM@NO<AJM>@?CDHN@GADIOJBM<?@<KK@<GKMJ>@?PM@DIRCD>CC@DNIJO<POCJMDU@?

OJ<?EP?D><O@

            2C@3IDQ@MNDOT_NAJMH<GKMJ>@?PM@AJMADGDIBBM<?@<KK@<GNDNOJADG@DO

@G@>OMJID><GGT<I?OC@IDOB@ON<NNDBI@?OJ<I><?@HD>1K@>D<GDNORCJRDGGOC@I<>O<N<

!JJM?DI<OJMJM-H=P?NH<IJAOC@BM<?@<KK@<G NP=HDODOAMJHA<>PGOT>C<DMNOJ"@<IN <I?

PGODH<O@GTOJOC@3IDQ@MNDOT.MJQJNO EPNO<NDOR<N?JI@DIRC@I.G<DIODAA<KK@<G@?OC@

!!2BM<?@OJ.MJQJNO"M*JMM<DI@0@F<P''<GNJ@SCD=DO

            .G<DIODAA=@GD@Q@N<I?OC@M@AJM@DIA@MNOC<O?@A@I?<IOBM@NO<<NF@?"M&@INJI

+<>FOJO@GG.G<DIODAAOJADG@OC@BM<?@<KK@<GNK@>DAD><GGTOJCDHBM@NO< NJOC<OC@><I><MMT

JPOCDNH<GD>@<I?=<? A<DOC<>ODQDOTOJ?@ITOC@BM<?@<KK@<G

            'I<NHP>C<N"M&@INJI +<>FDNIJOEPNO<H@M@>JPMN@DINOMP>OJM .G<DIODAA<Q@MN

OC<OOC@QJD>@H<DG?@>DNDJIJA<5'063'&NNJ>D<O@.MJA@NNJM<I?>JPMN@DINOMP>OJMAJM+2&

"M&@INJI +<>FOJ?J<I$ JQ@MMD?@NCJPG?IJO=@<GO@M@?JMDIAGP@I>@?=T<OCDM?K<MOTNP>C

<N"@A@I?<IOBM@NO< RCJDNIJO<O@IPM@?.MJA@NNJM

            .G<DIODAA<Q@MNOC<O"@A@I?<IOBM@NO< R<NHJODQ<O@?RDOC=<? A<DOC ?@@K N@<O@?

<IO<BJIDNH <I?DGG RDGG<B<DINO.G<DIODAA RC@IC@>JINKDM@?RDOC"M&@INJI +<>FOJNOJKC@M

<I?>C<IB@C@MHDI?AMJHBJDIBAJMR<M?OJ?JOC@$ JQ@MMD?@DIOC@=@NODIO@M@NONJA.G<DIODAAOJ

K<NNOC@+2&>G<NN




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            .G<DIODAA<Q@MNOC<O"@A@I?<IOBM@NO<>JINKDM@?OJ?@KMDQ@.G<DIODAAJACDN>DQDG

MDBCOOJCDN@?P><ODJIRC@I"@A@I?<IOBM@NO<<NF@?"M&@INJI +<>FOJADG@<BM<?@<KK@<GOJ

CDH<I?IJOOJ<ITJOC@MNNDNO<IO"@<I<I?RC@IBM@NO<M@APN@?OJM@>PN@CDHN@GA?@NKDO@CDN

JRIKMJA@NN@??@@K N@<O@?<IO<BJIDNHOC<OADGDIBBM<?@<KK@<GN<I?DI>JHKG@O@BM<?@NDN\=<?

>C<M<>O@MDI>D?@IO]

             .G<DIODAA<Q@MNOC<O"@A@I?<IOBM@NO<R<NHJODQ<O@?=T=D<N =<? A<DOC <I??@@K

N@<O@?<IO<BJIDNH<B<DINO.G<DIODAARC@IC@?DM@>O@?"M&@INJI +<>FIJOOJ?JOC@$ JQ@MMD?@

<I?DINO@<?<NF.G<DIODAAOJADG@<BM<?@<KK@<GOJCDHNJOC<OC@><IADI?<ITM@<NJI<O<GGOJ?@IT

.G<DIODAA_NBM<?@<KK@<GOJ.G<DIODAA_N?@OMDH@IO

             2JOC@@SO@IOOC<O"@A@I?<IOBM@NO<>G<DHNOC<O.G<DIODAA?D?IJOH@@OCDNK<MOJA

OC@DI>JHKG@O@BM<?@>JIOM<>OP<GKMJQDNDJINAJM+2&>G<NN OCDNDNIJOOMP@=@><PN@

<>>JM?DIBOJOC@M@>JM? 3IDQ@MNDOT_N>JIOM<>OP<GDI>JHKG@O@BM<?@KJGD>TM@LPDM@?KG<DIODAAOJ<NF

OC@>JPMN@DINOMP>OJMOJ@SO@I?OC@DI>JHKG@O@BM<?@=@AJM@DO@SKDM@N<I?.G<DIODAA>JIO<>O@?"M

&@INJI +<>F=@AJM@OC@DI>JHKG@O@BM<?@OPMI@?DIOJ$<DG=T?@A<PGO<I?"M&@INJI +<>F

M@NKJI?@?=TQJD>@ H@NN<B@OJ.G<DIODAA_NODH@GTM@LP@NOOC<ONC@>JPG??J<I$ JQ@MMD?@G<O@MJI

AJM.G<DIODAA>>JM?DIBGT .G<DIODAA?D?CDNK<MO

             2JOC@@SO@IOOC<O"@A@I?<IOBM@NO<>G<DHNOC<ODODNOJJG<O@DIIDI@ HJIOCNDI

->OJ=@MAMJHOC@ODH@OC@'I>JHKG@O@BM<?@AJM+2&>G<NNR<N>JIOM<>O@? OCDNDN

<IJOC@MKM@O@SOP<G@S>PN@OJ?@KMDQ@.G<DIODAA_NMDBCO=@><PN@PI?@MOC@3IDQ@MNDOT_N>JIOM<>OP<G

!<O<GJBN <BM<?@><I<GR<TN=@>C<IB@?M@OMJ<>ODQ@GT$'(13'<NOP?@IOBM<?P<O@N4''#SCD=DON

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             .G<DIODAA=MDIBNOCDNG<RNPDOAJMOCDN!JPMOOJPKCJG?<I?@IAJM>@OC@JMDBDI<G

?@>DNDJIJAOC@O@IPM@?>JPMN@DINOMP>OJM"M&@INJI +<>F OJ?JOC@$ -Q@MMD?@AJM.G<DIODAA




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<I?@IEJDIOC@3IDQ@MNDOTOJPIGJ>FOC@+2&>G<NNAJM.G<DIODAAOJNP=HDOJPONO<I?DIB

>JPMN@RJMFRDOCDIORJR@@FNJAOCDN!JPMO_N-M?@MGJ>F@?JIGDI@)@GG@M>G<NN><I<GR<TN=@

PIGJ>F@?

               2C@3IDQ@MNDOTNCJPG?=@@IEJDI@?=TOCDN!JPMOOJ<GGJR"M&@INJI +<>FOJ

<KKGTOC@$ JQ@MMD?@NC@JAA@M@?OJ.G<DIODAA=@AJM@NC@R<NPI?PGTDIAGP@I>@?RDOC=<? A<DOC=T

"@A@I?<IOBM@NO<OJ>C<IB@C@MHDI?OJ.G<DIODAA_NK@MDG

              %DQ@IOC<O.G<DIODAA@GDBD=G@OJBM<?P<O@NDI>@(<IP<MTN@NNDJI#SCD=DO 

<I?+2&DN<IJPONO<I?DIB>G<NN .G<DIODAAM@LP@NONAJM?@>G<M<OJMTM@GD@A KM@GDHDI<MT<I?

K@MH<I@IODIEPI>ODQ@M@GD@A@IEJDIDIBOC@3IDQ@MNDOTOJPIGJ>FOC@+2&,JQ@H=@M

!G<NNAJM.G<DIODAAOJNP=HDO<ITJPONO<I?DIB<I?>C<IB@OC@BM<?@

                     T?DM@>O<I?KMJSDH<O@><PN@ OCDN?DNKPO@M@B<M?DIBOC@+2&C<N>M@<O@?

<IDI?@GD=G@B<KRDOCDI.G<DIODAA_N>JIODIP@?@?P><ODJI ?@G<T@?.G<DIODAA_NBM<?P<ODJIAJMCDN

+ ?@BM@@NDI>@(<IP<MTN@NNDJI <I?><PN@?GJNNN<G<MT

               5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION"@4MT3IDQ@MNDOT)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO?O<G@H#?P><ODJI

%MJPK'I> EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT @S@HKG<MT <I?KPIDODQ@

?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNON?@>G<M<OJMTM@GD@A 

KM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@A<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?

JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T

?@@HEPNO<I?@LPDO<=G@

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    !82704:# 8D8<6AB=<4D3B0:4;3C20B8=<@=C><24*@G)<8D4@A8BG4::4@
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             .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIOC@KM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

             2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>OPI?@M

>JGJMJAG<RRCD>C?@KMDQ@?.G<DIODAA_NMDBCONDIOC@AJGGJRDIBH<II@MPI?@M@<>C>JPIO

                 NK<MOJA.G<DIODAA_N+ ?@BM@@M@LPDM@H@ION .G<DIODAA@IMJGG@?<I?>JHKG@O@?

"@4MT3IDQ@MNDOT_N PNDI@NN#>JIJHD>N\#!-,] BM<?P<O@G@Q@G>G<NN?PMDIBOC@

,JQ@H=@MN@NNDJI"M5DGGD<H+<KKR<NOC@>JPMN@DINOMP>OJMAJM#!-,>G<NN

                 .G<DIODAA>JHKG@O@?#!-,>G<NNRDOCADI<G\ ]BM<?@.G<DIODAA@I?@?JI

BJJ?O@MHNRDOC"M+<KKDI2C@M@R<NIJHDN>JI?P>O>JHKG<DION<B<DINO.G<DIODAADI

AMJH"M+<KKOJOC@3IDQ@MNDOT_NNOP?@IO>JI?P>O=J<M?<O<GGDI

                 2J.G<DIODAA_NNPMKMDN@ RDOCDIOC@(PI@ >JI?P>OC@<MDIBK<>F@O#SCD=DON

  ' "@A@I?<IOBM@NO<>DO@?<I@H<DG>JMM@NKJI?@I>@OC<OR<N@S>C<IB@?=@OR@@I

.G<DIODAA<I?"M+<KK?PMDIBOC@#!-,>G<NN''#SCD=DO KK 4''<GNJ<>OP<G

<OO<>C@?M@=POO<G@H<DGOCM@<?RDOC#SCD=DO 

                 ,JK<MOJA.G<DIODAA_N@H<DG#S KK #S OJ"M+<KK@SKM@NN@N

<IT<>ODJI<=G@OCM@<OJAKCTND><GQDJG@I>@JMDIODHD?<ODJI<O<GGOC<O><I=@>JIND?@M@?<N

QDJG<ODIBMOD>G@'''JAOC@3IDQ@MNDOT_N1OP?@IO!J?@-A!JI?P>O.G<DIODAAJIGT<NN@MO@?CDN

MDBCOOJ>JHKG<DI<B<DINO?DN>MDHDI<ODJIOJOC@-!0RDOCDIOC<O@H<DG




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                 'I "M+<KKI@Q@MOJJFDNNP@RDOCOC<O@H<DG<I?C@I@Q@M<GG@B@?<IT

HDN>JI?P>O<B<DINO.G<DIODAADIJMDIM@B<M?DIBOC<O@H<DG

             "M+<KKI@Q@MM@KJMO@?OC<O@H<DGAMJH.G<DIODAAOJOC@3IDQ@MNDOT!JI?P>O

    J<M?AJM<ITHDN>JI?P>O.G<DIODAAI@Q@M@IB<B@?DI<ITHDN>JI?P>ORC<ONJ@Q@M?PMDIBOC@

#!-,>G<NNRDOC"M+<KK

             'IN@<M>CAJM<ITOCDIBOJPN@<B<DINO.G<DIODAADI(PI@AJM<?Q@MN@

?DN>DKGDI<MT<>ODJI "@A@I?<IOBM@NO<DHK@MHDNND=GT<>>@NN@?.G<DIODAA_N"@4MT3IDQ@MNDOT

@H<DG<>>JPIORDOCJPO.G<DIODAA_NFIJRG@?B@<I?RDOCJPO"M+<KK_NFIJRG@?B@OJM@OMD@Q@OC<O

@H<DG<I?PN@?DOOJDIEPM@.G<DIODAADIOC@(PI@?DN>DKGDI<MTKMJ>@@?DIBN<GG=@><PN@

"@A@I?<IOBM@NO<IJOD>@?DIOC<O@H<DGOC<O.G<DIODAAM@KJMO@??DN>MDHDI<ODJI JM.G<DIODAA

<NN@MO@?CDNMDBCOOJM@KJMO?DN>MDHDI<ODJIOJOC@-!0 <I?.G<DIODAA<>OP<GGT>JKD@?OC@-!0

             "M+<KKR<NIJO@Q@I<R<M@JA<IT?DN>DKGDI<MT>JI?P>OKMJ>@@?DIBNC<KK@IDIB

DI(PI@JQ@M.G<DIODAA_NKM@QDJPN@H<DGOJ"M+<KK<O<GG

             .G<DIODAA<Q@MNOC<OOC@3IDQ@MNDOTM@O<GD<O@?<B<DINOCDHPI?@MOC@!DQDG0DBCON

>ORC@I"@A@I?<IOBM@NO<NPHHJI@?<I?N<I>ODJI@?.G<DIODAAAJM?DN>DKGDI<MT<>ODJIDI(PI@

JIBMJPI?NOC<O.G<DIODAA_N@H<DGOJ"M+<KK<GG@B@N<I?>JHKG<DI@?<B<DINO

<KK@<M<I>@JA>DQDGMDBCON?DN>MDHDI<ODJI<I?>JKD@?<A@?@M<G<IOD ?DN>MDHDI<ODJI@IAJM>@H@IO

<B@I>T-!0 JIDO#SCD=DO KK #SCD=DO 

             K<MOAMJHOC<O JI(PI@  "@A@I?<IO)MDNODI@)@<MI@T<GG@B@?GTM@KJMO@?

.G<DIODAAOJOC@3IDQ@MNDOT_N1OP?@IO!JI?P>O J<M?AJM<?Q@MN@?DN>DKGDI<MT<>ODJIJIBMJPI?N

OC<O.G<DIODAA\OCM@<O@I@?OJNP@)@GG@M]AJMCDNHJI@T''#S KAJMOC@NO<O@H@IOJA

)MDNODI@)@<MI@T 




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                 -I(PI@  ?PMDIB<AJGGJR PKO@G@KCJI@><GGAMJH.G<DIODAAOJ"@A@I?<IO

BM@NO< "@A@I?<IOBM@NO<NK@>DAD><GGT@SKM@NN@?CDN<IDHJNDOTOJOC@A<>OOC<O.G<DIODAAN<D?C@

RJPG?NP@OC@3IDQ@MNDOT

                 'I<(PI@ @H<DGOJ"@A@I?<IOBM@NO< .G<DIODAADNNP@?M@=POO<GNDI@H<DG

#SCD=DO OJ"@A@I?<IOBM@NO<OC<O.G<DIODAAC<N<>JINODOPODJI<G>DQDGMDBCOOJ<NN@MOCDNMDBCON

.G<DIODAAC<N<MDBCOOJK@ODODJI<I?<NN@MOOC<OC@RJPG?NP@OC@3IDQ@MNDOTNN@MODIBOJNP@OC@

3IDQ@MNDOTDNI@DOC@M<>ODJI<=G@OCM@<OJAKCTND><GQDJG@I>@IJMDIODHD?<ODJIPI?@MMOD>G@'''JA

OC@3IDQ@MNDOT_NNOP?@IO>J?@JA>JI?P>O

                 ,JORDOCNO<I?DIBOCJN@M@=POO<GNDI#SCD=DO "@A@I?<IOBM@NO<KMJ>@@?@?RDOC

OC@>JI?P>OC@<MDIBJI(PI@<I?DHKJN@?<I<?Q@MN@?DN>DKGDI<MTN<I>ODJI<B<DINO.G<DIODAA

OJO<MIDNC.G<DIODAA_NM@KPO<ODJI<I?GD=@MOTDIO@M@NON

                 .G<DIODAA<Q@MNOC<O=TNP=E@>ODIBCDHOJ?DN>DKGDI<MT<>ODJIAJM<NN@MODIBCDNMDBCON

OJNP@OC@3IDQ@MNDOT OC@3IDQ@MNDOTM@O<GD<O@?<B<DINO.G<DIODAA_N>JINODOPODJI<GGT KMJO@>O@?MDBCO

OJK@ODODJIAJMM@?M@NNJACDNBMD@Q<I>@N

                 .G<DIODAA<Q@MNOC<O<N<KM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINO.G<DIODAARDOC

<?Q@MN@?DN>DKGDI<MT<>ODJIAJM>JHKG<DIDIB<=JPO?DN>MDHDI<ODJIDIOC@@H<DGOC<O.G<DIODAA

N@IOOJ"M+<KK<I?>JKD@?OJOC@-!0<I?AJM.G<DIODAA<NN@MODIBCDNMDBCOOJNP@OC@3IDQ@MNDOT

OJ?@A@I?<ION)@<MI@T<I?BM@NO< ?@A@I?<IOBM@NO<<OO<>C@?#SCD=DON 'OJOC@

?DN>DKGDI<MTC@<MDIBK<>F@O#SCD=DO >C<MBDIB.G<DIODAAAJMQDJG<ODIBMOD>G@'''JAOC@NOP?@IO

!J?@JA!JI?P>O

             .G<DIODAA<Q@MNOC<O<N<IJOC@MKM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINOCDNRDOC

<?Q@MN@?DN>DKGDI<MT<>ODJIAJM>JHKG<DIDIB<=JPO?DN>MDHDI<ODJIDIOC@@H<DG.G<DIODAAN@IO

OJ"M+<KKOC<OR<N>JKD@?OJOC@-!0 <I?AJM.G<DIODAA<NN@MODIBCDNMDBCOOJ?@A@I?<IO




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)@<MI@TOJNP@OC@3IDQ@MNDOT RDOCDIOC@(PI@>JI?P>OUDKADG@K<>F@O#SCD=DON  ' 

"@A@I?<IOBM@NO<>C<MB@?.G<DIODAAAJM>J?@JA>JI?P>OQDJG<ODJIJIBMJPI?NOC<O.G<DIODAA

M@<>C@?JPO=@TJI?CDN+<M>C!!2!JPMN@DINOMP>OJMOJOC@3IDQ@MNDOT_N?@NDBI<O@?

"<>>JHHJ?<ODJIN-AAD>@MOJN@@F@SO@I?@?"<>>JHHJ?<ODJIN4''#SCD=DO K 

             .G<DIODAA<Q@MNOC<OOCDNR<N<IJOC@MKM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINOCDH

=@><PN@>JINDNO@IORDOCOC@3IDQ@MNDOT_NJRI!<O<GJBN DOR<N.G<DIODAA_NM@NKJIND=DGDOTOJN@@F

"<>>JHHJ?<ODJIN=TM@<>CDIBJPOOJOC@"-AAD>@M ?DM@>OGT IJOOCMJPBC>JPMN@

DINOMP>OJMN =@><PN@!JPMN@'INOMP>OJMN<M@IJO?@NDBI<O@?<N"JAAD>@MNOJKMJ>@NNM@LP@NON

AJM"<>>JHHJ?<ODJIN.G<DIODAA?@ID@N<ITHDN>JI?P>OAJMKMJK@MGTM@<>CDIBJPOOJOC@

3IDQ@MNDOT_N?@NDBI<O@?">>JHHJ?<ODJIN-AAD>@M

             N<IJOC@MKM@O@SOP<G@S>PN@OJM@O<GD<O@RDOC<?Q@MN@?DN>DKGDI<MT<>ODJI<B<DINO

.G<DIODAAPI?@MOC@!DQDG0DBCON>O<I?PI?@MOC@MDBCOOJK@ODODJI "@A@I?<IOBM@NO<>C<MB@?

<I?N<I>ODJI@?.G<DIODAARDOC>J?@JA>JI?P>OQDJG<ODJIJIBMJPI?NOC<ODODN=<?\DI>D?@IOJA

>C<M<>O@MM@A@M@I>@]AJM.G<DIODAAOJM@<>CJPOOJ"@4MT_N.MJA@NNJM(JCI)<QJPM<N#S K 

'INPKKJMOJAOCDN<GG@B<ODJIJA=<?>C<M<>O@MM@A@M@I>@ ?@A@I?<IOBM@NO<<OO<>C@?#SCD=DO"<N

@QD?@I>@''<GNJ#SCD=DO!AJMAPGG?@O<DGN<=JPOOCDN

             .G<DIODAA<Q@MNOC<OOCDNR<NKM@O@SOP<G@S>PN@=@><PN@@H<DG#SCD=DO NCJRN

.MJA@NNJM)<QJPM<NI@Q@MOJJFDNNP@RDOC.G<DIODAAM@<>CDIBJPOOJCDHAJM<?HDIDNOM<ODQ@<I?

<><?@HD>BPD?<I>@''<GNJ<OO<>C@?@H<DG#SCD=DON AJMCDNOJMD><G=<>FBMJPI?

@QD?@I>@DI<NOJRCT.G<DIODAAM@<>C@?.MJA@NNJM)<QJPM<NDIK<MOD>PG<MDI

             N<IJOC@MKM@O@SOP<G@S>PN@OJ?DN>MDHDI<O@JMM@O<GD<O@<B<DINO.G<DIODAARDOC

<?Q@MN@?DN>DKGDI<MT<>ODJIAJM>JHKG<DIDIB<B<DINO?DN>MDHDI<ODJIDI@H<DGOJ"M+<KK

<I?<NN@MODIBCDNMDBCOOJNP@OC@3IDQ@MNDOTDI RDOCJPO<IT@QD?@IOD<GM@>JM?JA<I<GG@B@?




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 93 of 286 PageID #:93
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(PI@KCJI@><GG "@A@I?<IOBM@NO<>C<MB@?<I?N<I>ODJI@?.G<DIODAAAJM=@DIBMP?@DI<

O@G@KCJI@><GG.G<DIODAA<GG@B@?GTKG<>@?OJ"@4MT3IDQ@MNDOT!@IOM<GKCJI@JI(PI@ OJ

?@A@I?<ION"@=)JAAH<I<I?)MDNODI@)@<MI@TM@B<M?DIB?@G<T@?KMJ>@NNDIBJA.G<DIODAA_N

O@SO=JJF>M@?DO=<G<I>@M@API?.G<DIODAA?@ID@N=@DIBMP?@OJ<IT=J?T<I?.G<DIODAA?@ID@NN<TDIB

?@A@I?<IO"@=)JAAH<IR<NNOPKD??JDIB<NOPKD?EJ=

                 446/+0)#3)6'0&1.G<DIODAAN<D??@A@I?<IO)JAAH<IR<N?JDIB<NOPKD?EJ= 

PN<B@JAOC@RJM?\NOPKD?]DNIJO<NP=E@>ODQ@MP?@RJM?#Q@I311PKM@H@!JPMO(PNOD>@NPN@?

OC@RJM?\NOPKD?]OJ?@N>MD=@\NOPKD??@A@I?<ION]DIOC@><N@JA"31&6%5+101327

..+#0%''4163%'4  31 AJM@S<HKG@ OJ?@N>MD=@M@<GGTNOPKD?

?@A@I?<ION@GDBD=G@AJMKPIDODQ@?<H<B@N

                 N<IJOC@MKM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINO.G<DIODAARDOC<?Q@MN@?DN>DKGDI<MT

<>ODJI RDOCDIOC@(PI@>JI?P>OC@<MDIBK<>F@O@H<DGN#SCD=DON  ' "@A@I?<IO

BM@NO<<GNJ>C<MB@?.G<DIODAAAJMNOP?@IO>JI?P>OQDJG<ODJIAJMN@I?DIBNJ ><GG@?\DIODHD?<ODJI

@H<DGN]OJOC@+<M>C!!2>JPMN@DINOMP>OJM"M%JJ?H<I <I?>JKTDIBHPGODKG@

?@<IN <.MJA@NNJM <I?OC@.MJQJNOJAOC@3IDQ@MNDOTJIJM<MJPI?KMDG D@

#SCD=DO' 2C@<GG@B@?\DIODHD?<ODJI@H<DGN]R@M@DI>GP?@?DIOC@8DKADG@2C@ADMNOJI@DN

KPM@GT<=JPO<?@O@>O@?<H=DBPDOTRDOCDI<HPGODKG@>CJD>@LP@NODJIDIOC@!!2>G<NN

                 .G<DIODAA<Q@MNOC<OOCDNR<N<KM@O@SOP<G@S>PN@OJM@O<GD<O@<I??DN>MDHDI<O@CDH

=@><PN@.G<DIODAAC<N<MDBCOOJQJD>@CDN<><?@HD>>JI>@MINOJ3IDQ@MNDOT?HDIDNOM<OJMNDI

<POCJMDOTOJ?@<GRDOCDO.G<DIODAA>JKD@?<?HDIDNOM<OJMNJIOC<O@H<DG=@><PN@OC@3IDQ@MNDOT

<?HDIDNOM<ODJI<GR<TNN@@F.G<DIODAA_NA@@?=<>FNP>C<N#S!+JM@JQ@M =JOC"@4MT

3IDQ@MNDOT.M@ND?@IO"@A@I?<IO <MOCJGJH@R <I?.MJQJNO"@A@I?<IO JN@ C<Q@NO<O@?DI

OC@DMJK@IDIBH@NN<B@NKP=GDNC@?DIOC@)@GG@M!<O<GJBOC<OOC@T<M@C@M@OJNPKKJMO1OP?@ION




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 94 of 286 PageID #:94
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                 N<IJOC@MKM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINO.G<DIODAA "@A@I?<IOBM@NO<

<OO<>C@?<IJOC@M<GG@B@?DIODHD?<ODJI@H<DGRDOCDIOC@(PI@>JI?P>OK<>F@O#SCD=DON 

 ' M@B<M?DIB.G<DIODAAM@KJMODIB<O@>CID><GBGDO>COJOC@3IDQ@MNDOT_N'2C@GK?@NFRC@IOC@

!!2>JPMN@KJMO<GKM@Q@IO@?.G<DIODAAAMJHNP=HDOODIBCDNN>CJJGRJMF.G<DIODAAM@<>C@?

JPOOJ'2&@GK"@NF<I?"M+<>!<OC@MDI@<=JPORC<OOJ?J<I?OC@TM@ JK@I@?OC@KJMO<GAJM

.G<DIODAAOJNP=HDOCDNRJMF4''@H<DGOCM@<?#SCD=DO!AJM?@O<DGN 

                 .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<OOCDNR<NKM@O@SOP<G@S>PN@=@><PN@OC@M@

R<NIJ<>ODJI<=G@DIODHD?<ODJIJAKCTND><GQDJG@I>@.G<DIODAAC<N?POTOJM@KJMOK@MAPI>OJMT

@?P><ODJI<GNTNO@HN<AA@>ODIBCDN<><?@HD>RJMF

             N<IJOC@MKM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINO.G<DIODAARDOC?DN>DKGDI<MT<>ODJI

AJM<NN@MODIBCDNMDBCONOJNP@OC@3IDQ@MNDOT<I?AJM>JHKG<DIDIB<=JPO?DN>MDHDI<ODJIOJOC@

-!0DIOC@@H<DG RDOCDIOC@(PI@>JI?P>OUDKADG@K<>F@O#SCD=DON  ' 

"@A@I?<IOBM@NO<>C<MB@?<I?N<I>ODJI@?.G<DIODAAAJMQDJG<ODIBMOD>G@'''JAOC@NOP?@IO>J?@

JA>JI?P>OJIBMJPI?NOC<O.G<DIODAAC<NK<NO>C<M<>O@MM@A@M@I>@DI>D?@IOJAADGDIBBM<?@<KK@<GN

JMN@@FDIB'I>JHKG@O@BM<?@N4''#S K 

             2CDNR<NKM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINO.G<DIODAA=@><PN@OC@3IDQ@MNDOT_N

JRI!<O<GJB<O.<B@N>JIOM<>OP<GGTKMJQD?@N%M<?@KK@<GN<I?'I>JHKG@O@%M<?@ 

<NM@LPDM@?=TOC@#?P><ODJIH@I?H@ION>OJA 

COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT;@?P?)@GG@M;!<O<GJBK?A''<GNJ#SCD=DO!<O

.<B@RC@M@"@4MT_NJRINNDNO<IO"@<I "M(JCI+<>!<OC@MDI@ ?DM@>ON.G<DIODAADI<IKMDG

 @H<DGOJ\ADG@<BM<?@<KK@<G]JQ@MOC@!!2>G<NN''<GNJ#SCD=DOAJM@H<DG

?<O@?(PGT <O.+RC@M@"@4MT_NO@IPM@?NNJ>D<O@.MJA@NNJM)<OCMDI@&@INJI

+<>F .C"O@GGN.G<DIODAA+05'3#.+#OJADG@<IJAAD>D<GBM<?@<KK@<G<=JPOOC@+2&>G<NN




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      Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 95 of 286 PageID #:95
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             N<IJOC@MKM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINO.G<DIODAARDOC?DN>DKGDI<MT<>ODJI

AJM<NN@MODIBCDNMDBCONOJNP@OC@3IDQ@MNDOT<I?AJM>JHKG<DIDIB<B<DINO?DN>MDHDI<ODJIOJOC@

-!0 "@A@I?<IOBM@NO<<>>PN@?<I?N<I>ODJI@?.G<DIODAAAJM>JI?P>OQDJG<ODJI=T<OO<>CDIBOJ

OC@(PI@>JI?P>O<APGGT@<MJG?PBPNO <GG@B<ODJI>G<DHDIBOC<O.G<DIODAAR<N

\MP?@]RC@IC@\M@APN@?OJQ@MDATCDND?@IODOT]<I?.G<DIODAAR<N\PI<=G@OJ@I?<GDQ@>C<O

N@NNDJI]JIOC@3IDQ@MNDOT_NR@=NDO@RDOC?@A@I?<IO+@B<I+DC@GD>CRC@I.G<DIODAAM@LP@NO@?

DIAJMH<ODJI<=JPORCJDN)@GG@M_NI@R\+<DI"@<I]D@,<ODJI<G"@<I <I?!@IO@M"@<IAJM

.CDG<?@GKCD<!<HKPN.G<DIODAA?@ID@N<ITHDN>JI?P>ODIOC<O

             .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<OOCDNR<N<KM@O@SOP<G@S>PN@=@><PN@DA

DI?@@?.G<DIODAAM@APN@?OJ\Q@MDATCDND?@IODOT]<OOC@ODH@?PMDIBOC@GDQ@>C<OJIGDI@OC@IDODN

LP@NODJI<=G@CJR+N+DC@GD>COCDIFNDOR<N<>OP<GGT.G<DIODAARCJ?D?OC<OGDQ@>C<OOJ=@BDI

RDOC

             N<IJOC@MKM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINO.G<DIODAARDOC?DN>DKGDI<MT<>ODJI

AJM<NN@MODIBCDNMDBCONOJK@ODODJIOJNP@OC@3IDQ@MNDOT<I?AJM>JHKG<DIDIB<B<DINO

?DN>MDHDI<ODJIOJOC@-!0 ?PMDIBOC@(PI@ ?DN>DKGDI<MTC@<MDIB OC@3IDQ@MNDOT

PGODH<O@GT>G<DH@?OC<O.G<DIODAAC<NQDJG<O@?MOD>G@'''JAOC@NOP?@IO>JI?P>O>J?@=@><PN@

.G<DIODAA>JKD@?3IDQ@MNDOT<?HDIDNOM<OJMN<I?OC@3IDQ@MNDOT_N.MJQJNO D@"@A@I?<IO1C<IO<IP

    JN@ OJ@SKM@NNCDN<><?@HD>>JI>@MIN&@I>@ OC<ODNDIODHD?<ODJI

                 .G<DIODAA<Q@MNOC<OOCDNR<N<KM@O@SOP<G@S>PN@OJM@O<GD<O@<B<DINOCDH=@><PN@

DHKJNDIB?DN>DKGDI<MTN<I>ODJIN<B<DINO.G<DIODAAAJM>JKTDIBOC@.MJQJNO"@A@I?<IO1C<IO<IP

    JN@OJ@SKM@NNCDN<><?@HD>>JI>@MINDNIJO<>ODJI<=G@DIODHD?<ODJIJMHDN>JI?P>O=@><PN@JA

OC@AJGGJRDIB




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         Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 96 of 286 PageID #:96
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D        "@A@I?<IO JN@?D?IJOK@MNJI<GGTO<F@<ITDNNP@RDOC.G<DIODAARMDODIBCDH<I@H<DG

           <=JPOCDN<><?@HD>>JI>@MIN

DD       "@A@I?<IO1C<IO<IP JN@DNOC@3IDQ@MNDOT_N!CD@A><?@HD>-AAD>@MRCJDNR@GG Q@S@?

           DIOC@<><?@HD>KMJ>@NN@NJAOC@3IDQ@MNDOTOC<O<M@PN@?AJMO@<>CDIB<OOC@3IDQ@MNDOT

DDD      "@A@I?<IO JN@DNPGODH<O@GTM@NKJIND=G@AJMOC@3IDQ@MNDOT_N<><?@HD>KJGD>D@N

DQ       "@A@I?<IO JN@R@G>JH@N.G<DIODAADICDNR@G>JH@H@NN<B@DI.<B@JAOC@)@GG@M

           !<O<GJB

Q        "@A@I?<IO JN@?D?IJOO<F@K@MNJI<GDNNP@JMM@KJMO.G<DIODAAAJM?DN>DKGDI<MT<>ODJIAJM

           H@M@GT>JKTDIBCDHJIOC<O@H<DG#SCD=DO'

QD       "@A@I?<IO JN@R<NIJO@Q@I<R<M@OC<O<?DN>DKGDI<MTC@<MDIBR<NC<KK@IDIBJI(PI@ 

           OJ.G<DIODAAH@M@GTAJM>JKTDIBCDH<=JPO<I<><?@HD>>JI>@MIM@G<O@?OJ<

           K@MAPI>OJMT>>JPIODIBNJAOR<M@OC@3IDQ@MNDOTPN@NOJO@<>C!!2>G<NN

QDD      .G<DIODAA>JKD@?OC@.MJQJNO=@><PN@<O"@4MT3IDQ@MNDOT >JPMN@DINOMP>OJMN?JIJO?@NDBI

           OC@DMJRI>JPMN@N =POM<OC@M OC@>JPMN@N<M@?@NDBI@?=TOC@3IDQ@MNDOT_N><?@HD>

           >PMMD>PGPH?@Q@GJKH@IOO@<H RCD>CA<GGNPI?@MOC@@S@>PODQ@KJMOAJGDJJAOC@

           3IDQ@MNDOT_N!CD@A><?@HD>-AAD>@M1J OC@!JPMN@'INOMP>OJM "M%JJ?H<I DNIJOOC@

           JI@RCJ?@NDBI@?C@M!!2>JPMN@<I?NC@DNIJOOC@JI@RCJ>CJN@.@<MNJI

           .P=GDNC@M_N+*NJAOR<M@AJMC@M!!2>G<NN.G<DIODAAOC@M@AJM@>JKD@?.MJQJNO

           1C<IO<IP JN@=@><PN@C@DNKP=GDNC@?DIOC@3IDQ@MNDOT_N!<O<GJB<NOC@>PMM@IO<><?@HD>


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      1@@OC@KMJADG@JA.MJQJNO JN@JIOC@"@4MT3IDQ@MNDOTR@=NDO@<AADMHDIBOC@N@
 M@NKJIND=DGDOD@N C@M@COOKI@RNMJJH?@QMT@?P<?HDIDNOM<ODJI GDQ@<?HDIDNOM<ODJINC<IO<IP
 =JN@ KC? KMJQJNO ?@QMT PIDQ@MNDOTCOH
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 
      1@@.<B@JAAOC@)@GG@M!<O<GJB COOKNRRR?@QMT@?P?)@GG@M;!<O<GJBK?A 
 5C@M@.MJQJNO JN@R@G>JH@NNOP?@ION<I?NDBINJAA<N!CD@A><?@HD>-AAD>@M
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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 97 of 286 PageID #:97
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        .MJQJNOJMOC@3IDQ@MNDOT_N!CD@A><?@HD>-AAD>@MRDOCPGODH<O@M@NKJIND=DGDOTJM

        QD><MDJPNM@NKJIND=DGDOTAJM<><?@HD>DNNP@N >JI>@MIN NJAOR<M@ <I?>PMMD>PGPH?@NDBIDI

        OC@3IDQ@MNDOT''.<B@JAAOC@)@GG@M!<O<GJB 

        COOKNRRR?@QMT@?P?)@GG@M;!<O<GJBK?A

QDDD  .G<DIODAAC<?M@<NJIOJ=@GD@Q@OC<O>JKTDIBOC@.MJQJNODIOC@KMDG@H<DG#SCD=DO'

        <ODNNP@M@B<M?DIBOC@K@MAPI>OJMTI<OPM@JAOC@.@<MNJI+*NJAOR<M@OC<OR<NPN@?

        ?PMDIBOC@!!2>G<NN .MJQJNO JN@RJPG?C<Q@NK@>DAD>>JIO@SO<I?@S<HKG@JA

        RC<O<><?@HD>NJAOR<M@NOP?@ION<M@C<QDIBDNNP@N<I?>JI>@MINRDOCDINO@<?JAM<I?JH

        B@I@M<GNJGD>DO<ODJIJANOP?@IOA@@?=<>F

!<O@BJMD><GGT >JKTDIB?@A@I?<IO1C<IO<IP JN@JI<I@H<DG#S' APGGJA<><?@HD>>JIO@IO

R<NIJODIODHD?<ODJIJMMP?@I@NNJI.G<DIODAA_NK<MO

                 +JM@JQ@M "M%JJ?H<I RCJR<NOC@JMDBDI<GM@>DKD@IOJAOC<O@H<DG>JKD@?OJ

?@A@I?<IO JN@#S' ?D?IJO@SKM@NN<ITK@MNJI<GDNNP@RDOC.G<DIODAA>JKTDIBOC@.MJQJNOJM

<?HDIDNOM<OJMNJIOC<O@H<DG<O<GG <N?@HJINOM<O@?=T<AJGGJR PK@H<DG?<O@?KMDG  

.+RC@M@"M%JJ?H<I<NF@?.G<DIODAAOJDI>GP?@<??DODJI<G<?HDIDNOM<OJMNJICDN@H<DG

NP>C<NC@MJRI"@<I"M+<>!<OC@MDI@ <I?OC@3IDQ@MNDOT_N"<?HDIDNOM<OJMRC@INC@

RMJO@

                       ??DODJI<GGT TJPA<DG@?OJJHDOHT"@<IRCD>C'C<Q@IJRDI>GP?@? 
                       <I?<GNJTJPM">JJM?DI<OJMZ
                       
2CDNNCJRNOC<OOC@JMDBDI<GM@>DKD@IOJAOC@@H<DG"M%JJ?H<I ?D?IJOC<Q@<KMJ=G@HRDOC

.G<DIODAA\>JKTDIB]<?HDIDNOM<OJMNNP>C<N.MJQJNO JN@<I?JOC@M"@<INJIDO=@><PN@NC@

R<IO@?.G<DIODAAOJ>JKTHJM@<?HDIDNOM<OJMN

                 "M%JJ?H<II@Q@MM@KJMO@?OC<O=T>JKTDIBOC@.MJQJNOJI@H<DGN#SCD=DO 

.G<DIODAAC<NDIODHD?<O@?C@M<I?NJ.G<DIODAANCJPG?=@NP=E@>O@?OJ?DN>DKGDI<MT<>ODJI



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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 98 of 286 PageID #:98
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                 "M%JJ?H<I OC@JMDBDI<G>JPMN@DINOMP>OJM <I?OC@JMDBDI<GM@>DKD@IOJAOC@

@H<DGN#S' DIKMDG R<NIJO@Q@I<R<M@JAOC@(PI@<?Q@MN@?DN>DKGDI<MT

KMJ>@@?DIBNJM>C@NOM<O@?=T"@A@I?<IOBM@NO<DIM@O<GD<ODJIOJ.G<DIODAA

                 2JOC@@SO@IOOC<O.G<DIODAAN@IOOC@@H<DGN#SCD=DO' DIKMDG<I?

"@A@I?<IOBM@NO<R<N>JKD@??DM@>OGTJIDOT@O ?@A@I?<IOBM@NO<OJJFIJ<>ODJIPIODG(PI@

<AO@MC@R<NDIAJMH@?=T"@A@I?<IO)@<MI@TOC<O.G<DIODAAC<N<NN@MO@?OJNP@)@GG@M 

.G<DIODAA<GG@B@NOC<O"@A@I?<IOBM@NO<R<NHJODQ<O@?=TM@O<GD<OJMT<IDHPNOJADI?<ITOCDIBOJ

PN@<B<DINO.G<DIODAAOC@M@AJM@ C@M@NJMO@?OJPN@OCJN@JPO?<O@?KMDG@H<DGN<B<DINO

.G<DIODAADI(PI@

             2JOC@@SO@IOOC<O.G<DIODAAR<NN<I>ODJI@?RDOC<?Q@MN@?DN>DKGDI<MT<>ODJIAJM

>JKTDIBOC@3IDQ@MNDOT.MJQJNO?@A@I?<IO JN@ JI<KPM@GT<><?@HD>>JI>@MIDIOC@@H<DG

#SCD=DO' OC@3IDQ@MNDOTC<N>M@<O@?<CJNODG@@?P><ODJI<G@IQDMJIH@IOAJM.G<DIODAA<OOC@

3IDQ@MNDOT

             2JOC@@SO@IOOC<O"@A@I?<IO1CDFJRDOUPKC@G?.G<DIODAA_N>JI?P>O<KK@<G#SCD=DO

 RCD>C<GNJKM@N@IO@?OC@<MBPH@IOOC<OOC@1OP?@IO!JI?P>O J<M?C<?DHKJN@??DN>DKGDI<MT

<>ODJI<B<DINO.G<DIODAADI(PI@ "@A@I?<IO1CDFJRDOU<GNJNPKKJMO@?M@O<GD<ODJI<B<DINO

.G<DIODAA_NMDBCOOJK@ODODJI

             N<?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAA*DQDIBNOJI@C<NNPAA@M@? <I?>JIODIP@NOJNPAA@MDMM@K<M<=G@DIEPMTRCD>C><IIJO

=@APGGT>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJ

KM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@A<NR@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?

=TOC@!JPMO<I?M@<NJI<=G@>JNONJAOCDNG<RNPDO DI>GP?DIBM@<NJI<=G@OOJMI@TN_A@@NPI?@MOC@

!DQDG0DBCON>O




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 99 of 286 PageID #:99
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              N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAAC<N=@@I><PN@?<I?RDGG>JIODIP@DI?@ADIDO@GTDIOJOC@APOPM@OJ=@

><PN@?N@Q@M@H@IO<G<IBPDNC CPHDGD<ODJI <ISD@OT NOM@NN <I?@HJODJI<G<I?JMKNT>CJGJBD><G

?DNOM@NN <GGRDOC<NNJ>D<O@?KCTND><GNTHKOJHN

              5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<ION"@4MT )@GG@M ?O<G@HEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?

KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI @S>GPNDQ@JADIO@M@NO<I?>JNON

KM@GDHDI<MT ?@>G<M<OJMT <I?DIEPI>ODQ@M@GD@AOJQ<><O@<I?@SKPIB@OC@(PI@?DN>DKGDI<MT

N<I>ODJI<I?M@>JM?RDOCJPOH<FDIBM@A@M@I>@NOJDO<I<R<M?JAM@<NJI<=G@<OOJMI@TN_A@@N >JNON

<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMO

H<T?@@HEPNO<I?@LPDO<=G@

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                                    &)(#" +
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                       !82704:# 8D8<6AB=<4D4*@G4::4@3B0:4;
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                 .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

                 2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@>JINODOPO@N>JI?P>OPI?@M

>JGJMJAG<ROC<O?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

                 GOCJPBCOC@3IDQ@MNDOTDNIJO<NO<O@<>OJM OC@3IDQ@MNDOTC<NKMJHPGB<O@?<I?

KP=GDNC@?1OP?@IO&<I?=JJF<I?!<O<GJBN>JIO<DIDIBKMJ>@?PM@N MPG@N <I?KJGD>D@NAJMRCD>C

OC@3IDQ@MNDOTHPNO=@C@G?OJ>JHKGD<I>@




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                 .G<DIODAA<Q@MNOC<OOC@3IDQ@MNDOT?D?IJOAJGGJRDONJRIMPG@N?PMDIBOC@

,JQ@H=@MNOP?@IO>JI?P>OKMJ>@@?DIBN=@><PN@.<B@N JAOC@"@4MT1OP?@IO

&<I?=JJF!J?@JA>JI?P>O?@NDBI<O@N1OP?@IO!J?@?HDIDNOM<OJMN=T1O<O@N IJO=TM@BDJI

.G<DIODAAM<DN@?KMJ>@?PM<GJ=E@>ODJINJIOC@M@>JM?''#SCD=DO OC<O"@A@I?<IOBM@NO<

NCJPG?M@>PN@CDHN@GAAMJHOC@KMJ>@@?DIBN=@><PN@C@DNIJOOC@?@NDBI<O@?!J?@JA!JI?P>O

?HDIDNOM<OJMAJM-IGDI@<I?,@R(@MN@T1OP?@IONNP>C<N.G<DIODAA+D>C<@G*DQDIBNOJI@

"@A@I?<IOBM@NO<DNI<H@?<NOC@'004:.7#0+#1OP?@IO!J?@?HDIDNOM<OJM IJO'8'34':

.G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MOC<OHJODQ<O@?=T=<? A<DOC <IDHJNDOT M@O<GD<OJMT<IDHPN 

<I?M<>D<GC<OM@?<B<DINO.G<DIODAA BM@NO<?@>GDI@?OJM@>PN@CDHN@GAOC@M@=T AJM>DIBCDHN@GAOJ

C<I?G@OC@KMJ>@@?DIBN<B<DINOOC@<POCJMDOTJAOC@>JIOM<>OP<GKMJQDNDJINDIOC@!J?@JM

&<I?=JJF

                 "PMDIBOC@,JQ@H=@MNOP?@IO>JI?P>OKMJ>@@?DIBN .G<DIODAA<GNJ<NF@?

"@A@I?<IOBM@NO<OJM@>PN@OC@C@<MDIB.<I@GDNOND@"@A@I?<ION0PNN@GG "_1JPU< <I?

1>CHDOU <I?@HK<I@G<I@RJI@=@><PN@JAOC@T<M@OC@N<H@K<I@GDNONAMJHKMDJM(PI@

>JI?P>OC@<MDIB=@>JHDIBOC@,JQ@H=@M>JI?P>OC@<MDIBK<I@GDNONOJJ''#SCD=DO 

&@I>@ OC@MDNFJANTNO@HD>=D<N<I?KM@EP?D>@NO@HHDIBAMJHA<HDGD<MDOTDI(PI@_N>JI?P>O

C@<MDIBKMJ>@@?DIBN><PNDIBOC@,JQ@H=@MC@<MDIBOJ=@PIA<DM<I?K<MOD<GBM@NO<?D?IJO

M@>PN@OC@.<I@GDNON@DOC@M'I?@@? OC@.<I@GDNONLPD>FGTM@>JGG@>O@?+D>C<@G*DQDIBNOJI@<I?

OC@M@AJM@>JHKMJHDN@?A<DMC@<MDIB

             .G<DIODAA<Q@MNOC<OOC@3IDQ@MNDOT?D?IJOAJGGJRDONJRIMPG@N?PMDIBOC@(PI@

?DN>DKGDI<MTKMJ>@@?DIBN=@><PN@MOD>G@'4 N@>ODJI@ JAOC@3IDQ@MNDOT_NKP=GDNC@?

 1OP?@IO&<I?=JJF!J?@JA!JI?P>O COOKNRRR?@QMT@?P?NOP?@IO C<I?=JJFK?A 




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KMJQD?@NAJM2@=AA4F0;8<0B8=<=51=B7!JHKG<DI<ION<I?0@NKJI?@ION?PMDIB!JI?P>O

C@<MDIBN1K@>DAD><GGT OC@1OP?@IO!JI?P>OKMJ>@?PM@NKMJQD?@NOC@AJGGJRDIBDI.<B@

                 \Z2C@3IDQ@MNDOT OC@>JHKG<DI<IO OC@M@NKJI?@IO<I?OC@>JI?P>OK<I@GNC<GG
                 =@<GGJR@?OJKM@N@IORDOI@NN@N<I?@QD?@I>@ NP=E@>OOJOC@@867B=52@=AA
                 4F0;8<0B8=<=TOC@>JI?P>OK<I@GZ]
                 
                        #HKC<NDN<??@? 

            2C@D?@IODAD@?>JHKG<DI<IONJMRDOI@NN@N"@A@I?<ION)JAAH<I +DC@GD>C <I?

)@<MI@T DI.<B@JAOC@(PI@>JI?P>OC@<MDIBK<>F@O#S R@M@IJONPHHJI@?=TOC@

3IDQ@MNDOTOJ<OO@I?OC@C@<MDIBOC@T?D?IJO<OO@I?OC@(PI@ ?DN>DKGDI<MTC@<MDIB<I?

OC@TR@M@IJO>MJNN @S<HDI@?AJM>M@?D=DGDOTJAOC@DMNO<O@H@ION<O<GG

            2CDN?@KMDQ@?.G<DIODAA_NKMJ>@?PM<GN<A@BP<M?NJAAPI?<H@IO<GA<DMI@NNDIOC@

<=N@I>@JAOC@!JHKG<DI<ION

            2C@<=N@I>@JAOC@RDOI@NN@NKM@Q@IO@?.G<DIODAA<I?OC@C@<MDIBK<I@GAMJH

<NN@NNDIBOC@>M@?D=DGDOTJAOC@!JHKG<DI<ION_<GG@B<ODJIN<B<DINO.G<DIODAA@NK@>D<GGTDIOCDN><N@

RC@M@DOR<NOC@H@M@NO<O@H@IOJA?@A@I?<ION)JAAH<I<I?)@<MI@T<B<DINO.G<DIODAA_N

NO<O@H@IORDOCJPO<IT@QD?@I>@JAOC@<>OP<GO@G@KCJI@>JIQ@MN<ODJI

            N<IJOC@M?@QD<ODJIAMJHOC@3IDQ@MNDOT_NJRIMPG@N =T@H<DG?<O@?(PI@ 

 .+ "@A@I?<IOBM@NO<<NF@?.G<DIODAAOJNP=HDOCDN>JI?P>ON<I>ODJI<KK@<G<B<DINO

OC@<?Q@MN@(PI@?DN>DKGDI<MT<>ODJI?DM@>OGTOJCDH#SCD=DO +@<IRCDG@ OC@1OP?@IO

&<I?=JJF_NKMJN>MD=@NOC@AJGGJRDIBMPG@DI.<B@M@B<M?DIBKK@<GNJA?DN>DKGDI<MTC@<MDIBN

                           ZKK@<GNHPNO=@KMJ>@NN@?=T<IDI?DQD?P<GRDOC<=>@8=@
                           8<D=:D4;4<BDIDIDOD<G?@O@MHDI<ODJIJMC@<MDIBZ
                           
                                     #HKC<NDN<??@? 
                 




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    T<NFDIB.G<DIODAAOJN@I?OC@<KK@<GOJCDH "@A@I?<IOBM@NO< RCJ>C<DM@?OC@>JI?P>O

C@<MDIBR<NDIQJGQ@?DIOC@KMJ>@NNDIBJAOC@<KK@<GDI>JIOM<Q@IODJIOJOC@3IDQ@MNDOT_NJRI

MPG@N 4623#

             .G<DIODAA<Q@MNOC<ODI<NHP>C<N"@A@I?<IOBM@NO<K<MOD>DK<O@?DIOC@(PI@ 

?DN>DKGDI<MTC@<MDIB OC@3IDQ@MNDOT?D?IJOAJGGJRDONJRIMPG@NRC@I"@A@I?<IOBM@NO<

<NF@?.G<DIODAAOJNP=HDOCDN(PI@<KK@<GOJCDH@Q@IDAOC@N<H@?@A@I?<IOBM@NO<?D?IJO

<?EP?D><O@OC@<KK@<G

             N<IJOC@M?@K<MOPM@AMJHOC@3IDQ@MNDOT_NJRIMPG@N =T>JHK@GGDIB.G<DIODAAOJ

NP=HDOOC@(PI@>JI?P>O<KK@<GOJOC@N<H@"@A@I?<IOBM@NO<RCJKM@QDJPNGTK<MOD>DK<O@?

DIOC@(PI@ C@<MDIB<I?<>O@?<N>JHKG<DI<IOK@MN@ OC@3IDQ@MNDOTPN@?<KMJ>@?PM@

IJO<POCJMDU@?=TOC@1OP?@IO!J?@JA!JI?P>O

             N<IJOC@M?@K<MOPM@AMJHOC@3IDQ@MNDOT_NJRIMPG@N OC@N<H@?@A@I?<IO

BM@NO<<>O@?<N<>JHKG<DI<IO?PMDIBOC@(PI@>JI?P>OKMJ>@@?DIBN=@><PN@DOR<N

"@A@I?<IOBM@NO<RCJDHK@MHDNND=GTR@IODIOJ.G<DIODAA_NJAAD>D<G"@4MT3IDQ@MNDOT@H<DG

DI=JSOJM@OMD@Q@@H<DGN@S>C<IB@?=@OR@@I.G<DIODAA<I?#!-,.MJA@NNJM"M+<KK 

<NR@GG<N@H<DGN@S>C<IB@?=@OR@@I.G<DIODAA<I?.G<DIODAA_N+<M>C!!2>G<NN

.MJA@NNJM"M%JJ?H<I OJPN@DO<B<DINO.G<DIODAA"@A@I?<IOBM@NO<<>O@?<N<=JOC

!JHKG<DI<IO<I?RDOI@NN=@><PN@C@DNOC@JI@RCJ<>>@NN@?<I?KM@N@IO@?OCJN@@H<DGN<B<DINO

.G<DIODAARDOCJPOOC@FIJRG@?B@JA"M+<KK AJM@S<HKG@'I?@@? =JOC"MN+<KK<I?%JJ?H<I

?D?IJO@Q@IFIJROC<O<>JI?P>OC@<MDIBR<NC<KK@IDIBJI(PI@ DIQJGQDIBOC@

<AJM@H@IODJI@?@H<DGN.G<DIODAAN@IOOJOC@HT@<MN<BJ

             N<IJOC@M?@K<MOPM@AMJHOC@3IDQ@MNDOT_NJRIMPG@N?PMDIBOC@(PI@

>JI?P>OKMJ>@@?DIBN .G<DIODAAR<NNPHHJI@?<I?NP=E@>O@?OJ?DN>DKGDI<MT<>ODJIAJMADGDIB




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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 103 of 286 PageID #:103
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BM<?@<KK@<GN<I?JMN@@FDIBDI>JHKG@O@BM<?@N''NK@>DAD><GGT>JI?P>OC@<MDIBK<>F@O#SCD=DO

<O.<B@NO<ODIBOC@AJGGJRDIB

                \ZOC@M@<M@HPGODKG@DINO<I>@NJAOCDN=@C<QDJM NJH@JARCD>C><I=@N@@I
                =@GJR5DOC<OCJMJPBCM@QD@RJACDN<><?@HD>CDNOJMT OC@>JI?P>O<?HDIDNOM<OJM
                IJO@?HPGODKG@M@K@<O@?DINO<I>@NJABM<?@<KK@<G<I?DI>JHKG@O@M@LP@NONNP>C
                ><N@NJIADG@ OCMJPBCJPOCDN<><?@HD>><M@@M]

$DGDIBBM<?@<KK@<GN<I?N@@FDIB'I>JHKG@O@BM<?@NDNIJO<\=@C<QDJM]JM\HDN=@C<QDJM]<O<GG

3#&'#22'#.<I?+0%1/2.'5')3#&'4<M@KMJQD?@?<NK<MOJAOC@3IDQ@MNDOT_N>JIOM<>OP<G

KMJ>@?PM@N<I?KJGD>D@NRDOCDIOC@3IDQ@MNDOT_NJRIKP=GDNC@?!<O<GJBN 

COOKNRRR?@QMT@?P?)@GG@M;!<O<GJBK?A .<B@N  <NR@GG<NOC@3IDQ@MNDOT_N

.P=GDNC@?1OP?@IO&<I?=JJF

             N<IJOC@M?@K<MOPM@AMJHOC@3IDQ@MNDOT_NJRIMPG@N ?@A@I?<IOBM@NO<

>C<M<>O@MDU@?.G<DIODAA_NBM<?@<KK@<G<NKPIDNC<=G@9HDN:=@C<QDJM.G<DIODAAAJGGJR@?OC@

3IDQ@MNDOT_N><O<GJB<I?KMJK@MGTR@IOOCMJPBCOC@3IDQ@MNDOT_N<?HDIDNOM<ODQ@>C<II@GNOJ

KMJ>@NNBM<?@<KK@<GN<I?DI>JHKG@O@BM<?@NRC@M@I@>@NN<MT''@H<DGN#SCD=DO  AJM

@S<HKG@ RC@M@AJMH@M)@GG@M,<ODJI<G"@<I "M-N><M%POD@MM@U <KKMJQ@?.G<DIODAA_NBM<?@

<KK@<G<I?<POCJMDU@?<>C<IB@JABM<?@AJM.G<DIODAADI''<GNJ@H<DG#SCD=DORC@M@

"M&@INJI +<>F<KKMJQ@?'I>JHKG@O@BM<?@<I?<?QDN@?.G<DIODAAOJADG@<BM<?@<KK@<G

            N<BM<?P<O@NOP?@IO@IMJGG@?DI<+<NO@MN?@BM@@KMJBM<H<O"@4MT3IDQ@MNDOT

<I?)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IONDI>@ .G<DIODAAC<?<KMJO@>O@?GD=@MOTDIO@M@NO

DICDNBJJ?I<H@<I?M@KPO<ODJIOC<ODNIJRO<MIDNC@?=T?DN>DKGDI<MTN<I>ODJINJICDNM@>JM?AJM

KMJK@MGTADGDIBBM<?@<KK@<G<I?DI>JHKG@O@BM<?@PI?@MOC@>JIOM<>OP<GKMJQDNDJINJAOC@1OP?@IO

&<I?=JJF<I?OC@!<O<GJBN

            $JM@<>CJAOC@<=JQ@ NO<O@?M@<NJIN .G<DIODAAR<N@IODOG@?OJOC@KMJO@>ODJINJA

OC@G<R?PMDIBOC@(PI@?DN>DKGDI<MTKMJ>@@?DIBNOC<OR<NPIDG<O@M<GGTN>C@?PG@?=T



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"@A@I?<ION<I?RCD>CM@NPGO@?DI<?Q@MN@?DN>DKGDI<MTN<I>ODJINOC<O?@KMDQ@NJMDHK<DMNJA

.G<DIODAA_N>JINODOPODJI<GGT KMJO@>O@?KMJK@MOT<I?GD=@MOTDIO@M@NON

            2C@3IDQ@MNDOT?@K<MO@?AMJHDONJRIKJGD>D@N<I?MPG@N=TAJMHPG<ODIB 

DHKG@H@IODIB <I?<KKGTDIB<=@MM<IOKJGD>D@N<I?KMJ>@?PM@N RCD>C?@KMDQ@?.G<DIODAAJAOC@

MDBCOOJ<A<DMC@<MDIB=T<IDHK<MOD<G<I?PI=D<N@?OMD=PI<G=@><PN@.G<DIODAA?D?IJOB@O<>C<I>@

OJ>MJNN @S<HDI@"@A@I?<ION"@=)JAAH<I +@B<I+D>C@GD>C <I?)MDNODI@)@<MI@TOC@M@=T

?@ITDIBAPI?<H@IO<GA<DMI@NNOJ.G<DIODAA

            "@A@I?<IONAJM>@?.G<DIODAAOJPI?@MBJ?DN>DKGDI<MTKMJ>@@?DIBNRCD>C?@ID@?

.G<DIODAAAPI?<H@IO<GA<DMI@NNDIOC@AJGGJRDIBH<II@M

<  .G<DIODAA?D?IJOM@>@DQ@<?@LP<O@IJOD>@JAOC@I<OPM@JAOC@>C<MB@N<B<DINOCDH<I?OC@

    @QD?@I>@OJ=@KM@N@IO@?'I?@@? ?PMDIBOC@(PI@C@<MDIB OC@.<I@GDNONR@M@>JIAPN@?

    <=JPO@S<>OGTRC<OR<NOC@>JI?P>O>C<MB@<B<DINO.G<DIODAA

=  .G<DIODAAR<NIJO<AAJM?@?<?@LP<O@JKKJMOPIDOTOJKM@K<M@OJH@@OOC@(PI@>JI?P>O

    >C<MB@N@Q@I<AO@MC@DIAJMH@?"@A@I?<IOBM@NO<OC<OC@R<NND>F<I?NJC@><IIJO

    @AA@>ODQ@GTM@KM@N@IOCDHN@GAAJMOC@(PI@ C@<MDIB.G<DIODAA_NM@LP@NOAJM

    >JIODIP<I>@R<N?@ID@?''#SCD=DO <OKK AJM@H<DG?<O@?(PI@ <O

    +

>  .G<DIODAAC<?IJMDBCOJA>JIAMJIO<ODJIOJCDN<GG@B@?<>>PN@MN DIK<MOD>PG<M"@A@I?<ION

    )JAAH<I +DC@GD>C <I?)@<MI@T RCJA<DG@?OJ<OO@I?OC@(PI@>JI?P>OC@<MDIB=T

    DIO@MI@OJMKCJI@

?  2C@3IDQ@MNDOTA<DG@?OJKMJQD?@<KMJK@MC@<MDIBRDOCDI<KMJK@MAJMPHRDOCJPO=<MMD@MNOJ

    >JHHPID><ODJINP>C<N<KCTND><GC@<MDIB<O<ITJADONH<ITGJ><G><HKPN@N




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@  .G<DIODAAR<NEP?B@?=T"@A@I?<IOBM@NO<RCJIJOJIGTC<?K@MNJI<GFIJRG@?B@JA.G<DIODAA

    <I?JAOC@A<>ONJACDN><N@ =PO<GNJ "@A@I?<IOBM@NO<?@HJINOM<O@?OC@AJGGJRDIBD 

    BM@NO<?DNKG<T@?@SOM@H@<IDHJNDOTOJR<M?.G<DIODAAAJMN<TDIBOC<OC@RJPG?NP@OC@

    3IDQ@MNDOTDD BM@NO<M@>JHH@I?@?.G<DIODAA_N?DN>DKGDI<MT<>ODJIJIOC@=<NDNJA<GG@B@?

    DI?@K@I?@IO\M@N@<M>C]OJRCD>CC@B<Q@IJO@NODHJIT?PMDIBOC@?DN>DKGDI<MTKC<N@JAOC@

    C@<MDIBDDD BM@NO<M@>JHH@I?@?.G<DIODAA_N?DN>DKGDI<MT<>ODJIJQ@M>JI?P>OAJMRCD>C

    .G<DIODAAR<NIJO=@DIBNP=E@>O@?OJ?DN>DKGDI<MTKMJ>@@?DIBN RDOCJPOJAA@MDIBO@NODHJITAJM

    RCD>CC@RJPG?C<Q@=@@INP=E@>OOJ>MJNN @S<HDI<ODJIOJNPKKJMOOC@>JHHDNNDJIJANP>C

    >JI?P>OQD BM@NO<M@>JHH@I?@??DN>DKGDI<MT<>ODJI<B<DINO.G<DIODAAAJM>JI?P>OOC<O

    >G@<MGTA<GGNRDOCDIOC@M@<GHJA>JINODOPODJI<GGT KMJO@>O@?NK@@>CPI?@M,@R(@MN@T1O<O@

    *<RQDD BM@NO<M@>JHH@I?@??DN>DKGDI<MT<>ODJI<B<DINO.G<DIODAAAJM>JI?P>OOC<O

    QDJG<O@?IJKMJQDNDJIJAOC@1OP?@IO!J?@JA!JI?P>OJM<ITJOC@MKJNDODQ@@I<>OH@IOQDDD 

    BM@NO<M@>JHH@I?@??DN>DKGDI<MT<>ODJI<B<DINO.G<DIODAAAJM>JI?P>OAJMRCD>C.G<DIODAA

    R<NIJO>C<MB@?NP>C<NAGDIBBM<?@<KK@<GNDS BM@NO<M@>JHH@I?@?<?Q@MN@?DN>DKGDI<MT

    <>ODJI<B<DINO.G<DIODAAAJM<GG@B@?K<NO>JI?P>O=T.G<DIODAAAJMRCD>C.G<DIODAAC<?I@Q@M

    KM@QDJPNGT=@@I>MDOD>DU@?JMNP=E@>O@?OJ?DN>DKGDI<MTKMJ>@@?DIBN<I?<NOJRCD>CIJ

    M@<NJI<=G@@QD?@I>@R<NKM@N@IO@?<OOC@C@<MDIBNP>C<NADGDIBBM<?@<KK@<GN<I?'I>JHKG@O@

    BM<?@N

            N<?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<IONPIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAAC<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C><IIJO=@APGGT

>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?

K@MH<I@IODIEPI>ODQ@M@GD@A<NR@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?

M@<NJI<=G@>JNONJAOCDNG<RNPDO DI>GP?DIBM@<NJI<=G@<OOJMI@TNA@@N




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               N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<IONPIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAAC<N=@@I><PN@?<I?RDGG>JIODIP@DI?@ADIDO@GTDIOJOC@APOPM@OJ=@

><PN@?N@Q@M@H@IO<G<IBPDNC CPHDGD<ODJI <ISD@OT NOM@NN <I?@HJODJI<G<I?JMKNT>CJGJBD><G

?DNOM@NN <GGRDOC<NNJ>D<O@?KCTND><GNTHKOJHN

               5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION"@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO ?O<G@H%GJ=<G

#?P><ODJI 'I> I<H@?DIOC@><KODJIJAOCDNDINO<IO>JHKG<DIOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT 

AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JA

DIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?DIEPI>ODQ@M@GD@A-M?@MOJQ<><O@<I?@SKPIB@

=JOCOC@(PI@<I?,JQ@H=@M?DN>DKGDI<MTN<I>ODJIN<I?M@>JM?N <I<R<M?JA

M@<NJI<=G@<OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M

<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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              (( ,#()(#" !"!"('(#  
                                    &##"(&(
    !82704:# 8D8<6AB=<4D4*@G)<8D4@A8BG4::4@@03C0B4'27==:=5!0<064;4<B
                               3B0:4;:=10:3C20B8=<<2
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               .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

               2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@>JINODOPO@N>JI?P>OPI?@M

>JGJMJAG<ROC<O?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

               "@4MT3IDQ@MNDOTDNM@LPDM@?OJKP=GDNCBM<?@<KK@<GKMJ>@?PM@N




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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 107 of 286 PageID #:107
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            2C@.MJQJNOJM!CD@A><?@HD>-AAD>@MJA<3IDQ@MNDOTDNOC@PGODH<O@ADI<G<M=DO@M

JABM<?@<KK@<GNDI@Q@MT3IDQ@MNDOT<AO@MGJR@M?HDIDNOM<OJMNC<Q@M@QD@R@?OC@BM<?@<KK@<G

NO@KRDN@AMJHOC@>JPMN@DINOMP>OJMOJA<>PGOT>C<DMK@MNJI OJ"@<I <I?OC@IOJOC@.MJQJNO

            "@4MT3IDQ@MNDOTC<NKP=GDNC@?%M<?@KK@<G.MJ>@?PM@NDIDON1OP?@IO

&<I?=JJFN<I?!<O<GJBN<O.<B@N  N@@COOKNRRR?@QMT@?P?)@GG@M;!<O<GJBK?A

            'I OC@3IDQ@MNDOT?@GD=@M<O@GT DIO@IODJI<GGTA<DG@?OJKMJ>@NN<I?<??M@NN

.G<DIODAA_NBM<?@<KK@<G!<N@,J RCD>C.G<DIODAAAJMH<GGTADG@?RDOCOC@3IDQ@MNDOT

M@B<M?DIBOC@+<M>CN@NNDJI+'1>G<NN2C@3IDQ@MNDOT_N1OP?@IONPKKJMO>@IO@M

<NNDBI@?OC<OBM<?@<KK@<GOJ"M M@IO5<M?<I?"M4DMBDG+@IN<C "<MO@T

            .G<DIODAADIAJMH@?"M+@IN<C "<MO@TOC<OC@I@@?N<ADI<G?@>DNDJIG@OO@MAMJH

OC@3IDQ@MNDOTM@B<M?DIBOC@+'1>G<NNBM<?@<KK@<GOJNCJR@SO@MI<G<>>M@?DO<ODJI=J<M?N

OC<OC@C<N@SC<PNO@?DIO@MI<G<?HDIDNOM<ODQ@M@H@?D@NRDOCOC@3IDQ@MNDOTNJOC<OOC@

<>>M@?DO<ODJI=J<M?><IM@QD@ROC@H<OO@M

            2J?<O@ .G<DIODAAI@Q@MM@>@DQ@?<AJMH<G?@>DNDJIG@OO@MM@B<M?DIBOC@+'1

>G<NNBM<?@<KK@<GAMJHGJR@M<?HDIDNOM<OJMNJMAMJHOC@3IDQ@MNDOT_N.MJQJNO ?@A@I?<IO

1C<IO<IP JN@

             2C@3IDQ@MNDOT?@GD=@M<O@GT H<GD>DJPNGT <I?DIO@IODJI<GGTA<DG@?OJ<??M@NN

.G<DIODAA_NBM<?@<KK@<G!<N@,JOC<O.G<DIODAAAJMH<GGTADG@?RDOCOC@3IDQ@MNDOT

M@B<M?DIBOC@+<M>CN@NNDJI!!2>G<NNBM<?@<KK@<GR<NADG@?RDOCOC@3IDQ@MNDOT

<I?<NNDBI@?=TOC@1OP?@IO1PKKJMO!@IO@MOJ"M(JCI+<>!<OC@MDI@RCJ<>OP<GGTM@LP@NO@?

OC<O.G<DIODAANCJPG?ADG@<BM<?@<KK@<G''#SCD=DO .<B@ 7@O <NJAOCDN?<T .G<DIODAAC<N

M@>@DQ@?IJAJMH<G?@>DNDJIG@OO@M<=JPOOC@BM<?@<KK@<GAMJH"M+<>!<OC@MDI@JMAMJHOC@

3IDQ@MNDOT_N.MJQJNO"@A@I?<IO JN@ 




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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 108 of 286 PageID #:108
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               .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<ODOR<NOC@N<H@"@A@I?<IOBM@NO<

<>ODIBRDOC@SOM@H@<IDHJNDOT<B<DINO.G<DIODAARCJ>JINKDM@?RDOC"M+<>!<OC@MDI@OJDBIJM@

.G<DIODAA_NBM<?@<KK@<G!<N@,JM@B<M?DIBOC@+<M>C!!2>G<NN <N

@QD?@I>@?=T"@A@I?<IOBM@NO<_NHDN>C<M<>O@MDU<ODJINJA.G<DIODAAADGDIBJABM<?@<KK@<GN<N

\K<NO>C<M<>O@MDI>D?@IO]<I?\=<?=@C<QDJM]DIOC@(PI@>JI?P>OC@<MDIBK<>F@O"@A@I?<IO

BM@NO<R<N<R<M@OC<O.G<DIODAAADG@?<BM<?@<KK@<GOJ"M+<>!<OC@MDI@

               5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION"@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO ?O<G@H%GJ=<G

#?P><ODJI 'I> EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I

<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?

DIEPI>ODQ@M@GD@A@IEJDIDIB"@A@I?<IONOJ>C<IB@.G<DIODAA_NBM<?@NOJNOM<DBCO\]BM<?@NAJM

RCD>C.G<DIODAA<KK@<G@?DI=JOC+'1>G<NN<I?+<M>C!!2>G<NN<I<R<M?

JAM@<NJI<=G@<OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>C

JOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                &(&''''"(#"!(#" ' (
                             !82704:# 8D8<6AB=<4D4*@G)<8D4@A8BG
                                                     
                    4::4@@03C0B4'27==:=5!0<064;4<B=<0B70<6@4AB0
                          
                          
               .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

               O<GGODH@NH@IODJI@?C@M@DI .G<DIODAAR<N<G<R <=D?DIB!DODU@IJAOC@3IDO@?

1O<O@N OC@1O<O@JA,@R(@MN@T <I?<G<R <=D?DIBBM<?P<O@NOP?@IOJA"@A@I?<IO)@GG@M%M<?P<O@




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1>CJJGJA+<I<B@H@IORCJ@IEJT@?OC@M@NK@>O >JIAD?@I>@ <I?@NO@@HJACDNI@DBC=JMN <N

R@GG<N<GGJOC@MNDIOC@>JHHPIDOT <I?C<NI@Q@M=@@IBPDGOTJA<IT>MDH@ JAA@IN@ JMQDJG<ODJI

JAOC@G<RRCD>CRJPG?O@I?OJG@NN@IOC@M@NK@>O >JIAD?@I>@ <I?@NO@@HRCD>CC@C<N@IEJT@? 

<I?OJRCD>CC@R<N@IODOG@?

            "@A@I?<IOBM@NO< FIJRDIBOC@A<>ONN@OAJMOCDIOC@KM@>@?DIBK<M<BM<KC

>JI>@MIDIB.G<DIODAA_NM@KPO<ODJIDIOC@"@4MT3IDQ@MNDOT>JHHPIDOT<I?RDOCDIQD?DJPNDIO@IOOJ

DIEPM@.G<DIODAA<I?=MDIBCDHDIOJKP=GD>N><I?<G<I??DNBM<>@ FIJRDIBGT<I?H<GD>DJPNGT JM

RDOCM@>FG@NN?DNM@B<M?AJMOC@OMPOCJMI@BGDB@IOGT<I?><M@G@NNGTKP=GDNC@?JM><PN@?OJ=@

KP=GDNC@?OC@N><I?<GJPN ?@A<H<OJMT <I?GD=@GJPNNO<O@H@IONJA <I?>JI>@MIDIB.G<DIODAA

*DQDIBNOJI@

            1K@>DAD><GGT "@A@I?<IOBM@NO<NO<O@?OCDNDIOC@(PI@>JI?P>OC@<MDIB

K<>F@O<N\K<NODI>D?@IONJA>C<M<>O@MM@A@M@I>@]<B<DINO.G<DIODAA*DQDIBNOJI@#S K<B@ 

OC<O

                     \ZOC@M@<M@HPGODKG@DINO<I>@NJAOCDN=@C<QDJM NJH@JARCD>C><I=@
                     N@@I=@GJR5DOC<OCJMJPBCM@QD@RJACDN<><?@HD>CDNOJMT OC@>JI?P>O
                     <?HDIDNOM<OJMIJO@?HPGODKG@M@K@<O@?DINO<I>@NJABM<?@<KK@<G<I?
                     DI>JHKG@O@M@LP@NONNP>C><N@NJIADG@ OCMJPBCJPOCDN<><?@HD>
                     ><M@@M]#SCD=DO .<B@ 
                     
"@A@I?<IOBM@NO<N<TNDODN<\K<NODI>D?@IOJA>C<M<>O@MM@A@M@I>@]<I?HDN=@C<QDJMOC<O

.G<DIODAAADG@?BM<?@<KK@<GN<I?NJPBCODI>JHKG@O@BM<?@NDINJH@>G<NN@NC@>JHKG@O@?<OOC@

3IDQ@MNDOT

            $DGDIBBM<?@<KK@<GN<I?N@@FDIBDI>JHKG@O@BM<?@NDNIJOHDN=@C<QDJM<I?DO

><IIJO=@>JIND?@M@?<N\K<NODI>D?@IOJA>C<M<>O@MM@A@M@I>@]

            %M<?@<KK@<GN<I?DI>JHKG@O@BM<?@N<M@KMJQD?@?<NK<MOJAOC@3IDQ@MNDOT_NJRI

KMJ>@?PM@N<I?KJGD>D@NDIOC@3IDQ@MNDOT_NJRI!<O<GJBN




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COOKNRRR?@QMT@?P?)@GG@M;!<O<GJBK?A .<B@N  <NR@GG<NOC@3IDQ@MNDOT_N1OP?@IO

&<I?=JJF

            2C@3IDQ@MNDOT_N!<O<GJB<O.<B@N>JIOM<>OP<GGTKMJQD?@NAJM%M<?@

KK@<GN<I?'I>JHKG@O@%M<?@KMJ>@?PM@N<NM@LPDM@?=TOC@#?P><ODJIH@I?H@ION>OJA

1@@COOKNRRR?@QMT@?P>JIO@IO?<H?@QMT;@?P?)@GG@M;!<O<GJBK?A''<GNJ#SCD=DO

! .<B@RC@M@"@4MT_NNNO"@<I "M(JCI+<>!<OC@MDI@ ?DM@>ON.G<DIODAADI<IKMDG 

@H<DGOJ\ADG@<BM<?@<KK@<GOJH@]JQ@MOC@!!2>G<NN'ADI?@@?ADGDIBBM<?@

<KK@<GNDNHDN=@C<QDJM OC@IOC@3IDQ@MNDOT_NJRI<?HDIDNOM<OJM NNO"@<I"M(JCI

+<>!<OC@MDI@OJG?.G<DIODAAOJHDN=@C<Q@

             2CMJPBCJPO.G<DIODAA_N<><?@HD>RJMF<OOC@3IDQ@MNDOTNDI>@ OC@M@<M@

ODH@NRC@INJH@"@4MT!JPMN@DINOMP>OJMNOC@HN@GQ@N<NNDBI@?DI>JHKG@O@BM<?@NOJ.G<DIODAAOJ

BDQ@OC@HN@GQ@NODH@OJ>JHKG@O@BM<?DIB AJM@S<HKG@

             .G<DIODAA<Q@MNOC<ODODNRDOCDICDNMDBCOPI?@M&DBC@M#?P><ODJI*<RAJM.G<DIODAA

OJM@LP@NOAJMDI>JHKG@O@BM<?@RC@I.G<DIODAAR<NND>F<MJPI?OC@@I?JA<>G<NN2C<O><IIJO=@

>JINOMP@?<NHDN=@C<QDJMJM=<?>C<M<>O@MM@A@M@I>@

                   T?@N>MD=DIB.G<DIODAA_NBM<?@<KK@<GN<I?DI>JHKG@O@BM<?@N<N\=<?>C<M<>O@M

DI>D?@ION ]?@A@I?<IOBM@NO<NCJPG?=@C@G?GD<=G@AJM<NN<NNDI<ODIB.G<DIODAA_N>C<M<>O@M

             2C@<AJM@H@IODJI@?NO<O@H@IONJA"@A@I?<IOBM@NO<>JIO<DI@?DIOC@RMDOO@I

>JHHPID><ODJINDID@H<DGN#SCD=DO KK <I??@N>MD=@?<=JQ@<M@@IODM@GTA<GN@DINJA<M<N

OC@TM@AG@>OPKJI.G<DIODAA_N>JI?P>O<NR@GG<NCDN>C<M<>O@M<I?M@KPO<ODJI=@><PN@ADGDIBBM<?@

<KK@<G<I?N@@FDIBDI>JHKG@O@BM<?@NDNIJOHDN=@C<QDJMJM=<?>C<M<>O@M"@A@I?<IOBM@NO<

FI@ROC<OOC@NO<O@H@ION>JIO<DI@?DIOC@RMDOO@I>JHHPID><ODJID?@IODAD@?<I??@N>MD=@?<=JQ@

R@M@A<GN@RC@IH<?@<I?KP=GDNC@?OC@H@DOC@MDIO@IODJI<GGT<I?H<GD>DJPNGT JMRDOCM@>FG@NN




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?DNM@B<M?AJMOC@DMOMPOCJMA<GNDOT JMI@BGDB@IOGT<I?><M@G@NNGTOJ<NN<NNDI<O@<I?DIEPM@OC@

>C<M<>O@MJA.G<DIODAA

             2C@A<GN@NO<O@H@ION>JIO<DI@?RDOCDIOC@RMDOO@I>JHHPID><ODJID?@IODAD@?<I?

?@N>MD=@?<=JQ@<KKGD@?OJ.G<DIODAA*DQDIBNOJI@<I?R<NPI?@MNOJJ?=TM@>DKD@IONJAOC@

NO<O@H@IONOJC<Q@<?@A<H<OJMTH@<IDIB<B<DINO.G<DIODAA_NBJJ?>C<M<>O@M

            2JOC@@SO@IO"@A@I?<IONH<T<OO@HKOOJ<NN@MODIOC@DMJRI?@A@IN@OC@

KMDQDG@B@?>C<M<>O@MJAOC@J>><NDJIJIRCD>COC@A<GN@<I??@A<H<OJMTNO<O@H@IONR@M@

KP=GDNC@? <ITNP>C>JI?DODJI<GKMDQDG@B@R<N<=PN@?=T"@A@I?<ION<I?OC@M@=TR<DQ@?<I?

AJMA@DO@?

            2C@<AJM@H@IODJI@?A<GN@<I??@A<H<OJMTNO<O@H@IOH<GD>DJPNGT DIO@IODJI<GGT 

M@>FG@NNGT <I?A<GN@GT =TRJM?N DIIP@I?J DIA@M@I>@<I?H<II@MDIRCD>COC@TR@M@KM@N@IO@?

CJG?N*DQDIBNOJI@JPOOJKP=GD>N>JMI<I?MD?D>PG@<I?<OOMD=PO@NDMM@NKJIND=G@>JI?P>OOJ

*DQDIBNOJI@

            2C@<AJM@H@IODJI@?A<GN@<I??@A<H<OJMTNO<O@H@IONR@M@DIIJH<II@M

KMDQDG@B@?IJM>JINODOPO@NA<DM>JHH@IOJIH<OO@MNJAKP=GD>>JI>@MIJMDIO@M@NO

            2C@<AJM@H@IODJI@?A<GN@<I??@A<H<OJMTNO<O@H@IONR@M@KP=GDNC@?RDOC

FIJRG@?B@OC<ON<D?NO<O@H@IONDIIP@I?J DIA@M@I>@<I?H<II@MDIRCD>COC@TR@M@KM@N@IO@?

R@M@A<GN@<I?JMRDOCM@>FG@NN?DNM@B<M?AJMRC@OC@MN<D?H<O@MD<GR<NA<GN@JM>JINODOPO@N<>OP<G

H<GD>@RDOCDIO@IOOJDIEPM@*DQDIBNOJI@

            2C@NO<O@H@ION<I?DHKGD><ODJINN@OAJMOC<=JQ@>JINODOPO@?@A<H<OJMT

KP=GD><ODJINOC<O<M@<>ODJI<=G@2'34'<I?R@M@KP=GDNC@?RDOC<>OP<GH<GD>@

             2C@<=JQ@NO<O@H@IOC<NN@Q@M@GTDIEPM@?<I?><PN@?NK@>D<GC<MHOJ.G<DIODAA

*DQDIBNOJI@DIOC<OOC@TC<Q@O@I?@?OJ< =G<>F@ICDNM@KPO<ODJI= @SKJN@CDHOJC<OM@? 




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>JIO@HKO MD?D>PG@ <I?CPHDGD<ODJI<I?> <N>MD=@OJCDH>C<M<>O@MDNOD>NDI>JHK<OD=G@RDOCOC@

KMJK@M>JI?P>O@SK@>O@?JA<G<R<=D?DIB<I?OMPNORJMOCT>DODU@I

             2C@KP=GD><ODJIJAOC@A<GN@<I??@A<H<OJMTNO<O@H@ION>JIO<DI@?DIOC@RMDOO@I

>JHHPID><ODJIND?@IODAD@?<I??@N>MD=@?<=JQ@<I?JOC@MNDHDG<MA<GN@<I??@A<H<OJMT

NO<O@H@IONJARCD>C*DQDIBNOJI@DNIJOT@O<R<M@H<TC<Q@=@@I<I?H<T>JIODIP@OJ=@

M@KP=GDNC@? <I?NJ.G<DIODAA*DQDIBNOJI@?@H<I?NKM@NPH@? >JHK@IN<OJMT @>JIJHD><I?

KPIDODQ@?<H<B@NAJMOC@C<MHAGJRDIBAMJH<IT<I?<GGNP>CM@KP=GD><ODJINJAOC@A<GN@<I?

?@A<H<OJMTNO<O@H@IONDI<??DODJIOJ?<H<B@NAJMOC@C<MHAGJRDIBAMJHOC@DMDIDOD<GKP=GD><ODJI

             N<?DM@>O<I?KMJSDH<O@M@NPGOJAOC@DIO@IODJI<G H<GD>DJPN M@>FG@NN I@BGDB@IO

<I?JM><M@G@NNNO<O@H@ION<I?>C<MB@N>JIO<DI@?DIOC@RMDOO@I>JHHPID><ODJIND?@IODAD@?<I?

?@N>MD=@?<=JQ@<I?OC@DMKP=GD><ODJIOJOCDM?K<MOD@N .G<DIODAA_NM@KPO<ODJI<I?@NO@@HDIOC@

>JHHPIDOTC<N=@@I<?Q@MN@GT<AA@>O@?

             N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<IONPIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI *DQDIBNOJI@C<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C

><IIJO=@APGGT>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C*DQDIBNOJI@DN@IODOG@?

OJKM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@A<NR@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?

=TOC@!JPMO<I?M@<NJI<=G@>JNONJAOCDNG<RNPDO DI>GP?DIBM@<NJI<=G@<OOJMI@TNA@@N

             N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<IONPIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAA*DQDIBNOJI@C<N=@@I><PN@?<I?RDGG>JIODIP@DI?@ADIDO@GTDIOJOC@

APOPM@OJ=@><PN@?N@Q@M@H@IO<G<IBPDNC CPHDGD<ODJI <ISD@OT NOM@NN <I?@HJODJI<G<I?JM

KNT>CJGJBD><G?DNOM@NN <GGRDOC<NNJ>D<O@?KCTND><GNTHKOJHN

            5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<IONI<H@?DIOC@><KODJIJAOCDNDINO<IO>JHKG<DIOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM




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>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA  @S>GPNDQ@JADIO@M@NO

<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@A<I<R<M?JAM@<NJI<=G@

<OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@M

M@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                   !82704:# 8D8<6AB=<4D=<0B70<6@4AB04*@G)<8D4@A8BG
                            4::4@@03C0B4'27==:=5!0<064;4<B3B0:4;
                                                       
             .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

             2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@>JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

             "@A@I?<IOBM@NO<C<NI@Q@M=@@I.G<DIODAA_N!JPMN@'INOMP>OJMDI<ITJAOC@H<IT

>G<NN@N.G<DIODAAC<N>JHKG@O@?<O"@A@I?<IO"@4MT3IDQ@MNDOT<I?DON)@GG@MBM<?P<O@1>CJJG-A

+<I<B@H@IONDI>@

             .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MOC<O"@A@I?<IOBM@NO<R<NHJODQ<O@?=T

M@O<GD<OJMT<IDHPN<I??@@K N@<O@?<IO<BJIDNH<B<DINO.G<DIODAA_N<NN@MODJINOJNP@OC@

3IDQ@MNDOT1J "@A@I?<IOBM@NO<DHK@MHDNND=GT<>>@NN@?.G<DIODAA_NJAAD>D<G"@4MT@H<DG

<>>JPIOOJADI?<IT@H<DGN<O<GGOC<OC@>JPG?PN@<B<DINO.G<DIODAA<N>JI?P>OQDJG<ODJI

                 5DOCJPO.G<DIODAA_NK@MHDNNDJI RDOCJPO!JPMN@'INOMP>OJMN_K@MHDNNDJI <I?

RDOCJPO<IT>JI?P>OQDJG<ODJI>JHKG<DIOAMJHOC@JMDBDI<GM@>DKD@IONJA@H<DGN DI(PI@ 

"@A@I?<IOBM@NO<DHK@MHDNND=GT<>>@NN@?.G<DIODAA_NJAAD>D<G"@4MT@H<DG<>>JPIOOJADI?<IT

@H<DGN<O<GGOC<OC@><IPN@OJDIEPM@.G<DIODAAAJM>JI?P>OQDJG<ODJI



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                 1K@>DAD><GGT DI(PI@ "@A@I?<IOBM@NO<DHK@MHDNND=GTR@IODIOJ.G<DIODAA_N

"@4MTNOP?@IO@H<DG<>>JPIO<I?M@OMD@Q@?K<NO@H<DGN=@OR@@I"M+@IN<C "<MO@T<I?

"M+<KK<I?>DO@?DODIOC@(PI@>JI?P>OK<>F@O<I?M@A@M@I>@?DO<N\K<NODI>D?@IOJA

>C<M<>O@MM@A@M@I>@N]<B<DINO.G<DIODAA#SCD=DO K 

                 .G<DIODAAC<N<OO<>C@?C@M@RDOCOC@<>OP<G@H<DGOCM@<?<I?DONM@NKJIN@N<N

\#SCD=DO],JI@JAOC@N@D?@IODAD@?@H<DGNNCJR<IT=<?>C<M<>O@M<B<DINO.G<DIODAAPI?@M

MOD>G@'''JAOC@1OP?@IO!J?@JA!JI?P>O2C@T>JIO<DI.G<DIODAA_N<NN@MODJINJACDNMDBCON

                 ,JK<MOJAOC@N@D?@IODAD@?@H<DGN#SCD=DO R@M@M@KJMO@?DI<N

HDN>JI?P>OJM=<?>C<M<>O@M=TOC@OMP@M@>DKD@IONJAOC<O@H<DGD@"M+<KK <I?"M+@IN<C[

"<MO@T JA"@4MT3IDQ@MNDOT 

                 ,JK<MOJAOCJN@@H<DGN#SCD=DO >JINODOPO@NHDN>JI?P>OJM=<?>C<M<>O@M

             ,JI@JAOC@JMDBDI<GM@>DKD@IONJAOCJN@@H<DGND@"M+<KK<I?"M+@IN<C[

"<MO@TJA"@4MT3IDQ@MNDOT M@KJMO@?OCJN@@H<DGN<NHDN>JI?P>ODIJMOC@M@<AO@MRC@I

OC@TM@>@DQ@?DO

             ,JI@JAOC@JMDBDI<GM@>DKD@IONJAOC@D?@IODAD@?@H<DGNDIR@M@<R<M@OC<O

OCJN@@H<DGNR@M@=@DIBPN@?<B<DINO.G<DIODAA<O<>J?@JA>JI?P>OQDJG<ODJIC@<MDIBDI(PI@

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             2JOC@@SO@IOOC<O"@A@I?<IOBM@NO<H<T<MBP@OC<O<IT=J?T><IADG@<>J?@JA

>JI?P>OQDJG<ODJI>JHKG<DIO<B<DINO<IT=J?T<OOC@3IDQ@MNDOT DO?J@NIJOA<GGRDOCDIOC@

KMJQDI>@JA"@A@I?<IOBM@NO<OJO<F@<IT=J?T_N>JIAGD>OPIOJCDHN@GARC@M@<NOC@JMDBDI<G

M@>DKD@IONJAOCJN@@H<DGNDI<M@@LP<GGT<=G@K@JKG@RCJ>JPG?ADG@OC@DMJRI>JI?P>O

>JHKG<DIO<B<DINO.G<DIODAADAOCJN@@H<DGNR<NKMJ=G@H<OD><GGTHDN>JI?P>ODI A<>OOC@M@>DKD@ION




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             2JOC@@SO@IOOC<O"@A@I?<IOBM@NO<H<T<MBP@OC<OC@><I<GNJADG@<>J?@JA

>JI?P>O>JHKG<DIO<B<DINO<IT=J?T<O<GGDIOC@3IDQ@MNDOT BDQ@ICDNJAAD>D<G><K<>DOT<N<

1OP?@IO!J?@JA!JI?P>O?HDIDNOM<OJM C@><IIJO?JOC<O=@><PN@"@A@I?<IOBM@NO<DN

NPKKJN@?OJ=@<IDHK<MOD<G<I?I@POM<G<M=DO@MJAOC@NOP?@IO>JI?P>O>J?@ IJO<!JHKG<DI<IOJI

=@C<GAJA<IT><K<=G@K@MNJIDIOC@3IDQ@MNDOTRCJ><IH<F@OC@DMM@KJMO

             N<?DM@>O<I?KMJSDH<O@M@NPGOJAOC@"@A@I?<IO_N?DNMPKODQ@ H<GD>DJPN<>ODQDOT 

<I?DIQ<NDJIDIOJ.G<DIODAA_NNOP?@IO@H<DG<>>JPIO .G<DIODAAA@@GNDIQ<?@?<I?DIN@>PM@OJPN@CDN

"@4MT1OP?@IO@H<DG<>>JPIO<ITHJM@2CDNC<N>M@<O@?<CJNODG@@?P><ODJI<G@IQDMJIH@IOAJM

.G<DIODAA.G<DIODAAC<N=@@IN@Q@M@GTDIEPM@?RDOCNK@>D<GC<MH

                 N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJAOC@DIO@IODJI<G H<GD>DJPN M@>FG@NN 

I@BGDB@IO<I?JM><M@G@NNDIQ<NDJIDIOJ.G<DIODAA_NNOP?@IO@H<DG<>>JPIO .G<DIODAAIJRA@@GNC@

@SDNON<I?JK@M<O@NDI<CJNODG@@?P><ODJI<G@IQDMJIH@IORC@M@CDN@H<DG>JHHPID><ODJINRDOC

<?HDIDNOM<OJMN<I?A<>PGOTRDGG=@DIQ<?@?<I?PN@?<B<DINOCDHRDOC<=PN@JAKJR@M

                 5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

?@A@I?<ION(JI<OC<IBM@NO< "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJG-A+<I<B@H@IO

EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI

@S>@NNJA  @S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IO

DIEPI>ODQ@M@GD@AOJQ<><O@<I?@SKPIB@OC@(PI@?DN>DKGDI<MTM@>JM?<I<R<M?JAM@<NJI<=G@

<OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@M

M@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                  .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

                  2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@>JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONOJ<><?@HD>AM@@?JHDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIB

K<M<BM<KCN

                  GOCJPBC?@A@I?<IO"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA

+<I<B@H@IODN<KMDQ<O@3IDQ@MNDOT OC@3IDQ@MNDOTC<NKP=GDNC@?DIDON!<O<GJBN<I?&<I?=JJFN

OC<ODOKMJQD?@N><?@HD>$M@@?JH<I?AM@@?JHJA@SKM@NNDJIOJNOP?@ION<I?H@H=@MNJAOC@

>JHHPIDOT''.<B@JAOC@ )@GG@M><?@HD>!<O<GJBNO<ODIBOCDN

                            Z2034;82@443=;
                            "@4MT3IDQ@MNDOTNPKKJMON?@Q@GJKH@IOJA<POJIJHJPNOCJPBCO<I?
                            M@NK@>OAJMJOC@MN_D?@<NNNP>C H@H=@MNJAOC@"@4MT>JHHPIDOT 
                            DI>GP?DIBNOP?@ION<I?A<>PGOT NCJPG?A@@GAM@@OJ?DN>PNNOC@DMLP@NODJIN
                            <I?@SKM@NNOC@DMJKDIDJIN=JOCKP=GD>GT<I?KMDQ<O@GTZ
                            
                 .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<O<GGOC@>JIO@IONJACDN@H<DG

>JHHPID><ODJIN#SCD=DON' OC<OAJMH@?OC@=<NDNJAOC@(PI@?DN>DKGDI<MT

KMJ>@@?DIBN<I?N<I>ODJINA<GGNRDOCDIOC@KMJO@>O@?=JPI?<MD@NJA<><?@HD>AM@@?JH<I?

AM@@?JHJANK@@>C

                 "PMDIBOC@(PI@?DN>DKGDI<MTKMJ>@@?DIBN OC@3IDQ@MNDOTOJJFDNNP@

@NK@>D<GGTRDOC@H<DG#SCD=DO'OC<OR<N>JKD@?OJOC@.MJQJNO<GOCJPBC.G<DIODAAJIGT@SKM@NN@?


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
            COOKNRRR?@QMT@?P?)@GG@M;!<O<GJBK?A
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\<><?@HD>>JI>@MIN]<=JPO.@<MNJI.P=GDNC@M_N+*NJAOR<M@OC<OR<N=@DIBPN@?DIOC@!!2

+<M>CN@NNDJI>G<NN AJM@S<HKG@ RDOCJPOH<FDIB<ITOMP@OCM@<ONJAKCTND><GQDJG@I>@<O<GG

             ,JI@JAOC@@H<DG@SCD=DON>JIO<DI@?RDOCDIOC@(PI@?DN>DKGDI<MTC@<MDIB

K<>F@OKM@N@ION<IT<>ODJI<=G@OMP@OCM@<OJAKCTND><GQDJG@I>@JM<>ODJI<=G@DIODHD?<ODJIJA

KCTND><GC<MHPI?@MOC@$DMNOH@I?H@IO_NNK@@>C>G<PN@<B<DINOMOD>G@'''JAOC@3IDQ@MNDOT_N

1OP?@IO!J?@JA!JI?P>O''#SCD=DON & ! !   %   ! ' # $  

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             ,JI@JA.G<DIODAA_N@H<DG>JHHPID><ODJINOC<OR@M@<GNJ>JIO<DI@?DIOC@->OJ=@M

    ,JQ@H=@M?DN>DKGDI<MTC@<MDIBK<>F<B@#SCD=DON + A<GGNJPOND?@OC@=JPI?<MD@NJA

<><?@HD>AM@@?JH<I?AM@@?JHJANK@@>C<O<GG

                   TNP=E@>ODIB.G<DIODAAOJ<?Q@MN@?DN>DKGDI<MTKMJ>@@?DIBN<I?N<I>ODJINDI(PI@

AJM>JKTDIBOC@3IDQ@MNDOT_N!CD@A><?@HD>-AAD>@MJM.MJQJNO?@A@I?<IO1C<IO<IP JN@ 

JIOC<O@H<DG#SCD=DON' >JIO<DIDIB>JHHPID><ODJINOC<O<M@KPM@GTRDOCDIOC@=JPI?<MD@N

JA<><?@HD>AM@@?JH<I?<><?@HD>>JI>@MINRDOCJPOH<FDIB<ITOMP@OCM@<ONJAQDJG@I>@ OCDN

!JPMONCJPG?>JI>GP?@OC<O"@A@I?<IONC<Q@?@KMDQ@?.G<DIODAAJACDNMDBCOOJ<><?@HD>AM@@?JH

<I?AM@@?JHJANK@@>C

                 .G<DIODAA<Q@MNOC<O"@A@I?<IOBM@NO<?@KMDQ@?.G<DIODAAJACDNMDBCOOJAM@@?JHJA

@SKM@NNDJI=TR<TJA\>JIO@IO?DN>MDHDI<ODJI]RC@I?@A@I?<IOBM@NO<A<DG@?OJ<>O<N<I@POM<G

>J?@<?HDIDNOM<OJMOJK<NN JI.G<DIODAA_N<KJGJBTG@OO@M#SCD=DO# DI(PI@"@A@I?<IO

BM@NO<>G<DH@?DI<I@H<DGRDOCDI#SCD=DON .<B@<I?#SCD=DO OC<O.G<DIODAA_N<KJGJBT

G@OO@M#S# ?J@NIJONJPI?BJJ?OJCDN@<MN




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                 2C@1OP?@IO&<I?=JJFKMJ>@?PM@NAJM?DN>DKGDI<MT<>ODJIJIGTM@LPDM@NOC@>J?@

<?HDIDNOM<OJMOJK<NN JIOC@<KJGJBTG@OO@MOJOC@>JHKG<DI<ION<I?PN@DOOJH@?D<O@=@OR@@IOC@

K<MOD@N IJOOJK<NNEP?BH@IOPKJIDO

                 "@A@I?<ION?@KMDQ@?.G<DIODAAJACDNMDBCOOJAM@@?JHJA@SKM@NNDJIPI?@MOC@$DMNO

H@I?H@IO=T?DN>MDHDI<ODIB<B<DINO.G<DIODAAJIOC@=<NDNJAOC@KJDIONJAQD@R@SKM@NN@?DI

OC@>JIO@IOJACDNKMJO@>O@?NK@@>CRDOCDIOC@(PI@>JI?P>OC@<MDIBK<>F@O<I?,JQ@H=@M

>JI?P>OC@<MDIBK<>F@O

                 N<?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAA+D>C<@G-*DQDIBNOJI@R<N?@KMDQ@?JACDN,@R(@MN@T>JINODOPODJI<GMDBCON<I?

.G<DIODAAC<NJOC@MRDN@NPNO<DI@?G@B<GDIEPMT

                 N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<IONPIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAAR<N><PN@?OJNPAA@MJOC@M IJI @>JIJHD>GJNN@N <GGOJ.G<DIODAA_NBM@<O

ADI<I>D<G KNT>CJGJBD><G <I?@HJODJI<G?@OMDH@IO<I?GJNN

             5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<IONI<H@?DIOC@><KODJIJAOCDNDINO<IO>JHKG<DIOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM

>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA  @S>GPNDQ@JADIO@M@NO

<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJQ<><O@ NO<T M@HJQ@OC@

?DN>DKGDI<MTM@>JM?N<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I?

?DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?

@LPDO<=G@

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                   !82704:# 8D8<6AB=<4D454<30<BA4*@G4::4@3B0:4;
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             .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

             2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

             MJPI? OC@3IDQ@MNDOTH<DIO<DI@?<KJGD>TOC<ODHKJN@?H<I?<OJMT

@G@>OMJID>O@SO=JJFPKJI<GGNOP?@IONAJM@Q@MT>G<NNAJMH<I?<OJMTA@@NK<T<=G@OJOC@

3IDQ@MNDOT

             #AA@>ODQ@(PGT OC@3IDQ@MNDOTKMJHPGB<O@?<I@RKJGD>TOJBDQ@NOP?@IONOC@

JKODJIOJ?@>GDI@OC@H<I?<OJMT@G@>OMJID>O@SO=JJF<I?<>LPDM@OC@O@SO=JJF@GN@RC@M@AJM

>G<NN@N4''#SCD=DO 

                 .G<DIODAA@IMJGG@?DIOC@JIGDI@BM<?P<O@>G<NN\#,20] #IOM@KM@I@PMD<G

+<MF@ODIBAJMOC@+<T1@NNDJIOC<OMPI=@OR@@I+<T  (PI@ <OOC@

3IDQ@MNDOT

                 #,20M@LPDM@?<H<I?<OJMT2@SO=JJF

                 .G<DIODAA?@>GDI@?OC@3IDQ@MNDOT_N@ JJFJKODJINJOC<OC@><IPN@OC@HJI@TOJ

=PTCDNJRI>JGJM@?C<M?>JKTO@SO=JJFAJMOC@>G<NN

                 5C@I.G<DIODAA?@>GDI@?OC@H<I?<OJMT@G@>OMJID>O@SO=JJFJKODJIAJMOC@#,20

!G<NN OCDNM@NPGO@?DI<>M@?DO=<G<I>@JI.G<DIODAA_NNOP?@IO<>>JPIO<I?OC@3IDQ@MNDOT




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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 120 of 286 PageID #:120
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IJODAD@?.G<DIODAA=T@H<DG?<O@?(PI  +OC<O.G<DIODAA_N=DGGDIBNO<O@H@IOM@AG@>ON

OC@>M@?DO=<G<I>@

                 5C@I.G<DIODAAR<DO@?AJM<IPH=@MJA?<TN<I?OC@3IDQ@MNDOTNODGG?D?IJODNNP@<

M@API?JAOC@>M@?DO=<G<I>@JIOC@DMJRIAJM.G<DIODAAOJKPM>C<N@CDNJRIO@SO=JJFAJMOC@

#,20>G<NN JI(PI@  .G<DIODAA>JIO<>O@?"@4MT!@IOM<G1OP?@IO1PKKJMO!@IO@M=T

O@G@KCJI@OJO@GGOC@HOJM@G@<N@OC@M@API?AJMCDHOJ=PTCDNJRIO@SO=JJFAJMOC@JIBJDIB

#,20>G<NN

             "@A@I?<IO)JAAH<IR<NOC@ADMNOK@MNJIOJKD>FPKOC@.CJI@OJQ@MDAT.G<DIODAA_N

NOP?@IODIAJMH<ODJI<I?OM<INA@MM@?DOOJ"@A@I?<IO)MDNODI@)@<MI@T'ODNK<MOJAOC@"@4MT

!@IOM<G1OP?@IO1PKKJMO!@IO@MO@G@KCJI@KM<>OD>@NOC<ONJH@JI@@GN@ADMNO<INR@MNOC@><GG@M<I?

OC@IOM<INA@MOC@><GGOJ<1OP?@IO1PKKJMO?QDN@M<I?OC@ADI<I>D<G<D??@K<MOH@IO

             "@A@I?<IO)@<MI@TNO<MO@?>JIO@I?DIBRDOC.G<DIODAA<MBPDIBOC<O<GOCJPBC

.G<DIODAAC<N<>M@?DO=<G<I>@JANO@HHDIBAMJHCDN?@>GDI@OJKPM>C<N@OC@3IDQ@MNDOT_N

@G@>OMJID>O@SO=JJFAJMOC@#,20>G<NN DODNOC@3IDQ@MNDOT_NKM<>OD>@OJ><MMTJQ@MNP>C

>M@?DO=<G<I>@OJOC@I@SON@NNDJI

             .G<DIODAA<MBP@?OC<OC@DNOC@JI@RCJ?@O@MHDI@NRC<OOJ?JRDOCCDNHJI@T IJO

OC@3IDQ@MNDOT <I?NJOC@3IDQ@MNDOTNCJPG?IJOC<Q@<KKGD@?OC@>M@?DO=<G<I>@OJR<M?NOC@

I@SON@NNDJIJAN>CJJGAJMOC@DMADI<I>D<GB<DIRDOCJPO.G<DIODAA_N<POCJMDU<ODJI

             .G<DIODAA<MBP@?OC<O@Q@MT R@@FN@NNDJIJA@<>CN@H@NO@M<OOC@3IDQ@MNDOTC<N

DONJRI>G<NN<I?DONJRI=JJF<I?DONJRI=DGG&@I>@ @Q@MTN@NNDJI_NO@SO=JJF>M@?DO

=<G<I>@NCJPG?=@M@API?@?<POJH<OD><GGTOJ.G<DIODAADAC@?@>GDI@NOJ=PTOC@3IDQ@MNDOT_NJRI

O@SO=JJF




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             .G<DIODAA<MBP@?OC<OC@?@>GDI@?OC@3IDQ@MNDOT_N@G@>OMJID>O@SO=JJFJKODJINJ

OC<OC@><IPN@OC@OJ=PTCDNJRIO@SO=JJFAMJH@GN@RC@M@<I?NJDODNRMJIBAJM"@A@I?<IO

)@<MI@TOJ><MMTJQ@MOC@HJI@TJIC@MJRIKM@MJB<ODQ@AJMOC@B<DINJAOC@3IDQ@MNDOT

DINO@<?JA.G<DIODAARC@M@<N.G<DIODAA@SK@>O@?OC@HJI@TOJ=PTCDNJRIO@SO=JJFAJMOC@>G<NN

                 .G<DIODAANO<O@?OC<OC@DN<M@>DKD@IOJAA@?@M<GNOP?@IOADI<I>D<G<D?OC<OC<N=@@I

?DN=PMN@?<I?<KKGD@?OJOC@(PGTN@NNDJIAJMOC@#,20>G<NN2DOG@'4JAOC@&DBC@M

#?P><ODJI>O&# DNRC<OBJQ@MINRC<OOJ?JRDOC>M@?DO=<G<I>@NJINOP?@IO<>>JPIONJA

A@?@M<GNOP?@IOADI<I>D<G<D?M@>DKD@ION IJOOC@3IDQ@MNDOT_NK@MNJI<GDIO@M@NOJMKM<>OD>@N

                 .G<DIODAA<MBP@?OC<O2DOG@'4JAOC@&#?J@NIJOK@MHDOK<MOD>DK<ODIB

3IDQ@MNDOD@NGDF@"@4MTOJ?JRC<O@Q@MDOR<IONRDOCNOP?@IOM@API?NJMOJ><MMTDOJQ@MOJ

<IJOC@MN@NNDJI_N=DGGRDOCJPOOC@NOP?@IO_N<POCJMDU<ODJIADMNO

                 .G<DIODAA<MBP@?OC<ODORDGG=@?DAA@M@IODAOC@>M@?DO=<G<I>@M@NPGO@?AMJH

"@4MT_NJRIAPI?N&JR@Q@M OC@>M@?DO=<G<I>@?D?IJONO@HAMJH"@4MTHJI@TJM"@4MT

N>CJG<MNCDK =POM<OC@M .G<DIODAA_NJRINOP?@IOGJ<I <I?NJ"@4MT?J@NIJOC<Q@<MDBCOOJF@@K

DOJM><MMTJQ@MOC@HJI@TOJ<IJOC@MN@NNDJIRDOCJPONOP?@IO_NKMDJM<POCJMDU<ODJI

                 .G<DIODAA?@H<I?@?OC<OCDN>M@?DO=<G<I>@NCJPG?=@M@API?@?AJMCDHOJ=PT

CDNJRIM@LPDM@?O@SO=JJFAJMOC@JIBJDIB#,20>G<NN.G<DIODAA<NN@MO@?OC<OC@RDGGNP@OC@

3IDQ@MNDOTAJMCJG?DIBCDNHJI@T

                 .G<DIODAA<??@?OC<OC@RJPG?NP@OC@3IDQ@MNDOTDAOC@3IDQ@MNDOT@Q@MCJG?N=<>F

JM><MMD@NCDNNO@HHDIBAMJHCDN?@>GDI@OJKPM>C<N@OC@3IDQ@MNDOT_NQ@MNDJIJAO@SO=JJFN

DINO@<?JAKPM>C<NDIBCDNJRIAMJHNJH@RC@M@@GN@

             5C@M@PKJI "@A@I?<IO)@<MI@TJ=GDB@?OJM@API?OC@>M@?DO=<G<I>@OJ

.G<DIODAA<I?=T@H<DG?<O@?(PI  .+




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             2C@3IDQ@MNDOTIJODAD@?.G<DIODAAOC<OOC@>M@?DO=<G<I>@K<TH@IOC<N=@@I

DNNP@?OJ.G<DIODAA

             2J.G<DIODAA_NNPMKMDN@ =@OR@@I(PI@   "@A@I?<IOBM@NO<IJODAD@?

.G<DIODAAOC<OC@C<NM@>@DQ@?<(PI@ >JHKG<DIOAMJH"@A@I?<IO)MDNODI@)@<MI@T

N@@FDIB?DN>DKGDI<MT<>ODJI<B<DINO.G<DIODAAM@B<M?DIB.G<DIODAA_NKMDJM(PI@ O@G@KCJI@

DIO@M<>ODJIJQ@MOC@>M@?DO=<G<I>@''.<B@JA#SCD=DONCJRDIBOC@NO<O@H@IOJA

"@A@I?<IO)@<MI@T<=JPOOC@(PI@ KCJI@><GGDIO@M<>ODJI

             5C@I.G<DIODAA><GG@?"@A@I?<IOBM@NO<JI(PI@ OJAJGGJRPK 

"@A@I?<IOBM@NO<@SKM@NN@?NOMJIB?DN?<DIOJOC@A<>O.G<DIODAAC<N<NN@MO@?OC<O\C@RJPG?NP@

)@GG@M]

             .G<DIODAA<AADMH@?OJ"@A@I?<IOBM@NO<OC<OC@R<NIJO?DNM@NK@>OAPGOJ"@A@I?<IO

)@<MI@T =POM<OC@M .G<DIODAAC<N<MDBCOOJN<TC@RJPG?NP@)@GG@MAJMM@?M@NNJACDNBMD@Q<I>@N 

<I?OC<ODNIJOHDN>JI?P>OAJM?DN>DKGDI<MT<>ODJI=@><PN@OC@MDBCOOJK@ODODJIDN<>JINODOPODJI<G

MDBCO

              "@A@I?<IOBM@NO<PMB@?.G<DIODAAOJ<KJGJBDU@.G<DIODAAN<D?C@><I<KJGJBDU@<N

<!JPMO@NTJIGTAJM<ITHDN>JI>@KODJIJA?DNM@NK@>ORDOCJPO<?HDOODIB<ITA<PGO=@><PN@C@C<N

IJOQDJG<O@?OC@>J?@AJMN<TDIBOC<OC@RJPG?NP@)@GG@MAJMHDNC<I?GDIBCDNHJI@T=@><PN@OC<O

DNRDOCDI.G<DIODAA_N>JINODOPODJI<GMDBCOOJ<NN@MOCDNMDBCOOJK@ODODJI

              5DOCJPO<?HDOODIBA<PGO .G<DIODAARMJO@<I<KJGJBTG@OO@M#SCD=DO# AJM

KPMKJN@NJAH@?D<ODJIJIGTPI?@MOC@NOP?@IOC<I?=JJF>J?@JA>JI?P>OKMJ>@NN<I?AJM

"@A@I?<IOBM@NO<OJK<NNDOJIOJ"@A@I?<IO)@<MI@TOJ?MJKOC@H<OO@M1@@.<B@ <O,JJA

OC@1OP?@IO&<I?=JJF COOKNRRR?@QMT@?P?NOP?@IO C<I?=JJFK?A KMJQD?DIBOC<O

                            Z-I>@>C<MB@NC<Q@=@@IADG@? OC@>JI?P>O<?HDIDNOM<OJMRDGGDIQ@NODB<O@
                            OJ?@O@MHDI@DA>C<MB@NC<Q@H@MDO<I?JMDAOC@T><I=@M@NJGQ@?=T



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                      HPOP<G>JIN@IOJAOC@>JHKG<DI<IO<I?OC@M@NKJI?@IOJI<=<NDN
                      <>>@KO<=G@OJOC@>JI?P>O<?HDIDNOM<OJMNP>C<NH@?D<ODJI Z
                      
             "@A@I?<IOBM@NO<?@>GDI@?OJK@MAJMHOC@H@?D<ODJI?POD@NKMJQD?@?PI?@MOC@

>J?@JA>JI?P>OKMJ>@?PM@NJAOC@3IDQ@MNDOT_NNOP?@IOC<I?=JJF=@><PN@C@>G<DHNC@?D?IJO

GDF@OC@>JIO@IOJAOC@<KJGJBTG@OO@M#S K K@MC<KN=@><PN@.G<DIODAA?D?IJO<KJGJBDU@

AJMN<TDIBOC<OC@RJPG?NP@)@GG@M"@A@I?<IOBM@NO<<OO<>C@?.G<DIODAA_N<KJGJBTG@OO@MOJOC@

8DKADG@>JIO<DI@?DIOC@C@<MDIBK<>F@O RCD>CDNIJR<OO<>C@?C@M@RDOC<N#SCD=DO#

             .G<DIODAA<NF@?"@A@I?<IOBM@NO<OJKMJ?P>@<>JKTJA(PI@ O@G@KCJI@

DIO@M<>ODJIC@C<?RDOC"@A@I?<IO)@<MI@TNJOC<O"@A@I?<IOBM@NO<<I?OC@C@<MDIBK<I@G><I

C@<M@S<>OGTRC<OR<NN<D?AJMOC@HN@GQ@NOJ?@O@MHDI@RC@OC@M.G<DIODAAR<N?DNM@NK@>OAPGJMIJO

#SCD=DO! K<B@ &JR@Q@M "@A@I?<IOBM@NO<>G<DHNC@?J@NIJOC<Q@OC@M@>JM?@?

O@G@KCJI@>JIQ@MN<ODJI

             2C@?DN>DKGDI<MTC@<MDIBOJJFKG<>@<I?"@A@I?<IOBM@NO<?D?IJOC<Q@OC@

<OO@I?<I>@JA"@A@I?<IO)@<MI@T<I?OC@O@G@KCJI@>JIQ@MN<ODJI<ODNNP@AJM>M@?D=DGDOT7@O C@

KMJ>@@?@?

            2C@AJM@BJDIBNCJRNOC<O.G<DIODAAR<NNP=E@>O@?OJ<?Q@MN@?DN>DKGDI<MT<>ODJIAJM

>C<GG@IBDIBOC@3IDQ@MNDOT_N<OO@HKOOJF@@KCDN>M@?DO=<G<I>@<AO@M.G<DIODAA?@>GDI@?OJ

KPM>C<N@OC@3IDQ@MNDOT_NJRIQ@MNDJIJAOC@O@SO=JJFAJM#,20>G<NN<I?AJM?@H<I?DIB<

M@API?JACDN>M@?DO=<G<I>@OJ=PTCDNJRI=JJF

            'ODNRDOCDI.G<DIODAA_NKMJQDI>@OJ?@H<I?CDN>M@?DO=<G<I>@<I?OJNO<I?PK

<B<DINOHDNPN@JACDNHJI@T<OOC@3IDQ@MNDOT

                  T<OO@HKODIBOJF@@KOC@>M@?DO=<G<I>@AJMOC@HN@GQ@NNO@HHDIBAMJH

.G<DIODAA_N?@>GDI@OJ=PTOC@H<I?<OJMTO@SO=JJF?DM@>OGTAMJHOC@3IDQ@MNDOT .G<DIODAA<GG@B@N

OC<O"@A@I?<IONQDJG<O@?OC@!JINPH@M$M<P?>O<I?31!J?@Wa=



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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 124 of 286 PageID #:124
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              2JOC@@SO@IOOC<OOC@(PI@?DN>DKGDI<MTKMJ>@@?DIBNNO@HAMJHOC<O(PI@

O@G@KCJI@DIO@M<>ODJI=@OR@@I"@A@I?<IO)@<MI@T<I?.G<DIODAAJQ@MOC@3IDQ@MNDOT_NJRI

K@MAPI>OJMT<I?H<GD>DJPN<OO@HKOOJF@@K.G<DIODAA_N>M@?DO=<G<I>@AJM?@>GDIDIBOJ=PTOC@

O@SO=JJFAMJHOC@3IDQ@MNDOT .G<DIODAAKG@<?NOC<OOCDN!JPMONCJPG?CJG?OC@3IDQ@MNDOTGD<=G@

<I?Q<><O@OC@N<I>ODJI

              5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJG-A+<I<B@H@IO J<M?JA

2MPNO@@NI<H@?DIOCDNDINO<IO>JHKG<DIOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT

<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNON

KM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJQ<><O@<I?M@HJQ@OC@(PI@

?DN>DKGDI<MTM@>JM?N<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I?

?DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?

@LPDO<=G@

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                                            #)"(""("
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                                       '(()(#&-" "
                                  !82704:# 8D8<6AB=<4D454<30<BA4*@G4::4@

               .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

               2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

               .G<DIODAADNIJO=MDIBDIB<KMDQ<O@MDBCOJA<>ODJIPI?@M2DOG@'4JAOC@&DBC@M

#?P><ODJI>O\&#] C@M@ 'INO@<? .G<DIODAADNKJDIODIBOCDN!JPMOOJOC@NO<OPO@PI?@MRCD>C

"@A@I?<IONC<Q@=@@II@BGDB@IO<N2DOG@'4JAOC@&#



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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 125 of 286 PageID #:125
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             2C@3IDQ@MNDOTKJGD>TDN>G@<MOC<ONOP?@ION><I?@>GDI@OJ=PTOC@H<I?<OJMT

>JPMN@O@SO=JJFAMJHOC@3IDQ@MNDOTAJMOC@DM>G<NN@N2CDNM@NPGO@?DI>M@?DO=<G<I>@JI

.G<DIODAA_N<>>JPIOAMJH.G<DIODAA_NA@?@M<GNOP?@IOADI<I>D<G<D?

             .G<DIODAA<Q@MNOC<O2DOG@'4JA&#NO<OPO@BPD?@GDI@NBJQ@MINCJR<3IDQ@MNDOT

NCJPG?C<I?G@>M@?DO=<G<I>@NJINOP?@IO<>>JPION IJOOC@3IDQ@MNDOT_NJRI>CJD>@

            ,JORDOCNO<I?DIBOC@NO<OPOJMTDHK@M<ODQ@NJA2DOG@'4JA&#AJMK<MOD>DK<ODIB

3IDQ@MNDOD@NOJB@OOC@K@MHDNNDJIJAOC@NOP?@IO=JMMJR@MOJ><MMTJQ@M>M@?DO=<G<I>@N "@4MT

<OO@HKO@?<I?<MBP@?OC<OOC@T?@O@MHDI@RC<OOJ?JRDOCNOP?@IO_NHJI@TOJ<KKGTDOOJOC@I@SO

N@NNDJI_N=DGG

            .G<DIODAA<Q@MNOC<OOCDNR<NI@BGDB@IOKM<>OD>@<I?OCDNI@BGDB@IOKM<>OD>@R<NOC@

MJJO><PN@JAOC@DI(PI@ O@G@KCJI@DIO@M<>ODJIRDOC"@A@I?<IO)@<MI@T RCD>CDIOPMI

M@NPGO@?DI?DN>DKGDI<MT<>ODJIOJ.G<DIODAA_N?@OMDH@IO

            .G<DIODAA>JHKG<DINAJMOCDN!JPMOOJCJG?OC@3IDQ@MNDOTGD<=G@AJMNO<OPOJMT

I@BGDB@I>@(PNO<NOC@3IDQ@MNDOTI@@?NHJI@TJIODH@ 1OP?@IO<GNJI@@?OC@DMHJI@TJIODH@

&@M@ OC@3IDQ@MNDOTR<NDIO@IODJI<GGTF@@KDIBOC@RC@M@<N1OP?@IO<GNJI@@?@?DOOJ=PTCDN

JRIO@SO=JJF

            5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJG-A+<I<B@H@IO J<M?JA

2MPNO@@NI<H@?DIOCDNDINO<IO>JHKG<DIOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT

<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA  @S>GPNDQ@JADIO@M@NO<I?>JNON

KM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJQ<><O@<I?@SKPIB@<I?M@HJQ@OC@

(PI@?DN>DKGDI<MTM@>JM?<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I?




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 126 of 286 PageID #:126
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?DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?

@LPDO<=G@

                                               #)"((+"(-

                                       (8B:4,=53C20B8=<;4<3;4<BA2B=5  
                                       =<AC;4@@0C3
                                       4B@8;4<B0:&4:80<24
                                       =<AB@C2B8D4(@CAB
                                         )'=34IO 1
                                       
      !82704:# 8D8<6AB=<4D454<30<BA4*@G4::4@=0@3#5(@CAB44A#54*@G
                                )<8D4@A8BG#<:8<4==9AB=@4

            .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

             .G<DIODAA@IMJGG@?<I?>JHKG@O@?OC@BM<?P<O@G@Q@GJIGDI@>G<NN $DI<I>D<G

>>JPIODIB!!2 DI+<TN@NNDJI<O"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@

1>CJJGJA+<I<B@H@IO"@4MT3IDQ@MNDOT

             !!2 R<N<I@DBCO R@@FBM<?P<O@G@Q@GJIGDI@>G<NNAMJH+<T 

 (PI@ 

             +N+<GDI?<+<MNCR<NOC@!JPMN@'INOMP>OJMAJM!!2  +<T

N@NNDJI

             +N+<GDI?<+<MNC?D?IJOKMJQD?@<ITG@>OPM@OJ@SKG<DIOC@>JPMN@H<O@MD<G

AMJH@SK@MODN@OJK@MAJMHC@MK<D?OPDODJI?POD@N'INO@<? +N+<MNCM@GD@?PKJIJIGDI@NOP?@IO

?DN>PNNDJIN<NOPDODJI

             .G<DIODAA<GG@B@?OC<OC@C<N=@@IMDKK@? JAACDNOPDODJIHJI@T=@><PN@C@K<D?

OPDODJIOJ=@O<PBCOAMJHOC@@SK@MOFIJRG@?B@JAOC@>JPMN@DINOMP>OJM IJO<H<O@PMNOP?@ION

            2C@2@SO=JJFAJMOC<O!!2+<TN@NNDJI>G<NNR<NH<I?<OJMT




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            'OR<N<GNJH<I?<OJMT<OOC<OODH@AJMNOP?@IONOJKPM>C<N@OC<OM@LPDM@?O@SO=JJF

AMJHOC@3IDQ@MNDOT_NJIGDI@ JJFNOJM@JIGT

            2C@M@LPDM@?@G@>OMJID>O@SO=JJFR<N<Q<DG<=G@JIGDI@1OP?@IONRCJKM@A@MM@?<

C<M?>JKTQ@MNDJI>JPG?JM?@M<=G<>F <I? RCDO@KMDIO JI ?@H<I?C<M?>JKTAMJHOC@3IDQ@MNDOT_N

    JJFNOJM@AJM<??DODJI<GA@@

            .G<DIODAA?J@NIJOM@<?@G@>OMJID>O@SO=JJFNJI>JHKPO@MN>M@@IN?P@OJ@T@

KMJ=G@HNRC@IC@NPNO<DINCDN@T@NOJ>JHKPO@MN>M@@IN =POM<OC@M .G<DIODAAM@<?NC<M?>JKD@N

            .G<DIODAAJM?@M@?OC@KMDIO JI ?@H<I?C<M?>JKTJAOC@H<I?<OJMTJIGDI@O@SO=JJF

AJMOC@!!2+<TN@NNDJI>G<NN

             2C@3IDQ@MNDOTPK?<O@?OC@2@SO=JJFOJ<I@R@M@?DODJI?PMDIBOC@ADMNOA@R

R@@FNJAOC<O+<TN@NNDJI!!2>G<NN

             2C@3IDQ@MNDOT_NJIGDI@ JJFNOJM@N@IOOC@JPO?<O@?Q@MNDJIJAOC@2@SO=JJF

RC@I.G<DIODAAKPM>C<N@?OC@KMDIO JI ?@H<I?C<M?>JKT

             2C@3IDQ@MNDOT_NJIGDI@=JJFNOJM@I@Q@MN@IOOC@>JMM@>O@?Q@MNDJIRC@I.G<DIODAA

=MJPBCOOCDNOJOC@DM<OO@IODJI''B@I@M<GGT<OO<>C@?#SCD=DO AJM@H<DGOCM@<?>JMM@NKJI?@I>@

RDOCOC@ JJFNOJM@ 

             .G<DIODAA?D?IJONP>>@@?DIOC<O!!2+<TN@NNDJI>G<NN

             &<QDIB@SC<PNO@?M@H@?D@NRDOCOC@>JPMN@DINOMP>OJM =T@H<DG?<O@?(PGT 

 <O.+ .G<DIODAAADG@?<ODH@GTAJMH<GBM<?@<KK@<GDIOC@AJMHJA<I@G@>OMJID>

+@HJM<I?PHOJOC@5*'0 1@IDJM,<ODJI<G"@<IJA"@4MT_N!JGG@B@JA PNDI@NN<I?

+<I<B@H@IO -N><M%POD@MM@U .C" >>_?OJCDNNNDNO<IO,<ODJI<G"@<I +DF@5<NNJI

            .G<DIODAA=MJPBCOPKOC@?DN>M@K<I>TRDOCOC@RMJIBO@SO=JJFDI.<B@JACDN(PGT

 +@HJM<I?PHBM<?@<KK@<G+05'3#.+#NO<ODIBOCDN




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                               \Z5MJIBJMJPO?<O@?2@SO=JJF#?DODJIR<NN@IO=TOC@H<I?<OJMT.MDIO
                               -I"@H<I?<OOC@ODH@OCPNNOP?@IOR<NPI=@FIJRINONOP?TDIBRMJIB
                               DIAJMH<ODJIDIOC@>JPMN@]
         
              5DOCJPO@SKG<I<ODJI =T@H<DG?<O@?5@? (PGT <O.+ +DF@

5<NNJI RCJR<N"@4MT3IDQ@MNDOT_NOC@I ,<ODJI<GNNJ>D<O@"@<IAJMOC@!JGG@B@JA PNDI@NN

+<I<B@H@IODNNP@?<I<M=DOM<MT?@>DNDJIOC<OA<DG@?OJ<??M@NNOC@?DN>M@K<I>TRDOCOC@

O@SO=JJF

                               &D+D>C<@G['R<IO@?OJB@O=<>FOJTJP<NNJJI<NKJNND=G@AO@M
                               M@QD@RDIBTJPM><N@<I?<GGOC@?J>PH@IO<ODJI"@4MT3IDQ@MNDOTDN
                               ?@ITDIBTJPM<KK@<GOJ>C<IB@OC@BM<?@DITJPM!!2>JPMN@'
                               M@>JHH@I?OC<OTJPM@O<F@OC@>JPMN@
                  
              'ICDN><K<>DOT<NNNJ>D<O@,<ODJI<G"@<I +DF@5<NNJIDNIJOOC@ADI<G<M=DO@M

JABM<?@<KK@<GN =POM<OC@M OC@.MJQJNOAJM><?@HD>AA<DMNDNOC@ADI<G<M=DO@MJABM<?@<KK@<G

DI@Q@MT3IDQ@MNDOT

              .G<DIODAADIAJMH@?+DF@5<NNJI<I?"M%POD@MM@UOC<OC@RJPG?APMOC@M<KK@<G

OC@BM<?@OJOC@.MJQJNOJAOC@3IDQ@MNDOTOJ@SC<PNO<GGDIO@MI<GM@H@?D@N

              5C@M@PKJI OC@BM<?@<KK@<G<B<DINOOC<O!!2>G<NNR<N<NNDBI@?OJ+N

)@GGT"<T ><?@HD>AA<DMN1K@>D<GDNO OJ>JJM?DI<O@OC@BM<?@<KK@<GKMJ>@NNJMOJ<>O<N

-H=P?NH<IAJMAPMOC@M<KK@<GOJOC@3IDQ@MNDOT_N.MJQJNOAJM><?@HD>AA<DMN#SCD=DO 

                     T@H<DGN +N)@GGT"<TDIDOD<GGTDIAJMH@?.G<DIODAAOC<OOC@M@RJPG?=@<

C@<MDIBM@B<M?DIBOC@BM<?@<KK@<GRC@M@=TA<>PGOTH@H=@MNRDGG<GNJC@<M<I?M@QD@ROC@

H<OO@M<NM@LPDM@?=TBM<?@<KK@<G?P@KMJ>@NN&JR@Q@M RDOCJPO@SKG<I<ODJI +N)@GGT"<T

G<O@MDIAJMH@?.G<DIODAAOC<OOC@M@RJPG?=@IJC@<MDIB#SCD=DO 

                     T@H<DG?<O@?(PGT  .+ +N)@GGT"<T<I?.G<DIODAANP=HDOO@?OC@

BM<?@<KK@<GOJ"JII<0@F<P .C" RCJR<N"@4MT3IDQ@MNDOT_NOC@I 'IO@MDH4D>@.M@ND?@IO 

><?@HD>AA<DMN.MJQJNO#SCD=DO 



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                   T@H<DGG@OO@M?<O@?(PGT  "M"JII<0@F<P<??M@NN@?OC@BM<?@<KK@<G

RDOCJPO<??M@NNDIB.G<DIODAA_NDNNP@K@MO<DIDIBOJOC@?DN>M@K<I>TDIQJGQDIBOC@RMJIB2@SO=JJF

OC<OR<NN@IOOJ.G<DIODAA=TOC@3IDQ@MNDOT_N JJFNOJM@

             5C@M@<N<.MJQJNOAJM><?@HD>AA<DMNDNOC@PGODH<O@<M=DO@MJABM<?@<KK@<GNDI

@Q@MT3IDQ@MNDOTPI?@MOC@H<I?<O@NJA2DOG@'6JA#?P><ODJIH@I?H@ION>OJA<I?

&DBC@M#?P><ODJI*<R .G<DIODAAC<N@SC<PNO@?<GGDIO@MI<G<?HDIDNOM<ODQ@M@H@?D@NRDOC"@4MT

3IDQ@MNDOT1J .G<DIODAAC<NNO<I?DIBOJ=MDIBOCDNH<OO@M=@AJM@OCDN!JPMOAJM>JHKGD<I>@

DIQJGQDIBOC@+<TN@NNDJI!!2>G<NN

             .G<DIODAAM@K@<O@?OC@!!2>G<NNDI+<M>CN@NNDJI<I?OCDNODH@

.G<DIODAAM@>@DQ@?<I ADI<GBM<?@RC@IOC@>JMM@>OO@SO=JJFAJMOC<ON<H@>G<NNR<NN@IOOJCDH

DI

            "@A@I?<IO"@4MT3IDQ@MNDOTJIGDI@ JJFNOJM@ JIOC@DMK<MO <??M@NN@?OC@

KM@QDJPN?DN>M@K<I>TRDOCOC@!!22@SO=JJF=T?@>GDIDIBOJ>C<MB@.G<DIODAAAJMDO

<B<DIRC@I.G<DIODAAM@K@<O@?OC@>G<NNDI''B@I@M<GGT#SCD=DO 

             2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCNM@B<M?DIBOC@ADMNO

!!2+<T>G<NN

             2C@O@SO=JJFR<NH<I?<OJMTAJMOC@>G<NN<I?DOR<NH<I?<OJMT<OOC@ODH@AJM

.G<DIODAAOJKPM>C<N@OC@O@SO=JJFAMJH"@4MT3IDQ@MNDOT JJFNOJM@JIGT

             "@A@I?<IO"@4MT3IDQ@MNDOT-IGDI@ JJFNOJM@\ JJFNOJM@] DIDOD<GGTN@IOOC@

RMJIBO@SO=JJFAJMOC<O!!2+<TN@NNDJI>G<NNAPGGJARMJIBDIAJMH<ODJIAJMOC@

>G<NN<OOC@ODH@DI#SCD=DO      




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             "@NKDO@<IPH=@MJAAJGGJR PKN OC@ JJFNOJM@\ JJFNOJM@] I@Q@MN@IOOC@

>JMM@>OO@SO=JJFAJM.G<DIODAAOJPN@AJMOC<O!!2>G<NNOC@M@=T><PNDIB.G<DIODAAOJ

PN@OC@RMJIBDIAJMH<ODJIAJMOC@>G<NN<OOC@ODH@DI#SCD=DO        

                       TN@I?DIB.G<DIODAAOC@RMJIBO@SO=JJFAJMOC@!!2>G<NN .G<DIODAA

R<N><PN@?OJPN@RMJIBDIAJMH<ODJIAMJHOC@O@SO=JJFOJCDN?@OMDH@IOOC<O?DM@>OGT<I?

KMJSDH<O@GT><PN@?.G<DIODAA_NA<DGPM@DIOC@+<T!!2>G<NN#SCD=DO            

                 5C@I"@A@I?<IO"@4MT3IDQ@MNDOTJIGDI@ JJFNOJM@N@IOOC@>JMM@>OO@SO=JJFOJ

.G<DIODAADI#SCD=DO         RC@I.G<DIODAAM@K@<O@?OC@N<H@!!2>G<NN?PMDIBOC@

+<M>CN@NNDJI .G<DIODAANP>>@@?@?RDOC\ ]ADI<GBM<?@!JIN@LP@IOGT "@A@I?<IONNCJPG?

=@C@G?GD<=G@AJM?@OMDH@IO<GM@GD<I>@ !JINPH@M$M<P? <I?31!J?@Wa=

                 2C@=<?BM<?@AJMOC@ADMNO!!2+<M>C>G<NNNODGGNODBH<ODU@N

.G<DIODAA_N@S>@GG@IO<><?@HD>M@>JM?<O"@4MT

                 N<BM<?P<O@NOP?@IO<I?31!DODU@I .G<DIODAAC<N>JINODOPODJI<GGT KMJO@>O@?

GD=@MOTDIO@M@NO<I?KMJK@MOTDIO@M@NODICDN<><?@HD>M@>JM?AJMRCD>C.G<DIODAADN@IODOG@?OJ?P@

KMJ>@NNJAG<RM@B<M?DIBOC@BM<?@<KK@<GAJMOC@ADMNO!!2+<TN@NNDJI>G<NN

                 "@4MT3IDQ@MNDOTA<DG@?OJKMJQD?@A<DMBM<?@<KK@<GOJ.G<DIODAADIOCDNH<II@M

#SCD=DO 

             $DMNO +N)@GGT"<T<I?"@4MT?D?IJOKMJQD?@?P@KMJ>@NNBM<?@<KK@<GC@<MDIB

=T<K<I@GJAI@POM<GA<>PGOTH@H=@MNOJM@QD@R.G<DIODAA_NBM<?@<KK@<G<O<GG?@NKDO@C@MDIDOD<G

DI?D><ODJIOC<ONC@RJPG?NPHHJI<BM<?@<KK@<GC@<MDIBOC<ODI>GP?@NA<>PGOTH@H=@MN<I?NC@

RJPG??DN>GJN@OC@DM>M@?@IOD<GN#SCD=DO 

             1@>JI? OC@I NNJ>D<O@,<ODJI<G"@<I+DF@5<NNJI <I?OC@.MJQJNOAJM

><?@HD>AA<DMN"M"JII<0@F<P RCJ<?EP?D><O@?.G<DIODAA_NBM<?@<KK@<G<OOC@ODH@ 




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DIO@IODJI<GGT<I?H<GD>DJPNGTA<DG@?OJ<??M@NNOC@?DN>M@K<I>TDIQJGQDIBOC@RMJIBO@SO=JJF

RCD>C><PN@?.G<DIODAA_NA<DGPM@DIOC@>G<NN?@NKDO@OC@A<>OOC<OOC@O@SO=JJFR<NDHKJN@?PKJI

.G<DIODAA<I?.G<DIODAAR<NAJM>@?=TOC@3IDQ@MNDOTOJ=PTDO?DM@>OGTAMJHOC@3IDQ@MNDOT_N

=JJFNOJM@#SCD=DO 

              2CDM? +N+<MNC OC@!!2+<T>G<NNN@NNDJI>JPMN@DINOMP>OJM ?D?

IJOO@<>COC@>G<NN.G<DIODAAK<D?OPDODJIHJI@TAJM@SK@MOOPDODJIAMJHOC@>JPMN@DINOMP>OJM IJO

H@M@?DN>PNNDIBKJNDODIB=T<H<O@PMNOP?@ION.G<DIODAA<Q@MNOC<O?DN>PNNDJINRDOCJOC@MNOP?@ION

DNIJOOPDODJI<I?DO?J@NIJONP=NODOPO@OC@?POTOJO@<>COC@>JPMN@H<O@MD<G=TOC@>JPMN@

DINOMP>OJM.@@M"DN>PNNDJINJIGTNPKKG@H@IO<I?<PBH@IOO@<>CDIB'O?J@NIJOM@KG<>@OC@?POT

OJO@<>C

              "@A@I?<IONNCJPG?=@C@G?GD<=G@=@><PN@OC@T<M@M@KM@C@IND=G@AJM.G<DIODAA_N

A<DGPM@DIOC<O!!2+<TN@NNDJI>G<NNDI<NHP>C<N?@A@I?<IONN@IO.G<DIODAAOC@

RMJIBO@SO=JJFOC<OR<NIJO=@DIBPN@?AJMOC@>G<NN

              .G<DIODAA=MDIBN@<>CJAOC@N@!-3,21N@K<M<O@GTPI?@MOCDN><PN@JA<>ODJIAJM

OC@!JPMOOJ@IEJDI?@A@I?<ION"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJG-A+<I<B@H@IO

OJM@OMJ<>ODQ@GTM@HJQ@OC@!!2+<T>G<NNAMJH.G<DIODAA_N<><?@HD>M@>JM?<I?OC@

<NNJ>D<O@?OPDODJI<I?>JNONNCJPG?=@M@OPMI@?OJ.G<DIODAA<N!JINOMP>ODQ@2MPNO

                 5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<ION"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJG-A+<I<B@H@IO J<M?-A

2MPNO@@NI<H@?DIOCDNDINO<IO>JHKG<DIOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT

<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA @S>GPNDQ@JADIO@M@NO<I?>JNON

KM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJM@HJQ@OC@+<M>C!!2

>G<NNAMJHCDN<><?@HD>M@>JM?N<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON




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<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO

<I?@LPDO<=G@

                                          #)"((+"(-#"

                    (8B:4,=53C20B8=<;4<3;4<BA2B=5  
                    *8=:0B8=<=5C4$@=24AA3C@8<6@034>>40:5=@!' 
                    =<AC;4@@0C32B
                                       
            !82704:# 8D8<6AB=<4D=@3=<02=1A4*@G)<8D4@A8BG4::4@@03C0B4
                   '27==:=5!0<064;4<B=0@3=5(@CAB44A=54*@G)<8D4@A8BG
                                                      
              .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

                 2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

                 2C@3IDQ@MNDOT<I?DON?@A@I?<IO J<M?JA2MPNO@@NA<DG@?OJKMJHPGB<O@ODH@GDI@N

AJMOC@3IDQ@MNDOT_NM@NKJI?@ION<O@<>CG@Q@GJAOC@BM<?@<KK@<GKMJ>@?PM@NDIOJOC@BM<?@

<KK@<GKMJ>@?PM@NDIOC@3IDQ@MNDOT_N<><?@HD>!<O<GJBN<I?1OP?@IO&<I?=JJFN

                 .G<DIODAA@IMJGG@?<I?>JHKG@O@?OC@BM<?P<O@G@Q@GJIGDI@>G<NN><GG@?+<I<B@MD<G

KKGD><ODJINJA'IAJMH<ODJI2@>CIJGJBT +'1  \+'1] ?PMDIBOC@+<M>C

N@NNDJI<O)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOJA"@4MT3IDQ@MNDOT

             2C@+'1 >G<NNR<N<I<>>@G@M<O@?@DBCO R@@FJIGDI@>G<NN=@OR@@I$@=MP<MT

  KMDG 

             2C@!JPMN@'INOMP>OJMAJMOC<O+'1 >G<NNR<N?@A@I?<IO+M(<>J=%JM?JI

\?@A@I?<IO%JM?JI] 

             .G<DIODAAJ=N@MQ@?OC<O<RMJIBAPG\" ]ADI<GBM<?@R<NKJNO@?AJMCDH=TOC@

3IDQ@MNDOT0@BDNOM<M RCD>CR<NDI>JINDNO@IORDOC<\ ]ADI<GBM<?@JICDNBM<?@=JJFG@?B@MDI

OC@>JPMN@K<B@''RDOCDI@H<DGOCM@<?#SCD=DO       



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               5C@M@PKJI =T@H<DG?<O@?KMDG  .+ .G<DIODAA=MJPBCOOCDNOJOC@

<OO@IODJIJA"@A@I?<IO%JM?JI(<>J=''RDOCDI@H<DGOCM@<?#SCD=DO                  

                     TM@KGT@H<DG?<O@?+<T  + ?@A@I?<IO%JM?JI@SKM@NN@?CDN

NPMKMDN@<I?RMJO@OCDNOJ.G<DIODAA

                            +D>C<@G ?JTJPBJ=T<IJOC@MI<H@2C@M@DNIJ+D>C<@G-N@DDIOC@
                            G<NO+'1>G<NN <I?IJ+D>C<@GNDIOC@>G<NNM@>@DQ@?<BM<?@JA"
                            0@B<M?N 0D>F
                                   
                 .G<DIODAA@SKG<DI@?OC<OCDNG@B<GI<H@DN+D>C<@G-N@D*DQDIBNOJI@0@B<M?G@NN DA

\,J+D>C<@GNDIOC@>G<NNM@>@DQ@?<BM<?@JA"]<O<GG<N?@A@I?<IO%JM?JI>G<DH@? OC@I<" 

BM<?@NCJPG?IJOC<Q@=@@IKJNO@?AJM.G<DIODAA<O<GGRC@OC@MC@DN\+D>C<@G-N@D]JM\+D>C<@G

-N@D*DQDIBNOJI@]=@><PN@@DOC@MR<T .G<DIODAA_NI<H@NO<MONRDOC+D>C<@G''RDOCDI@H<DG

OCM@<?#SCD=DO              

                 'I<APMOC@M@H<DG?<O@?+<T  + ?@A@I?<IO%JM?JIRMJO@OCDNOJ

.G<DIODAA

                                    \Z2C@>JPMN@BM<?@'NP=HDOO@?AJMTJPDN< 'RDGGOMTOJ>JIO<>OOC@
                                    M@BDNOM<MJMNJH@JI@@GN@<O"@4MTM@B<M?DIB<>JMM@>ODJIDADODNIJO
                                    NCJRDIBKMJK@MGTDITJPMM@>JM?'H<TI@@?TJPMNOP?@IOIPH=@M?P@OJ
                                    OC@I<H@ KG@<N@G@OH@FIJR
                                    (00D>F %JM?JI
                                    4DNDODIB.MJA@NNJM
                                    "@4MT3IDQ@MNDOTZ]
                   
                 5C@M@PKJIOC@@MMJI@JPN" BM<?@R<N>C<IB@?OJ<\ ]BM<?@

                 !JINDNO@IORDOCOC@3IDQ@MNDOT!<O<GJB_NBM<?@<KK@<GODH@GDI@OJNP=HDOBM<?@

<KK@<GOJ!JPMN@DINOMP>OJMN=TOC@=@BDIIDIBJAOC@I@SO R@@FN@NNDJIJA1>CJJG =T@H<DG

?<O@?+<T  + .G<DIODAANP=HDOO@?<ODH@GTBM<?@<KK@<GOJ"@A@I?<IO%JM?JI

OC<OC@DN<KK@<GDIBOC@ADI<GBM<?@AJMCDBC@MBM<?@




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                 'IM@KGT@H<DG?<O@?+<T  .+ "@A@I?<IO%JM?JI?D?IJO<??M@NN

<ITJAOC@<><?@HD>DNNP@NM<DN@?RDOCDIDI.G<DIODAA_NBM<?@<KK@<G'INO@<? ?@A@I?<IO%JM?JI

RMJO@OC<OC@C<N<GM@<?TNJGQ@?OC@KMDJMO@>CID><G?DN>M@K<I>TRDOCOC@BM<?@RC@M@=T<" 

BM<?@R<N@MMJI@JPNGTKJNO@?AJM.G<DIODAADINO@<?JAOC@ BM<?@ <NC@RMJO@OCDN''RDOCDI

@H<DGOCM@<?#SCD=DO        

                      \+D>C<@G <N'IJO@?@<MGD@M 'OPMI@?DI<BM<?@>C<IB@M@LP@NOAJMTJP'
                      ?JIJOFIJROC@ODHDIBJADON<>>@KO<I>@ =PO'=@GD@Q@DORDGG=@KMJ>@NN@?
                      NJJI@MOC<IG<O@M]
                      
             5C@M@PKJI .G<DIODAANO<O@?OJ?@A@I?<IO%JM?JIOC<OC@DNIJO<KK@<GDIBOC@

O@>CID><GGT @MMJI@JPNKM@QDJPNGTKJNO@?" BM<?@OC<OR<N<GM@<?T<?HDOO@?=T"@A@I?<IO

%JM?JIDI>DO@?+<T @H<DGN<=JQ@OC<ODOR<N<O@>CID><G@MMJM<I?OC<O\IJ+D>C<@GNDI

OC@>G<NNM@>@DQ@?<" <O<GG]

                   TAPMOC@M@H<DG?<O@?+<T  + .G<DIODAA<NN@MO@?CDNMDBCOOJ

<KK@<GOC@BM<?@<I?OC@?POTJA"@A@I?<IO%JM?JIOJ>JHKGTRDOC3IDQ@MNDOTKJGD>T<I?

KMJ>@?PM@NOJ<??M@NNOC@<><?@HD>DNNP@NM<DN@?DICDNBM<?@<KK@<G

             'IOC<O+<T @H<DG .G<DIODAA>DO@?OJ"@A@I?<IO%JM?JIOC@><N@JA

!1;0+#-7103: $?OC!DM %'35&'0+'&1!O RC@M@OC@!JPMO

C@G?OC<O\,JO@<>C@MC<N<API?<H@IO<GMDBCOOJC<I?DIM<I?JHJMNF@R@?BM<?@NZ]"@A@I?<IO

%JM?JIDBIJM@?.G<DIODAA_NBM<?@<KK@<G''RDOCDI@H<DGOCM@<?#SCD=DO         

             &<QDIB@SC<PNO@?OC@+'1BM<?@<KK@<GM@H@?D@N?DM@>OGTRDOCOC@>JPMN@

DINOMP>OJM .G<DIODAA_NI@SOM@>JPMN@PI?@MOC@"@4MTBM<?@<KK@<GKMJ>@NNR<NOJADG@<AJMH<G

BM<?@<KK@<GOJOC@3IDQ@MNDOT




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                      T@H<DG?<O@?"@>@H=@M  .+OJ"M4DMBDG+@IN<C "<MO@T 

"@4MT3IDQ@MNDOT_NNNDNO<IO"@<IJA><?@HD>#S>@GG@I>@ 1JPOC#<NO%MJPK .G<DIODAA

DI?D><O@?CDNDIO@IOOJ<KK@<GOC@%M<?@OJ<"@<I

                 &<QDIBM@>JQ@M@?AMJHDGGI@NN JI1@KO@H=@M  .G<DIODAA>JIO<>O@?OC@

"@4MT3IDQ@MNDOT1OP?@IO!@IOM<G<I??DN>PNN@?OC@H<OO@MRDOC"RJI@0JNN(M 1OP?@IO

1PKKJMO?QDNJM' "@4MT3IDQ@MNDOT <=JPOHJQDIBOC@BM<?@<KK@<GAJMR<M?

                       T@H<DG?<O@?1@KO@H=@M  .+ +M"RJI@0JNN(M RMJO@OCDNOJ

?@A@I?<IO%JM?JI<I?>JKD@?.G<DIODAA*DQDIBNOJI@JIOC<O@H<DG

                      %JJ?@Q@IDIB.MJA@NNJM%JM?JI 
                      +TI<H@DN"RJI@0JNN(M<I?'_H<1OP?@IO1PKKJMO?QDNJMC@M@RDOC"@4MT
                      '_H@H<DGDIBTJPOJIDBCOM@B<M?DIB<NOP?@IOOC<OTJPO<PBCODITJPM+'1[
                      >JPMN@=<>FDI+<M>C+D>C<@G*DQDIBNOJI@Z>JIO<>O@?PNM@B<M?DIB
                      OC@BM<?@DIOCDN>JPMN@NCJRDIB<N< RC@IC@=@GD@Q@NOC<OC@@<MI@?<IDI
                      OC@>JPMN@
                      +D>C<@G<GNJ?D?H@IODJIOC<O=<>FI@<MOC@ODH@OC<OOC@>JPMN@ADMNO@I?@? C@
                      R<NJMDBDI<GGT<R<M?@?<BM<?@JA" RCD>CC@NKJF@RDOCTJP<I?C@NO<O@?OC<O
                      TJPDIKPOOC<OBM<?@<>>D?@IO<GGT <I?OC@IPK?<O@?OC<OOJOC@ OC<ODNIJR
                      NCJRDIBB<DI OC@NOP?@IO=@GD@Q@NC@@<MI@?<IDIOCDN>G<NN2CDN=@DIBOC@
                      ><N@ 'C<Q@N@IOJQ@M<%M<?@!C<IB@AJMHQD<"J>P1DBIOC<OR@RJPG?GDF@TJP
                      OJ>JHKG@O@RDOC@DOC@MTJPM<KKMJQ<GJM?@ID<GJAPK?<ODIBOC@BM<?@<NR@GG<N<
                      =MD@A@SKG<I<ODJI<NOJRCTGGJAOCDN><I=@>JHKG@O@?JIOC@?J>PH@IO$@@G
                      AM@@OJM@<>CJPOOJH@RDOC<ITLP@NODJINJM>JI>@MIN'_Q@<GNJ!>_?OC@NOP?@IO
                      JIOCDN@H<DGOJH<F@NPM@R@<M@<GGJIOC@N<H@K<B@
                      2C<IFTJP 
                      
                      "RJI@0JNN(MV56&'05622135&7+413
                      .V#?MJNNEM?@QMT@?P
                      #"D@CG0?V,<K@MQDGG@ '*V?@QMT@?P
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                    5DOCJPO>JKTDIB.G<DIODAA =T@H<DG?<O@?5@?I@N?<T 1@KO@H=@M 

         .+ "@A@I?<IO%JM?JIM@KGD@??DM@>OGTOJ+M"RJI@0JNNNO<ODIBOC@AJGGJRDIB

                      \OO<>C@?DNOC@BM<?@>C<IB@AJMHAMJH2C@"R<NIJO<HDNO<F@'
                      <>>@KO@?<G<O@H<EJMKMJE@>OM@KJMOAMJHOC@NOP?@IO<I?NP=HDOO@?OC@>C<IB@OJ
                      < 
                      0@B<M?N 0D>F]



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+M"RJI@0JNNAJMR<M?@?OCDNM@KGT@H<DG?DM@>OGTOJ.G<DIODAAJI1@K  .+

                 "@A@I?<IO%JM?JIHDNM@KM@N@IO@?OC@BM<?@=@><PN@DICDNKMDJM+<T 

@H<DGNOJ.G<DIODAA>DO@?<=JQ@ OC@N<H@?@A@I?<IO%JM?JIOJG?.G<DIODAAOC<OOC@" BM<?@R<N

O@>CID><G@MMJM>JHHDOO@?=TOC@3IDQ@MNDOT0@BDNOM<M=@><PN@\IJ+D>C<@GNDIOC@>G<NNM@>@DQ@?

<^"_BM<?@<O<GG]DIOC@>G<NN7@O DICDN1@KO@H=@M M@KGT@H<DGOJ"RJI@0JNN 

"@A@I?<IO%JM?JINO<O@?OC<OOC@\" ]BM<?@R<NIJO<HDNO<F@=@><PN@C@<>OP<GGTNP=HDOO@?

OC<OBM<?@

                 .G<DIODAAM@KGD@?=T@H<DG?<O@?1@K  .+OJ"RJI@0JNN<I?>>_?

?@A@I?<IO%JM?JIJIDO.G<DIODAA=MD@A@?"RJI@0JNN<=JPOOC@KMDJM+<T @H<DG

DIO@M<>ODJIM@B<M?DIB@MMJI@JPN" BM<?@''RDOCDI@H<DGOCM@<?#SCD=DO      

             'IOC<O1@KO@H=@M @H<DG .G<DIODAAPMB@?"RJI@0JNNOJ<?QDN@

"@A@I?<IO%JM?JIOJ>JKT.G<DIODAAJI<GGCDNAPOPM@>JMM@NKJI?@I>@M@B<M?DIBOC@BM<?@<KK@<G

OJKMJHJO@OM<INK<M@I>TDIOC@BM<?@<KK@<GKMJ>@NN''RDOCDI@H<DGOCM@<?#SCD=DO       

                   T@H<DG?<O@?1@KO@H=@M  + .G<DIODAANP=HDOO@?< K<B@

+@HJM<I?PHRDOCN@Q@I@SCD=DONOJ"@A@I?<IO"M"<MO@T +@IN<C<I?>>_??@A@I?<IO%JM?JI

<I?+M"RJI@0JNN''RDOCDI@H<DGOCM@<?#SCD=DO          

             5C@I.G<DIODAA?D?IJOC@<MAMJH?@A@I?<IO"M"<MO@T +@IN<C JI->OJ=@M 

 .G<DIODAA>JIO<>O@?OC@"@4MT!@IOM<G1OP?@IO1PKKJMO>@IO@MOJM@<>C+M0JNN<B<DIAJM

OC@I@SONO@KNAJMR<M?&JR@Q@M DICDN<=N@I>@ <IJOC@M1OP?@IO1PKKJMO?QDN@M +N!JGG@@I

.C@GKN <NNDNO@?.G<DIODAA

                   T@H<DG?<O@?+JI?<T ->O  .+N@IOOCMJPBCOC@"@4MT1OP?@IO

NPKKJMO@H<DGNTNO@H D@"43-IGDI@1OP?@IO$DI<I>@?QPJIGDI@NA<?O<G@H>JH +N!JGG@@I

.C@GKN RMJO@OCDNOJ.G<DIODAA''RDOCDI@H<DGOCM@<?#SCD=DO         



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                                "@<M+D>C<@G 
                                
                                '<HNJMMTTJPR@M@IJO<=G@OJRJMFJPOOC@BM<?@?DNKPO@RDOCTJPM
                                KMJA@NNJMNR@?DN>PNN@? TJPIJRC<Q@OC@JKODJIOJADG@<AJMH<GBM<?@
                                <KK@<G=TNP=HDOODIB<M@LP@NO=@AJM@5@@FJAOC@N@NNDJIAJGGJRDIBOC@
                                >JPMN@
                                $JGGJROC@N@NO@KNOJNP=HDOTJPMBM<?@<KK@<G<NNJJI<NKJNND=G@
                                        *JBDIOJOC@NOP?@IOKJMO<G<O9HT?@QMT@?PHTF@GG@M@?P:
                                        1@G@>O=<B02B)AJIOC@G@AOH@IP<I?>GD>F@40B42034;82
                                        0A4
                                        !GD>FOC@0A4AO<=<I?>GD>FOC@"4E0A4=POOJI
                                        1@G@>O4*@G4::4@&468AB@0@'4@D824AAJMOC@"@K<MOH@IO
                                        1@G@>O@034>>40:AJMOC@0@LP@NO"@O<DG
                                        $DGGDI<GGJAOC@DIAJMH<ODJIDIOC@=G<IFAD@G?N<I?>GD>FNP=HDO
                                ,JO@ TNP=HDOODIB<BM<?@<KK@<G OC@@IODM@=J?TJATJPMRJMFAJMOC@
                                >G<NNH<T=@M@QD@R@?<I?TJPMADI<GBM<?@C<NOC@KJO@IOD<GOJ=@M<DN@? 
                                GJR@M@?JMM@H<DIOC@N<H@Z
         

              2JOC@@SO@IOOC<O<IT=J?THDBCO>G<DHOC<OOC@AJMH<GBM<?@<KK@<GR<NODH@

=<MM@?=@><PN@.G<DIODAANP=HDOO@?DOJI@ T@<M<AO@MOC@>G<NNR<NJQ@M OCDN>G<DHDNHDNKG<>@?<N

<H<OO@MJAA<>O=@><PN@.G<DIODAANO<MO@?OC@BM<?@<KK@<G?DM@>OGTRDOCOC@>JPMN@DINOMP>OJMDI

$PMOC@M +M"RJI@0JNN<I?+N!JGG@@I.C@GKN NK@<FDIBAJMOC@3IDQ@MNDOT K@MHDOO@?

.G<DIODAAOJADG@OC@AJMH<GBM<?@<KK@<GDI

                 .G<DIODAAADG@?CDNAJMH<GBM<?@<KK@<GOJOC@3IDQ@MNDOTAJGGJRDIBOC@NO@KN

KMJQD?@?=T+N!JGG@@I.C@GKN<I?DOR<N<NNDBI@?<!<N@,J<O"@4MT3IDQ@MNDOT

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                       T@H<DG?<O@?->OJ=@M  .+ "M"<MO@T +@IN<CBJO=<>FOJ

.G<DIODAA_NKMDJM1@KO@H=@M @H<DG4623#<I?NO<O@?<NAJGGJRN

                                &D+D>C<@G 
                                %JJ?OJC@<MAMJHTJP1JMMTAJMIJOB@OODIB=<>FRDOC<M@NKJIN@@<MGD@M
                                '_Q@=@@IJPOJAOC@>JPIOMT'_GGGJJFDIOJOCDN<I?G@OTJPFIJR<NNJJI<N
                                KJNND=G@
                                0@B<M?N 
                                4DMBDG+@IN<C "<MO@T .C"V44+45#05'#01(%#&'/+%9%'..'0%'
                                3162
                                .V4-'.V#QH@IN<C ?<MO@T?@QMT@?P



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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 138 of 286 PageID #:138
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                             5!JPMO1LP<M@V"@><OPM %V?@QMT@?P
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                     T@H<DG?<O@?->OJ=@M  .+ "M M@IO5<M?RMJO@OCDNOJ.G<DIODAA

         OC<OOC@BM<?@<KK@<GDN<NNDBI@?OJCDH

                          .G<DIODAA+DF@
                          +TI<H@DN M@IO5<M?'<H<A<>PGOT>C<DM<I?'C<I?G@NOP?@IO
                          >JI>@MINGDF@TJPMBM<?DIB>JI>@MINM@B<M?DIB+'1 AMJH
                          '<HGJJFDIBJQ@MTJPM@H<DGN <I?TJPM>JPMN@EPNOBJO<>>@NNNDI>@DO
                          R<N=@AJM@!<IQ<N <I?RDGGF@@KTJPDIAJMH@?JAOC@JPO>JH@
                          2C<IFN 
                            M@IO5<M? .C"
                          $<>PGOT!C<DM
                          1JPOC#<NO%MJPK
                          
                 'I<IPH=@MJAKCJI@><GGN "M+@IN<C "<MO@TDIAJMH@?.G<DIODAAOC<O.G<DIODAA_N

BM<?@<KK@<GC<N=@@I<NNDBI@?OJCDH

                 .G<DIODAADIAJMH@?"M+@IN<C "<MO@TOC<OC@I@@?NRMDOO@I?@>DNDJIG@OO@M

<??M@NNDIBOC@DNNP@NDIOC@H@HJM<I?PHC@C<NNP=HDOO@?<NBM<?@<KK@<G<I?DAPIA<QJM<=G@

?@>DNDJI OC@I.G<DIODAAR<IONOJ<KK@<GDOOJOC@@SO@MI<G>>M@?DO<ODJI J<M? RCD>CM@LPDM@N

@SC<PNODIB<GGDIO@MI<G<?HDIDNOM<ODQ@M@H@?D@N<OOC@3IDQ@MNDOTADMNO

               "M+@IN<C "<MO@T><GG@?.G<DIODAAJIOC@KCJI@<IPH=@MJAODH@N

            'I<(<IP<MT KCJI@><GGOJ.G<DIODAA "M+@IN<C "<MO@T><G>PG<O@?

.G<DIODAA_NBM<?@<I?J=N@MQ@?OC<O.G<DIODAARJPG?B@O<ADI<GNOM<DBCO\]BM<?@AJMOC@>G<NNDA

OC@KJDIONAJMOC@JIGTJPONO<I?DIB>JPMN@KMJE@>O.JR@M.JDIOM@>JM?DIBR<NNP=HDOO@?<I?

>C<IB@?OJKJDION

            'I<(<IP<MT KCJI@><GG "M+@IN<C "<MO@T<NF@?.G<DIODAAOJN@I?CDH

@QD?@I>@OC<O.G<DIODAADIA<>OOJG?"@A@I?<IO%JM?JIOC<OC@R<NND>F?PMDIBOC@+'1>G<NN

    T@H<DG?<O@?(<I  .+ .G<DIODAAN@IOOC@@QD?@IOD<G@H<DGOJ"M"<MO@T +@IN<C 




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RCD>CC@M@KGD@?\2C<IFN +D>C<@G'_GG>JIODIP@OJGJJFDIOJOCDN<I?F@@KTJPPK?<O@?]''

RDOCDI@H<DGOCM@<?#SCD=DO      

            "PMDIBOC<O(<IP<MT KCJI@><GG "M+@IN<C "<MO@TDIAJMH@?.G<DIODAA

OC<OC@>JIO<>O@??@A@I?<IO%JM?JI<I?C@C<NN@IOCDH<I@H<DG.G<DIODAAJ=E@>O@?JIBMJPI?N

JAOM<INK<M@I>T<I?A<DM?P@KMJ>@NN=@><PN@.G<DIODAAKM@QDJPNGT<?QDN@?OC<OAJMOM<INK<M@I>TJA

KMJ>@?PM@N "@A@I?<IO%JM?JINCJPG?>JKT.G<DIODAAJI<GGH<OO@MNM@B<M?DIBOC@BM<?@<KK@<G

=@><PN@?@A@I?<IO%JM?JIA<GNDAD@?OC@BM<?@DICDNKMDJM+<T @H<DGNOJ.G<DIODAA>DO@?

<=JQ@PI=@FIJRINOOJ.G<DIODAAOC@N<H@?@A@I?<IO%JM?JIOJG?.G<DIODAAOC<OOC@" BM<?@R<N

O@>CID><G@MMJM>JHHDOO@?=TOC@3IDQ@MNDOT0@BDNOM<M=@><PN@\IJ+D>C<@GNDIOC@>G<NNM@>@DQ@?

<"BM<?@<O<GG]DIOC@>G<NNT@O DICDN1@KO@H=@M M@KGT@H<DGOJ"RJI@0JNN 

"@A@I?<IO%JM?JINO<O@?OC<OOC@\" ]BM<?@R<NIJO<HDNO<F@=@><PN@C@<>OP<GGTNP=HDOO@?

OC<OBM<?@

            'I<IJOC@M(<IP<MT O@G@KCJI@><GG "M+@IN<C "<MO@TOJG?.G<DIODAAOC<O

OC@BM<?@<KK@<GC<NM@>@DQ@?<GJOJAQDND=DGDOTRDOCDIOC@<?HDIDNOM<ODJI<I?<?HDIDNOM<ODJIC<N

KM@?@O@MHDI@?<I?DINOMP>O@?CDHOJNDHKGTDBIJM@.G<DIODAA<I?>GJN@OC@BM<?@<KK@<GRDOCJPO

<??M@NNDIBDO

             5C@M@PKJI .G<DIODAA<NF@?"M"<MO@T +@IN<COJBDQ@CDH<RMDOO@I?@>DNDJI

G@OO@MDIJI@R@@FNO<ODIBRC<OC@N<D?JIJAAD>D<G"@4MTG@OO@MC@<?NJOC<O.G<DIODAA><IKK@<G

OC<OG@OO@MOJOC@>>M@?DO<ODJI J<M?JMOJOC@!JPMO&JR@Q@M OC@?@>DNDJIG@OO@MR<NI@Q@M

RMDOO@IJMN@IOOJ.G<DIODAAOJ?<O@

             AO@M.G<DIODAA?D?IJOC@<MAMJH"M+@IN<C "<MO@T .G<DIODAAN@IO@H<DG?<O@?

(<I  .+OJ"M+@IN<C "<MO@T>>_?OJ?@A@I?<IO%JM?JI<I??@>MD@?OC@PIA<DM

BM<?@<KK@<GKMJ>@?PM@N G<>FJAOM<INK<M@I>T <I?@SKM@NN@?CDNM@BM@O




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             'IOC<O(<IP<MT @H<DG .G<DIODAAADI<GGTM@LP@NO@?RMDOO@I?@>DNDJIG@OO@M

<=JPOOC@BM<?@<KK@<GOJ=@N@IOOJCDHDIJI@R@@F&JR@Q@M "@4MTI@Q@M?D?OC<O<I?NJ<N

JAOCDN?<T OC@3IDQ@MNDOTC<NDIO@IODJI<GGT H<GD>DJPNGT KJGDOD><GGT <I?I@BGDB@IOGT>CJN@IOJ

DBIJM@.G<DIODAA_NBM<?@<KK@<G<=JPO+'1<GGOJ.G<DIODAA_N?@OMDH@IO

             5C@M@<N3IDQ@MNDOT.MJQJNON<M@OC@!CD@A><?@HD>-AAD>@MN<I?ADI<G?@>DNDJI

H<F@MNJABM<?@<KK@<GN OJ?<O@ "M+@IN<C["<MO@TI@Q@MHJQ@?OC@BM<?@<KK@<GOJOC@

3IDQ@MNDOT.MJQJNOAJMM@QD@R OC@.MJQJNOI@Q@MM@QD@R@?OC@+'1BM<?@<KK@<G

             *<O@M "M+@IN<C "<MO@TOJG?.G<DIODAAOC<OOC@3IDQ@MNDOTN<TNC@NCJPG?NDHKGT

>GJN@OC@BM<?@<KK@<GRDOCJPO?@>DNDJI<I?DA.G<DIODAA@G@>ONOJNP@ OC@TC<Q@G<RT@MN

>>JM?DIBGT OC@+'1BM<?@<KK@<GR<NIJO<?EP?D><O@?'OR<NDBIJM@?RDOC=<? A<DOC

            2C@M@>JM?NCJRNOC<O.G<DIODAA?D?CDNK<MOOJ<KK@<GOC@+'1BM<?@

3GODH<O@GT OC@3IDQ@MNDOT?D?IJOBDQ@.G<DIODAACDN?P@KMJ>@NNBM<?@<KK@<GM@B<M?DIB+'1

            NDI#SCD=DO OC@ADI<GM@QD@R@MJA<BM<?@<KK@<GNCJPG?=@OC@.MJQJNOJM

!CD@A><?@HD>-AAD>@MJAOC@3IDQ@MNDOT"@A@I?<IO1C<IO<IP JN@ 7@O "M+@IN<C "<MO@T

A<DG@?OJ<?EP?D><O@OC@+'1BM<?@<KK@<G<I?C@<GNJA<DG@?OJM@A@MDOAJMADI<G?DNKJNDODJI=T

OC@.MJQJNORDOCG@OO@MAMJHOC@KMJQJNOGDF@OC@JI@<KK@I?@?<NOC@G<NOK<B@JA#SCD=DO<

            .G<DIODAA<GNJ=MDIBNOCDN>JHKG<DIOAJMOCDN!JPMOOJ@IEJDI"@A@I?<IONOJKP=GDNC

DIOJOC@DMBM<?@<KK@<GKMJ>@?PM@NODH@GDI@NAJMOC@3IDQ@MNDOT_NM@NKJI?@IONOJ<??M@NNBM<?@

<KK@<GN

            2C@)@GG@M><?@HD>!<O<GJB<I?OC@1OP?@IO&<I?=JJFKMJQD?@NOC<OBM<?@N><I

=@>C<IB@?M@OMJ<>ODQ@GT<ITODH@=@AJM@<NOP?@IOBM<?P<O@N>>JM?DIBGT OC@+'1BM<?@

><I=@>C<IB@?




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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 141 of 286 PageID #:141
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              5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION"@4MT3IDQ@MNDOT ?O<G@H%GJ=<G#?P><ODJI'I><I?DON)@GG@M%M<?P<O@1>CJJGJA

+<I<B@H@IO J<M?-A2MPNO@@N EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?

KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA @S>GPNDQ@JADIO@M@NO<I?>JNON

KM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJ@IEJDI?@A@I?<IONOJDNNP@OC@?@A<PGO

NOM<DBCO\]%M<?@AJM+'1>G<NNRDOCDI R@@FNJAOC@!JPMO_NJM?@M<I<R<M?JA

M@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M

<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                             !82704:# 8D8<6AB=<4D4*@G)<8D4@A8BG4::4@@03C0B4'27==:=5
                                                    !0<064;4<B3B0:4;
                                                           

               .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

               2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

               'I<IPH=@MJA@H<DGN .G<DIODAADIAJMH@?"M+@IN<C "<MO@TOC<OC@C<NNPAA@M@?

DIQD?DJPN?DN>MDHDI<OJMT<IDHPN =G<>FNO@M@JOTK@N <I??@@K N@<O@?<IO<BJIDNHAMJH?@A@I?<IO

%JM?JI@S<HKG@@H<DGN?<O@?(<I  .+<I?@H<DG?<O@?(<I  .+ 

               "M+@IN<C "<MO@T?D?IJO<??M@NN.G<DIODAA_N<GG@B<ODJINJA?DN>MDHDI<ODJI 

I@DOC@M?D?C@M@A@MOC@?DN>MDHDI<ODJI>G<DHDIOC<OBM<?@<KK@<GOJOC@3IDQ@MNDOT_N?@NDBI<O@?




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-AAD>@MDI>C<MB@JADIQ@NODB<ODIB<I?<??M@NNDIBM@KJMONJAM<>D<G?DN>MDHDI<ODJI<O"@4MT<O

G@<NO

             .G<DIODAA<Q@MNOC<O<IOD ?DN>MDHDI<ODJIG<RNM@LPDM@3IDQ@MNDOD@NOC<OK<MOD>DK<O@DI

A@?@M<GNOP?@IOADI<I>D<G<D?KMJBM<HNOJDIQ@NODB<O@<I?O<F@<>ODJI<B<DINO>JHKG<DIONJM

<GG@B<ODJINJA?DN>MDHDI<ODJIRC@I<NOP?@IO<GG@B@N?DN>MDHDI<ODJI7@O OCDNI@Q@MC<KK@I@?<I?

><IIJOC<KK@IIJRDI<KK<M@IOM@NKJIN@OJOCDNNPDO

            "@A@I?<IOBM@NO<DHK@MHDNND=GTR@IODIOJ.G<DIODAA_N"@4MTKMDQ<O@NOP?@IO

@H<DG<>>JPIO<I?N<R.G<DIODAA_N@H<DGNOJ"M+@IN<C "<MO@TRC@M@DI.G<DIODAA<NN@MONCDNMDBCO

OJ>JHKG<DIOJOC@-!0<=JPOOC@?DN>MDHDI<ODJIC@=@GD@Q@NC@@SK@MD@I>@?AMJH"@A@I?<IO

%JM?JI"@A@I?<IOBM@NO<<GNJA<DG@?OJ<>OPKJIOC@<GG@B<ODJIN<I?M<OC@MNP=HDOO@?OC@

@H<DGNRDOCDIOC@(PI@>JI?P>OK<>F@ORDOCJPOOC@FIJRG@?B@JA"M+@IN<C "<MO@T

            5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION"@4MT3IDQ@MNDOT ?O<G@H%GJ=<G#?P><ODJI'I><I?DON)@GG@M%M<?P<O@1>CJJGJA

+<I<B@H@IO J<M?-A2MPNO@@N EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?

KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNON

KM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJ@IEJDI?@A@I?<IONOJDNNP@OC@?@A<PGO

NOM<DBCO\]%M<?@AJM+'1>G<NNRDOCDI R@@FNJAOC@!JPMO_NJM?@M<I<R<M?JA

M@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M

<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                                   " "(#)&'&'(&(#"$&(
                                                
                           !82704:# 8D8<6AB=<4D454<30<BA4*@G3B0:4;4::4@4*@G
                           )<8D4@A8BG=0@3=5(@CAB44A'70<B0<C=A4
             
            .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@@<>C<I?@Q@MTJI@JAOC@<GG@B<ODJIN

>JIO<DI@?DIKM@>@?DIBK<M<BM<KCN<NOCJPBCAPGGTN@OAJMOC<OG@IBOCC@M@DI

            2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

            .G<DIODAA@IMJGG@?DIOC@<>>@G@M<O@?+2& KKGD@?+<I<B@MD<G1O<ODNOD>NJ

BM<?P<O@>JPMN@DIOC@,JQ@H=@MN@NNDJI\+2&] <O"@4MT3IDQ@MNDOT_N)@GG@M

%M<?P<O@1>CJJGJA+<I<B@H@IO

             +2&R<N<I R@@F<>>@G@M<O@?JIGDI@BM<?P<O@>JPMN@AMJH->OJ=@M 

["@>@H=@M 

             2C@>JPMN@DINOMP>OJMAJMOC@+2&>G<NNR<N)<OCMDI@&@INJI +<>F .C" 

RCJDN<INNJ>D<O@O@IPM@?.MJA@NNJM<O"@4MT3IDQ@MNDOT

             GGM@BDJI<GGT <>>M@?DO@?3IDQ@MNDOD@N<M@M@LPDM@?OJKMJQD?@NOP?@IONRDOC<

&312#&&K@MDJ?<AO@M>G<NN@NNO<MO7@O "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA

+<I<B@H@IO<I?DON J<M?JA2MPNO@@N?JIJOKMJQD?@OCDN?MJK <??K@MDJ?<AO@M>G<NN@NNO<MO

             2C@3IDQ@MNDOTJIGTKMJQD?@N<JI@ R@@FKM@QD@RK@MDJ?AJMNOP?@IONOJ<??JM

?MJK<>G<NN$'(13'>G<NN@NNO<MO

             2C@R@@FGT>JIO@IOJA@Q@MT>G<NNDN><O@BJMDU@?DIOJR@@FGTHJ?PG@N2C@N@

HJ?PG@NJIGTJK@I@<>CR@@FJAOC@JIBJDIB>G<NNDON@GA




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                  TJK@IDIBOC@R@@FGT>JPMN@>JIO@IOJIGT<AO@MOC@>G<NN<>OP<GGT=@BDIN<I?

RDOCJPO<GGJRDIBNOP?@IONOJ<?? ?MJK<>G<NN<AO@MOC@TC<Q@<>OP<GGTDIO@M<>O@?RDOCOC@>JPMN@

H<O@MD<G<I?OC@!JPMN@DINOMP>OJM NOP?@ION<M@?@KMDQ@?OC@DMMDBCOOJ<??JM?MJK<>G<NNJIOC@DM

JRI<AO@MDIO@M<>ODIBRDOCOC@>JPMN@H<O@MD<G<I?OC@>JPMN@DINOMP>OJMOJ?@>D?@RC@OC@MOC@

>G<NN<I?OC@O@<>C@MDN<BJJ?ADOAJMOC@H JMOJM@BDNO@MAJM<?DAA@M@IO>G<NNN@>ODJI

            'IDOD<GGT .G<DIODAAN@GA M@BDNO@M@?JIODH@AJM!!2?PMDIBOC<O,JQ@H=@M

N@NNDJI+M*<PM@I>@*<UJANJIR<NOC@>JPMN@DINOMP>OJMAJMOC<O!!2>G<NNN@>ODJI

            .G<DIODAAH@OOC@M@LPDM@H@IONAJM5@@FJA!!2>G<NNRDOC+M*<UJANJI

.G<DIODAAODH@GT>JHKG@O@?OC@O@SO=JJFM@<?DIBN<I?R@@FGT?DN>PNNDJIKJNODIBN

                  T@H<DG?<O@?->OJ=@M  .+ .G<DIODAANP=HDOO@?CDNH@MD><IN

RDOC"DN<=DGDOT" <>>JHHJ?<ODJIG@OO@MOJ+M*<UJANJI4''RDOCDI#SCD=DO! 

            .G<DIODAAK@M>@DQ@?CJNODG@@?P><ODJI<G@IQDMJIH@IO"?DN>MDHDI<ODJI<AO@M

.G<DIODAAN@IO+M*<UJANJICDN"<>>JHHJ?<ODJIG@OO@MRCD>C@SO@I?@?<GGR@@FGT>JPMN@

<NNDBIH@IO?@<?GDI@NAJMOC@>G<NNOJI@SO2CPMN?<TNJA@<>CR@@F OJ<QJD?O@INDJIN .G<DIODAA

R<IO@?OJNR<KOJ<IJOC@MN@>ODJIJAOC@N<H@!!2RDOC<?DAA@M@IOO@<>C@M?PMDIBOC@

,JQ@H=@MN@NNDJI

             .G<DIODAA>JIO<>O@?"@4MT!@IOM<G1OP?@IO1PKKJMO!@IO@M<=JPOOC@NDOP<ODJI<I?

C@R<NM@BDNO@M@?AJM<?DAA@M@ION@>ODJIJAOC<O!!2>G<NNRDOCJPOOC@<KKMJQ<GJAOC@

>JPMN@DINOMP>OJM&JR@Q@M .G<DIODAAIJOD>@?OC<OC@DNA<M=@CDI?OC@>JPMN@H<O@MD<GAJMOC<OI@R

N@>ODJI<I?NJ.G<DIODAA?@>D?@?OJM@OPMIOJOC@KM@QDJPNN@>ODJIJAOC@N<H@!!2!G<NN

RDOC+M*<UJANJI

             .G<DIODAA>JIO<>O@?"@4MT!@IOM<G1OP?@IO1PKKJMO>@IO@M<I?C@R<NOM<INA@MM@?

OJ+M(@AAM@T%M@@I=@MB "DM@>OJMJA1OP?@IO!@IOM<G "@4MT3IDQ@MNDOT




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             +M%M@@I=@MBDIAJMH@?.G<DIODAAOC<O<GOCJPBC.G<DIODAAC<?H@OOC@>JPMN@

M@LPDM@H@IONJIODH@ .G<DIODAA_NR@@FGT?DN>PNNDJIKJNODIBNHDBCO=@GJNODIOC@>JPMN@NTNO@H

@Q@IDA.G<DIODAAM@OPMI@?OJCDNJMDBDI<G!!2>G<NNRDOC+M*<UJANJIOJ>JIODIP@OC@

>JPMN@

             +M%M@@I=@MBAPMOC@M@SKG<DI@?OC<OBDQ@IOC<OOC@!!2>G<NNR<NJIBJDIB 

<I?5@@FR<N<GHJNO@I?@? NR<KKDIBOJ<?DAA@M@ION@>ODJIJAOC@N<H@>G<NNR<NOC@M@AJM@

>JIND?@M@?<N\G<O@M@BDNOM<ODJI]AJM<>G<NN RCD>CM@LPDM@NOC@RMDOO@I<KKMJQ<GJA=JOC<A<>PGOT

>C<DM<I?OC@>JPMN@DINOMP>OJMAJMOC<O>G<NN <I?NJC@RJPG?>JIO<>OOC@KM@QDJPN>JPMN@

DINOMP>OJM +M*<UJANJI <I?A<>PGOT>C<DMK@MNJIOJN@@FOC@DM<KKMJQ<GAJM.G<DIODAAOJM@OPMIOJ

CDNJMDBDI<G!!2>G<NNRDOC+M*<UJANJI

             'I<I@H<DG?<O@?,JQ@H=@M  .+ +M%M@@I=@MBM@KGD@?OJ.G<DIODAA

<I?@SKG<DI@?OC<ONRDO>CDIB=<>FOJOC@KM@QDJPN!!2!G<NNRDOC+M*<UJANJIDN

>JIND?@M@?<N.#5'>G<NNM@BDNOM<ODJI JOCOC@A<>PGOT>C<DMK@MNJI<I?>JPMN@DINOMP>OJM +M

*<UJANJIC<Q@?@>GDI@?OJ<KKMJQ@DO<GG>JPMN@RJMFR<N<GM@<?TODH@GT>JHKG@O@?''RDOCDI

#SCD=DO! 

            +M%M@@I=@MB_N,JQ@H=@M @H<DG<GNJDIAJMH@?.G<DIODAAOC<O<GOCJPBC

+M*<UJANJI?@>GDI@NOJ<GGJR.G<DIODAAOJM@OPMIOJCDN>G<NN +M*<UJANJIC<NM@OMD@Q@?<I?

>JKD@?.G<DIODAA_NODH@GT?DN>PNNDJIKJNODIBNAJM.G<DIODAAOJ>JIODIP@DI<?DAA@M@ION@>ODJIJAOC@

N<H@!!2>G<NNRDOC?DAA@M@IO>JPMN@DINOMP>OJM4''RDOCDI#SCD=DO! 

            ,JORDOCNO<I?DIBOC@3IDQ@MNDOT_N?@ID<GJA.G<DIODAA_NM@LP@NOOJEJDIOC@DIDOD<G

!!2>G<NNRDOC+M*<UJANJIRC@M@<N.G<DIODAAC<?<GM@<?T>JHKG@O@?R@@FGT>JPMN@RJMF

JIODH@ OC@3IDQ@MNDOTNODGGG<O@ M@BDNO@M@?.G<DIODAAAJM<?DAA@M@IO>G<NN<GOJB@OC@MD@+2&

 DIOC<O,JQ@H=@MN@NNDJIRDOCJPOOC@M@LPDNDO@<KKMJQ<GJAOC@>JPMN@DINOMP>OJM"M




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&@INJI +<>F M<OC@MOC<IM@BDNO@MDIB.G<DIODAA=<>FDIOJOC@DIDOD<G!!2>G<NNRDOC+M

*<UJANJIRC@M@.G<DIODAAC<?>JHKG@O@?>JPMN@RJMFJIODH@

            ,JORDOCNO<I?DIBOC@3IDQ@MNDOT_NKJGD>TOC<OG<O@>G<NNM@BDNOM<ODJIM@LPDM@N

RMDOO@I<KKMJQ<GJA=JOCOC@!JPMN@'INOMP>OJM<I?<$<>PGOT!C<DMK@MNJI OC@3IDQ@MNDOTNODGG

M@BDNO@M@?.G<DIODAAG<O@AJM<OJO<GGT?DAA@M@IO>G<NN<GOJB@OC@M+2& >G<NNDIOC@,JQ@H=@M

N@NNDJIRDOCJPOOC@RMDOO@I<KKMJQ<GJAOC@>JPMN@DINOMP>OJM "M&@INJI +<>F <I?

RDOCJPO<RMDOO@I<KKMJQ<GJA<ITA<>PGOT>C<DMK@MNJI

            .G<DIODAA<Q@MNOC<OGJBD><GGTOC@3IDQ@MNDOTNCJPG?C<Q@M<OC@MM@ M@BDNO@M@?

.G<DIODAAOJM@OPMIOJOC@DIDOD<G!!2>G<NNRDOC+M*<UJANJI=@><PN@.G<DIODAAC<?<GM@<?T

H@O<GG>JPMN@M@LPDM@H@IONOC<OR@M@M@OMD@Q@?=T+M*<UJANJI?@NKDO@+M%M@@I=@MB_N

>JI>@MIOC<O.G<DIODAA_NODH@GT>JHKG@O@?>JPMN@RJMFRJPG?=@GJNO<N<M@NPGOJADIDOD<GGT

?MJKKDIBOC<O>G<NNRDOC+M*<UJANJI

            .G<DIODAAR<NPI<=G@OJ><O>CPKRDOCNK@@?DIOC@G<O@ M@BDNO@M@?+2&

>G<NN

             .G<DIODAAR<NPGODH<O@GTPINP>>@NNAPGDIOC<O+2&!G<NNNP>COC<O@Q@I

RDOC<IDI>JHKG@O@BM<?@ .G<DIODAAR<NNODGGPI<=G@OJ>JHKG@O@OC@>JPMN@RJMF

             .G<DIODAA<Q@MNOC<OOC@3IDQ@MNDOTFIJRDIBGT<I?M@>FG@NNGTG<O@ M@BDNO@M@?

.G<DIODAAAJMOC<O+2&>G<NNRDOCJPOOC@RMDOO@I<KKMJQ<GJAOC@>JPMN@DINOMP>OJM "M

)<OCMDI@&@INJI +<>F <I?<A<>PGOT>C<DMK@MNJI <GGOJOC@?@OMDH@IOJA.G<DIODAA RCD>C

?M<NOD><GGT[M@?P>@?.G<DIODAA_NNOMJIB<><?@HD>%.

             3GODH<O@GT RC<OC<KK@I@?C@M@DN JIBMJPI?NJAG<O@M@BDNOM<ODJI<I?DI<=DGDOTJA

NOP?@IOOJK@MAJMH<AO@MG<O@>G<NNM@BDNOM<ODJI OC@3IDQ@MNDOT?@>GDI@?OJKPO.G<DIODAA=<>FDIOJ

CDNDIDOD<G!!2>G<NNRDOC+M*<UJANJIAJM.G<DIODAAOJ>JIODIP@AMJHRC@M@C@G@AORC@I




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C@?MJKK@?OC<O>G<NNPKJIK@M>@DQDIBNJH@CJNODGDOT<B<DINOCDHAMJH"M*<UJANJIJQ@MCDN

"<>>JHHJ?<ODJIIJOD>@ ?@NKDO@OC@A<>OOC<O=JOC(@AAM@T%M@@I=@MB<I?+M*<UJANJIR@M@

<=G@OJM@OMD@Q@.G<DIODAA_NODH@GT>JHKG@O@?RJMFAMJHOC@*<UJANJI!!2>G<NN

             7@O OC@N<H@3IDQ@MNDOT@I?@?PK?JDIBG<O@M@BDNOM<ODJIAJM.G<DIODAAG<O@OJEJDI

<OJO<GGTI@R>G<NN+2&.G<DIODAA?D?IJONP>>@@?DI+2&RDOCH<ITJPONO<I?DIB

>JPMN@RJMF<I?OC@'I>JHKG@O@ A<DGBM<?@C<N?M<NOD><GGTM@?P>@?CDN%.

             2C@3IDQ@MNDOTNCJPG?=@=G<H@?AJMM@BDNO@MDIB.G<DIODAAG<O@+2&

FIJRDIBQ@MTR@GGOC@MDNFJAA<DGPM@AJMNP>CG<O@>G<NNM@BDNOM<ODJIN

            N<M@NPGO .G<DIODAA=MDIBNOCDNNPDOAJMOCDN!JPMOOJJM?@MOC@3IDQ@MNDOTOJ

PIGJ>FOC@+2&>G<NNAJM.G<DIODAAOJ>JHKG@O@OC@JPONO<I?DIB>JPMN@RJMFRDOCJPO

M@O<FDIB<I?M@K<TDIBOPDODJI<I?A@@N<B<DI1J OC<O.G<DIODAA><I<GNJBM<?P<O@JIODH@

             N<31!DODU@I<I?%M<?P<O@1OP?@IO .G<DIODAAC<N>JINODOPODJI<GGT KMJO@>O@?

DIO@M@NO<I?GD=@MOTDIO@M@NODICDN%.

             N<BM<?P<O@NOP?@IO<I?31!DODU@I .G<DIODAAC<N<KMJO@>O@?DIO@M@NODICDN

ODH@GTBM<?P<ODJIAJMCDN+ ?@BM@@AJMRCD>CNP>>@NNDIOC@+2&>G<NNDN>JM@

M@LPDM@H@IOOJBM<?P<O@

             N<?DM@>O<I?KMJSDH<O@M@NPGOJA?@A@I?<IONPIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DIJAM@BDNO@MDIB.G<DIODAAG<O@AJMOC@+2&>G<NN?@NKDO@OC@3IDQ@MNDOT_NJRI

M@BDNOM<ODJIKM<>OD>@NOCJPBC+M%M@@I=@MBOC<ONP>CG<O@M@BDNOM<ODJIM@LPDM@N=JOC<KKMJQ<GJA

OC@>JPMN@DINOMP>OJM<I?<A<>PGOT>C<DM .G<DIODAA>JPG?IJO>JHKG@O@JPONO<I?DIB>JPMN@RJMFDI

+2&4''RDOCDI#SCD=DO! 

             N<?DM@>O<I?KMJSDH<O@M@NPGOJA?@A@I?<IONPIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI.G<DIODAA_NNOMJIB%.C<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C




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><IIJO=@APGGT>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJ

KM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@AOJM@OMJ<>ODQ@GTM@HJQ@OC@+2&>G<NNAMJH

CDNM@>JM? <NR@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?M@<NJI<=G@>JNON

JAOCDNG<RNPDO DI>GP?DIBM@<NJI<=G@OOJMI@TNA@@N

                 N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAA+D>C<@G-*DQDIBNOJI@C<N=@@I><PN@?<I?RDGG>JIODIP@DI?@ADIDO@GT

DIOJOC@APOPM@OJ=@><PN@?N@Q@M@H@IO<G<IBPDNC CPHDGD<ODJI <ISD@OT NOM@NN <I?@HJODJI<G

<I?JMKNT>CJGJBD><G?DNOM@NN <GGRDOC<NNJ>D<O@?KCTND><GNTHKOJHN

                 5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION"@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO ?O<G@H%GJ=<G

#?P><ODJI'I> EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGTAJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I

<HJPIODI@S>@NNJA @S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?

DIEPI>ODQ@M@GD@AOJ@IEJDIOC@PIDQ@MNDOTOJPIGJ>FOC@+2&>G<NNAJM.G<DIODAAOJNP=HDO<GG

JPONO<I?DIB>JPMN@RJMFAJM+2&AJMOC@3IDQ@MNDOTOJ>C<IB@OC@DI>JHKG@O@ A<DGBM<?@

RDOCDI R@@FNJAOC@!JPMO_N-M?@MDI"@>@H=@M<I<R<M?JAM@<NJI<=G@<OOJMI@TN_

A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<N

OC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                                          &)(#" +

     !82704:# 8D8<6AB=<4D4*@G4::4@3B0:4;3C20B8=<@=C><2=0@3=5
                       (@CAB44A=54*@G)<8D4@A8BG'70<B0<C=A4

                 .G<DIODAADI>JMKJM<O@NOC@AJM@BJDIB<GG@B<ODJINC@M@DI<NDAAPGGTN@OAJMOCC@M@DI




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          Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 149 of 286 PageID #:149
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                  2C@>JI?P>OJA"@A@I?<ION <NN@OAJMOCC@M@DI<=JQ@ >JINODOPO@N>JI?P>ORCD>C

?@KMDQ@?.G<DIODAA_NMDBCONDIOC@H<II@M?@N>MD=@?DIOC@AJGGJRDIBK<M<BM<KCN

                  2C@3IDQ@MNDOTDIO@IODJI<GGT<I?FIJRDIBGT>JI>@<G@?H<O@MD<GA<>ONAMJH

.G<DIODAAOC<OR@M@FIJRI=T"@A@I?<IONJMNCJPG?C<Q@=@@IFIJRI=T"@A@I?<ION<MJPI?

RC@I.G<DIODAAR<N=@DIB<?HDOO@?JMH<OMD>PG<ODIBDIOJOC@3IDQ@MNDOT

                 "@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO>G<DHOC<OOC@

3IDQ@MNDOT_N+ KMJBM<HDN\<>>M@?DO@?]

                 2C@A<>ODN OC@3IDQ@MNDOT_N+ KMJBM<HDNIJOCDBCGT<>>M@?DO@?=TOC@

NNJ>D<ODJIOJ?Q<I>@!JGG@BD<O@1>CJJGNJA PNDI@NNN!1 

                 "@A@I?<IONDIO@IODJI<GGT<I?FIJRDIBGT>JI>@<G@?AMJHOC@DM!<O<GJBN<I?

&<I?=JJFNOC<OM@B<M?G@NNJA%M<?@N >JPMN@>M@?DON@<MI@?AMJH"@4MT3IDQ@MNDOT_N+ 

KMJBM<H?JIJOOM<INA@MOJJOC@MCDBCGT<>>M@?DO@?+ KMJBM<HN=TOC@!1 

                 MJPI? RC@I.G<DIODAAR<IO@?OJOM<INA@MCDN+ >G<NN@NAMJH"@4MT

3IDQ@MNDOTOJ0POB@MN3IDQ@MNDOTDI,@R MPINRD>F ,@R(@MN@T JM4<I?@M=DGO3IDQ@MNDOT

2@II@NN@@ AJM@S<HKG@ 0POB@MNDIAJMH@?.G<DIODAAOC<O!1 CDBCGT<>>M@?DO@?+ 

KMJBM<HNNP>C<N0POB@MN+ KMJBM<H?JIJO<>>@KO<IT>M@?DONAMJHIJI !1 <>>M@?DO@?

KMJBM<HNGDF@"@4MT3IDQ@MNDOT_N+ .MJBM<H!JIN@LP@IOGT .G<DIODAARDGGC<Q@OJNO<MO<GG

JQ@M<B<DIDAC@>CJN@OJOM<INA@MAMJH"@4MTOJKPMNP@OC@+ ?@BM@@AMJH0POB@MN

3IDQ@MNDOT

                 .G<DIODAAR<NOC@M@AJM@AJM>@?<I?>JHK@GG@?OJNO<T<O"@4MTOJ>JHKG@O@CDN

+ NJOC<OC@RJPG?IJOGJN@CDN>M@?DON<I?OC@NP=NO<IOD<G?@=OC@C<NDI>PMM@?

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             COOKNRRR<<>N=@?P<>>M@?DO<ODJI<>>M@?DO@? N>CJJGN
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
            1@@ COOKNRRR=PNDI@NNMPOB@MN@?PK<MO ODH@ H=<AM@LP@IOGT <NF@? LP@NODJIN
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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 150 of 286 PageID #:150
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                 1DHDG<MDNNP@RDOCGJNNJAOM<INA@M>M@?DON=TA<DGPM@OJ?DN>GJN@C<KK@I@?OJ

<IJOC@M"@4MTNOP?@IOOC<OM@NPGO@?DIOC@A@?@M<G><N@JA#)*.+#07' 3:0+7'34+5:0% 

$1PKK?!"!<G <I?OC@!JPMONM@?M@NN"<BCGD<I_NBMD@Q<I>@<=JPOOC<O

                 "@A@I?<IONC<Q@<?POTOJ?DN>GJN@OC@>JI>@<G@?DIAJMH<ODJI=@><PN@.G<DIODAA

?D?IJOFIJRJAOC@>JI>@<G@?A<>ONKMDJMOJKPM>C<NDIB<"@4MT@?P><ODJIKMJBM<H<I?M@G<O@?

N@MQD>@N IJM>JPG?.G<DIODAAM@<NJI<=GT=@@SK@>O@?OJG@<MIJM?DN>JQ@MNP>C>JI>@<G@?A<>ON

KMDJMOC@M@OJ

                 .G<DIODAARJPG?IJOC<Q@KPM>C<N@?OC@@?P><ODJIKMJBM<H<I?M@G<O@?N@MQD>@N 

IJMRJPG?IJOC<Q@K<D?<NHP>COC@M@AJM C<?.G<DIODAAFIJRIJAOC@>JI>@<G@?DIAJMH<ODJI

                 .G<DIODAAEPNODAD<=GTM@GD@?JIOC@A<>ON<NC@FI@ROC@H<OOC@ODH@ <I?<N<?DM@>O

<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_AM<P?PG@IO>JI>@<GH@IOJAOCDNH<O@MD<GA<>ON .G<DIODAAC<N

NPAA@M@?<>OP<GDIEPMT DI A<>O<I??<H<B@N DI>GP?DIB=POIJOGDHDO@?OJ HJI@O<MTGJNNDI

>JII@>ODJIRDOCKPM>C<N@NJAOC@@?P><ODJIKMJBM<H<I?M@G<O@?N@MQD>@NC@RJPG?IJOC<Q@

KPM>C<N@?<=N@IO"@A@I?<ION_>JI>@<GH@IO AM<P?PG@IOJHDNNDJIN <I?IJI ?DN>GJNPM@N JMRJPG?

IJOC<Q@K<D?<NHP>CAJMNP>CKPM>C<N@N

                 5&#0#$-0# .G<DIODAADN@IODOG@?OJ <I?C@M@=TN@@F <>OP<G?<H<B@N KPIDODQ@

?<H<B@N OM@=G@?<H<B@N M@<NJI<=G@<OOJMI@TN_A@@N<I?>JNON OPDODJI<I?A@@N<=<O@H@IO<I?

<IT<I?<GGAPMOC@M@LPDO<=G@M@GD@AOC<OOCDN!JPMO?@@HN<KKMJKMD<O@

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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 151 of 286 PageID #:151
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                     )"*&'(-'()"(###")(
                 !82704:# 8D8<6AB=<4D4*@G4::4@3B0:4;
                       =0@3=5(@CAB44A=54*@G)<8D4@A8BG
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             .G<DIODAADI>JMKJM<O@NOC@AJM@BJDIB<GG@B<ODJINC@M@DI<NDAAPGGTN@OAJMOCC@M@DI

             .G<DIODAA=MDIBN<>JINODOPODJI<G>C<GG@IB@<B<DINOMOD>G@''<I?MOD>G@'''JAOC@

"@4MT3IDQ@MNDOT_N1OP?@IO!JI?P>O!J?@=@><PN@DODNPI>JINODOPODJI<G<I?A<>D<GGTJQ@M=MJ<?

<I?Q<BP@ <I?KMJ=G@H<OD>

              T>C<MBDIB<NOP?@IORDOC\OCM@<O]<I?\DIODHD?<ODJI]RDOCJPONK@>DATDIBOC<ODO

DN<\OCM@<OJAKCTND><GQDJG@I>@ ]OC<ODNJQ@M=MJ<?<I?Q<BP@DIOC@N@IN@OC<O<ITOCDIB<O<GG><I

=@>JIND?@M@?=T<IT=J?T<NOCM@<O@IDIBDIQDJG<ODJIJAOC@MOD>G@'''JA1OP?@IO!JI?P>O!J?@

&@I>@ OC@3IDQ@MNDOTC<NM@K@<O@?GTKPMNP@??DN>DKGDI<MT<>ODJIN<B<DINO.G<DIODAA_N\OCM@<OOJ

NP@OC@3IDQ@MNDOTDI!JPMO]JM.G<DIODAA_N\OCM@<ONOJM@KJMOM<>D<G?DN>MDHDI<ODJI ]AJM@S<HKG@

             1DHDG<MGT MOD>G@''JAOC@3IDQ@MNDOT_N1OP?@IO!J?@JA!JI?P>ODNC@M@=T

>C<GG@IB@?<NPI>JINODOPODJI<GGTJQ@M=MJ<? Q<BP@ <I?KMJ=G@H<OD>DIOC@N@IN@OC<O=T>C<MBDIB

<NOP?@IORDOCKDM<>T OC@>J?@NDHPGO<I@JPNGT<??N<>C<MB@JAAJMB@MT,JOCDIBDI#SCD=DON<

+<I?#SCD=DO#>JINODOPO@NKDM<>T<I?AJMB@MT AJM@S<HKG@7@O .G<DIODAAR<N>C<MB@?AJM

<GGJAOCDN

             .G<DIODAA<Q@MNOC<O@Q@IDANOP?@IO>J?@N<M@IJO>MDHDI<G>J?@NOC<OM@LPDM@

NK@>DAD>DOT MOD>G@N'''''JAOC@"@4MTNOP?@IO>J?@JA>JI?P>O<M@NODGGKMJ=G@H<OD>DIOC@

N@IN@OC<ODODNNODBH<ODUDIB<B<DINO>JINODOPODJI<GGT KMJO@>O@?GD=@MOTDIO@M@NONJANOP?@ION_M@>JM?

                 5&#0#$-0# .G<DIODAA=MDIBNOCDN>JHKG<DIOAJMOC@!JPMOOJ@IO@M<I-M?@M

?@>G<MDIBOC<OMOD>G@N'''''JA"@4MT3IDQ@MNDOT_N1OP?@IO!J?@JA!JI?P>ODN




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PI>JINODOPODJI<GGT Q<BP@<I?JQ@M=MJ<?<NRMDOO@I<I?<N<KKGD@?=T"@4MT3IDQ@MNDOT<I?OC<O

APOPM@@IAJM>@H@IODN@IEJDI@?K@I?DIBM@KG<>@H@IORDOC<KMJQDNDJIOC<O<?@LP<O@GTKMJO@>ON

NOP?@ION_MDBCONOJKMJ>@?PM<G<I?NP=NO<IODQ@?P@KMJ>@NN<I?AM@@?JHJA@SKM@NNDJI<I?GD=@MOT

DIO@M@NON

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    !82704:# 8D8<6AB=<4D@8AA0@G0<B4*@G)<8D4@A8BG4::4@3B0:4;6@4AB0
                                                  
             .G<DIODAADI>JMKJM<O@NOC@AJM@BJDIBK<M<BM<KCNC@M@DI<NDAAPGGTN@OAJMOCC@M@DI

                 .G<DIODAA<GNJ=MDIBNOCDNI@BGDB@I>@JA?POT>G<DH<B<DINO"@A@I?<IOMDNN<

    MT<IO OC@"@4MT3IDQ@MNDOT <I?DONNP=ND?D<MD@N

                 'I(PI@ OC@3IDQ@MNDOTN<I>ODJI@?.G<DIODAARDOC<?DN>DKGDI<MTR<MIDIBG@OO@M

OC<OJPOGDI@N<\>C<II@GJA>JHHPID><ODJI]AJM.G<DIODAAOJAJGGJRRC@IOC@M@DN<KMJ=G@H

#SCD=DO# 

                 2C@(PI@R<MIDIBG@OO@M#S# NK@>DAD><GGT?@NDBI<O@?+NMDNN< MT<IO

<N.G<DIODAA_N1OP?@IO1PKKJMO?QDN@MOJM@<>CRC@I.G<DIODAA_N?DM@>O<OO@HKONOJM@NJGQ@H<OO@MN

RDOC<>JPMN@DINOMP>OJMA<DGN&

               2C@3IDQ@MNDOTDHKJN@?<?POTPKJI"@A@I?<IO MT<IO<NOC@NOP?@IONPKKJMO

<?QDN@MAJM.G<DIODAAOJM@<>CRC@IOC@M@DN<KMJ=G@HAJM+N MT<IOOJ>JII@>O.G<DIODAAOJOC@

>JMM@>O>JHKG<DIO<?HDIDNOM<OJM#SCD=DO# 

                     TI<HDIB"@A@I?<IOMDNN< MT<IO<N.G<DIODAA_N?@NDBI<O@?NOP?@IONPKKJMO

<?QDN@MOJ<>O<N.G<DIODAA_N>JJM?DI<OJM<I?<?QJ><O@OJ>JII@>O.G<DIODAAOJOC@>JMM@>O>JHKG<DIO




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<?HDIDNOM<OJMRC@IOC@M@DN<KMJ=G@H ?@A@I?<IO MT<IO<I?OC@3IDQ@MNDOTC<?<?POTOJ

.G<DIODAAOJOC@>JMM@>O!JHKG<DIO?HDIDNOM<OJM

             'I->OJ=@M RC@I.G<DIODAAM@<>C@?JPOOJ+N MT<IO=T@H<DGN<I?"@4MT

!@IOM<GKCJI@GDI@NOJN@@FC@M<NNDNO<I>@<I?>JJM?DI<ODJIM@B<M?DIB"M&<Q@G +N MT<IO

I@Q@MM@NKJI?@?OJ.G<DIODAA_N@H<DGN<I?KCJI@><GG#SCD=DO" FIJRDIBQ@MTR@GGOC<O

NJH@OCDIBR<NBJDIBJIOC@M@=T G@<QDIB.G<DIODAAOJADI?CDNJRI<KKMJKMD<O@<?HDIDNOM<OJMOJ

<??M@NN.G<DIODAA_N>JI>@MIN<B<DINO"M&<Q@G

             "PMDIBOC@,JQ@H=@M >JI?P>OC@<MDIB<I?RDOCDI.G<DIODAA_N

H@HJM<I?PHOJOC@.<I@GDNON#S         .G<DIODAADIAJMH@?"@A@I?<IOBM@NO<OC<O+N MT<IO

A<DG@?OJB@O=<>FOJCDH?@NKDO@OC@A<>OOC<O"@A@I?<IOBM@NO<I<H@?C@MJIOC@R<MIDIBG@OO@M

#S# <N.G<DIODAA_NNOP?@IONPKKJMO<?QDN@MOJ<NNDNO.G<DIODAA7@O "@A@I?<IOBM@NO<<I?OC@

.<I@GDNON"@A@I?<ION0PNN@GG 1>CHDOU <I?"_1JPU< ?D?IJOCDIB<=JPODO

             2C@<?Q@MN@N<I>ODJINIJOD>@#S! @MMJI@JPNGT>G<DHNOC<O.G<DIODAA?D?IJO

AJGGJRKMJK@M>C<II@GNJA>JHHPID><ODJIOJM@<>COC@>JMM@>O>JHKG<DIO<?HDIDNOM<OJM =PO

M<OC@M OC@,<ODJI<G"@<I*@IJM@%JG?=@MB +@<IRCDG@ DOR<NOC@?POTJA"@A@I?<IOMDNN<

    MT<IOOJADI?<I?>JII@>O.G<DIODAAOJOC@>JMM@>O!JHKG<DIO?HDIDNOM<OJM#S# 7@O NC@

A<DG@?OJK@MAJMHOC<O?POT<I?"@A@I?<IOBM@NO<<I?OC@3IDQ@MNDOT?D?IJOCDIB<=JPOC@M

I@BGDB@I>@

                 OOC@ODH@ .G<DIODAA<GNJ>JIO<>O@?,@R MPINRD>F ,(><HKPN<I?OC@T

>JII@>O@?CDHOJ"@4MT>@IOM<G<I?C@>M@<O@?<><N@IPH=@MAJMOC@3IDQ@MNDOTOJ>JII@>O

.G<DIODAAOJOC@>JMM@>O>JHKG<DIO?HDIDNOM<OJM

                 "@A@I?<IOBM@NO<NCJPG?=@C@G?GD<=G@=TOCDN!JPMOAJMDHKJNDIB<K@MAPI>OJMT

>C<II@GJA>JHHPID><ODJIPKJI.G<DIODAA*DQDIBNOJI@<I?AJMCDNM@>FG@NNA<DGPM@OJO<F@<>ODJI




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<B<DINOOC@IJI K@MAJMH<I>@JAOC@1OP?@IONPKKJMO<?QDN@M<I?<>OJMNRDOCDIOC<OK@MAPI>OJMT

>C<II@GJA>JHHPID><ODJI

                       T?DM@>O<I?KMJSDH<O@><PN@JAOC@I@BGDB@IOA<DGPM@JA+N MT<IOOJM@NKJI?OJ

.G<DIODAA_N@H<DGN<I?OJ<NNDNOCDHOJADI?<I<KKMJKMD<O@>JHKG<DIO<?HDIDNOM<OJMOJ<??M@NN

.G<DIODAA_N>JI>@MIN<B<DINO"M&<Q@G<OOC@ODH@ OCDNM@NPGO@?DI.G<DIODAAN@I?DIBHJM@@H<DGN

<I?NOMDIBNJA@H<DGNOJADI?NJGPODJINAMJHJOC@M<?HDIDNOM<OJMNDI>GP?DIB.G<DIODAA>JIO<>ODIBOC@

)@GG@M_N,<ODJI<G"@<I+N*@IJM@%JG?=@MB RCD>CDIOPMIG@?OJ<?Q@MN@?DN>DKGDI<MT<>ODJI

#SCD=DO! 

                 N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGO OCDNG@?OJOC@3IDQ@MNDOTNPHHJIDIB 

N<I>ODJIDIB <I?N@DUDIB.G<DIODAAAJM?DN>DKGDI<MTC@<MDIB#SCD=DON! $ "  + RCD>C

C<NDIOPMIR<NO@?.G<DIODAA_NODH@ NODBH<ODU@?.G<DIODAA_NM@>JM? <I??DNOM<>O@?.G<DIODAA_N

<><?@HD>AJ>PN

                 5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO EJDIOGT 

N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA

HDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@A

JM?@M=TOCDN!JPMO@IEJDIOC@3IDQ@MNDOTOJQ<><O@<I?@SKPIB@.G<DIODAA_N,JQ@H=@M

?DN>DKGDI<MTM@>JM?<I?N<I>ODJINRDOCJPOH<FDIB<ITM@A@M@I>@NOJDO<I<R<M?JAM@<NJI<=G@

OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@M

M@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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     !82704:# 8D8<6AB=<4D3B0:4;4*@G)<8D4@A8BG4::4@@03C0B4'27==:=5
                   !0<064;4<B=0@3=5(@CAB44A=54*@G)<8D4@A8BG
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             .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@OC@AJM@BJDIBK<M<BM<KCN<NDAAPGGTN@O

AJMOCC@M@DI

             "@A@I?<IONM@>FG@NNGT<I?@MMJI@JPNGTPN@OC@=DBODOG@\.MJA@NNJM]AJM<IT=J?T

RCJO@<>C@N<OOC@3IDQ@MNDOT

             'ODNIJO>G@<MRCJDN<O@IPM@?.MJA@NNJM<I?RCJDNIJO<O@IPM@?.MJA@NNJM<OOC@

3IDQ@MNDOT

             2JOC@=@NOJA.G<DIODAA_NFIJRG@?B@ =JOCOC@KP=GDNC@?><?@HD>!<O<GJBN<I?

OC@&<I?=JJFJAOC@3IDQ@MNDOT<M@NDG@IO<=JPORCJDN<M@<G<I?APGGTO@IPM@?.MJA@NNJM<I?

RCJDNIJO

             2C@3IDQ@MNDOT<GNJPN@NOC@2DOG@\4DNDODIB.MJA@NNJM]AJMHJNO>JPMN@DINOMP>OJMN

RC@M@<NDODNIJO>G@<MAMJHOC@C<I?=JJFRC<O>JINODOPO@N<\QDNDODIB.MJA@NNJM]<I?RC@OC@M

OC@T<M@GDO@M<GGTJI<QDNDOJMIJO5DOCDIOC@<OO<>C@?@H<DGNOJOCDN>JHKG<DIO "@A@I?<IO&<Q@G 

AJM@S<HKG@ NDBINJAACDN@H<DGN<N\4DNDODIB.MJA@NNJM]

                 5C@IOC@ODOG@\.MJA@NNJM]DNPN@?RDOCDI<><?@HD>>DM>G@N DOB@I@M<GGTH@<IN<

APGG\O@IPM@?.MJA@NNJM]

                       <>FDIOC@T@<M "@A@I?<IOBM@NO< AJM@S<HKG@ PN@?OJ><GGCDHN@GA

\.MJA@NNJM]<I?NDBI JAAJICDN@H<DGN<N\.MJA@NNJMBM@NO<]

                 'I(PI@ RC@I.G<DIODAA<??M@NN@?BM@NO<<N\.MJA@NNJMBM@NO< ]C@

DIAJMH@?.G<DIODAAOC<OC@DN\IJGJIB@M.MJA@NNJM]%@I@M<GGT JI>@<O@IPM@?.MJA@NNJM <GR<TN<




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.MJA@NNJM0@<G<><?@HD>O@IPM@?.MJA@NNJMNM@ODM@DIOC@DMKMJA@NNJMNCDK<N\.MJA@NNJM

#H@MDOPN]

                 .<MOJAO@IPM@NCDKH@OMD>NDI<><?@HD<DNFIJRG@?B@JA3IDQ@MNDOTKJGD>T<I?

KMJ>@?PM@N<I?<=DGDOTOJRJMFRDOCNOP?@ION0@<GO@IPM@?.MJA@NNJMNFIJR3IDQ@MNDOTKJGD>D@N

<I?3IDQ@MNDOTKMJ>@?PM@N RCD>CHDIDHDU@NKMJ=G@HNNP>C<NOC@KMJ=G@HN><PN@?=TOC@

3IDQ@MNDOTOJ.G<DIODAADIOCDN>JHKG<DIO

                 N<M@NPGOJAOC@HDNG@<?DIB<I?M@>FG@NNHDNPN@JAOC@ODOG@\.MJA@NNJM]RDOCDI

"@4MT3IDQ@MNDOT<I?DON)@GG@M%M<?P<O@N>CJJGJA+<I<B@H@IO=T<IT>JPMN@DINOMP>OJM 

.G<DIODAAC<N@I>JPIO@M@?H<ITPII@>@NN<MTKMJ=G@HNRDOC>JPMN@DINOMP>OJMN<O"@4MT

3IDQ@MNDOTRCJ><GGOC@HN@GQ@N=DBODOG@\.MJA@NNJMN]7@O OC@T<M@IJOO@IPM@?<I?OC@T<M@IJO

>JIQ@MN<IORDOC3IDQ@MNDOTKJGD>T

             "@A@I?<IO&<Q@G AJM@S<HKG@ >G<DH@?DI->OJ=@MOC<OC@?J@NIJOFIJR

CJROJH<F@@SO@INDJINDI=JOC!<IQ<N<I?!@IB<B@NTI>CMJIDU@?NJAOR<M@OC<OR<N=@DIBPN@?

AJMOC@&JH@RJMF<I?/PDUU@NDI$',<I?C@<H=DBPJPNGT<NF@?.G<DIODAAOJO@GG'2

C@GK?@NFOJHDMMJMOC@@SO@INDJIN0@<GO@IPM@?.MJA@NNJMN<M@OM<DI@?<=JPOO@>CID><GNJAOR<M@

<I?OC@TO<F@>C<MB@JAOC@NTNO@HNOC<O<M@PN@?AJMOC@DM>G<NNRDOCJPON@I?DIBNOP?@IONJPOOJ

NJAOR<M@Q@I?JMNOJHDMMJM<ITOCDIB

            N<M@NPGOJAOC@HDNG@<?DIB<I?M@>FG@NNHDNPN@JAOC@ODOG@\.MJA@NNJM ].G<DIODAA

C<N=@@IHDNG@?OJO<F@>G<NN@NRDOC>JPMN@DINOMP>OJMN RCJ<M@IJOM@<G.MJA@NNJMN OC@M@=T

>JHKMJHDNDIBOC@LP<GDOTJA@?P><ODJIAJMRCD>C.G<DIODAAK<D?

            "@A@I?<IO J<M?JA2MPNO@@NJA"@4MT3IDQ@MNDOTC<NM@>FG@NNGTA<DG@?OJ

KMJN>MD=@<I??DNODIBPDNCOJNOP?@IONRC<O<.MJA@NNJMM@<GGTH@<IN<I?RC<O<4DNDODIB.MJA@NNJM

H@<IN




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                G=@DO OC@3IDQ@MNDOTC<NNJH@BJJ?O@IPM@?.MJA@NNJMNNP>C<N+2&

NNJ>D<O@.MJA@NNJM "M&@INJI +<>F.G<DIODAAI@Q@MC<?<ITDNNP@NRDOC"M&@INJI +<>F

                5&#0#$-0# .G<DIODAA=MDIBNOCDN><PN@JA<>ODJIAJMOCDN!JPMOOJ@IEJDIOC@

3IDQ@MNDOTOJ<GGJRJIGT>JPMN@DINOMP>OJMNJIO@IPM@NCDKOJPN@OC@ODOG@\.MJA@NNJM]DI>GP?DIB

<R<M?JANP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                 .G<DIODAADI>JMKJM<O@NC@M@DI<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGTN@OAJMOC

C@M@DI

                 .G<DIODAA<Q@MNOC<O<GG"@A@I?<ION =TIJOAJGGJRDIBOC@KMJK@MKMJ>@?PM@N

<POCJMDU@?=TOC@DMJRI&<I?=JJFN !<O<GJBN *@OO@MN >C<II@GNJA>JHHPID><ODJI <I?OC@G<R 

<N-AAD>@MN 1PK@MQDNJMN DIOC@?DN>DKGDI<MTKMJ>@@?DIBN<I?BM<?@<KK@<GN <NR@GG<NDI<>ODJI

<I?M@K@<O@?DI<>ODJI<B<DINO.G<DIODAA_N<GG@B<ODJINJA?DN>MDHDI<ODJIC<Q@>JHHDOO@?OC@OJMONJA

H<GA@<N<I>@<I?JMHDNA@<N<I>@<I?JMIJIA@<N<I>@

                 .G<DIODAA<Q@MNOC<ODIOC@@Q@IORC@M@=TOCDN!JPMO<?HDON<ITJAOC@><PN@NJA

<>ODJIDIOCDN>JHKG<DIO<N<QD<=G@>G<DH OC@IOCDN><PN@JA<>ODJINCJPG?<GNJNO<I?<NR@GG

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                               )'I   6 &$0@B
                !82704:# 8D8<6AB=<4D=<0B70<6@4AB04*@G4::4@

             .G<DIODAADI>JMKJM<O@NC@M@DI<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGTN@OAJMOC

C@M@DI

             .G<DIODAAI@Q@M<NF@?<IT=J?TOJ?@NDBI<O@CDN><HKPNGJ><ODJIOJOC@3IDQ@MNDOT_N

.CDG<?@GKCD< .@IINTGQ<ID< >@IO@M><HKPNDIOC@3IDQ@MNDOT_NNTNO@HN<O<GG

            3I?@M$#0.M@BPG<ODJIN .G<DIODAAC<?OJ<POCJMDU@JM>JHKG@O@AJMHNOJ

<POCJMDU@OC@3IDQ@MNDOTH<F@CDH<.CDG<?@GKCD<GJ><ODJINOP?@IO.G<DIODAAI@Q@M<POCJMDU@?DO

<I?RDGGI@Q@M<POCJMDU@DO

            'I NJH@=J?T>C<IB@?.G<DIODAA_N><HKPNGJ><ODJI<NJIGDI@NOP?@IOOJ

.CDG<?@GKCD<><HKPNRDOCJPO.G<DIODAA_N$#0.<POCJMDU<ODJI

            .G<DIODAAJIGTQDNDO@?OC@.CDG<?@GKCD<><HKPNNJH@ODH@<I?C@R<NIJODHKM@NN@?

=TOC@GDHDO@?CJPMNJAGD=M<MT<I?NOP?T<M@<N<I?R<TJA?JDIBOCDIBN1J C@?D?IJO>JHKG@O@

<ITAJMHN<POCJMDU@<IT=J?TOJ>C<IB@CDN><HKPNGJ><ODJIOJ.CDG<?@GKCD<<O<GG

            'I .G<DIODAA<POCJMDU@?CDN"@4MT><HKPNGJ><ODJIOJ=@>C<IB@?OJ,@R

(@MN@T <N.G<DIODAADN=<N@?DI,@R(@MN@T<I?JIGDI@NOP?@IO

            .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MOC<O"@A@I?<IOBM@NO<C<N=@@I

H<IDKPG<ODIBOC@3IDQ@MNDOT_NNTNO@HOJ>C<IB@.G<DIODAA_N><HKPNGJ><ODJI<I?>J?@.G<DIODAAOJ

.CDG<?@GKCD<><HKPNPIOJCDHN@GANJOC<O.G<DIODAADNNP@N><I=@>JII@>O@?OJCDHOJ><MMTJPOCDN

?@@K N@<O@?<IDHJNDOT<I?>G<I?@NODI@<>ODQDOD@N<B<DINO.G<DIODAA

             .G<DIODAAC@M@=T?@ID@N<I?M@QJF@NCDN$#0.R<DQ@MNAMJH"@A@I?<IOBM@NO<

<I?.G<DIODAA?@>G<M@NOC<O"@A@I?<IOBM@NO<NCJPG?I@Q@MC<I?G@.G<DIODAA_NADG@N<I?M@>JM?N




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 <B<DI@S>@KORC@II@>@NN<MTAJMDNNP@NOC<O<M@K@I?DIB=@AJM@OCDN>JPMOJIGTAJMRCD>CC@R<N

 DIQJGQ@?

              .G<DIODAA<NN@MONOC<OC@R<IONOJC<Q@IJOCDIBOJ?JRDOC"@A@I?<IONBM@NO<

 BJDIBAJMR<M?@S>@KOAJMDNNP@NK@I?DIB=@AJM@OCDN!JPMON

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                                      +('$&((&(!"(
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                         !82704:# 8D8<6AB=<4D454<30<BA3B0:4;4*@G4::4@
                  
               .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGT

N@OAJMOCC@M@DI

               .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@#SCD=DO,J

               'I(PGT PBPNON@NNDJI .G<DIODAA@IMJGG@?DIOC@JIGDI@<>>@G@M<O@?

 @DBCO R@@FHJ?PG@BM<?P<O@G@Q@G>G<NN><GG@? PNDI@NN.G<IIDIB1@HDI<M\+%+2] <O

 "@A@I?<IO)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO "@4MT3IDQ@MNDOT

              "@A@I?<IO"M$DIG<TR<NOC@>JPMN@DINOMP>OJMAJM+%+2>G<NN

              "@A@I?<IO"M$DIG<TKG<>@?<GGNOP?@IONDIOJBMJPKNJMO@<HNOJ>JHHPID><O@<I?

 RJMFOJB@OC@MJI<=PNDI@NNNDHPG<ODJIKMJE@>O><GG@?\!.1'+><KNOJI@]OCMJPBC5@@FN 

 HJ?PG@NJAOC@+%+2>JPMN@

              .G<DIODAAR<NK<MOJA<BMJPKJANOP?@IONDIOC@+%+2>G<NN><GG@?\!C@NO@M

 BMJPK]>JINDNODIBJA?@A@I?<ION+M1@<I+PGC@MI+N'=DMJIF@+<E@FJ?PIHD<F<\0JIF@] 

 <I?+M&PTIC2C<IC&J>JGG@>ODQ@GT><GG@?\1OP?@ION]

              NK<MOJAOC@GJIB NO<I?DIB<><?@HD>IJMHN<I?>PGOPM@JAOC@3IDQ@MNDOT OC@

 3IDQ@MNDOTM@LPDM@N<GG+%+2>G<NNNOP?@IONRDOCDI<GGBMJPKNOJ@S@>PO@>JIOM<>OP<G



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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 160 of 286 PageID #:160
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<BM@@H@ION><GG@?<\!C<MO@M]>JHHDOODIBOJJK@M<O@RDOCDI>@MO<DIMPG@NOC@NOP?@IOBMJPK

H@H=@MNOC@HN@GQ@NAJMHPG<O@DI>GP?DIBCJROC@BMJPKRJPG?>JHHPID><O@D@O@G@KCJI@ O@SO

H@NN<BDIB <I?JM@H<DG ?@<?GDI@N O<NFN <I?CJROC@BMJPKRJPG?<??M@NN<I?H<I<B@

>JIAGD>ON''#SCD=DO

             2C@3IDQ@MNDOTQD@RN >JIND?@MN <I?>C<M<>O@MDU@NOC@!C<MO@M<N<\>JIOM<>O]JI

OC@>JPMN@K<B@N

              GGH@H=@MNJAOC@!C@NO@MBMJPKDIOC@+%+2>G<NN<?JKO@?<>JIAGD>O

H<I<B@H@IOKMJOJ>JGRDOCDIOC@>JIOM<>OP<G>C<MO@MOC<OH<F@NKMJQDNDJIOC<OOC@!C@NO@M%MJPK

RJPG?<??M@NNDONJRI>JIAGD>ONOCMJPBC<H@@ODIBRDOCOC@BMJPKG@<?@M<I?DAPIM@NJGQ@? OC@I

OC@BMJPKRJPG?@N><G<O@DOOJOC@>JPMN@DINOMP>OJM?@A@I?<IO"M$DIG<T#SCD=DO 

              .G<DIODAA_N!C@NO@MBMJPKJANOP?@ION<GNJ>JHHDOO@?OJ@S@M>DN@\KJNDODQDOT]DI<GG

@I?@<QJMNRDOCBMJPKH@H=@MN#SCD=DO 

              "@A@I?<IO"M$DIG<TAJMH@?OC@!C@NO@M%MJPKRDOCNOP?@IONOC<O<M@IJO

B@JBM<KCD><GGTGJ><O@?RDOCDIOC@N<H@ODH@UJI@N"@A@I?<ION0JIF@<I?+PGC@MI<M@RDOCDI

OC@.<>DAD>ODH@UJI@"@A@I?<IO+M&J<I?.G<DIODAA*DQDIBNOJI@<M@RDOCDIOC@#<NO@MI2DH@

8JI@#12 

              'OR<NOC@IJMHJAOC@!C@NO@MBMJPKOJN@I?<I?M@>@DQ@O@SOH@NN<B@N<ITODH@

4''B@I@M<GGT#SCD=DO,J 

              MJPI?PBPNO  .G<DIODAAN@IO<O@SOH@NN<B@OJ"@A@I?<IO+PGC@MI<I?

OC@!C@NO@MBMJPK<MJPI?<H#12RCD>CDN<=JPO.+DI.12ODH@UJI@#SCD=DO,J <O

KK  

             "@A@I?<IO+M&JOJJF<IBMTDNNP@RDOCOC@<H#12ODH@<I?M@KJMO@?

.G<DIODAAOJ"@A@I?<IO"M$DIG<T#SCD=DO,J<OKK  




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             MJPI?PBPNO  RDOCJPO<NFDIBAJM.G<DIODAA_NND?@JAOC@NOJMT 

"@A@I?<IO"M$DIG<TOJJF<?Q@MN@<>ODJI<I?M@HJQ@?.G<DIODAAAMJHOC@!C@NO@MBMJPKOJRJMF

JICDNJRIM@B<M?DIB<NNDBIH@IONAJM5@@FNHJ?PG@NJAOC@+%+2''#SCD=DO

 "@A@I?<IO$DIG<T<GNJNO<O@?OC<O<AJMH<GNOP?@IO>J?@JA>JI?P>O>JHKG<DIOC<N=@@IADG@?

<B<DINO.G<DIODAA''#SCD=DO

             -IPBPNO  "@A@I?<IO$DIG<TN@IO<I@H<DG?DM@>ODIB.G<DIODAAIJOOJ

>JHHPID><O@RDOCOC@NOP?@IONJA!C@NO@MBMJPK&JR@Q@M OC@OCM@@ NOP?@ION>JIODIP@?OJ

>JKT<I?N@I?O@SOH@NN<B@NOJ.G<DIODAA.G<DIODAA?D?IJOM@NKJI?#!$,J  KK  

             -IPBPNO  .G<DIODAAN@IO<I@H<DG<NFDIB"M$DIG<TOJ@LP<GGT?DM@>OOC@

OCM@@NOP?@IONIJOOJ>JHHPID><O@RDOCCDH<AO@M.G<DIODAA>JIODIP@?OJM@>@DQ@O@SOH@NN<B@N

AMJHOC@H

             -IPBPNO  .G<DIODAA>JIODIP@?OJM@>@DQ@<N@MD@NJAO@SOH@NN<B@NAMJH

"@A@I?<ION+PGC@MI<I?0JIF@OJ<GGH@H=@MNJAOC@!C@NO@M%MJPKDI>GP?DIB"@A@I?<IO+M

&J<MJPI?<H#124''#SCD=DO,J .<B@N  

              .G<DIODAAJ=N@MQ@?OC<O?@A@I?<IO+M&J?D?IJO>JHKG<DI<AO@M<IJOC@MH@H=@M

JAOC@!C@NO@MBMJPK"@A@I?<IO+PGC@MI <GNJN@IOO@SOH@NN<B@<MJPI?B74         0;#12OJOC@

!C@NO@MBMJPKH@H=@MN#SCD=DO,J .<B@ 

              .G<DIODAA<Q@MNOC<ODADOR<N<IJAA@IN@OJ?@A@I?<IO+M&JRC@I<=G<>FNOP?@IO

GDF@.G<DIODAA*DQDIBNOJI@N@IOO@SOH@NN<B@<O<H#12OJOC@!C@NO@MBMJPK<I?NJOC@

<?Q@MN@<>ODJIR<NO<F@I<B<DINO.G<DIODAAAJMCDHOJ=@M@HJQ@?AMJHOC@BMJPK OC@IDONCJPG?

C<Q@@LP<GGT=@@I<IJAA@IN@OJ"@A@I?<IO+M&JRC@I<NDHDG<MGT NDOP<O@?RCDO@!<P><ND<I

NOP?@IOD@?@A@I?<IO+PGC@MI <GNJN@IOO@SOH@NN<B@NOJOC@BMJPK<MJPI?<H#12




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              5C@I"@A@I?<IO+PGC@MI<!<P><ND<IRCDO@H<G@DIOC@N<H@!C@NO@M%MJPK 

<GNJN@IOO@SOH@NN<B@N<MJPI?<H#12JAPBPNO  "@A@I?<IO+M&J?D?IJO

>JHKG<DIOJ?@A@I?<IO"M$DIG<TAJM?@A@I?<IO+PGC@MIOJ=@M@HJQ@?AMJHOC@!C@NO@M%MJPK

<NR@GG'INO@<? "@A@I?<IO+M&JN@IO<\OC<IFTJPBPTN<GJO]H@NN<B@DIM@KGTN@@#SCD=DO

,J .<B@ 

              .G<DIODAA<Q@MNOC<OC@@SK@MD@I>@?8*+5'23+7+.')'<B<DINOCDHRC@I"@A@I?<IO

+M&JM@KJMO@?CDHOJ?@A@I?<IO"M$DIG<TAJMN@I?DIBO@SOH@NN<B@N<MJPI?<H#127@O 

"@A@I?<IO+M&J?D?IJO>JHKG<DIJMM@KJMO"@A@I?<IO+PGC@MIAJMN@I?DIBO@SOH@NN<B@NOJJ

<MJPI?<H#12DIOC@!C@NO@MBMJPK

              .G<DIODAA<Q@MNOC<OC@R<NNO@M@JOTK@?<N<=G<>FH<G@NOP?@IORC@I?@A@I?<IO

+M&JM@KJMO@?CDHAJMN@I?DIBO@SOH@NN<B@NDIOC@!C@NO@MBMJPK<MJPI?<H#27@O 

?@A@I?<IO+M&J<KKM@>D<O@?DORC@I?@A@I?<IO+PGC@MIN@IOO@SOH@NN<B@N<MJPI?<HOJJ

             .G<DIODAA<Q@MNOC<OIJRCDO@KMDQDG@B@NCJPG?@SDNO<O"@A@I?<IO"@4MT3IDQ@MNDOT

<I?DON)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO@Q@I<HJIBNOP?@IOBMJPKN

                T@H<DG?<O@?1@KO@H=@M  .+4''\#SCD=DO] .G<DIODAA

KM@N@IO@?<AJMH<G?DN>MDHDI<ODJI>JHKG<DIO<I?<>J?@JA>JI?P>O>JHKG<DIOOJ"@A@I?<IO

$DIG<T<I?OC@3IDQ@MNDOTM@B<M?DIBOC@<GG@B@??DN>MDHDI<OJMT<I??DNK<M<O@OM@<OH@IOC@

@SK@MD@I>@?AMJH?@A@I?<IO+M&J#SCD=DO 

             .G<DIODAA<NF@?OC@3IDQ@MNDOTOJG@ODON?@NDBI<O@?!DQDG0DBCON-AAD>@MB@O=<>FOJ

CDHM@B<M?DIBCDNAJMH<G?DN>MDHDI<ODJI>JHKG<DIONDIOCM@@ ?<TN#SCD=DO ,J=J?TBJO

=<>FOJ.G<DIODAA

             5C@I?@A@I?<IO&JM@KJMO@?*DQDIBNOJI@OJ?@A@I?<IO$DIG<TAJMN@I?DIBO@SO

H@NN<B@<MJPI?<H#2 ?@A@I?<IO$DIG<TOJJF<?Q@MN@<>ODJI<B<DINO*DQDIBNOJI@=T




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M@HJQDIBCDHAMJHOC@!C@NO@MBMJPKOJ>JIODIP@OC@M@NOJAOC@+%+2>G<NNJICDNJRI

4''#SCD=DO &JR@Q@M RC@I.G<DIODAA*DQDIBNOJI@M@KJMO@??@A@I?<IO+M&JOJ"M$DIG<T

<I?OC@3IDQ@MNDOT<GG@BDIBM<>D<G?DN>MDHDI<ODJI<I?QDJG<ODJIJAOC@3IDQ@MNDOT_N<IOD

?DN>MDHDI<ODJIKJGD>TDIOC@1OP?@IO&<I?=JJF<I?!<O<GJBN ?@A@I?<IO$DIG<T<I?OC@

3IDQ@MNDOT?D?IJOO<F@<IT<>ODJI<O<GG

             "M$DIG<TDBIJM@?.G<DIODAA_NAJMH<G?DN>MDHDI<ODJI>JHKG<DION

              2C@3IDQ@MNDOTDBIJM@?.G<DIODAA_N?DN>MDHDI<ODJI>JHKG<DIO

              .G<DIODAA<Q@MNOC<O<GGNOP?@IONNCJPG?=@OM@<O@?OC@N<H@R<T M@>@DQ@OC@N<H@

<?Q@MN@<>ODJIAJMOC@N<H@JAA@IN@M@B<M?G@NNJA=@DIB=G<>F RCDO@ *<ODIJ ND<I H<G@ JM

A@H<G@

               T?DM@>O<I?KMJSDH<O@><PN@JAOC@<GG@B@??DN>MDHDI<OJMT<I??DNK<M<O@

OM@<OH@IO .G<DIODAA_N<><?@HD>RJMF<I?AJ>PNR<NDHH@IN@GT?DNOM<>O@?DIOC@+%+2

>G<NNRDOCGJR@M  BM<?@<I?JOC@M<?Q@MN@@AA@>ON

              N<?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAAC<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C><IIJO=@APGGT

>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?

K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMO<NR@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?

=TOC@!JPMO<I?M@<NJI<=G@>JNONJAOCDNG<RNPDO DI>GP?DIBM@<NJI<=G@OOJMI@TN_A@@N

                 T?DM@>O<I?KMJSDH<O@><PN@JAOC@3IDQ@MNDOT_NI@BGDB@IOA<DGPM@OJ<>OPKJI

.G<DIODAA_N?DN>MDHDI<ODJI>JHKG<DIO .G<DIODAAA@@GNOC<OOC@3IDQ@MNDOTC<NDINPGO@?CDNCPH<IDOT

             N<?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAAC<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C><IIJO=@APGGT

>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?




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K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMO<B<DINO5@@FN N>JM@N<NR@GG<N?<H<B@NDI

<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?M@<NJI<=G@>JNONJAOCDNG<RNPDO DI>GP?DIB

M@<NJI<=G@OOJMI@TN_A@@N

               N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAA+D>C<@G-*DQDIBNOJI@C<N=@@I><PN@?<I?RDGG>JIODIP@DI?@ADIDO@GT

DIOJOC@APOPM@OJ=@><PN@?N@Q@M@H@IO<G<IBPDNC <ISD@OT NOM@NN <I?@HJODJI<G<I?JM

KNT>CJGJBD><G?DNOM@NN <GGRDOC<NNJ>D<O@?KCTND><GNTHKOJHN

               5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO <I?"@A@I?<IO

&<Q@GEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIO

DI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IO

DIEPI>ODQ@M@GD@AOJ>C<IB@OC@+%+2BM<?@OJ\]<I<R<M?JAM@<NJI<=G@OOJMI@TN_

A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI<I?NP>CJOC@M<I?APMOC@MM@GD@A<N

OC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                            !82704:# 8D8<6AB=<4D454<30<BA3B0:4;4::4@4*@G

             .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGT

N@OAJMOCC@M@DI

             .G<DIODAA<Q@MNOC<OOC@31"@K<MOH@IOJA#?P><ODJIM@LPDM@N<GG3IDQ@MNDOD@NOC<O

K<MOD>DK<O@DI2DOG@'4KMJBM<HNOJC<Q@<?@NDBI<O@?<IOD ?DN>MDHDI<ODJIJAAD>@MN




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                       T@H<DG?<O@?1@KO@H=@M <O.+.G<DIODAAKM@N@IO@?<AJMH<G

?DN>MDHDI<ODJI>JHKG<DIO<I?<>J?@JA>JI?P>O>JHKG<DIOOJ"@A@I?<IO$DIG<T<I?OC@

3IDQ@MNDOT<GG@BDIB?DN>MDHDI<OJMT<I??DNK<M<O@OM@<OH@IOC@@SK@MD@I>@?AMJH?@A@I?<IO+M

&JDIOC@!C@NO@M%MJPKJAOC@+%+2>G<NN

                    'IOC<O@H<DG#SCD=DO .G<DIODAA<NF@?OC@3IDQ@MNDOTOJG@ODON?@NDBI<O@?!DQDG

0DBCON-AAD>@MB@O=<>FOJCDHM@B<M?DIBCDNAJMH<G?DN>MDHDI<ODJI>JHKG<DIONDIOCM@@ ?<TN

,J=J?TBJO=<>FOJ.G<DIODAA

                    "@A@I?<IO"M$DIG<TDBIJM@?.G<DIODAA_NAJMH<G?DN>MDHDI<ODJI>JHKG<DION

                    2C@3IDQ@MNDOTDBIJM@?.G<DIODAA_N?DN>MDHDI<ODJI>JHKG<DIO

                    .G<DIODAAM@HDI?@?NNDNO<IO,<ODJI<G"@<IJA)@GG@M +N.<OOD+@T@M OC<OC@

ADG@?<AJMH<G?DN>MDHDI<ODJI>JHKG<DIO<I?NJC@RJPG?GDF@CDN?DN>MDHDI<ODJI>JHKG<DIOOJ=@

<??M@NN@?<NR@GG#SCD=DO 7@O .G<DIODAAM@>@DQ@?IJM@NKJIN@M@B<M?DIBCDN?DN>MDHDI<ODJI

>JHKG<DIO

                      T?DM@>O<I?KMJSDH<O@><PN@JAOC@<GG@B@??DN>MDHDI<OJMT<I??DNK<M<O@

OM@<OH@IO .G<DIODAA_N<><?@HD>RJMF<I?AJ>PNR<NDHH@IN@GT?DNOM<>O@?DIOC@+%+2

>G<NN

                      T?DM@>O<I?KMJSDH<O@><PN@JAOC@3IDQ@MNDOT_NA<DGPM@OJ<>OPKJI.G<DIODAA_N

?DN>MDHDI<ODJI>JHKG<DIO .G<DIODAAA@@GNOC<OOC@3IDQ@MNDOTC<NDINPGO@?CDNCPH<IDOT

                   N<?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAAC<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C><IIJO=@APGGT

>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?

K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMO<B<DINO5@@FN N>JM@N<NR@GG<N?<H<B@NDI




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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 166 of 286 PageID #:166
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<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?M@<NJI<=G@>JNONJAOCDNG<RNPDO DI>GP?DIB

M@<NJI<=G@OOJMI@TN_A@@N

                    N<?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O .G<DIODAAA@@GN

C@DNIJO>JPIO@?<NJI@JAOC@CPH<I=@DIBNRDOCMDBCON<OOC@3IDQ@MNDOT <I?.G<DIODAADNIJO

>JQ@M@?PI?@MOC@N@IN@JA>JHHPIDOTDIOC@3IDQ@MNDOT

                    .G<DIODAA=MDIBNOCDN><PN@JA<>ODJIAJMOCDN!JPMOOJ@IEJDI"@A@I?<IONOJ>M@<O@

OC@3IDQ@MNDOT_NJRII@POM<G<IOD ?DN>MDHDI<ODJIJAAD>@M<I?JAAD>@

                     5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO <I?"@A@I?<IO

&<Q@GEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIO

DI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IO

DIEPI>ODQ@M@GD@A<I<R<M?JAM@<NJI<=G@OOJMI@TN_A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@ION

DIOCDN<>ODJI>C<IB@JACDN+%+2BM<?@ <I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMO

H<T?@@HEPNO<I?@LPDO<=G@

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                                                #)"((&(-(+#

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         !82704:# 8D8<6AB=<4D3454<30<BA!C:74@<=&=<944*@G4::4@3B0:4;

                      .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGT

N@OAJMOCC@M@DI

                      N<K<MOJAOC@GJIB NO<I?DIB<><?@HD>IJMHN<I?>PGOPM@JAOC@3IDQ@MNDOT OC@

3IDQ@MNDOTM@LPDM@N<GG+%+2>G<NNNOP?@IONRDOCDI<GGBMJPKNOJ@S@>PO@>JIOM<>OP<G

<BM@@H@ION?@N>MD=@?<N<\!C<MO@M]>JHHDOODIBOJJK@M<O@RDOCDI>@MO<DIMPG@NOC@NOP?@IOBMJPK


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H@H=@MNOC@HN@GQ@NAJMHPG<O@DI>GP?DIBCJROC@BMJPKRJPG?>JHHPID><O@D@O@G@KCJI@ O@SO

H@NN<BDIB <I?JM@H<DG ?@<?GDI@N O<NFN <I?CJROC@BMJPKRJPG?<??M@NN<I?H<I<B@

>JIAGD>ON''\#SCD=DO]

                    2C@3IDQ@MNDOTQD@RN >JIND?@MN <I?>C<M<>O@MDU@NOC@BMJPK!C<MO@M<N<

\>JIOM<>O]JIOC@>JPMN@K<B@N

                    2C@!C<MO@M<GNJ>JIO<DINOC@RJM?N\'>JHHDOZ]<I?<GGH@H=@MN<BM@@?=T

NDBIDIBOC@!C<MO@MOJJK@M<O@RDOCDIOC@MPG@NJAOC@BMJPK

                   'I5@@FN HJ?PG@NJAOC@+%+2>G<NN OC@!C@NO@M%MJPK>JHKG@O@?<

>JIOM<>OP<G!C<MO@MJA<N@OJAMPG@N<I?NP=HDOO@?<>JKTOJ"M$DIG<T

                   GGH@H=@MNJAOC@!C@NO@MBMJPKRDOCDIOC@+%+2>G<NN<?JKO@?<>JIAGD>O

H<I<B@H@IOKMJOJ>JGRDOCDIOC@>JIOM<>OP<G>C<MO@MOC<OH<F@NKMJQDNDJIOC<OOC@!C@NO@M%MJPK

RJPG?<??M@NNDONJRI>JIAGD>ONOCMJPBC<H@@ODIBRDOCOC@BMJPKG@<?@M<I?DAPIM@NJGQ@? OC@I

OC@BMJPKRJPG?@N><G<O@DOOJOC@>JPMN@DINOMP>OJM ?@A@I?<IO"M$DIG<T

                   !C@NO@MBMJPKJANOP?@ION<GNJ>JHHDOO@?=TNDBIDIBOC@>JIOM<>OP<G!C<MO@MOJ

@S@M>DN@<I??@HJINOM<O@\KJNDODQDOT]DI<GG@I?@<QJMN

                   'OR<NOC@IJMHJAOC@!C@NO@MBMJPKOJN@I?<I?M@>@DQ@O@SOH@NN<B@N<ITODH@

4''B@I@M<GGT#SCD=DO,J 

                   'IPBPNO  .G<DIODAAN@IO<O@SOH@NN<B@OJ"@A@I?<IO+PGC@MI<I?OC@

!C@NO@MBMJPK<MJPI?           0;'( RCD>CDN<=JPO.+DI.12ODH@UJI@#SCD=DO,J<O

KK  

                    "@A@I?<IO+M&JOJJF<IBMTDNNP@RDOCOC@<H#12ODH@<I?M@KJMO@?

.G<DIODAAOJ"@A@I?<IO"M$DIG<T#SCD=DO,J<OKK  




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                    5C@M@PKJI <MJPI?PBPNO  ?@A@I?<IO$DIG<TOJJF<?Q@MN@<>ODJI

<B<DINO.G<DIODAA<I?M@HJQ@?.G<DIODAAAMJHOC@!C@NO@MBMJPKOJRJMFJICDNJRIM@B<M?DIB

<NNDBIH@IONAJM5@@FNHJ?PG@NJAOC@+%+2>G<NN#SCD=DO "@A@I?<IO$DIG<T

<GNJNO<O@?OC<O<AJMH<GNOP?@IO>J?@JA>JI?P>O>JHKG<DIOC<N=@@IADG@?<B<DINO.G<DIODAA''

#SCD=DO

                    -IPBPNO  .G<DIODAA>JIODIP@?OJM@>@DQ@O@SOH@NN<B@NAMJH

"@A@I?<ION+PGC@MI<I?0JIF@OJ<GGH@H=@MNJAOC@!C@NO@M%MJPKDI>GP?DIB"@A@I?<IO+M

&J<MJPI?            0;'(4''#SCD=DO,J .<B@N  

                    .G<DIODAAJ=N@MQ@?OC<O?@A@I?<IO+M&J?D?IJO>JHKG<DI<AO@M<IJOC@MH@H=@M

JAOC@!C@NO@MBMJPK"@A@I?<IO+PGC@MI <GNJN@IOO@SOH@NN<B@<MJPI?OC@              0;#12OJOC@

!C@NO@MBMJPKH@H=@MN#SCD=DO,J<O.<B@ 

                    .G<DIODAA<Q@MNOC<ODOR<N<B<DINOOC@>JIAGD>OH<I<B@H@IOKMJQDNDJINJAOC@

!C@NO@MBMJPK>JIOM<>OP<G!C<MO@M#SCD=DO RC@I?@A@I?<IO+M&JM@KJMO@?.G<DIODAAOJ"M

$DIG<TAJMN@I?DIBO@SOH@NN<B@N<MJPI?<H#12OJOC@!C@NO@MBMJPKH@H=@MN DINO@<?JA

NPHHJIDIB<H@@ODIBRDOCOC@BMJPKG@<?@M<I?OC@BMJPKH@H=@MNOJ<??M@NNOC<O>JIAGD>O

                   .G<DIODAA<Q@MNOC<ODOR<NIJOA<DM<I?DOR<N<B<DINOOC@>JIAGD>OH<I<B@H@IO

KMJQDNDJINJAOC@!C@NO@MBMJPK>JIOM<>OP<G>C<MO@M<BM@@H@IOJA\214+5+7+5:]DI<GG@I?@<QJMN

RC@I?@A@I?<IO+M&JM@KJMO@?.G<DIODAAOJ"M$DIG<TAJMN@I?DIBO@SOH@NN<B@N<MJPI?

<H#12OJOC@!C@NO@MBMJPKH@H=@MNAJM.G<DIODAAOJ=@M@HJQ@?AMJHOC@BMJPK7@O RC@I

"@A@I?<IO+PGC@MI<!<P><ND<IRCDO@H<G@DIOC@N<H@!C@NO@M%MJPK <GNJN@IOO@SOH@NN<B@N

<MJPI?<H#12JAPBPNO  ?@A@I?<IO+M&J?D?IJO>JHKG<DIOJ"M$DIG<TOJ

M@HJQ@CDHAMJHOC@!C@NO@M%MJPK<NR@GG'INO@<? ?@A@I?<IO+M&JN@IO<\OC<IFTJPBPTN<

GJO]H@NN<B@DIM@KGT#SCD=DO,J<O.<B@ 




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                   .G<DIODAA<Q@MNOC<ODOR<NIJOA<DM<I?DOR<N<B<DINOOC@3IDQ@MNDOT_NJRI

KP=GDNC@?<IOD ?DN>MDHDI<ODJIKJGD>D@NDIOC@!<O<GJBN<I?1OP?@IO&<I?=JJFNRC@I?@A@I?<IO

"M$DIG<T<I?OC@3IDQ@MNDOTDBIJM@?<I?M@>FG@NNGT?DNM@B<M?@?.G<DIODAA_NAJMH<G

?DN>MDHDI<ODJI>JHKG<DIO<I?.G<DIODAA_N>J?@JA>JI?P>O>JHKG<DIO<B<DINO"@A@I?<IO+M&J 

RC@M@<N<GGNOP?@ION<M@PI?@MOC@>JQ@MDIBOC@N<H@MPG@N<I?KJGD>D@N

                   5C@I?@A@I?<IO+M&JM@KJMO@?*DQDIBNOJI@OJ"M$DIG<TAJMN@I?DIBO@SO

H@NN<B@<MJPI?<H#2 ?@A@I?<IO"M$DIG<TOJJF<?Q@MN@<>ODJI<B<DINO*DQDIBNOJI@=T

M@HJQDIBCDHAMJHOC@!C@NO@MBMJPKAJM.G<DIODAAOJ>JIODIP@OC@M@NOJAOC@+%+2>G<NN

JICDNJRI#SCD=DO 

                   !JIQ@MN@GT RC@I.G<DIODAA*DQDIBNOJI@M@KJMO@??@A@I?<IO+M&JOJ"M$DIG<T

<I?OC@3IDQ@MNDOT<GG@BDIBM<>D<G?DN>MDHDI<ODJI<I?QDJG<ODJIJAOC@3IDQ@MNDOT_N<IOD

?DN>MDHDI<ODJIKJGD>TDIOC@1OP?@IO&<I?=JJF<I?!<O<GJBN ?@A@I?<IO$DIG<T<I?OC@

3IDQ@MNDOT?D?IJOO<F@<IT<>ODJI<O<GG

                   .G<DIODAA<Q@MNOC<ODOR<N<B<DINOOC@>JIOM<>OP<G>C<MO@M<BM@@H@IOJAOC@!C@NO@M

BMJPKRC@I?@A@I?<IO0JIF@>JKD@?.G<DIODAADI<I@H<DG?<O@?PB <O+OJC@M

NOP?@IONPKKJMO<?QDN@M+M$@GDS!<MPNJ <I?"@A@I?<IO$DIG<TRC@M@<NOC@>JIOM<>OP<G

KMJOJ>JGDIOC@!C@NO@MBMJPK>C<MO@M<BM@@H@IOM@LPDM@NOC<O!C@NO@MBMJPKH@H=@MNOC@HN@GQ@N

RDGG<OO@HKOOJH<I<B@OC@DMJRI>JIAGD>ONOCMJPBCH@@ODIB<NBMJPKRDOCOC@G@<?@M<I?DA

PIM@NJGQ@? OC@IOC@BMJPKG@<?@MRJPG?@N><G<O@DOOJOC@!JPMN@DINOMP>OJMAJM<H@@ODIB

#SCD=DO 

                    "PMDIB<UJJHH@@ODIBRDOCOC@!C@NO@M%MJPKH@H=@MNJIPBPNO OJ

<??M@NN<>JIAGD>O "M$DIG<T><PODJI@?!C@NO@MBMJPKH@H=@MNOJ<QJD?@N><G<ODIB>JIAGD>ONOJ

C@M<I?JOC@MN'OR<NOC@M@AJM@PIA<DMRC@IOC@N<H@"M$DIG<TG<O@M@IO@MO<DI@?OC@PBPNO 




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>JHKG<DIO=T"@A@I?<IO+M&J>G<DHDIBOC@.G<DIODAA*DQDIBNOJI@C<NN@IOO@SOH@NN<B@N

OJOC@BMJPK<MJPI?<H#2 RDOCJPOM@A@MMDIB?@A@I?<IO+M&J=<>FOJOC@BMJPK>C<MO@MOJ

<OO@HKO>JIAGD>OM@NJGPODJIRDOCOC@BMJPKDON@GA'INO@<? "@A@I?<IO$DIG<TOJJF<?Q@MN@<>ODJI

<B<DINO*DQDIBNOJI@=TM@HJQDIBCDHAMJHOC@!C@NO@M%MJPK#SCD=DO 

                    MJPI?5@@FHJ?PG@JAOC@+%+2>G<NN "M$DIG<T<??M@NN@?OC@>G<NN

?PMDIB<5@=#SM@>JM?@?N@NNDJIRDOCOC@@IODM@>G<NNOC<ODODNKJNND=G@OC<ONOP?@IONRDGGADBCODI

OCDN>G<NN\7JPRDGGADBCOGDF@><ON<I??JBN=PO?JIJOG@ODONCJRPKDIAMJIOJATJPMNC<M@CJG?@M

KM@N@IO<ODJIN].G<DIODAA<Q@MNOC<ODOR<NOC@M@AJM@PIA<DMRC@I"M$DIG<T@IO@MO<DI@?>JHKG<DION

AMJH?@A@I?<ION0JIF@<I?"@A@I?<IO+M&J<I?@N><G<O@?DOOJNOP?@IO>JI?P>O=J<M? 

FIJRDIBQ@MTR@GGOC<ODIO@MK@MNJI<G>JIAGD>ONRJPG?<MDN@ <I?FIJRDIBR@GGOC<OOC@NOP?@ION

C<Q@QDJG<O@?OC@BMJPK!C<MO@M

                    .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MOC<OJIPBPNO  DOR<N<B<DINOOC@

BMJPK>C<MO@M_NKJNDODQDOTRC@I"@A@I?<IO+PGC@MI<I?<GGO@<HNDIOC@+%+2>G<NN

KM@N@IO@?=@AJM@"M$DIG<TQD<5@=#SM@>JM?@?>G<NNN@NNDJI"@A@I?<IO+PGC@MI<?QDN@?OC@

!C@NO@MBMJPKOC<OC@C<NOJG@<Q@@<MGTAMJHOC@>G<NN<MJPI?KH.12<I?NJC@R<IONOC@

BMJPKOJBJADMNO#SCD=DO,J K<B@ .MDJMOJOC@>G<NNN@NNDJI *DQDIBNOJI@N@IOO@SO

H@NN<B@OJ?@A@I?<IO+PGC@MIOC<OC@R<IONOC@BMJPKOJBJN@>JI?=@><PN@.G<DIODAAI@@?NOJ

ADI?<NKJO<MJPI?<IDMKJMOOJ?JOC@KM@N@IO<ODJIO@SOH@NN<B@R<NN@IO?DM@>OGTOJ?@A@I?<IO

+PGC@MI<OOC@ODH@ 

        "@A@I?<IO+PGC@MIDBIJM@?.G<DIODAA_NM@LP@NO<I?DINDNO@?PKJIOC@BMJPKOJ?JOC@

KM@N@IO<ODJIADMNO=@AJM@JOC@MBMJPKN*DQDIBNOJI@<GGJR@??@A@I?<IO+PGC@MIOJC<Q@CDNR<T

AO@M!C@NO@MBMJPKKM@N@IO@?ADMNO *DQDIBNOJI@J=N@MQ@?OC<O"@A@I?<IO+PGC@MIR<NNODGGDIOC@

>G<NN?@NKDO@CDN>G<DHOC<OC@><IIJONO<TAJMOC@!C@NO@MBMJPKOJKM@N@ION@>JI?*DQDIBNOJI@



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J=N@MQ@?OC<O+PGC@MINO<T@?OCMJPBCJPOOC@N@>JI?BMJPK_NKM@N@IO<ODJIN<I?C@KJNO@?<

>JHH@IO<AO@MR<M?N*DQDIBNOJI@<Q@MNOC<ODODN<B<DINOOC@BMJPK_N>JIOM<>OP<G>C<MO@MJA

KJNDODQDOTRC@I+PGC@MIN<D?C@><IIJONO<TAJM!C@NO@MBMJPKOJKM@N@ION@>JI?<I?C@C<NOJ

G@<Q@OC@>G<NN<MJPI?KH."27@O +PGC@MINO<T@?OCMJPBCJPOOC@N@>JI?BMJPK_N

KM@N@IO<ODJI

                    N<?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>OJAIJO

AJGGJRDIBOC@O@MHN<I?MPG@NRDOCDIOC@>JIOM<>OP<G>C<MO@M<BM@@H@IO .G<DIODAAC<N=@@I

HDNK@M>@DQ@?<NNJH@JI@RCJ><PN@?>JIAGD>ORDOCDIOC@!C@NO@M%MJPK<I?C@R<NM@HJQ@?

                    N<?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAA_N<><?@HD>RJMFR<N?DNOM<>O@?=TPII@>@NN<MT>JIAGD>ON<I?LP<ND EP?D>D<G

KMJ>@@?DIBN RCD>C>JPG?C<Q@=@@IKM@Q@IO@?DAH@H=@MNJAOC@!C@NO@MBMJPK<=D?@?=TOC@

>JIOM<>OP<G>JHHDOH@IONDIOC@BMJPK>C<MO@M

                   .G<DIODAAC<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C><IIJO=@

APGGT>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJ

KM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMO<B<DINO5@@FNN>JM@NDI

OC@+%+2>G<NN <NR@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?

M@<NJI<=G@>JNONJAOCDNG<RNPDO DI>GP?DIBM@<NJI<=G@OOJMI@TN_A@@N

                   N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAA+D>C<@G-*DQDIBNOJI@C<N=@@I><PN@?<I?RDGG>JIODIP@DI?@ADIDO@GT

DIOJOC@APOPM@OJ=@><PN@?N@Q@M@H@IO<G<IBPDNC <ISD@OT NOM@NN <I?@HJODJI<G<I?JM

KNT>CJGJBD><G?DNOM@NN <GGRDOC<NNJ>D<O@?KCTND><GNTHKOJHN

                   5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO<GG

"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT )@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO <I?



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 "@A@I?<ION+PGC@MI 0JIF@ $DIG<T &J EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGT AJM>JHK@IN<OJMT

 <I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNON

 KM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@A<I<R<M?JAM@<NJI<=G@OOJMI@TN_

 A@@N >JNON<I?JOC@M>JNON<I??DN=PMN@H@IONDIOCDN<>ODJI>C<IB@JACDN+%+2BM<?@ <I?

 NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@

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                 '&!"(#")"&!&"'+(' ('(
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                 
                         !82704:# 8D8<6AB=<4D4*@G3B0:4;4::4@

              .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGT

N@OAJMOCC@M@DI

              2CDN><PN@JA<>ODJIK@MO<DINOJ+%+2>G<NN

                  'I(PGT ?@A@I?<IO$DIG<TM@>@DQ@?.G<DIODAA_N"<>>JHHJ?<ODJIIJOD>@

?DM@>OGTAMJHOC@3IDQ@MNDOT_N"JAAD>@

                  3IGDF@RC<OJOC@M.MJA@NNJMN?J<OOC@3IDQ@MNDOT "@A@I?<IO$DIG<T?D?IJO

<>FIJRG@?B@M@>@DKOJA.G<DIODAA_N"<>>JHHJ?<ODJIIJOD>@OJ.G<DIODAA

                        T@H<DG?<O@?(PGT <O.+ .G<DIODAAM<OC@MM@<>C@?JPOOJ

"@A@I?<IO$DIG<TOJDILPDM@RC@OC@MNC@C<NM@>@DQ@?CDN"<>>JHHJ?<ODJIIJOD>@AMJHOC@

"JAAD>@M5C@M@PKJI "M$DIG<TM@KGD@?=T@H<DG?<O@?(PGT  .+OC<ONC@

M@>@DQ@?DO

                  2C@"<>>JHHJ?<ODJIIJOD>@#SCD=DO" KMJQD?@N.G<DIODAARDOCJI@ R@@F

@SO@INDJIAJM<GGDI?DQD?P<GGT<NNDBI@?O<NFNDI@Q@MT>G<NN<OOC@3IDQ@MNDOT@S>@KOBMJPKRJMF

<I?R@@FGT?DN>PNNDJIKJNODIBN




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                 2C@+%+2>G<NNR<NKM@?JHDI<IOGTBMJPKRJMFQD<!.1'+NDHPG<ODJI

RDOCOC@!C@NO@MBMJPKJANOP?@IONNNP>C OC@"<>>JHHJ?<ODJI#S" R<NIJO

<KKGD><=G@

             MJPI?5@@FJAOC@+%+2>G<NN "@A@I?<IO"M$DIG<TM@HJQ@?.G<DIODAA

AMJHOC@!C@NO@MBMJPKAJM.G<DIODAAOJRJMFJICDNJRI#SCD=DO 

                  T@H<DG?<O@?PBPNO  + .G<DIODAAM@HDI?@?"M$DIG<TOC<O

\Z1DI>@'<HRJMFDIBJIHTJRIAJM5@@F<I? HT"<>>JHHJ?<ODJI@SO@INDJI<KKGD@N

OJ5@@F]

            "@A@I?<IO$DIG<T?D?IJO<KKGTOC@JI@ R@@F"<>>JHHJ?<ODJI@SO@INDJIOJ

5@@FHJ?PG@_N!.1'+<NNDBIH@IO<I?NC@<R<M?@?KJDION=T?@A<PGOOJ.G<DIODAA 

OC@M@=T?M<NOD><GGTM@?P>DIB.G<DIODAA_NADI<GBM<?@OJ\ ]

            .G<DIODAA<NF@??@A@I?<IO$DIG<TOJPN@OC@!C@NO@MBMJPK_N5@@FN>JM@<NPNP<G

AJMOC@!.1'+<NNDBIH@IO&JR@Q@M "M$DIG<T?@>GDI@?GOCJPBC"@A@I?<IO"M$DIG<T

>G<DH@?OC<O.G<DIODAANCJPG?>JHKG@O@<GG5@@FNHJ?PG@<NNDBIH@IONJICDNJRIDI>GP?DIB

OC@5@@F!.1'+<NNDBIH@IO "@A@I?<IO$DIG<TNODGGPN@?OC@!C@NO@MBMJPK_NN>JM@NJA

KJDIONAJMOC@\=<G<I>@?N>JM@><M?>JHKJI@IO]JA5@@F<NNDBIH@ION

            .G<DIODAA<Q@MNOC<O"@A@I?<IO$DIG<T<>O@?RDOC<>OP<GH<GD>@<B<DINOCDHRC@I

NC@A<DG@?OJ<KKGTOC@JI@ R@@F"<>>JHHJ?<ODJI@SO@INDJIOJ5@@F!.1'+N>JM@NNJ

OC<ONC@>JPG?CPMO.G<DIODAA_NBM<?@<N?@HJINOM<O@?=TC@M=<? A<DOC<I?<=PNDQ@@AAJMONOJPN@

OC@KPIDODQ@NOP?@IO>J?@JA>JI?P>O<B<DINO.G<DIODAAOC<OR<N<=JMO@?=T"@<I0POC.DI@?<

>JHK<M@\#SCD=DO]RDOC\#SCD=DO] 

                   T?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAAC<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C><IIJO=@APGGT




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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 174 of 286 PageID #:174
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>JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?

K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMOOJ>C<IB@OC@+%+2BM<?@AMJH\ ]OJ\]

?DN>DKGDI<MTM@>JM?@IODM@GT <NR@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?

M@<NJI<=G@>JNONJAOCDNG<RNPDO DI>GP?DIBM@<NJI<=G@OOJMI@TN_A@@N

             N<APMOC@M?DM@>O<I?KMJSDH<O@M@NPGOJA"@A@I?<ION_PIG<RAPG>JI?P>O<N

?@N>MD=@?C@M@DI .G<DIODAA+D>C<@G-*DQDIBNOJI@C<N=@@I><PN@?<I?RDGG>JIODIP@DI?@ADIDO@GT

DIOJOC@APOPM@OJ=@><PN@?N@Q@M@H@IO<G<IBPDNC <ISD@OT NOM@NN <I?@HJODJI<G<I?JM

KNT>CJGJBD><G?DNOM@NN <GGRDOC<NNJ>D<O@?KCTND><GNTHKOJHN

             5&#0#$-0# =@><PN@JAOC@<GG@B@?DIO@IODJI<G?DN>MDHDI<ODJI<I?H<GD>DJPN

DIO@IOC@M@DI KPMNP<IOOJ1@>ODJIJAOC@0@C<=DGDO<ODJI>OJA?<H<B@N .G<DIODAA

+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO"@A@I?<ION?O<G@H "@4MT3IDQ@MNDOT <I?

)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGTAJM>JHK@IN<OJMT<I?

KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJAHDGGDJI@S>GPNDQ@JADIO@M@NO<I?>JNON

             5&#0#$-0# >JINDNO@IORDOC?<H<B@NPI?@M"NO<OPO@ .G<DIODAA?@H<I?N

KM@GDHDI<MT ?@>G<M<OJMT <I?K@MH<I@IODIEPI>ODQ@M@GD@AOJQ<><O@<I?@SKPIB@OC@<?Q@MN@(PI@

?DN>DKGDI<MTM@>JM?<I?N<I>ODJINAMJH.G<DIODAA_NADG@N<OOC@3IDQ@MNDOTRDOCJPOH<FDIB

M@A@M@I>@NOJDO<I?NP>CJOC@M<I?APMOC@MM@GD@A<NOC@!JPMOH<T?@@HEPNO<I?@LPDO<=G@OJ

>C<IB@OC@+%+2BM<?@AMJH\ ]OJ\]<I?@IEJDI?@A@I?<IONAMJHAPMOC@MM@O<GD<ODJIN

<B<DINO.G<DIODAAM@B<M?DIBCDN"<>>JHHJ?<ODJIN

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                                   !''""#"'"
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                !82704:# 8D8<6AB=<4D454<30<BA@8<:0G4*@G4::4@3B0:4;

             2CDN><PN@JA<>ODJIK@MO<DINOJ(PGT PBPNON@NNDJI+%+2>G<NN



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             .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGT

N@OAJMOCC@M@DI

           N<M@NPGOJANOP?@IOA@@?=<>F<I?IPH@MJPN>JIAGD>ONRDOCDINOP?@IOBMJPKN<O

OC@3IDQ@MNDOT OC@3IDQ@MNDOTC<NDHKG@H@IO@?<OJJG<OOC@=@BDIIDIBJA@Q@MT>JPMN@AJM>JPMN@

DINOMP>OJMNOJKG<>@NOP?@IONDIOJBMJPKN=<N@?JIOC@DMB@JBM<KCD>ODH@UJI@N

           2C@+%+2>G<NNM@AG@>ONNP>C<OJJG?PMDIB5@@FJAOC@>JPMN@RDOCDIOC@

?DN>PNNDJIK<B@N

           "@A@I?<IO$DIG<TA<DG@?OJN@G@>ONOP?@IONRDOCDIOC@N<H@ODH@UJI@NOJAJMHOC@

!C@NO@MBMJPK

           "@A@I?<ION0JIF@<I?+PGC@MIA<GGRDOCDI.<>DAD>2DH@8JI@.12 RCDG@

"@A@I?<IO+M&J<I?.G<DIODAA*DQDIBNOJI@A<GGRDOCDIOC@#<NO@MI1O<I?<M?2DH@8JI@#12 

                  T?DM@>O<I?KMJSDH<O@><PN@JA?@A@I?<IO$DIG<T_NA<DGPM@OJN@G@>ONOP?@ION

RDOCDIOC@N<H@ODH@UJI@><PN@??DNOM<>ODIB>JIAGD>ONRDOCDIOC@!C@NO@M%MJPK=@><PN@RC@I

.G<DIODAA>JHKG@O@?>JPMN@N<OOC@3IDQ@MNDOTRC@M@OC@!JPMN@DINOMP>OJMNAJMH@?OC@NOP?@IO

BMJPKN .G<DIODAAK@MAJMH@?@S>@GG@IOGTRDOCJPO<ITN@MDJPN>JIAGD>ONM@G<O@?OJODH@JA

>JHHPID><ODJI PIGDF@OC@+%+2>G<NN<I?RC<OC<KK@I@?DI#SCD=DO,J KK OC<O

G@?OJ.G<DIODAA=@DIBM@HJQ@?AMJHOC@!C@NO@MBMJPK

          +<TN@NNDJI +'1  'IIJQ<ODJI2CMJPBC2@>CIJGJBT $DI<G%M<?@\]
          ,JQ@H=@MN@NNDJI ',2*  'IO_G PNDI@NN.@MNK@>ODQ@N $DI<G%M<?@\]
          +<TN@NNDJI #,20  #IOM@KM@I@PMD<G+<MF@ODIB $DI<G%M<?@\]
          +<M>CN@NNDJI !!2  >>O$DI+<I<B@MD<G3N@ I<GTNDN $DI<G%M<?@\ ]
          (<IP<MT1@NNDJI +%+2  *@B<G .JGDOD><G #OCD><G"DH@INDJINJA PNDI@NN 
          %M<?@\]
          (<IP<MTN@NNDJI +%+2 +<I<BDIB!JIAGD>ODI5JMFKG<>@ $DI<G%M<?@\]
 .G<DIODAA@S>@GG@?DIOC@N@JOC@M>G<NN@NRDOCJPO<ITODH@UJI@>JIAGD>ONRDOCNOP?@IOBMJPK

 H@H=@MN




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                  T?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

 C@M@DI .G<DIODAAC<NNPAA@M@? <I?>JIODIP@NOJNPAA@M DMM@K<M<=G@DIEPMTRCD>C><IIJO=@APGGT

 >JHK@IN<O@?=T<I<R<M?JAHJI@O<MT?<H<B@NAJMRCD>C.G<DIODAADN@IODOG@?OJKM@GDHDI<MT<I?

 K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMO

            5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

 "@A@I?<ION"M$DIG<T ?O<G@H "@4MT3IDQ@MNDOT <I?)@GG@M%M<?P<O@1>CJJGJA+<I<B@H@IO

 EJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGTAJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NN

 JA @S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=T

 OCDN!JPMOOJ>C<IB@OC@+%+2BM<?@AMJH\ ]OJ\ ]@SKPIB@OC@?DN>DKGDI<MTM@>JM?<N

 R@GG<N?<H<B@NDI<I<HJPIOOJ=@?@O@MHDI@?=TOC@!JPMO<I?M@<NJI<=G@>JNONJAOCDNG<RNPDO

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                                    '4@D824A4*@G4::4@3B0:4;
                                                       
            .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@OC@AJM@BJDIBK<M<BM<KCN<NDAAPGGTN@O

AJMOCC@M@DI

            1DI>@CDN@IMJGGH@IO<OOC@3IDQ@MNDOT .G<DIODAAC<N>JHKG@O@?>JPMN@RJMFOC<O

<M@KMJQD?@?PI?@MOC@3IDQ@MNDOT_N><O<GJBNAJMCDN+ ?@BM@@<I?>@MODAD><O@N

           2C@3IDQ@MNDOT@I>JPM<B@NNOP?@IONOJ@<MIHJM@"@BM@@N<I?!@MODAD><O@NPI?@M

RC<ODN><GG@?\NO<>F<=G@N]

           'I,JQ@H=@M<I?(PGT .G<DIODAAH<DIO<DI@?BJJ?<><?@HD>NO<I?DIB

=@TJI?OC@M@LPDM@?%.



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    Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 177 of 286 PageID #:177
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          'I,JQ@H=@M<I?(PGT OC@3IDQ@MNDOT_N?@A@I?<IO0@BDNOM<MIJODAD@?

.G<DIODAAOC<O.G<DIODAADN<><?@HD><GGT?DNHDNN@?#SCD=DON 

                T@H<DG?<O@?(PGT <O.+ +N"<ID@GG@+PMKCT "@4MT>@IOM<G

+<I<B@M @SKG<DI@?OC<O.G<DIODAAR<N<><?@HD><GGT?DNHDNN@??P@OJ\H<SDHPH>JPMN@RJMF]

          3KJIAPMOC@MDILPDMT DI,JQ@H=@M ?@A@I?<IOBM@NO<@SKG<DI@?OC<O

.G<DIODAAR<N<><?@HD><GGT?DNHDNN@??P@OJH<SDHPH>JPMN@RJMF

           'I=JOC,JQ@H=@M<I?(PGT .G<DIODAA<KK@<G@?OC@<><?@HD>?DNHDNN<GN

<I?OC@0@BDNOM<MM@Q@MN@?OC@H

           GOCJPBCOC@0@BDNOM<MM@HJQ@?OC@?DNHDNN<GN OC@T<M@NODGGK<MOJA.G<DIODAA_N

M@>JM?<I?DONODBH<ODU@N.G<DIODAA_NM@>JM?N<N\DINODOPODJI<G<>ODJI]OC<ORJPG?DHK<>O.G<DIODAA_N

KMJNK@>ODQ@>JIOM<>OP<GDIO@M@NON

           .G<DIODAA<Q@MNOC<ODODN<B<DINOOC@3IDQ@MNDOT_N>JIOM<>OP<G><O<GJBNOC<OOC@

0@BDNOM<M<><?@HD><GGT?DNHDNN@?.G<DIODAARC@M@<N.G<DIODAAC<N<GR<TN>JHKG@O@?<><?@HD>

>JPMN@RJMF>JINDNO@IORDOCOC@KMJQDNDJINJAOC@>JIOM<>OP<G><O<GJBNAJMOC@3IDQ@MNDOT_N?@BM@@

<I?>@MODAD><O@KMJBM<HN

           2C@3IDQ@MNDOT_N><?@HD>!<O<GJBKMJQD?@NOC<O+ ?@BM@@N@@FDIBNOP?@ION

><I>JHKG@O@OCM@@>JI>@IOM<ODJINRCDG@@<MIDIBJOC@MBM<?P<O@>@MODAD><O@N.G<DIODAA<Q@MN

OC@M@AJM@OC<ODODN<B<DINOOC@3IDQ@MNDOT_N><O<GJBNOC<O"@A@I?<IO0@BDNOM<M<><?@HD><GGT

?DNHDNN@?.G<DIODAAAJM\H<SDHPH>JPMN@RJMF]

           5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<IONOC@JAAD>@JAOC@0@BDNOM<M1@MQD>@N "@4MT3IDQ@MNDOT <I?)@GG@M%M<?P<O@1>CJJG

JA+<I<B@H@IOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGTAJM>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I




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     Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 178 of 286 PageID #:178
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 <HJPIODI@S>@NNJA @S>GPNDQ@JADIO@M@NO<I?>JNONKM@GDHDI<MT<I?K@MH<I@IO

 DIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMOOJ@SKPIB@OC@<><?@HD>?DNHDNN<GN#$#35'#$+0+5+1

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           $:08<B855 8D8<6AB=<4D454<30<BA!C:74@<@8<:0G4*@G3B0:4;4::4@

           2CDN><PN@JA<>ODJIK@MO<DINOJ(PGT PBPNO+%+2>G<NN

           .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGT

N@OAJMOCC@M@DI

           AO@M"@A@I?<IO"M$DIG<TM@HJQ@?.G<DIODAAAMJHOC@!C@NO@MBMJPKJANOP?@ION 

.G<DIODAA?D?IJOC<Q@<>>@NNOJOC@ADG@N<I?DIAJMH<ODJIOC<OR@M@I@>@NN<MTOJ>JHKG@O@CDN

5@@FN<NNDBIH@ION

           .G<DIODAAM@LP@NO@?AJM<>>@NNDIOJOC@%JJBG@?MDQ@AJG?@M%+ OC<O>JIO<DIN

DHKJMO<IOADG@NDIOC@DMJMDBDI<GAJMH<ONEPNO<NC@C<?<>>@NNGDF@OC@!C@NO@MBMJPKH@H=@MN

           "@A@I?<IO+PGC@MIN@IO.G<DIODAA\UDKADG@N]DINO@<?JAJMDBDI<G<>>@NNGDIFOJOC@

BJJBG@?MDQ@ADG@NGDF@@Q@MTJOC@MNOP?@IOC<N<>>@NN

            .G<DIODAAOJG?"@A@I?<IO"M$DIG<TOJ<NF"@A@I?<IO+PGC@MIOJBDQ@CDH<>>@NN

GDF@@Q@MTNOP?@IOC<N<>>@NNOJOCJN@ADG@NDIOC@DMJMDBDI<GAJMH<ON2CJN@M@LP@NONR@M@DBIJM@?

<I?JM?@>GDI@?

                  T?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

 C@M@DI .G<DIODAAR<N?@KMDQ@?<>>@NN<I?C@?D?IJOC<Q@@LP<G<>>@NNOJOC@JMDBDI<GADG@N<I?




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H<O@MD<GNDIOC@DMJMDBDI<GAJMH<ONOJ>JHKG@O@5@@FN<NNDBIH@IONRDOC@S>@GG@I>@ 

KM@>DNDJI <>>PM<>T <I?G@NNNOM@NN

           5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION+PGC@MI "M$DIG<T "@4MT ?O<G@H )@GG@MEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGTAJM

>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA @S>GPNDQ@JADIO@M@NO

<I?>JNONKM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMOOJM@NOJM@OC@APGG

N>JM@NJA.G<DIODAA_N5@@FN+%+2<NNDBIH@IONOJAPGGN>JM@N<I?>C<IB@OC@ADI<G

BM<?@OJ\]

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           !82704:# 8D8<6AB=<4D454<30<BA@8<:0G4*@G3B0:4;4::4@

           2CDN><PN@JA<>ODJIK@MO<DINOJ(PGT PBPNO+%+2>G<NN

           .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGT

N@OAJMOCC@M@DI

          .G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MNOC<O<OOC@=@BDIIDIBJAOC@+%+2

>G<NNDI(PGT PBPNON@NNDJI "@A@I?<IO$DIG<T?@HJINOM<O@??@@K N@<O@?<IO<BJIDNH

<B<DINOKG<DIODAAOC<O><I=@<OOMD=PO@?OJOC@A<>OOC<O.G<DIODAAC<N"<>>JHHJ?<ODJI

@SO@INDJI=@><PN@PIGDF@RC<OJOC@M.MJA@NNJMNJAOC@3IDQ@MNDOT?JRC@IOC@TM@>@DQ@?

.G<DIODAA_N"IJOD>@ "M$DIG<T?D?IJO<>FIJRG@?B@M@>@DKOJA.G<DIODAA_N"

<>>JHHJ?<ODJIIJOD>@OJ.G<DIODAARC@INC@M@>@DQ@?DOPIODG.G<DIODAAAJGGJR@?PKRDOCC@M

          'I+<TN@NNDJI<OOC@3IDQ@MNDOT +'1>G<NN AJM@S<HKG@ DOR<NOC@

>JPMN@DINOMP>OJM "M.@O@M,@RH<I RCJM@<>C@?JPOOJ.G<DIODAA<NNJJI<NC@M@>@DQ@?OC@

"<>>JHHJ?<ODJIIJOD>@AMJHOC@3IDQ@MNDOT_N"JAAD>@M.G<DIODAA@S>@GG@?DI"M




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,@RH<I_N>G<NNRDOC<NOM<DBCO\]ADI<GBM<?@RDOCJPO<ITKMJ=G@HNJM<IDHJNDOTAMJH"M

,@RH<I<O<GG

          .G<DIODAA<Q@MNOC<O<O<GGODH@N "M$DIG<TR<N=D<N@?<I?K<MOD<G<B<DINO.G<DIODAA

<I?DOM@AG@>ONRDOCDICDNADI<GBM<?@

          "PMDIBOC@+%+2>G<NN .G<DIODAAKJNO@?<>JHH@IO<=JPOOC@A<>OOC<OOC@

>G<NNJK@M<O@NRDOC?DAA@M@ION>C@?PG@PIGDF@JOC@M>G<NN@NDIOC@3IDQ@MNDOT<I?OC@KP=GDNC@?

?@<?GDI@NDIOC@3IDQ@MNDOT_N><O<GJBOC<O<GG<NNDBIH@ION<M@?P@?PMDIBR@@F@I?N.G<DIODAA<GNJ

>JHH@IO@?OC<OAJMHDIBNOP?@IOBMJPKNJANOP?@IONRDOCJPOOC@N<H@<KODOP?@NR<N<KMJ=G@H

=@><PN@OC@3IDQ@MNDOTI@Q@MOM<DI@?NOP?@ION<=JPOKM@N@IO<ODJIN7@O OC@3IDQ@MNDOT@SK@>ON

NOP?@IONOJ?JR@@FGTKM@N@IO<ODJIN"@A@I?<IO+M&J AJM@S<HKG@ <I?JOC@MNOP?@IONOJG?OC@

>G<NNOC<OOC@TR@M@\NCT]JM\I@MQJPN]OJ?JKM@N@IO<ODJIN'I\BM<?P<O@N>CJJG ]OCDNNCJPG?IJO

C<KK@I.G<DIODAA=@GD@Q@N<I?OC@M@AJM@<Q@MOC<O"M$DIG<TOJJFJAA@IN@<B<DINO.G<DIODAA_N

>JHH@IO<I?DODHK<>O@?.G<DIODAA_NADI<GBM<?@

          "PMDIB<M@>JM?@?8JJHH@@ODIBJIPBPNO RDOCOC@!C@NO@MBMJPK

NOP?@IONOJ<??M@NN<!C@NO@MBMJPK>JIAGD>O "M$DIG<T=G<H@?.G<DIODAA<GJI@<I?<>>PN@?

.G<DIODAAAJM\H<FDIB<HDNO<F@]OCDIFDIBOC<O$@GDS!<MPNJ0JIF@_NNOP?@IONPKKJMO<?QDN@M 

R<NOC@N<H@K@MNJI<N$@GDS DGG!<MPNJ3IDQ@MNDOT_N%@I@M<G!JPIN@G<I?OC@I DIO@MDH

.M@ND?@IO RC@M@<N0JIF@M<OC@MH<?@<HDNO<F@OJ=@BDIRDOCRC@INC@>JKD@?.G<DIODAAJIC@M

@H<DG?<O@?PB  .+OJ$@GDS!<MPNJIJORDOCNO<I?DIBOC@A<>OOC<O$#0.

@?P><ODJI<GKMDQ<>TM@BPG<ODJINKMJO@>ONOP?@IO>JHHPID><ODJINRDOCOC@DM<><?@HD><?QDN@MN

"PMDIBOC<OH@@ODIB "M$DIG<TF@KOO@GGDIB.G<DIODAAOC<O\C@RJPG?M@BM@O]

                 @AJM@OC@PBPNO M@>JM?@?5@=#S>G<NNRDOCOC@@IODM@>G<NN .G<DIODAA

OJG??@A@I?<IO+PGC@MIOC<OC@DN<MJPI?<IDMKJMO<I?NJOC@!C@NO@MBMJPKNCJPG?IJO=@OC@




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ADMNOOJKM@N@IOOCDNODH@NJOC<O.G<DIODAA><IADI?<NKJOOJ?JOC@KM@N@IO<ODJI<MJPI?OC@DMKJMO

"@A@I?<IO+PGC@MIDI?D><O@?OC<OC@<GNJC<NOJG@<Q@<O.12"M$DIG<TDIO@MMPKO@?RDOC

K<MOD<GDOT<I?=D<NOC<ONDI>@+PGC@MIC<NOJG@<Q@ OC@BMJPKNCJPG?KM@N@IOADMNO+@<IRCDG@ 

=JOCNOP?@IONC<?OJG@<Q@+PGC@MI?D?IJOG@<Q@<AO@MOC@KM@N@IO<ODJI&@NO<T@?OCMJPBCOC@

N@>JI?KM@N@IO<ODJI<I?KJNO@?<>JHH@IOA@@?=<>F5C@I.G<DIODAADIAJMH@?"M$DIG<TOC<O

+PGC@MI<>OP<GGTNO<T@?AJMOC@N@>JI?BMJPK_NKM@N@IO<ODJI "M$DIG<T?D?IJON<T<ITOCDIB

<=JPODO.G<DIODAA<Q@MNOC<OOCDNR<N<M@AG@>ODJIJA"M$DIG<T_NNTNO@HD>=D<N<B<DINO.G<DIODAA

<I?.G<DIODAA<Q@MNOCDN=D<NR<N@SOM<KJG<O@?PIOJCDNADI<GBM<?@OJJ

           MJPI?PBPNO  RC@I?@A@I?<IO+M&JM@KJMO@?.G<DIODAAOJ"M$DIG<T

AJMN@I?DIBO@SOH@NN<B@N<MJPI?<H#2OJOC@!C@NO@MBMJPK#SCD=DO,J "M$DIG<T?D?

IJO@Q@I=JOC@MOJN@@F.G<DIODAA_NND?@JAOC@NOJMT'INO@<? NC@<>O@?RDOC=D<N<I?K<MOD<GDOT<I?

ADG@?<AJMH<G>J?@JA>JI?P>O>JHKG<DIOJMAJMH<G>JHKG<DIO<B<DINO*DQDIBNOJI@ RCD>CR<N

<=JMO@?=T"@<I0POC.DI@?<#SCD=DON<I? 5C@I.G<DIODAAOJG?"M$DIG<TOC<O?@A@I?<IO

+PGC@MI<GNJN@IOO@SOH@NN<B@N<MJPI?<H#2 T@O"@A@I?<IO+M&JOJJFIJDNNP@RDOCDO "M

$DIG<T?D?IJON<TJM<ITOCDIB<=JPOOC<O.G<DIODAA=@GD@Q@NOCDNDN<M@AG@>ODJIJA"M$DIG<T_N

NTNO@HD>=D<N<I?K<MOD<GDOT<B<DINOCDH

           'IOC@ADI<G5@@FJAOC@+%+2>G<NN "M$DIG<T<NF@?NOP?@IONOJKJNO

RC<OOC@TGDF@JMG@<MI@?<=JPOOC@>G<NN.G<DIODAA>CJN@IJOOJKJNODOOJ>JPMN@_NJK@IKG<OAJMH

=@><PN@C@R<N?DN<KKJDIO@?=TOC@H<ITDI>JC@M@I>D@N ?DN>M@K<I>D@N <I??DNOM<>ODIB>JIAGD>ON

DIOC@>G<NN"M$DIG<TOJJFH<GD>DJPNDNNP@RDOCOC<O

           N<K<MOJAOC@+%+25@@F>JPMN@M@LPDM@H@ION .G<DIODAANP=HDOO@?

K<B@?>PHPG<ODQ@ADI<I>D<GM@KJMOC@KM@K<M@?DI?DQD?P<GGTAMJHOC@!C@NO@M%MJPK<I?

.JR@M.JDIORDOC<?@LP<O@>DO<ODJIN<I?M@A@M@I>@N#SCD=DO,J "@A@I?<IO"M$DIG<T




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?@?P>O@?<=JPOKJDIONAMJH.G<DIODAA_NRJMF>G<DHDIBOC<O.G<DIODAA?D?IJO\NO<O@RC<OC@

G@<MI@?AMJHOC@>G<NN]+@<IRCDG@ <ADI<I>D<GM@KJMODN<O@>CID><G?J>PH@IO\ADI<I>D<GM@KJMO]

<I?DODNIJOOC@KG<OAJMHOJRMDO@K@MNJI<GKM<DN@NAJM<>JPMN@DINOMP>OJM@NK@>D<GGTDANOP?@IOR<N

IJON<ODNAD@?RDOCOC@LP<GDOTJA@?P><ODJIKMJQD?@?DIOC@+%+2>G<NN.G<DIODAA<Q@MNOC<O

OCDNM@AG@>ON"M$DIG<T_NNTNO@HD>=D<N<B<DINO.G<DIODAA

                 T?DM@>O<I?KMJSDH<O@><PN@JA"@A@I?<ION_PIG<RAPG>JI?P>O<N?@N>MD=@?

C@M@DI .G<DIODAA_N+%+2>G<NNBM<?@?J@NIJOC<Q@DIO@BMDOTJABM<?DIB<I?DOM@?P>@N

.G<DIODAA_N%.

          5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION"M$DIG<T "@4MT ?O<G@H )@GG@MEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGTAJM

>JHK@IN<OJMT<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA @S>GPNDQ@JADIO@M@NO

<I?>JNONKM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMOOJM@NOJM@OC@APGG

N>JM@NJA.G<DIODAA_N5@@FN+%+2<NNDBIH@ION<I?>C<IB@OC@BM<?@OJ\]

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                             !82704:# 8D8<6AB=<4D4*@G4::4@3B0:4;
                                                         
              .G<DIODAADI>JMKJM<O@NC@M@DI=TM@A@M@I>@<GGOC@AJM@BJDIBK<M<BM<KCN<NDAAPGGT

N@OAJMOCC@M@DI

              'I+<T (PI@N@NNDJI .G<DIODAA@IMJGG@?<I?>JHKG@O@?OC@JIGDI@BM<?P<O@

G@Q@G>JPMN@\DIIJQ<ODJIDIO@>CIJGJBT]+'1 <OOC@3IDQ@MNDOTRDOC"M,@RH<I<I?

M@>@DQ@?<ADI<GBM<?@\]RDOCJPO<ITKMJ=G@HNRDOC"M,@RH<I<O<GG



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             .G<DIODAA@IMJGG@?DIOC@+'1>G<NN=@><PN@DODN>PMM@IOGT><O<GJBP@?<N<

M@LPDM@?>G<NNAJMCDNBM<?P<O@>@MODAD><O@DI&@<GOC1@MQD>@N+<I<B@H@IO

             .G<DIODAA_NOC@I ?@NDBI<O@?NOP?@IO?@A@I?<IO+NMDNN< MT<IO ?D?IJOO@GG

.G<DIODAAOC<OOC@+<T+'1>G<NNR<N<NP=NODOPO@>G<NNAJM+'1 >G<NNRCD>C

.G<DIODAAC<?KM@QDJPNGT>JHKG@O@?DI+<M>CN@NNDJI4''@H<DGN#SCD=DO 'ODNEPNO<

>C<IB@JA>JPMN@ODOG@N

              *<O@MOC<O+<TN@NNDJI +N0@IPF<.<O@GR<NDINO<GG@?<N.G<DIODAA_NI@R

NOP?@IO<><?@HD><?QDN@M

              +N0@IPF<.<O@G>JIO<>O@?.G<DIODAAOJ<?QDN@OC<O+'1?J@NIJO>JPIO

OJR<M?N.G<DIODAA_N?@BM@@KMJBM<H<I?NJ.G<DIODAARJPG?IJOM@>@DQ@ADI<I>D<G<D?AJMDO4''

B@I@M<GGT#SCD=DON<I? 1J @DOC@MOC@3IDQ@MNDOTRJPG??MJKOC@+'1>JPMN@

M@OMJ<>ODQ@GT JM.G<DIODAARJPG?C<Q@OJK<TJPO JA KJ>F@O

              .G<DIODAADI?D><O@?<OOC<OKJDIODIOC@N@NNDJIOC<OC@><IIJO?MJKOC@+'1

>G<NN=@><PN@OC<ORJPG?>M@<O@<B<KRDOCDICDN@?P><ODJI<I?OC<ORJPG?<GNJKG<>@.G<DIODAA_N

NOP?@IOGJ<INDIOJM@K<TH@IO<I?DORJPG?>M@<O@PI?P@C<M?NCDKAJMCDH#SCD=DON  1J 

?MJKKDIBOC@>G<NNR<T?JRIDIOJOC@N@NNDJIDNIJO<IJKODJI

              .G<DIODAA<NN@MO@?OC<OEPNO<N+N0@IPF<.<O@GJ=N@MQ@?<I?>JIO<>O@?.G<DIODAA

OC<OOC@+'1>G<NN?J@NIJO>JPIOOJR<M?NCDN+ ?@BM@@M@LPDM@H@ION=@><PN@.G<DIODAA

C<N<GM@<?T>JHKG@O@?+'1DI+<M>CN@NNDJIRDOC?@A@I?<IO(<>J=%JM?JI ?@A@I?<IO

+N MT<IONCJPG?C<Q@<GNJIJOD>@?DO<I?<?QDN@?.G<DIODAA@NK@>D<GGTRC@I.G<DIODAA@S>C<IB@?

@H<DGNRDOC"@A@I?<IO MT<IO<MJPI?OC@@<MGTR@@FN=@BDIIDIBJAOC@>JPMN@#SCD=DO 




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                 +N.<O@GM@A@MM@?OC@H<OO@MOJC@M=JNN +N"<ID@GG@+PMKCT RCJ

M@>JHH@I?@?OC<O.G<DIODAA><I>JHKG@O@OC@+'1>G<NN<N<M@K@<O>G<NNAJMOC@KM@QDJPN

+'1>G<NN RCD>CRDGGOC@M@AJM@=@>JQ@M@?=TADI<I>D<G<D?

                .G<DIODAA>JHKG@O@?OC@+'1>G<NN

           .G<DIODAA<Q@MNOC<ODOR<NOC@?POTJAC@MNOP?@IONPKKJMO<><?@HD><?QDN@M 

?@A@I?<IO+N MT<IO OJ<?QDN@CDH<OOC@=@BDIIDIBJAOC@+'1>G<NNOC<OOC@+'1>G<NN

RJPG?IJO=@>JPIO@?<N<K<MOJACDN+ ?@BM@@KMJBM<H<I?NJ.G<DIODAARJPG?OC@M@AJM@IJO

M@>@DQ@ADI<I>D<G<D?

           .G<DIODAA<Q@MNOC<ODOR<NOC@3IDQ@MNDOT_N?POTOJKP=GDNC<>>PM<O@DIAJMH<ODJIDI

DON>PMM@IO<><?@HD>><O<GJBNOC<OOC@+'1>G<NNNP=NODOPO@NOC@+'1>G<NN

           .G<DIODAA<Q@MNOC<OC@C<NR<NO@?CDNODH@<I?DI>PMM@??@=OK<TDIBAJMCDNR<NO@?

ODH@JQ@MOC@+'1>G<NN<I?DOR<NIJOCDNA<PGO2C@M@AJM@ OC@@IODM@>JNOJA<OO@I?<I>@AJM

OC@+'1>G<NNDI+<TNCJPG?=@DHKJN@?PKJIOC@3IDQ@MNDOT<N>JINOMP>ODQ@OMPNO

           .G<DIODAA<Q@MNOC<OOC@3IDQ@MNDOT<I??@A@I?<IO MT<IONCJPG?M<OC@M=@><PN@?

=TOCDN!JPMOOJ=@<MOC@>JNONJAOC@DMI@BGDB@I>@ IJO.G<DIODAA

                +N"<ID@GG@+PMKCT<BM@@?OC<ODOR<NIJO.G<DIODAA_NA<PGO'OR<N2C@A<PGOJA

+N MT<IO

                'I@AA@>O KG<DIODAAC<N=@@I><PN@?OJR<NO@OJCDNODH@<I?NODGGK<TAJMDO

                5&#0#$-0# .G<DIODAA+D>C<@G-*DQDIBNOJI@?@H<I?NEP?BH@IO<B<DINO

"@A@I?<ION"@4MT ?O<G@H )@GG@M  MT<IOEJDIOGT N@Q@M<GGT<I?JMN@Q@M<GGTAJM>JHK@IN<OJMT

<I?KPIDODQ@?<H<B@NDI<I<HJPIODI@S>@NNJA @S>GPNDQ@JADIO@M@NO<I?>JNON

?@>G<M<OJMT KM@GDHDI<MT <I?K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMODHKJNDIBOC@APGG

>JNONJA<OO@I?<I>@AJMOC@+'1PKJIOC@3IDQ@MNDOT




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>JKD@?3IDQ@MNDOT_N%@I@M<G*@B<G!JPIN@G +M DGG!<MPNJ <=JPODO#SCD=DO +M!<MPNJ

<GNJC<KK@INOJ=@OC@3IDQ@MNDOT_N4D>@.M@ND?@IO.G<DIODAA<GNJN@IOOC@C<M?>JKT

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>JKTDIB+M DGG!<MPNJ RCJDNOC@3IDQ@MNDOT_N%@I@M<G*@B<G!JPIN@G JIOC@@H<DG#SCD=DO

OJ?@A@I?<IOBM@NO<=@><PN@OC<O<GG@B@?GTQDJG<O@NOC@3IDQ@MNDOT_NGDHDO@?JM?@MN<I>ODJIOC<O

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*@B<G!JPIN@GRC@IN@MQDIB<>JPMO?J>PH@IOPKJI<ITJAOC@3IDQ@MNDOT_NJAAD>D<GN




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=@OR@@ICDH<I??@A@I?<IOBM@NO<OJ<\CDBC@MH<I<B@H@IOG@Q@GJAAD>D<G]2C@3IDQ@MNDOT_N

%@I@M<G!JPIN@GRCJ<GNJC<KK@INOJ=@OC@3IDQ@MNDOT_N4D>@.M@ND?@IODNLP<GDAD@?<N<CDBC@M

H<I<B@H@IOG@Q@GJAAD>D<GRDOC<=DGDOTOJO<F@KM@Q@IODQ@<>ODJIN

                2C@IJODAD><ODJIJADIO@MDHNPNK@INDJI<GNJ>G<DHNOC<O.G<DIODAAN@IOOCM@<O@IDIB

@H<DGNDIQDJG<ODJIJAOC@NOP?@IO>J?@JA>JI?P>O=@><PN@.G<DIODAAH<?@M@A@M@I>@NOJ<NCJJODIB

DICDN@H<DGNOJ?@A@I?<IO"M$DIG<T#SCD=DO .G<DIODAA?@ID@?OC@<GG@B<ODJIN

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OCDN>JPMOPKJI?@A@I?<IOBM@NO<<I?OC@3IDQ@MNDOT_NG@B<G>JPIN@G

                .G<DIODAA<Q@MNOC<OC@><IIJOC<Q@<?Q@MN@<>ODJIAJMADGDIBOCDNA@?@M<GG<RNPDO

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                .G<DIODAA<Q@MNOC<ODI,@R(@MN@T C@C<NAM@@NK@@>CKMDQDG@B@NDI<KMDQ<O@

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M@BM@O <NNC@KM@QDJPNGTNO<O@?OJ.G<DIODAA

           .G<DIODAA<Q@MNOC<O<AO@M"M$DIG<T_NADMNOH<GD>DJPN<I?<=PNDQ@<OO@HKOOJPN@OC@

NOP?@IO>JI?P>O>J?@<B<DINO.G<DIODAAOJ><MMTJPOC@M<B@I?<OJH<F@.G<DIODAAM@BM@O#SCD=DO

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<IJOC@M<Q@IP@OJAPGADGC@MH<GD>DJPNDIO@ION<B<DINO.G<DIODAA\OJM@BM@O]

           .G<DIODAAM@LP@NO@?AJM?@O<DGNDI#SCD=DO<=JPORCJH<?@OC@>JHKG<DIOOC<OC@

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OMPI><O@?NP>C<N#SCD=DO<GNJKM@N@ION.G<DIODAA_NAJMH<G>JHKG<DIOJAM<>D<G?DN>MDHDI<ODJIOJ

OC@3IDQ@MNDOT7@O IJ<IOD ?DN>MDHDI<ODJIJAAD>@MJAOC@3IDQ@MNDOTBJO=<>FOJ.G<DIODAAOJ

<??M@NNOC@<GG@B@??DN>MDHDI<ODJI+N.<OOD+@T@MDBIJM@?.G<DIODAA_N>JI>@MIN

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OC<OOC@JPO>JH@JAPK>JHDIBC@<MDIBDN<GM@<?T?@>D?@?OJ@SK@G.G<DIODAARCJDNIJR

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           2JOC@@SO@IOOC<O.G<DIODAA_N?DN>MDHDI<ODJI>JHKG<DION<M@DBIJM@?<I?OC@T<M@

>JIO<DI@?DIOC@@H<DGN=@DIBPN@?<B<DINOCDH .G<DIODAA<Q@MNOC<OOC@PIDQ@MNDOTDNM@O<GD<ODIB

<B<DINOCDHAJMADGDIBOCDNA@?@M<GG<RNPDO<I?AJM>JHKG<DIDIB<=JPO?DN>MDHDI<ODJIDIOC@

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                2JOC@@SO@IOOC<O<GGJA.G<DIODAA_NKMJ>@?PM<GLP@NODJINC<Q@=@@IDBIJM@?DI

#SCD=DO OC@JPO>JH@JAOC@C@<MDIBDNKM@?@O@MHDI@?

                2JOC@@SO@IOOC<OOC@M@DN<GM@<?T<HJODJIAJMKM@GDHDI<MTDIEPI>ODJI?@ID@?=T

OCDN!JPMO8+5*16523',6&+%'K@I?DIB0PG@KMJ>@NNN@MQD>@#!$,J RC@M@.G<DIODAA

>C<GG@IB@NOC@G@BDODH<>TJAOC@?DN>DKGDI<MTN<I>ODJINOC@3IDQ@MNDOTDHKJN@?<MJPI?,JQ@H=@M

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M@NOM<DIDIBJM?@M KM@GDHDI<MT<I?K@MH<I@IODIEPI>ODQ@M@GD@AJM?@M=TOCDN!JPMO<B<DINO#SCD=DO

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<M@N@OAJMOCPI?@MN@K<M<O@ADI<GK<M<BM<KCN PI?@MOC@5&#0#$-0#>G<PN@NJA@<>C!-3,2

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KMJQD?@NOC@AJGGJRDIB<AAD?<QDOOJB@OC@MRDOCOCDNDINO<IO>JHKG<DIO<I?@SCD=DONAJMOC@KPMKJN@N

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Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 245 of 286 PageID #:245
Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 246 of 286 PageID #:246
Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 247 of 286 PageID #:247
Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 248 of 286 PageID #:248
Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 249 of 286 PageID #:249
Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 250 of 286 PageID #:250
Case: 1:20-cv-05567 Document #: 1 Filed: 09/18/20 Page 251 of 286 PageID #:251
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